Case: 25-1170   Document: 00118255171       Page: 1    Date Filed: 03/04/2025    Entry ID: 6704290


                                          No. 25-1170

                         UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT
                           _______________________________

               STATE OF NEW JERSEY; COMMONWEALTH OF MASSACHUSETTS;
       STATE OF CALIFORNIA; STATE OF COLORADO; STATE OF CONNECTICUT; STATE OF
                   DELAWARE; DISTRICT OF COLUMBIA; STATE OF HAWAI‘I;
       STATE OF MAINE; STATE OF MARYLAND; ATTORNEY GENERAL DANA NESSEL, on
        behalf of the People of Michigan; STATE OF MINNESOTA; STATE OF NEVADA;
         STATE OF NEW MEXICO; STATE OF NEW YORK; STATE OF NORTH CAROLINA;
       STATE OF RHODE ISLAND; STATE OF VERMONT; STATE OF WISCONSIN; CITY AND
                                COUNTY OF SAN FRANCISCO,

                                      Plaintiffs-Appellees,

                                                v.

       DONALD J. TRUMP, in his official capacity as President of the United States; U.S.
        DEPARTMENT OF STATE; MARCO RUBIO, in his official capacity as Secretary of
       State; U.S. DEPARTMENT OF HOMELAND SECURITY; KRISTI NOEM, in her official
       capacity as Secretary of Homeland Security; U.S. DEPARTMENT OF HEALTH AND
            HUMAN SERVICES; ROBERT F. KENNEDY, JR., in his official capacity as
               Secretary of Health and Human Services; U.S. SOCIAL SECURITY
             ADMINISTRATION; LELAND DUDEK, in his official capacity as Acting
               Commissioner of Social Security; UNITED STATES OF AMERICA,

                                   Defendants-Appellees,
                             _______________________________

                   On Appeal from an Order of the United States District Court
                for the District of Massachusetts (Sorokin, J.) in No. 25-cv-10139
                              _______________________________

                APPELLEES’ OPPOSITION TO APPELLANTS’ MOTION
                         FOR STAY PENDING APPEAL
                        _______________________________
Case: 25-1170       Document: 00118255171                  Page: 2          Date Filed: 03/04/2025                Entry ID: 6704290




                                              TABLE OF CONTENTS

                                                                                                                          Page
      INTRODUCTION................................................................................................... 1
      BACKGROUND ..................................................................................................... 2
                 A. Executive Order 14160. ........................................................................3
                 B.     The Order’s Impacts on Plaintiffs. ........................................................4
                 C.     This Litigation. ......................................................................................6
                 D. Parallel Litigation ..................................................................................8
      ARGUMENT ........................................................................................................... 8
          I.     Defendants Will Not Suffer Irreparable Harm Absent A Stay. ....................9
          II.    Defendants’ Arguments Are Unlikely To Succeed. ...................................10
                 A. Plaintiffs Have Standing. ....................................................................11
                        1.    Plaintiffs Directly Suffer Article III Injuries From The
                              Order. ...........................................................................................11
                        2.    Plaintiffs Are Not Barred From Litigating Their Claims
                              Because They Also Implicate Residents’ Rights. .......................13
                               a.     Plaintiffs Are Not Suing In A Parens Patriae Capacity. ....14
                               b.     No Prudential Limitation Bars Plaintiffs From Litigating To
                                      Redress Their Article III Injuries. .......................................15
                 B.     Nationwide Relief Is Proper. ...............................................................19
          III. The Equitable Balance Weighs Decisively Against A Stay. ......................21
      CONCLUSION...................................................................................................... 22
Case: 25-1170   Document: 00118255171       Page: 3    Date Filed: 03/04/2025    Entry ID: 6704290




                                      INTRODUCTION

            The federal government has recognized the citizenship of children born in the

      United States to undocumented or non-permanent immigrants for over 100 years, a

      practice that was unchallenged until January 2025. In granting a preliminary

      injunction below, the district court did no more than maintain the century-old status

      quo pending resolution of this case on the merits. Every court to consider a challenge

      to the recent Executive Order upending birthright citizenship has granted

      preliminary relief, given both the irreparable and profound harms to the challengers

      and the Order’s flagrant illegality. And both circuits to consider Defendants’

      applications for stays pending appeal have appropriately denied them.

            This Court should likewise deny this motion for at least two independent

      reasons. First, the equitable factors sharply disfavor a stay. The federal government

      would not be harmed, much less irreparably, by maintaining that century-long status

      quo during the short pendency of this appeal. By contrast, abruptly terminating that

      longstanding practice would irreparably harm Plaintiffs and the public. Plaintiffs

      immediately would have to redesign their systems for determining eligibility for

      federally funded children’s health, education, and foster care services, and they

      would lose substantial federal funding for those and other services. And the public

      interest would be seriously harmed as thousands of children would lose their




                                                1
Case: 25-1170   Document: 00118255171        Page: 4     Date Filed: 03/04/2025     Entry ID: 6704290




      citizenship rights. Defendants fail to show how these severe and irreparable harms

      are outweighed by the supposed urgency of denying children citizenship.

            Second, Defendants are unlikely to succeed on the merits of their arguments.

      Strikingly, they seek a stay without even attempting to defend the Order’s

      lawfulness. And the arguments Defendants do advance—that Plaintiffs lack standing

      and the injunction is overbroad—are not likely to succeed. Defendants’ Article III

      standing objection is foreclosed by binding caselaw. Their argument that Plaintiffs

      cannot assert claims implicating the constitutional rights of third parties

      misapprehends Plaintiffs’ standing argument and overextends principles of

      prudential standing. Finally, nationwide relief is indisputably necessary to avoid

      irreparable harm to Plaintiffs because children born in other States may reside or

      move into Plaintiffs’ jurisdictions—requiring Plaintiffs to incur considerable

      administrative costs. On both the equities and the law, Defendants fail to satisfy

      their heavy burden in seeking a stay pending appeal.

                                        BACKGROUND

            The Fourteenth Amendment promises that “[a]ll persons born or naturalized

      in the United States, and subject to the jurisdiction thereof, are citizens of the United

      States.” U.S. Const. amend. XIV, §1. For well over a century, every branch of

      government has recognized that this clause means what it says: children born here

      are U.S. citizens simply by virtue of their “birth within the territory.” United States



                                                 2
Case: 25-1170     Document: 00118255171    Page: 5    Date Filed: 03/04/2025    Entry ID: 6704290




      v. Wong Kim Ark, 169 U.S. 649, 693 (1898). Only those newborns not “subject to

      [U.S.] jurisdiction”—a narrow category encompassing only those children not fully

      subject to U.S. sovereign power at birth, such as Native American tribal members

      and children with diplomatic immunity—are excluded. Id. The Supreme Court has

      long affirmed that this exclusion does not turn on parental immigration status, see

      id. at 705 (individual born here entitled to U.S. citizenship even though his parents

      were permanently ineligible for U.S. citizenship); see also Plyler v. Doe, 457 U.S.

      202, 211 n.10 (1982) (Fourteenth Amendment’s jurisdictional language does not

      exclude undocumented immigrants).

             This understanding of birthright citizenship has permeated executive agency

      guidance for decades—and no prior administration has deviated from it. See PA350;

      PA361.1 It has been embraced repeatedly by the Supreme Court. See, e.g., Wong

      Kim Ark, 169 U.S. at 693; Perkins v. Elg, 307 U.S. 325, 329 (1939); INS v. Errico,

      385 U.S. 214, 215-16 (1966); INS v. Rios-Pineda, 471 U.S. 444, 446 (1985). And it

      has been codified by Congress. See 8 U.S.C. §1401(a).

             A.     Executive Order 14160.

             Hours after inauguration, President Trump issued Executive Order 14160

      (“Order”), declaring the Constitution does not extend citizenship to any individual,


         1
           “PA#” refers to Plaintiffs’ Addendum appended to this Opposition, and “Mot.#”
      refers to Defendants’ Stay Motion filed with this Court, using the page numbers in
      the ECF header.

                                               3
Case: 25-1170    Document: 00118255171       Page: 6    Date Filed: 03/04/2025     Entry ID: 6704290




      born in this country, whose mother, at the time of the individual’s birth, was

      unlawfully present or lawfully present on a temporary basis, and whose father, at the

      time of the individual’s birth, was neither a citizen nor lawful permanent resident.

      See Exec. Order No. 14160, §1, 90 Fed. Reg. 8449 (Jan. 20, 2025). As to any such

      children born after February 19, 2025 (“Affected Children”), the Order prohibits

      federal agencies from “issu[ing] documents recognizing United States citizenship,

      or accept[ing] documents issued by State, local, or other governments or authorities

      purporting to recognize United States citizenship.” Id. §2(a). The Order directs the

      Social Security Administration and the Departments of State, Justice, and Homeland

      Security to align their policies to the Order, id. §3(a), and instructs all agencies to

      “issue public guidance within 30 days” regarding implementation, id. §3(b).

            B.     The Order’s Impacts on Plaintiffs.

            If the Order takes effect, Plaintiffs will lose millions of dollars in federal

      funding, incur the burden of revising their eligibility verification systems for

      countless services, and suffer a decreased pool of residents eligible to participate in

      essential civic functions such as jury duty, holding certain public offices, and voting.

            Funding. Plaintiffs receive significant federal funding for providing health,

      education, and foster care services to children who are citizens or have a qualifying

      immigration status. See, e.g., 8 U.S.C. §§1611(a), (c)(1)(B), 1612(b)(3)(C); 42

      U.S.C. §1396b; 42 C.F.R. §435.406. Because the Order would leave the Affected



                                                 4
Case: 25-1170   Document: 00118255171        Page: 7    Date Filed: 03/04/2025     Entry ID: 6704290




      Children without citizenship or any qualifying immigration status, Plaintiffs will

      lose millions of dollars in funding under a range of federal programs, including

      Medicaid, the Children’s Health Insurance Program (CHIP), the Individuals with

      Disabilities in Education Act (IDEA), and Title IV-E funding for child welfare

      services. See, e.g., PA48-49, 57, 64, 79-80, 120; 20 U.S.C. §§1400(d)(1)(A),

      1412(a)(1). And under the Enumeration at Birth (EAB) program, Plaintiffs help

      families with newborn children apply for Social Security Numbers (SSNs) shortly

      after birth, and receive a fee from the Social Security Administration for each SSN

      issued. See, e.g., PA55-57, 75, 89-90, 129, 136, 184. Because the Affected Children

      will not be eligible to receive SSNs, Plaintiffs will lose tens of thousands of dollars

      in EAB fees. Id.

            Administrative burdens. Further, because a child’s birth in this country would

      no longer prove citizenship if the Order takes effect, Plaintiffs will incur significant

      administrative burdens as they revamp their eligibility determination systems for

      federally funded public benefits programs like Medicaid, CHIP, Title IV-E, TANF,

      and SNAP; and the EAB program for SSN issuance. PA42, 56, 67-68, 84, 113-14,

      129, 162-63, 174-76; see also 42 U.S.C. §1396a(a)(5) (requiring States who

      participate in Medicaid to make eligibility determinations); 42 U.S.C. §671

      (requiring States who accept Title IV-E funds to have “procedures for verifying the

      citizenship” of foster care children). As part of that overhaul, Plaintiffs will need to


                                                 5
Case: 25-1170     Document: 00118255171       Page: 8     Date Filed: 03/04/2025      Entry ID: 6704290




      train staff, partner organizations, and healthcare providers on these new procedures

      and revise existing guidance. See PA12-15, 43, 57, 67-68, 84, 113 129, 162-63, 176.

             Sovereign functions. Finally, the Order impacts Plaintiffs by narrowing the

      pool of their residents eligible to participate in critical state functions. This is because

      State laws and constitutions frequently include U.S. citizenship as an eligibility

      requirement for civic activities like serving as a juror, see N.J. Stat. Ann. §2B:20-

      1(c); Mass. Gen. Laws Ann. ch. 234A, §4; Cal. Civ. Proc. Code §203, voting in state

      elections, see N.J. Const. art. 2, §1, cl. 3; Mass. Const. Amend. art. 3; Cal. Const. art

      2, §2, and serving as governor, see N.J. Const. art. 5, §1, cl. 2; Cal. Const. art. 5, §2;

      N.Y. Const. art. 4, §2.

             C.     This Litigation.

             Plaintiffs—eighteen states, the District of Columbia, and San Francisco—

      challenged the Order and sought a preliminary injunction. The district court heard

      New Jersey v. Trump together with Doe v. Trump, see PA185, a challenge by two

      associations and an expectant mother, see No. 1:25-cv-10136, ECF No. 1 (Jan. 20,

      2025). The district court granted preliminary relief, enjoining Defendants from

      “implementing and enforcing Executive Order No. 14,160.” PA367

             The court “easily” found that Plaintiffs had standing, because the Order would

      cause Plaintiffs to suffer “direct financial harms” and “administrative upheaval”—

      “precisely the same sort of direct financial impacts” as those that the Court found



                                                   6
Case: 25-1170   Document: 00118255171        Page: 9     Date Filed: 03/04/2025     Entry ID: 6704290




      sufficient for standing in Biden v. Nebraska, 143 S. Ct. 2355 (2023), and Department

      of Commerce v. New York, 588 U.S. 752 (2019). PA342-344; PA359. The court

      recognized that Plaintiffs’ standing to sue is grounded in their own fiscal injuries—

      not in avoiding harms to their residents. PA344 at n.7, PA345; PA273:17-20. The

      court added that Plaintiffs likely also have standing based on independent sovereign

      injuries, as “state laws commonly define civic obligations such as jury service using

      eligibility criteria that include U.S. citizenship.” PA344 at n.7.

            The court determined that Plaintiffs satisfied all four requirements for

      preliminary relief: they are likely to succeed because Defendants’ interpretation of

      the Citizenship Clause is foreclosed by Supreme Court precedents; Plaintiffs will

      face irreparable harms through the loss of federal funds and new costs to overhaul

      existing birth registration systems; and the scales of equity “tip decisively toward

      the plaintiffs” as Defendants will suffer no harm if the longstanding status quo is

      maintained. PA341-42; PA358-61.

            Finally, the court determined that a nationwide injunction was required to

      remedy Plaintiffs’ injuries because Affected Children born elsewhere could move

      into, or already reside in, Plaintiffs’ jurisdictions. PA363. If citizenship varied

      between plaintiff and non-party states, Plaintiffs would still have to devise a system

      to identify a child’s citizenship status based on State of birth, and would suffer fiscal

      harm when children born in non-party States move within Plaintiffs’ borders. Id.


                                                 7
Case: 25-1170     Document: 00118255171      Page: 10     Date Filed: 03/04/2025     Entry ID: 6704290




             D.     Parallel Litigation

             Numerous challenges to the Order have been filed across the country. In each

       case in which a preliminary injunction motion has been resolved, the district court

       has granted the motion. See N.H. Indonesian Cmty. Support v. Trump, No. 25-cv-

       00038, --- F. Supp. 3d ---, 2025 WL 457609 (D.N.H. Feb. 11, 2025), ECF No. 79;

       CASA, Inc. v. Trump, No. 25-cv-00201, --- F. Supp. 3d ---, 2025 WL 545840 (D.

       Md. Feb. 18, 2025), ECF No. 66; Washington v. Trump, No. 25-cv-00127, --- F.

       Supp. 3d ---, 2025 WL 415165 (W.D. Wash. Feb. 6, 2025), ECF No. 114. Every

       circuit to consider a stay-pending-appeal motion has likewise denied it. See

       Washington, No. 25-807, 2025 WL 553485 (9th Cir. Feb. 19, 2025); CASA, No. 25-

       1153, 2025 WL 654902 (4th Cir. Feb. 28, 2025).

                                           ARGUMENT

             A stay pending appeal is appropriate only if “the stay applicant has made a

       strong showing” that (1) its appeal will “likely … succeed on the merits”; (2) it “will

       be irreparably injured absent a stay”; (3) “issuance of the stay will [not] substantially

       injure the other parties”; and (4) the stay would be in “the public interest.” Does 1-

       3 v. Mills, 39 F.4th 20, 24 (1st Cir. 2022). “[T]he burden is on the … applicant to

       show” these factors “favor a stay.” Dep’t of Educ. v. Louisiana, 603 U.S. 866, 868

       (2024). And “the bar is harder to clear” when the movant seeks “alteration of the

       status quo.” Bos. Parent Coal. for Acad. Excellence Corp. v. Sch. Comm. of City of



                                                  8
Case: 25-1170      Document: 00118255171      Page: 11    Date Filed: 03/04/2025   Entry ID: 6704290




       Bos., 996 F.3d 37, 44 (1st Cir. 2021). Defendants fail to show that any factor favors

       a stay.

       I.        Defendants Will Not Suffer Irreparable Harm Absent A Stay.

                 Defendants’ failure to demonstrate irreparable harm is sufficient reason to

       deny their stay request. See, e.g., KalshiEX LLC v. CFTC, 119 F.4th 58, 64 (D.C.

       Cir. 2024); Doe #1 v. Trump, 957 F.3d 1050, 1058 (9th Cir. 2020); see also Does 1-

       3, 39 F.4th at 24-25 (noting that movants’ irreparable harm absent a stay is one of

       “the most critical” factors in the calculus) (quoting Nken v. Holder, 556 U.S. 418,

       434 (2009)). Because Defendants have not demonstrated that they will be irreparably

       harmed during the limited time in which it takes this Court to resolve their pending

       appeal, they cannot justify a stay pending that appeal.

                 As the court found below, “defendants face no cognizable harm from a

       preliminary injunction” that “do[es] no more than maintain a status quo that has been

       in place for well over a century.” PA361, PA365; cf. Washington v. Trump, 847 F.3d

       1151, 1168 (9th Cir. 2017) (denying stay where “order merely returned the nation

       temporarily to the position it has occupied for many previous years”). Defendants

       fail to explain how the same birthright citizenship rule that has applied for decades

       suddenly threatens irreparable harm throughout the few months it will take to

       resolve the pending appeal.




                                                  9
Case: 25-1170   Document: 00118255171        Page: 12     Date Filed: 03/04/2025    Entry ID: 6704290




             Defendants assert that the Order is important to public safety, Mot.22-23, but

       they fail to explain how this is so, let alone support that assertion with evidence that

       maintaining the status quo pending appeal harms public safety. They further argue

       the injunction prevents the President from exercising his authority over immigration,

       Mot.22, but that assumes the merits conclusion that they declined to present in this

       stay application. Children born here are not immigrants, see 8 U.S.C. §1101(a)(3),

       (15); 8 U.S.C. §1401(a), and the injunction does not prevent the President from

       executing immigration laws. Finally, Defendants argue that the injunction “delay[s]

       advance preparations” for the Order’s implementation. Mot.22. But “delay, without

       more, [does] not support a finding of irreparable harm.” Harris v. Fort Oglethorpe

       State Bank, 721 F.2d 1052, 1054 (6th Cir. 1983). That is especially apparent here,

       given that the Order contemplates Defendants needing only 30 days to prepare

       before the policy takes effect. See 90 Fed. Reg. 8449-50 (Order, §§2(b), 3(b)).

       II.   Defendants’ Arguments Are Unlikely To Succeed.

             Defendants neither attempt to defend the Order’s constitutionality, nor cite

       any case in which a court granted a stay application that did not defend the

       challenged policy’s lawfulness. Their attacks on Plaintiffs’ standing and the

       injunction’s scope fare no better. They advanced these same arguments in requesting

       stays from the Fourth and Ninth Circuits, and those requests were rejected. See

       Washington, 2025 WL 553485, at *1 (defendants unlikely to succeed in challenging



                                                 10
Case: 25-1170     Document: 00118255171     Page: 13     Date Filed: 03/04/2025   Entry ID: 6704290




       state standing and nationwide relief); CASA, 2025 WL 654902, at *1 (same as to

       nationwide relief). This Court should reach the same conclusion.

             A.     Plaintiffs Have Standing.

                    1.    Plaintiffs Directly Suffer Article III Injuries From The
                          Order.

             Binding precedents establish that Plaintiffs have standing to challenge the

       Order. Defendants concede that the Order would deprive Plaintiffs of federal funds

       they otherwise would receive. Plaintiffs will lose millions of dollars in Medicaid,

       CHIP, and Title IV-E funding for providing health, education, and foster care

       services to Affected Children because, by federal law, that funding is not available

       for services provided to them. Likewise, Plaintiffs will lose fees that they receive

       through the EAB program because Affected Children will no longer be eligible for

       SSNs at birth. And Plaintiffs will incur substantial costs to create new verification

       systems to comply with federal eligibility rules. See supra at 4-6.

             As the district court explained, PA343-44, these injuries are “precisely the

       same sort of direct financial impacts” that conferred standing in Nebraska, 143 S.

       Ct. at 2366, and New York, 588 U.S. 752. See also Massachusetts v. HHS, 923 F.3d

       209, 222-27 (1st Cir. 2019). In Nebraska, the challenged federal loan forgiveness

       program injured Missouri (via its instrumentality MOHELA) by depriving it of fees

       for administering student loans, see 143 S. Ct. at 2366, just as this Executive Order

       causes Plaintiffs to lose funding and incur administrative costs. Defendants do not


                                                11
Case: 25-1170   Document: 00118255171       Page: 14     Date Filed: 03/04/2025    Entry ID: 6704290




       even attempt to distinguish Nebraska. And although they dismiss Plaintiffs’ injuries

       as “indirect[]” and “attenuated,” Mot.14-16, they are not: the Order flips the

       citizenship status of Affected Children, instantaneously eliminating Plaintiffs’

       ability to receive federal funding for serving them by direct operation of federal law.

       Nor are these injuries in any way “speculative,” Mot.15. As Defendants have

       conceded, see PA294, they would certainly occur.

             Ignoring Nebraska, Defendants resort to a single footnote in United States v.

       Texas, 599 U.S. 670 (2023), Mot.14-15, but “Texas simply does not aid the

       defendants.” PA345. There, the Court held that Article III precludes “challenges to

       the Executive Branch’s exercise of enforcement discretion over whether to arrest or

       prosecute,” 599 U.S. at 677, and that Texas’s “theories of standing” failed to

       “overcome[] th[at] fundamental Article III problem,” id. at 680 n.3. Because

       Plaintiffs do not ask the Executive to arrest or prosecute anyone, Texas is inapposite.

             Defendants’ final Article III objections fall flat. They worry Nebraska enables

       States to challenge numerous federal policies that impact state revenues. Mot.16-17.

       But that policy concern does not justify contravening Supreme Court precedent.

       Regardless, that precedent provides a ready distinction: States maintain standing to

       challenge actions that directly and predictably impact them, see New York, 588 U.S.

       752 (holding States had standing based on predictable effects of a new question on

       2020 Census), but cannot rest on remote or speculative harms, see FDA v. Alliance


                                                 12
Case: 25-1170   Document: 00118255171       Page: 15     Date Filed: 03/04/2025    Entry ID: 6704290




       for Hippocratic Med., 602 U.S. 367, 383 (2024); Arizona v. Biden, 40 F.4th 375, 386

       (6th Cir. 2022). As Nebraska establishes, there is nothing remote or attenuated about

       the injuries here. Nor can Plaintiffs’ injuries fairly be characterized as “self-

       inflicted.” Mot.17-18. “[N]othing here indicates that” Plaintiffs administer Medicaid

       and other critical programs “in order to manufacture standing.” See New Jersey v.

       EPA, 989 F.3d 1038, 1047 (D.C. Cir. 2021); see also id. at 1046 (“[A] state’s ability

       to change its laws to evade injury [does not] preclud[e] standing”); California v.

       Azar, 911 F.3d 558, 574 (9th Cir. 2018) (“Courts regularly entertain actions brought

       by states and municipalities that face economic injury, even though those

       governmental entities theoretically could avoid injury by enacting new legislation.”).

             Furthermore, PA344 n.7, Plaintiffs likely also have standing based on an

       independent sovereign injury, as the Order shrinks the pool of individuals eligible to

       participate in core sovereign functions such as the election of state leaders and the

       operation of Plaintiffs’ criminal justice systems. See supra at 6. Defendants’ only

       response is to suggest state officials could define U.S. citizenship differently from

       the U.S. Government in interpreting state laws and constitutions. Mot.13 n.3 But the

       Federal Government may well, in future cases, view its determination of U.S.

       citizenship as preemptive.

                    2.    Plaintiffs Are Not Barred From Litigating Their Claims
                          Because They Also Implicate Residents’ Rights.

             Apart from their Article III objections, Defendants principally argue that

                                                13
Case: 25-1170   Document: 00118255171        Page: 16     Date Filed: 03/04/2025     Entry ID: 6704290




       Plaintiffs categorically are barred from litigating a claim that implicates individual

       rights under the Citizenship Clause. Mot.10, 13-14. But Plaintiffs seek to redress

       Article III injuries that they suffer, not injuries that their residents suffer, and

       prudential considerations do not bar their claims.

                           a.     Plaintiffs Are Not Suing In A Parens Patriae Capacity.

             Although Defendants argue that States cannot sue the federal government on

       their residents’ behalf in a parens patriae capacity, Mot.10-11, Plaintiffs are not

       suing in that capacity. See PA344 n.7. Rather, Plaintiffs seek to redress their own

       Article III proprietary and sovereign injuries caused by the Order. See supra at 11-

       14. Plaintiffs’ standing is not predicated on the injuries suffered by their residents.

             The cases rejecting parens patriae theories are thus irrelevant. See Mot.11. In

       those cases, the States’ claims were impermissible because the States did not allege

       any injuries that they suffered from the federal action, and absent any such injuries

       to themselves, injury to their residents failed to fill the Article III gap. See Haaland

       v. Brackeen, 599 U.S. 255, 294-96 (2023) (Texas lacked standing where “not injured

       by the placement preferences” it challenged); Murthy v. Missouri, 603 U.S. 43, 75-

       76 (2024) (Missouri lacked standing where not injured by content moderation

       activities it challenged); Massachusetts v. Mellon, 262 U.S. 447, 479-80, 482 (1923)

       (Massachusetts lacked standing where challenged law did not “require the states to




                                                 14
Case: 25-1170   Document: 00118255171       Page: 17     Date Filed: 03/04/2025    Entry ID: 6704290




       do or to yield anything” and imposed no “burden” on them). 2 The bar on parens

       patriae standing does not preclude states from bring claims based on their own

       injuries. See Kentucky v. Biden, 23 F.4th 585, 594, 596 (6th Cir. 2022) (States have

       standing when they “assert[] some injury to their own interests separate and apart

       from their citizens’ interests” notwithstanding bar on parens patriae standing).

                           b.    No Prudential Limitation Bars Plaintiffs From
                                 Litigating To Redress Their Article III Injuries.

             Defendants’ contention that Plaintiffs nevertheless lack standing to redress

       their Article III injuries because constitutional claims must be brought “by the

       [party] ‘at whom the constitutional protection is aimed,’” Mot.12, also fails. As an

       initial matter, Defendants do not cite a single case in which a State that had

       established an Article III injury traceable to a federal action and redressable by an

       order enjoining that action was nevertheless barred from seeking relief. For good

       reason: the cases on which Defendants rely turn on purported prudential limitations,

       not Article III. See Mot.11-13 (citing Kowalski v. Tesmer, 543 U.S. 125 (2004);

       Warth v. Seldin, 422 U.S. 490 (1975)). And prudential limitations must be applied


       2
         South Carolina v. Katzenbach, 383 U.S. 301 (1966), is further afield. Katzenbach
       concerned South Carolina’s challenge to provisions of the Voting Rights Act that
       determined whether a State was subject to the Act’s remedies designed to redress
       voting discrimination. Id. at 307, 315-16. The Court dismissed South Carolina’s due
       process claim for the simple reason that States lack due process rights, id. at 323.
       Katzenbach has nothing to do with whether a State that suffers financial harm from
       the federal government’s violations of its residents’ constitutional rights has Article
       III standing to challenge that conduct.

                                                 15
Case: 25-1170   Document: 00118255171        Page: 18     Date Filed: 03/04/2025    Entry ID: 6704290




       sparingly because “declin[ing] to adjudicate” valid claims “on grounds that are

       prudential, rather than constitutional” is in “tension with … the principle that a

       federal court’s obligation to hear and decide cases within its jurisdiction is virtually

       unflagging.” Lexmark Int’l v. Static Control Components, 572 U.S. 118, 125-26

       (2014) (cleaned up).

             Consistent with that caution, this Court and others have recognized that States

       can litigate claims that federal action violates individual constitutional rights where

       the State establishes its own Article III injury. In Massachusetts, this Court held that

       Massachusetts had standing to challenge federal regulations based on pocketbook

       injuries, see 923 F.3d at 222, including on the ground that the regulations violated

       equal protection, see 301 F. Supp. 3d 248, 250 (D. Mass. 2018). See also, e.g.,

       California v. Azar, 911 F.3d 558, 568, 570 (9th Cir. 2018) (States had standing based

       on fiscal injuries to litigate equal protection and establishment clause claims).

       Because invalidating those regulations would allow the Commonwealth to avoid

       fiscal harm, it had standing. See Massachusetts, 923 F.3d at 222. That residents’

       rights would also be vindicated did not alter that result. Id.

             Defendants’ assertion that parties with Article III standing cannot litigate the

       constitutionality of an action that also implicates another party’s interests is also at

       odds with recent Supreme Court precedent. In Seila Law LLC v. CFPB, 591 U.S.

       197 (2020), the Court held a corporation could challenge agency action based on a


                                                 16
Case: 25-1170   Document: 00118255171       Page: 19     Date Filed: 03/04/2025    Entry ID: 6704290




       violation of the President’s constitutional removal authority, expressly rejecting the

       argument that the issue can only be litigated through a contested removal. Id. at 212;

       see also INS v. Chadha, 462 U.S. 919, 935-36 (1983) (“reject[ing] the contention

       that Chadha lacks standing because a consequence of his prevailing will advance the

       interests of the Executive Branch in a separation of powers dispute with Congress,

       rather than simply Chadha's private interests”). It is unclear how Defendants’

       argument squares with these precedents.

             Even if some pre-Lexmark prudential bar remains relevant, Kowalski does not

       help Defendants. There, the Court explained that a prudential limit on claims based

       on the rights of third parties reflects concerns that the plaintiff may lack “the

       appropriate incentive to challenge” the action “with the necessary zeal and

       appropriate presentation,” or that such claims may require courts “to decide abstract

       questions … even though judicial intervention may be unnecessary to protect

       individual rights.” 543 U.S. at 129 (quoting Warth, 422 U.S. at 500). But Plaintiffs

       here have every “incentive to challenge” the Order with the same “zeal and

       appropriate presentation” as the Affected Children, given the significant injuries

       Plaintiffs face. Id.; see supra at 11-14. And there is nothing abstract here; the Order

       undisputedly will deny citizenship to hundreds of thousands of children in the first

       year alone.




                                                 17
Case: 25-1170    Document: 00118255171       Page: 20     Date Filed: 03/04/2025    Entry ID: 6704290




              In these ways, Plaintiffs’ suit is no different from Kozera v. Spirito, 723 F.2d

       1003, 1006 (1st Cir. 1983), where this Court held that prudential considerations did

       not bar the Commissioner of the Massachusetts Department of Public Welfare from

       challenging a federal regulation as violating the constitutional rights of children to

       whom Massachusetts provided financial assistance. Because the Commonwealth’s

       interests were consistent with those of the affected children, and the suit did “not

       entail ‘unwarranted intervention into controversies where the applicable

       constitutional questions are ill-defined and speculative,’” the Commonwealth could

       litigate its claim. Id. at 1006.

              Defendants’ prudential theory runs into another problem: even under pre-

       Lexmark case law, parties may protect their own Article III interests based on third

       parties’ constitutional rights if “enforcement of the challenged restriction against the

       litigant would result indirectly in the violation of third parties’ rights.” Kowalski,

       543 U.S. at 130 (cleaned up); see also, e.g., Carey v. Population Servs. Int’l, 431

       U.S. 678, 682-84 (1977) (seller had standing to litigate purchasers’ constitutional

       privacy rights); Craig v. Boren, 429 U.S. 190, 193-97 (1976) (same regarding

       purchasers’ equal protection rights); Pierce v. Soc'y of Sisters, 268 U.S. 510 (1925)

       (private schools had standing to litigate parental rights). Here, the Order operates by

       prohibiting agencies from “accept[ing] documents issued by State, local, or other

       governments or authorities”—i.e., issued by the Plaintiffs—“purporting to recognize


                                                 18
Case: 25-1170     Document: 00118255171     Page: 21     Date Filed: 03/04/2025    Entry ID: 6704290




       [the] United States citizenship” of Affected Children. 90 Fed. Reg. 8449 (Order,

       §2(a)). In other words, Plaintiffs are intermediaries against whom the Order’s

       limitations on birthright citizenship are directly enforced. Permitting such claims to

       proceed thus falls squarely within even the pre-Lexmark framework.3

             B.     Nationwide Relief Is Proper.

             Defendants are equally unlikely to succeed in arguing that the district court

       abused its discretion in fashioning nationwide relief. See García-Rubiera v. Fortuno,

       727 F.3d 102, 108 (1st Cir. 2013) (this Court reviews “terms of an injunction … for

       abuse of discretion only,” because district court is “best position[ed] to tailor the

       scope of injunctive relief to [its] factual findings”); DeNovellis v. Shalala, 135 F.3d

       58, 62 (1st Cir. 1998) (“The party appealing a grant … of a preliminary injunction

       bears the heavy burden” of showing district court “abused its discretion”).

             Preliminarily, although Defendants argue from concurring opinions and


       3
         Kowalski also recognizes that prudential limits on standing do not apply where “the
       party asserting the right has a ‘close’ relationship with the person who possesses the
       right,” and “there is ‘hindrance’ to the possessor’s ability to protect his own inter-
       ests.” 543 U.S. at 130. Plaintiffs have a close relationship with Affected Children as
       a provider of medical, educational, and other services for which federal funding de-
       pends on the citizenship status. And there is an obvious hindrance: to forestall the
       Order’s deprivation of their rights—with potential consequences for their ability to
       access critical public benefits— each of the hundreds of Affected Children born each
       day promptly would have to sue. Compare CASA, No. 25-1153, ECF No. 9, 1-2 (In
       seeking stay from Fourth Circuit, Defendants arguing that relief must be limited to
       individual named plaintiffs). This “practical” limitation on “the likelihood and abil-
       ity of … third parties … to assert their own rights,” Powers v. Ohio, 499 U.S. 400,
       414 (1991), further supports this suit.

                                                 19
Case: 25-1170   Document: 00118255171        Page: 22     Date Filed: 03/04/2025    Entry ID: 6704290




       policy considerations that nationwide relief is never proper, Mot.18-19, binding

       precedent is to the contrary. This Court, consistent with the Supreme Court, has held

       that nationwide relief is appropriate where necessary to remedy a plaintiff’s injuries.

       See DraftKings Inc. v. Hermalyn, 118 F.4th 416, 423-24 (1st Cir. 2024); Trump v.

       Int’l Refugee Assistance Project, 582 U.S. 571, 580-82 (2017) (declining to stay

       nationwide injunction except to extent it barred immigration policy’s enforcement

       “against foreign nationals abroad who have no connection to the United States at

       all”); accord Missouri v. Trump, --- F.4th ----, 2025 WL 518130, *11 (8th Cir. Feb.

       18, 2025) (affirming nationwide injunction where state-by-state variation in

       availability of loan forgiveness program “would create chaos” given that “loan

       accounts can shift between servicers”).

             Consistent with these cases, nationwide relief is appropriate because Plaintiffs

       will be harmed if the Order takes effect outside their jurisdictions. See PA363.

       Children routinely cross state lines and may be born in States in which they do not

       reside. Id. Consequently, Plaintiffs would have to redesign their eligibility

       verification systems for federally funded benefits as long as children born anywhere

       in the country are not automatically citizens by virtue of birth. See, e.g., PA43; PA68.

       And Plaintiffs would not receive federal funding for providing services to any such

       children born outside their jurisdictions. See PA26. Accordingly, the district court

       acted well within its discretion in crediting Plaintiffs’ uncontroverted evidence that


                                                 20
Case: 25-1170    Document: 00118255171       Page: 23     Date Filed: 03/04/2025     Entry ID: 6704290




       they would suffer harm absent nationwide relief and fashioning its injunction

       accordingly.

              Defendants’ responses are unpersuasive. Mot.19-20. Defendants never asked

       the district court to consider the “narrower injunction” they now gesture at. Mot.20

       (arguing “[c]omplete relief to the States would be afforded by a narrower injunction

       that required the federal defendants to treat the children covered by the Executive

       Order as eligible for the services the States administer”). They did not raise this in

       their preliminary injunction response brief, compare PA234, at the hearing, compare

       PA318, or in their request below for a stay pending appeal, compare PA372-74.

       Plaintiffs are uncertain how such an injunction would be designed or enforced, and

       Defendants offer no details. Regardless, the district court hardly abused its discretion

       in not sua sponte adopting it.

       III.   The Equitable Balance Weighs Decisively Against A Stay.

              The balance of the equities disfavors a stay because the harms are wholly one-

       sided. Denying Defendants’ request would cause no harm; it would merely extend

       by a few months a century-old status quo. See supra at 2-3. By contrast, granting a

       stay would result in Plaintiffs losing funds for providing critical services to children,

       require Plaintiffs to alter eligibility verification systems for federally-funded

       programs, and deny citizenship to hundreds of thousands of children born during the

       pendency of this appeal. See PA359; supra at 4-6. And it would work all these harms



                                                  21
Case: 25-1170    Document: 00118255171      Page: 24     Date Filed: 03/04/2025    Entry ID: 6704290




       based on a stay motion in which Defendants decline to even defend the Order’s

       constitutionality.

             Defendants’ arguments fail to shift the equitable balance in their favor. Their

       unsubstantiated speculation that Plaintiffs could recover reimbursements through

       unspecified administrative proceedings, Mot.21, falls far short of their burden of

       proving that “issuance of the stay will [not] substantially injure” Plaintiffs. Does 1-

       3, 39 F.4th at 24; see ECF123 at 14-15 & n.7 (explaining why Plaintiffs’ fiscal

       injuries would not be recoverable). Moreover, Defendants ignore the administrative

       costs Plaintiffs will incur. Mot.20-23. Finally, that some States support the Order

       likewise fails to satisfy Defendants’ burden to establish that a stay is in “the public

       interest,” Does 1-3, 39 F.4th at 24, given the extensive public harms, detailed in

       Plaintiffs’ declarations and credited by the district court, that necessarily require

       nationwide relief to redress fully. See, e.g., PA40-42, 43, 56, 68, 73, 99, 359.

                                         CONCLUSION

             This Court should deny a stay pending appeal.




                                                 22
Case: 25-1170   Document: 00118255171       Page: 25   Date Filed: 03/04/2025    Entry ID: 6704290




       March 4, 2025                            Respectfully submitted,

       ANDREA JOY CAMPBELL                      MATTHEW J. PLATKIN
        Attorney General of Massachusetts        Attorney General of New Jersey

       Gerard J. Cedrone
         Deputy State Solicitor                 Viviana M. Hanley
       Jared B. Cohen                             Deputy Attorney General
         Assistant Attorney General             Jeremy M. Feigenbaum
       Office of the Attorney General             Solicitor General
       One Ashburton Place, 20th Floor          Shankar Duraiswamy*
       Boston, MA 02108                           Deputy Solicitor General
       (617) 963-2282                           Office of the Attorney General
       gerard.cedrone@mass.gov                  25 Market Street
                                                Trenton, NJ 08625
       Counsel for the                          (862) 350-5800
        Commonwealth of Massachusetts           jeremy.feigenbaum@njoag.gov

                                                Counsel for the
                                                 State of New Jersey




                                               23
Case: 25-1170   Document: 00118255171        Page: 26   Date Filed: 03/04/2025    Entry ID: 6704290




       ROB BONTA                                 PHIL WEISER
        Attorney General of California            Attorney General of Colorado

       Denise Levey                              Shannon Stevenson
         Deputy Attorney General                   Solicitor General
       Michael L. Newman*                        Office of the Attorney General
         Senior Assistant Attorney General       1300 Broadway, #10
       Marissa Malouff                           Denver, CO 80203
       Irina Trasovan                            (720) 508-6000
         Supervising Deputy                      shannon.stevenson@coag.gov
         Attorneys General
       Lorraine López*                           Counsel for the State of Colorado
       Delbert Tran*
       Annabelle Wilmott
         Deputy Attorneys General
       Christopher D. Hu
         Deputy Solicitor General
       Office of the Attorney General
       300 S. Spring St., Ste. 1702
       Los Angeles, CA 90013
       (213) 269-6269
       Denise.Levey@doj.ca.gov

       Counsel for the State of California




                                                24
Case: 25-1170   Document: 00118255171     Page: 27   Date Filed: 03/04/2025    Entry ID: 6704290




       WILLIAM M. TONG                        KATHLEEN JENNINGS
        Attorney General of Connecticut        Attorney General of Delaware

       Janelle Rose Medeiros                  Vanessa L. Kassab*
         Assistant Attorney General             Deputy Attorney General
       Office of the Attorney General         Delaware Department of Justice
       165 Capitol Avenue                     820 N. French Street
       Hartford, CT 06106                     Wilmington, DE 19801
       (860) 808-5020                         (302) 683-8899
       janelle.medeiros@ct.gov                vanessa.kassab@delaware.gov

       Counsel for the                        Counsel for the State of Delaware
        State of Connecticut


       BRIAN L. SCHWALB                       ANNE E. LOPEZ
        Attorney General                       Attorney General of Hawai‘i
        for the District of Columbia
                                              Kalikoʻonālani D. Fernandes
       Caroline S. Van Zile                     Solicitor General
         Solicitor General                    Office of the Attorney General
       Jeremy R. Girton                       425 Queen Street
         Assistant Attorney General           Honolulu, HI 96813
       Office of the Attorney General         (808) 586-1360
       400 Sixth Street, N.W.                 kaliko.d.fernandes@hawaii.gov
       Washington, DC 20001
       (202) 724-6609                         Counsel for the State of Hawai‘i
       caroline.vanzile@dc.gov

       Counsel for the
        District of Columbia




                                             25
Case: 25-1170   Document: 00118255171   Page: 28   Date Filed: 03/04/2025   Entry ID: 6704290




       AARON M. FREY                        ANTHONY G. BROWN
        Attorney General of Maine            Attorney General of Maryland

       Thomas A. Knowlton                   Adam D. Kirschner
         Assistant Attorney General           Senior Assistant Attorney General
       Office of the Attorney General       Office of the Attorney General
       6 State House Station                200 Saint Paul Place, 20th Floor
       Augusta, ME 04333                    Baltimore, MD 21202
       (207) 626-8800                       akirschner@oag.state.md.us
       thomas.a.knowlton@maine.gov          (410) 576-6424

       Counsel for the State of Maine       Counsel for the State of Maryland

       DANA NESSEL                          KEITH ELLISON
        Attorney General of Michigan         Attorney General of Minnesota

       Toni L. Harris                       John C. Keller
       Neil Giovanatti                        Chief Deputy Attorney General
       Stephanie M. Service                 445 Minnesota Street, Suite 1200
         Assistant Attorneys General        St. Paul, MN 55101-2130
       Department of Attorney General       (651) 757-1355
       525 W. Ottawa                        john.keller@ag.state.mn.us
       Lansing, MI 48909
       (517) 335-7603                       Counsel for the State of Minnesota
       harrist19@michigan.gov

       Counsel for Attorney General
        Dana Nessel on behalf of
        the People of Michigan




                                           26
Case: 25-1170   Document: 00118255171         Page: 29   Date Filed: 03/04/2025   Entry ID: 6704290




       AARON D. FORD                              RAÚL TORREZ
        Attorney General of Nevada                 Attorney General of New Mexico

       Heidi Parry Stern                          James W. Grayson
         Solicitor General                          Chief Deputy Attorney General
       Office of the Attorney General             New Mexico Department of Justice
       1 State of Nevada Way, Ste. 100            408 Galisteo St.
       Las Vegas, NV 89119                        Santa Fe, NM 87501
       hstern@ag.nv.gov                           (505) 218-0850
                                                  jgrayson@nmdoj.gov
       Counsel for the State of Nevada
                                                  Counsel for the
                                                   State of New Mexico


       LETITIA JAMES                              JEFF JACKSON
        Attorney General of New York                Attorney General of North Carolina

       Matthew William Grieco                     Daniel P. Mosteller
         Senior Assistant Solicitor General        Associate Deputy Attorney General
       Ester Murdukhayeva                         Department of Justice
         Deputy Solicitor General                 P.O. Box 629
       Office of the Attorney General             Raleigh, NC 27602
       28 Liberty Street                          (919) 716-6026
       New York, NY 10005                         dmosteller@ncdoj.gov
       (212) 416-8014
       matthew.grieco@ag.ny.gov                   Counsel for the
                                                   State of North Carolina
       Counsel for the
        State of New York




                                                 27
Case: 25-1170   Document: 00118255171       Page: 30   Date Filed: 03/04/2025    Entry ID: 6704290




       PETER F. NERONHA                         CHARITY R. CLARK
        Attorney General of Rhode Island         Attorney General of Vermont

       Katherine Connolly Sadeck                Julio A. Thompson*
         Solicitor General                        Co-Director, Civil Rights Unit
       Office of the Attorney General           109 State Street
       150 South Main Street                    Montpelier, VT 06509
       Providence, RI 02903                     (802) 828-5519
       (401) 274-4400, Ext. 2480                julio.thompson@vermont.gov
       ksadeck@riag.ri.gov
                                                Counsel for the State of Vermont
       Counsel for the
        State of Rhode Island


       JOSHUA L. KAUL                           DAVID CHIU
         Attorney General of Wisconsin           City Attorney of San Francisco

       Gabe Johnson-Karp*                       David S. Louk
         Assistant Attorney General               Deputy City Attorney
       Wisconsin Department of Justice          1390 Market Street, 6th Floor
       P.O. Box 7857                            City Attorney of San Francisco
       Madison, WI 53707                        San Francisco, CA 94102
       (608) 267-8904                           (415) 505-0844
       johnsonkarpg@doj.state.wi.us             david.louk@sfcityatty.org

       Counsel for the State of Wisconsin       Counsel for the City and
                                                 County of San Francisco


       * Application for admission forthcoming or pending




                                               28
Case: 25-1170     Document: 00118255171      Page: 31    Date Filed: 03/04/2025    Entry ID: 6704290




                              CERTIFICATE OF COMPLIANCE

       Pursuant to Fed. R. App. P. 32(g)(1), I certify that:

                1. This document complies with the type-volume limitations of Fed. R. App.

       P. 27(d)(2)(A) because, excluding parts of the document exempted by Fed. R. App.

       P. 32(f), the brief contains 5,191 words and thus does not exceed the 5,200-word

       limit.

                2. This brief complies with the typeface requirements of Fed. R. App. P.

       32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because the brief

       has been prepared in a proportionally spaced typeface using the Microsoft Word

       word-processing system in Times New Roman that is at least 14 points.

                                               /s/ Viviana Hanley
                                               Viviana M. Hanley
                                               Deputy Attorney General

       Dated: March 4, 2025




                                                 29
Case: 25-1170   Document: 00118255171   Page: 32   Date Filed: 03/04/2025   Entry ID: 6704290




                               ADDENDUM
Case: 25-1170      Document: 00118255171              Page: 33        Date Filed: 03/04/2025           Entry ID: 6704290




                                           TABLE OF CONTENTS
       Memorandum of Law in Support of Plaintiffs’ Motion for a Preliminary
       Injunction
             (Jan. 21, 2025) (Dkt. No. 5) ............................................................... PA1

                       Exhibit A (Dkt. No. 5-2) ....................................................... PA34

                       Exhibit B (Dkt. No. 5-3)........................................................ PA45

                       Exhibit C (Dkt. No. 5-4)........................................................ PA52

                       Exhibit D (Dkt. No. 5-5) ....................................................... PA60

                       Exhibit E (Dkt. No. 5-6) ........................................................ PA69

                       Exhibit H (Dkt. No. 5-9) ....................................................... PA77

                       Exhibit I (Dkt. No. 5-10) ....................................................... PA85

                       Exhibit J (Dkt. No. 5-11)....................................................... PA92

                       Exhibit K (Dkt. No. 5-12) ................................................... PA103

                       Exhibit L (Dkt. No. 5-13) .................................................... PA116

                       Exhibit M (Dkt. No. 5-14)................................................... PA123

                       Exhibit N (Dkt. No. 5-15) ................................................... PA132

                       Exhibit O (Dkt. No. 5-16) ................................................... PA154

                       Exhibit R (Dkt. No. 5-19).................................................... PA164

                       Exhibit S (Dkt. No.5-20) ..................................................... PA179

       Electronic Order Relating New Jersey v. Trump with Doe v. Trump
             (Jan. 24, 2025) (Dkt. No. 71) ......................................................... PA185

       Defendants’ Memorandum of Law in Opposition to Plaintiffs’ Motions
Case: 25-1170      Document: 00118255171                 Page: 34        Date Filed: 03/04/2025             Entry ID: 6704290




       for Preliminary Injunction
              (Jan. 31, 2025) (Dkt. No. 92) ......................................................... PA186

       Reply in Support of Plaintiffs’ Motion for a Preliminary Injunction
             (Feb. 4, 2025) (Dkt. No. 123) ........................................................ PA238

       Transcript of Hearing on Motion for Preliminary Injunction
             (Feb. 7, 2025) ................................................................................. PA257

       Memorandum of Decision on Motions for Preliminary Injunction
           (Feb. 13, 2025) (Dkt. No. 144) ...................................................... PA335

       Preliminary Injunction
             (Feb. 13, 2025) (Dkt. No. 145) ...................................................... PA366

       Memorandum of Law in Support of Defendants’ Motion to Stay Preliminary
       Injunction Pending Appeal
             (Feb. 19, 2025) (Dkt. No. 158) ...................................................... PA368
Case: 25-1170   Document:
                Case       00118255171
                     1:25-cv-10139      Page:535 Filed
                                    Document        Date  Filed: 03/04/2025
                                                       01/21/25     Page 1 of 31Entry ID: 6704290




                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS


       STATE OF NEW JERSEY;
       COMMONWEALTH OF MASSACHUSETTS;
       STATE OF CALIFORNIA; STATE OF
       COLORADO; STATE OF CONNECTICUT;
       STATE OF DELAWARE; DISTRICT OF
       COLUMBIA; STATE OF HAWAI‘I; STATE OF
       MAINE; STATE OF MARYLAND;
       ATTORNEY GENERAL DANA NESSEL FOR
       THE PEOPLE OF MICHIGAN; STATE OF
       MINNESOTA; STATE OF NEVADA; STATE
       OF NEW MEXICO; STATE OF NEW YORK;
       STATE OF NORTH CAROLINA; STATE OF
       RHODE ISLAND; STATE OF VERMONT;
       STATE OF WISCONSIN; and CITY &
       COUNTY OF SAN FRANCISCO,

                                  Plaintiffs,

          v.
                                                              No. 1:25-cv-10139
       DONALD J. TRUMP, in his official capacity as
       President of the United States; U.S.
       DEPARTMENT OF STATE; MARCO RUBIO,
       in his official capacity as Secretary of State; U.S.
       DEPARTMENT OF HOMELAND SECURITY;
       BENJAMINE HUFFMAN, in his official
       capacity as Acting Secretary of Homeland
       Security; U.S. DEPARTMENT OF HEALTH
       AND HUMAN SERVICES; DOROTHY FINK,
       in her official capacity as Acting Secretary of
       Health and Human Services; U.S. SOCIAL
       SECURITY ADMINISTRATION; MICHELLE
       KING, in her official capacity as Acting
       Commissioner of U.S. Social Security
       Administration, and UNITED STATES OF
       AMERICA,

                                  Defendants.


                           MEMORANDUM OF LAW IN SUPPORT
                 OF PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION




                                                                                     PA1
Case: 25-1170          Document:
                       Case       00118255171
                            1:25-cv-10139      Page:536 Filed
                                           Document        Date  Filed: 03/04/2025
                                                              01/21/25     Page 2 of 31Entry ID: 6704290




                                                         TABLE OF CONTENTS

                                                                                                                                      Page(s)

       INTRODUCTION ...........................................................................................................................1

       BACKGROUND .............................................................................................................................2

                 A.         Terms of the Executive Order ..................................................................................2

                 B.         The Impacts of the Order .........................................................................................3

       ARGUMENT

                 I.         Plaintiffs Have Standing to Bring Suit.....................................................................8

                 II.        Plaintiffs Are Highly Likely to Succeed on The Merits ..........................................9

                            A.         The Order Violates the Fourteenth Amendment ..........................................9

                            B.        The Order Independently Violates Federal Law ........................................14

                 III.       The Equities Compel Preliminary Relief ...............................................................15

       CONCLUSION ..............................................................................................................................20




                                                                            i
                                                                                                                                          PA2
Case: 25-1170         Document:
                      Case       00118255171
                           1:25-cv-10139      Page:537 Filed
                                          Document        Date  Filed: 03/04/2025
                                                             01/21/25     Page 3 of 31Entry ID: 6704290




                                                      TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

       Cases

       Norris ex rel. A.M. v. Cape Elizabeth Sch. Dist.,
          969 F.3d 12 (1st Cir. 2020) ........................................................................................................8

       City & Cnty. of S.F. v. USCIS,
           408 F. Supp. 3d 1057 (N.D. Cal. 2019) ...................................................................................16

       CMM Cable Rep., Inc. v. Ocean Coast Props.,
         48 F.3d 618 (1st Cir. 1995) ......................................................................................................15

       Concord Hosp., Inc. v. NH Dep’t of Health & Hum. Servs.,
          ___ F. Supp. 3d ___, 2024 WL 3650089 (D.N.H. Aug. 5, 2024) ............................................15

       Crowe & Dunlevy, P.C. v. Stidham,
          640 F.3d 1140 (10th Cir. 2011) ...............................................................................................15

       Does 1-6 v. Mills,
          16 F.4th 20 (1st Cir. 2021) .......................................................................................................17

       DraftKings Inc. v. Hermalyn,
          118 F.4th 416 (1st Cir. 2024) .............................................................................................18, 19

       Dred Scott v. Sandford,
          60 U.S. 393 (1857) ...............................................................................................................1, 13

       E. Bay Sanctuary v. Covenant v. Trump,
           932 F.3d 742 (9th Cir. 2018) ...................................................................................................15

       Elk v. Wilkins,
           112 U.S. 94 (1884) ...................................................................................................................11

       In re Fin. Oversight & Mgmt. Bd. for P.R.,
           110 F.4th 295 (1st Cir. 2024) .....................................................................................................8

       Gonzalez-Alarcon v. Macias,
          884 F.3d 1266 (10th Cir. 2018) .................................................................................................3

       Gustavsen v. Alcon Labs, Inc.,
          903 F.3d 1 (1st Cir. 2018) ..........................................................................................................8

       Hamdi v. Rumsfeld,
         542 U.S. 507 (2004) .................................................................................................................12




                                                                           ii
                                                                                                                                           PA3
Case: 25-1170         Document:
                      Case       00118255171
                           1:25-cv-10139      Page:538 Filed
                                          Document        Date  Filed: 03/04/2025
                                                             01/21/25     Page 4 of 31Entry ID: 6704290




       HIAS v. Trump,
          985 F.3d 309 (4th Cir. 2021) ...................................................................................................19

       Inglis v. Trustees of Sailor’s Snug Harbour,
           28 U.S. 99 (1830) .....................................................................................................................11

       INS v. Rios-Pineda,
          471 U.S. 444 (1985) .................................................................................................................12

       Kentucky v. Biden,
          57 F.4th 545 (6th Cir. 2023) ....................................................................................................15

       Massachusetts v. U.S. Dep’t of Health & Hum. Servs.,
         923 F.3d 209 (1st Cir. 2019) ......................................................................................................8

       McBreairty v. Miller,
         93 F.4th 513 (1st Cir. 2024) .......................................................................................................8

       Miles v. Apex Marine Corp.,
          498 U.S. 19 (1990) ...................................................................................................................14

       Nken v. Holder,
          556 U.S. 418 (2009) .................................................................................................................17

       Plyler v. Doe,
           457 U.S. 202 (1982) .................................................................................................1, 11, 12, 19

       Pub. Int. Rsch. Grp. v. FCC,
          522 F.2d 1060 (1st Cir. 1975) ....................................................................................................9

       Rio Grande Cmty. Health Ctr., Inc. v. Rullan,
          397 F.3d 56 (1st Cir. 2005) ......................................................................................................15

       Savino v. Souza,
          459 F. Supp. 3d 317 (D. Mass. 2020) ......................................................................................17

       Schooner Exchange v. McFaddon,
          11 U.S. 116 (1812) ...................................................................................................................10

       Sindi v. El-Moslimany,
          896 F.3d 1 (1st Cir. 2018) ........................................................................................................20

       Tennessee v. Dep’t of Education,
          104 F.4th 577 (6th Cir. 2024) ..................................................................................................16

       Texas v. Yellen,
          105 F.4th 755 (5th Cir. 2024) ..................................................................................................15




                                                                           iii
                                                                                                                                            PA4
Case: 25-1170         Document:
                      Case       00118255171
                           1:25-cv-10139      Page:539 Filed
                                          Document        Date  Filed: 03/04/2025
                                                             01/21/25     Page 5 of 31Entry ID: 6704290




       Trump v. Int’l Refugee Assistance Project,
          582 U.S. 571 (2017) .................................................................................................................18

       United States v. Abreu,
          106 F.4th 1 (1st Cir. 2024) .......................................................................................................14

       United States v. Wong Kim Ark,
          169 U.S. 649 (1898) ...............................................................................1, 10, 11, 12, 14, 18, 19

       Whitman-Walker Clinic, Inc., v. HHS,
          485 F.Supp.3d 1 (D.D.C. 2020) ...............................................................................................16

       Statutes and Regulations

       5 U.S.C. § 706 ............................................................................................................................9, 15

       8 U.S.C. § 1356 ................................................................................................................................7

       8 U.S.C. § 1401 ....................................................................................................................1, 14, 15

       8 U.S.C. § 1611 ............................................................................................................................4, 6

       8 U.S.C. § 1612 ................................................................................................................................4

       8 U.S.C. § 1641 ................................................................................................................................6

       20 U.S.C. § 1400 ..............................................................................................................................5

       20 U.S.C. § 1412 ..............................................................................................................................5

       22 U.S.C. § 254 ..............................................................................................................................11

       42 U.S.C. § 405 ..............................................................................................................................14

       42 U.S.C. § 1396b ............................................................................................................................4

       42 U.S.C. § 1396d ............................................................................................................................4

       20 C.F.R. § 422.103(c)(2) ..............................................................................................................13

       20 C.F.R. § 422.107(d) ..................................................................................................................13

       42 C.F.R. § 435.406 .........................................................................................................................4

       88 Fed. Reg. 81090 ..........................................................................................................................4




                                                                              iv
                                                                                                                                                PA5
Case: 25-1170        Document:
                     Case       00118255171
                          1:25-cv-10139      Page:540 Filed
                                         Document        Date  Filed: 03/04/2025
                                                            01/21/25     Page 6 of 31Entry ID: 6704290




       Other Authorities

       Christopher L. Eisgruber, Birthright Citizenship and the Constitution
          72 N.Y.U. L. Rev. 54 (1997) ...................................................................................................11

       James C. Ho, Defining “American:” Birthright Citizenship & the Original
          Understanding of the 14th Amendment
          9 Green Bag 2d 367 (2006)......................................................................................................13

       Jocelyn Kane, et al., Health Care Experiences of Stateless People in Canada
          1 J. Migration & Hum. Security (2023) .....................................................................................3

       Margaret Stock, Is Birthright Citizenship Good for America
          32 CATO J. 139 (Winter 2012) .................................................................................................3

       Michael Ramsey, Originalism and Birthright Citizenship
          109 Geo. L.J. 405 (2020) .........................................................................................................11

       Noah Webster, An American Dictionary of the English Language 635 (George &
          Charles Merriam 1860) ..............................................................................................................9

       Omar Martinez, et al, Evaluating Impact of Immigration Policies on Health Status
         Among Undocumented Immigrants: A Systematic Review
         J. Immigrant Minority Health 947 (2015)..................................................................................3

       Polly J. Price, Stateless in the United States: Current Reality and a Future
           Prediction, 46 Vand. J. Transnat’l L. 443 (March 2013) ..........................................................3

       U.S. Department of Justice, Legislation Denying Citizenship at Birth to Certain
          Children Born in the United States, 19 Op. O.L.C. 340 (1995) ..................................13, 18, 20

       1 William Blackstone, Commentaries on the Laws of England 366 (6th ed., Co. of
          Booksellers, Dublin 1775) .......................................................................................................12




                                                                          v
                                                                                                                                       PA6
Case: 25-1170     Document:
                  Case       00118255171
                       1:25-cv-10139      Page:541 Filed
                                      Document        Date  Filed: 03/04/2025
                                                         01/21/25     Page 7 of 31Entry ID: 6704290




                                               INTRODUCTION

              Few principles are stitched deeper into the American fabric than birthright citizenship—

       and few principles have clearer grounding in law. From the earliest days of this Nation’s history,

       America followed the common law tradition of jus soli, that those born within the United States’s

       sovereign territory are subject to its laws and citizens by birth. That tradition continued unimpeded

       until the Supreme Court’s notorious pronouncement in Dred Scott that descendants of slaves were

       not citizens despite their birth in this country. But that aberration was short-lived: in the wake of

       the Civil War, our Nation adopted the Fourteenth Amendment to ensure citizenship for all who are

       born here. The Citizenship Clause thus promises “[a]ll persons born or naturalized in the United

       States, and subject to the jurisdiction thereof, are citizens of the United States and of the State

       wherein they reside.” Since its adoption, Congress has codified that guarantee, and the Supreme

       Court has twice confirmed that it means what it says. See 8 U.S.C. § 1401(b); United States v.

       Wong Kim Ark, 169 U.S. 649 (1898); Plyler v. Doe, 457 U.S. 202 (1982). For more than 150 years,

       the promise of the Citizenship Clause has never been undermined—until now.

              This Court should step in to protect the centuries-old status quo from unprecedented attack.

       The President’s decision last night to direct federal agencies to refuse to recognize children newly

       born in this country as citizens based on the immigration status of their parents is inconsistent with

       the Constitution and federal statutes alike. Indeed, because the Supreme Court has repeatedly held

       that the Citizenship Clause “affirms the ancient and fundamental rule of citizenship by birth within

       the territory,” Wong Kim Ark, 169 U.S. at 693, this lawsuit is not just likely to succeed before this

       Court—is it all but certain. And this unlawful order works tremendous and irreparable harms, not

       only on more than 150,000 American babies born each year who will be deprived of the privileges

       of citizenship, but also on the Plaintiffs themselves: the order, which takes effect in 29 days, will




                                                         1
                                                                                                       PA7
Case: 25-1170      Document:
                   Case       00118255171
                        1:25-cv-10139      Page:542 Filed
                                       Document        Date  Filed: 03/04/2025
                                                          01/21/25     Page 8 of 31Entry ID: 6704290




       cause Plaintiffs to suffer direct losses of federal funds that turn on residents’ citizenship and incur

       significant expenses to account for this radical change, none of which is remediable at the end of

       this case. Preliminary relief before February 19, 2025, including nationwide relief, is thus essential

       to protect the status quo from these profound and irretrievable injuries.

              The President has no power to deny citizenship that the Fourteenth Amendment and federal

       statutes guarantee. This Court should grant a preliminary injunction.

                                                BACKGROUND

              A.      Terms of the Executive Order.

              Within hours of taking office, President Trump issued an Executive Order, “Protecting the

       Meaning and Value of American Citizenship,” (Ex. W) (“Order”) to strip American-born children

       of citizenship. The Order declares that birthright citizenship does not extend to anyone born to (i)

       a mother who is unlawfully present or who is lawfully present on a temporary basis, and (ii) a

       father who is neither a citizen nor lawful permanent resident. Based on this declaration, the Order

       announces a new policy: no federal agency “shall issue documents recognizing United States

       citizenship, or accept documents ... purporting to recognize United States citizenship” for such

       children born after February 19, 2025 (“Affected Children”). Order, § 2. The Order instructs all

       executive departments and agencies to implement this policy and specifically directs the Social

       Security Administration and the Departments of State, Justice, and Homeland Security to “ensure

       that the regulations and policies of their respective departments and agencies are consistent with

       this order, and that no officers, employees, or agents of their respective departments and agencies

       act, or forbear from acting, in any manner inconsistent with this order.” Id., § 3(a).

              Not only does the Order strip the Affected Children of their citizenship, but the Order does

       not confer on them any lawful status and renders their presence in the United States unauthorized.

       Because the Order instructs all federal agencies to refuse to issue or accept any written recognition


                                                         2
                                                                                                        PA8
Case: 25-1170      Document:
                   Case       00118255171
                        1:25-cv-10139      Page:543 Filed
                                       Document        Date  Filed: 03/04/2025
                                                          01/21/25     Page 9 of 31Entry ID: 6704290




       of an Affected Child’s citizenship, it leaves the Affected Children ineligible for a range of federal

       services and programs that are unavailable to unauthorized individuals. As a result, in less than 30

       days, Plaintiffs will begin to lose significant federal funding for various critical health and welfare

       services that they provide to newborns who will now be considered unauthorized.

              B.      The Impacts Of The Order.

              “Citizenship is unique”; “it is nothing less than the right to have rights.” Gonzalez-Alarcon

       v. Macias, 884 F.3d 1266, 1277 (10th Cir. 2018). The Order will deny this fundamental right to

       millions across the Nation, creating a class of American-born children who are excluded from most

       federal public benefits, who live under a constant, destabilizing threat of deportation, and who, as

       they age, will be unable to work lawfully or to participate in American political life as voters or

       officeholders. Margaret Stock, Is Birthright Citizenship Good for America, 32 CATO J. 139, 150

       (Winter 2012). The impacts on their health and well-being will be profound. Not only will they be

       ineligible for many public services to which U.S. citizens and even “qualified aliens” are entitled,

       but they may be dissuaded from accessing services for which they are eligible based on a “fear of

       deportation and harassment from authorities.” Omar Martinez, et al, Evaluating Impact of

       Immigration Policies on Health Status Among Undocumented Immigrants: A Systematic Review,

       J. Immigrant Minority Health 947, 964 (2015) (describing resultant impacts on public health); see

       also Jocelyn Kane, et al., Health Care Experiences of Stateless People in Canada 1 J. Migration

       & Hum. Security 272-73 (2023). Further, as compared to U.S. citizens, undocumented immigrants

       are more likely to live in poverty and less likely to have a high school diploma. See Wong Decl.

       (Ex. T). And this newly subordinated class of American babies may be rendered stateless—unable

       to naturalize and potentially denied citizenship by any other nation. Stock, supra, at 148-49; see

       Polly J. Price, Stateless in the United States: Current Reality and a Future Prediction, 46 Vand. J.

       Transnat’l L. 443, 492-99 (March 2013). Our Nation will also suffer, losing the “the constructive


                                                         3
                                                                                                        PA9
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 44 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 10 of 31




       economic energies” of these American children: “engagement in [authorized] work, establishment

       of businesses, provision of services, [and] innovation.” Price, supra, at 503.

               In addition to the profound long-term impacts on these children, the Order will impose

       financial injury on Plaintiffs, principally by causing them to assume a greater fiscal responsibility

       for providing critical services and assistance to tens of thousands of their residents. The federal

       government has long provided funding to States to support provision of low-cost health insurance,

       certain educational services, and child welfare services. But eligibility for federal funding depends

       on the citizenship and immigration status of the children who are served. See, e.g., 8 U.S.C.

       §§ 1611(a), (c)(1)(B), 1612(b)(3)(C); 42 U.S.C. § 1396b; 42 C.F.R. § 435.406. To comply with

       federal and state laws, as well as to maintain the health and safety of their overall communities,

       Plaintiffs must continue to provide services to the Affected Children, but will now solely bear the

       costs of doing so. Plaintiffs will also lose funding for their agencies as a direct effect of the Order’s

       instruction to SSA to adopt the new citizenship policy. Consider the following examples: 1

               Healthcare. Medicaid and CHIP, created by federal law, provide low-cost health insurance

       to U.S. citizens or “qualified aliens” whose family incomes fall below certain thresholds. 42 C.F.R.

       § 435.406; 8 U.S.C. § 1611(a), (c)(1)(B). States administer the programs, but the federal

       government covers a substantial portion of the costs—between 50 and 75 percent for children

       across the States. See Adelman Decl. (Ex. A) at ¶15; 42 U.S.C. § 1396d(b); 88 Fed. Reg. 81090.

       But U.S. law prohibits federal reimbursement for non-emergency costs incurred on behalf of “an

       alien who is not lawfully admitted for permanent residence or otherwise permanently residing in

       the United States under color of law.” 42 U.S.C. § 1396b(v). To ensure that all children within



       1
        While this brief focuses on the fiscal impacts the Order will have on States, the City and County
       of San Francisco’s declaration spells out the impacts on localities as well. See Ex. V.


                                                          4
                                                                                                        PA10
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 45 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 11 of 31




       their jurisdictions have access to comprehensive health insurance, several Plaintiff States offer

       fully state-funded health insurance to unauthorized children who meet the income eligibility

       requirements for Medicaid or CHIP. See Ex. A at ¶¶5-11 (describing state program); Harrington

       Decl. (Ex. K) at ¶17. These programs expand access to preventative healthcare, limit the spread of

       communicable illnesses, and minimize the financial burdens on healthcare providers. See Ex. A at

       ¶¶12-14; Ex. K at ¶16-17. As a direct result of the Order, however, the federal government will

       refuse to recognize Affected Children as eligible for Medicaid or CHIP, so they will have to be

       enrolled in state-funded health insurance instead, a shift in coverage that will cost the Plaintiff

       States tens of millions of dollars. See Ex. A at ¶29; Boyle Decl. (Ex. E) at ¶¶9-11; Ex. K at ¶36;

       Armenia Decl. (Ex. O) at ¶¶23-25; Hadler Decl. (Ex. R) ¶¶26-27. Meanwhile, in Plaintiff States

       that do not provide such coverage to undocumented children, the loss of Medicaid and CHIP

       eligibility will place a financial strain on their public healthcare facilities, which will experience

       greater levels of uncompensated care. See Groen Decl. (Ex. J) at ¶¶19.

              Special Needs Education. The same loss of Medicaid eligibility also has direct impacts on

       public health agencies and local schools, which must provide certain early intervention and special

       education services to infants, toddlers, and students with disabilities under the Individuals with

       Disabilities in Education Act (IDEA). See 20 U.S.C. §§ 1400(d)(1)(A), 1412(a)(1). States and local

       school districts receive partial Medicaid reimbursement from the federal government for providing

       such services to Medicaid-enrolled children. Ehling Decl. (Ex. B) at ¶10; Baston Decl. (Ex. C) at

       ¶¶17-18; Heenan Decl. (Ex. L) at ¶12. Because the Order will eliminate this funding for Affected

       Children with special needs, the Plaintiffs will suffer direct financial harms.

              Child Welfare. The Order will cause state child welfare agencies to lose significant federal

       Title IV-E funding, which covers a sizeable portion of States’ expenses for foster care, adoption,




                                                         5
                                                                                                      PA11
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 46 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 12 of 31




       and guardianship assistance. See, e.g., Jamet Decl. (Ex. D) at ¶¶14-15; Sesti Decl. (Ex. H) at ¶¶4-

       6. Plaintiff States incur costs to provide Affected Children with child welfare services as required

       by state law, and federal funds are used for both direct payments to families caring for children in

       foster care and to help cover States’ administrative expenses. See, e.g., Ex. D at ¶12; Ex. H at ¶5.

       But because this funding, too, is limited to citizens or “qualified aliens,” see 8 U.S.C. §§ 1611(a),

       (c)(1)(B), 1641, States would lose access to Title IV-E funding for Affected Children and have to

       cover the costs themselves. See, e.g., Ex. D at ¶15; Ex. H at ¶¶8-9; Avenia Decl. (Ex. Q) at ¶¶17-

       20. And the impacts do not stop there: to help keep children with their parents, some child welfare

       agencies provide targeted assistance for basic necessities to the families they serve. See, e.g., Ex.

       D at ¶18; Ex. Q at ¶20. Here, too, the Order has a direct impact: because the quantum of assistance

       the State must provide to keep a child with their parents turns on the child’s eligibility for federal

       programs like SNAP, TANF, and SSI, and the federal programs are again available to U.S. citizens

       and qualified aliens, the States would have to increase their assistance to families whose Affected

       Children are otherwise at risk of requiring foster care. See, e.g., Ex. D at ¶18; Ex. Q at ¶20.

              SSN Funding. The Order will also strip States of federal funding from the Social Security

       Administration (SSA). Pursuant to SSA’s Enumeration At Birth (“EAB”) program—under which

       99% of newborns obtain their SSNs—participating States transmit SSN applications for newborns

       to SSA and receive $4.82 per SSN issued. See, e.g., Ex. C at ¶¶10-11; Duncan Decl. (Ex. I) at ¶19;

       Nguyen Decl. (Ex. M) at ¶¶22-23. Consistent with the Order, however, SSA will issue fewer SSNs

       to newborns, because it can no longer recognize the citizenship of Affected Children—and thereby

       cost the States tens of thousands of dollars they use to support the work of their vital statistics and

       records agencies. See, e.g., Ex. C at ¶¶12-16; Ex. E at ¶19; Ex. I at ¶¶20-21; Ex. M at ¶30; Villamil-

       Cummings Decl. (Ex. N) at ¶18; Gauthier Decl. (Ex. S) ¶19.




                                                         6
                                                                                                      PA12
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 47 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 13 of 31




              Administrative/Operational Expenses. Finally, the Order will impose direct administrative

       and operational burdens on Plaintiffs. Plaintiffs maintain systems to verify residents’ eligibility for

       federally-funded programs such as Medicaid, CHIP, Title IV-E, TANF, and SNAP. See, e.g., Ex.

       A at ¶17; Ex. D at ¶¶19-20; Ex. H at ¶¶7-8; Ex. K at ¶23. Before the Order, there was an easily

       administrable way to verify the citizenship of American-born children: confirming that they were

       born in America. See, e.g., Ex. D at ¶21; Ex. J at ¶15. But because a child’s birth in this country

       will no longer suffice as proof, Plaintiffs will have to develop new systems that incorporate

       information about the child’s parents to determine eligibility for federally funded programs;

       identify and determine the kinds of evidence sufficient to prove citizenship; design and implement

       new systems for processing applications and tracking citizenship status; train staff, partner

       organizations, and healthcare providers on the new system and procedures; and revise existing

       guidance and manuals regarding eligibility. See Ex. A at ¶¶32-35 (detailing costs); Ex. D at ¶¶22-

       25 (same); Ex. H at ¶¶12-15 (same); Ex. K at ¶¶44-45 (same); Ex. O at ¶¶31-33 (same); Ex. R at

       ¶¶25-28 (same). Moreover, Plaintiffs—as well as public healthcare facilities—will face increased

       administrative burdens trying to secure SSNs for newborn children through the EAB program. See

       Ex. C at ¶14-16; Ex. M at ¶¶31-32. Here, again, state facilities will no longer be able to count on

       the fact of the child’s birth at their facility—and will incur new costs to verify their parents’

       immigration statuses. Ex. C at ¶16.

              The federal government’s own practices confirm the substantial cost Plaintiffs will incur

       to determine a child’s citizenship based on their parents’ own immigration status. USCIS charges

       $1,335 per application to determine whether a child (who was not born in the United States) is

       entitled to U.S. citizenship because one of their parents is a U.S. citizen—an amount that was set

       “at a level that will ensure recovery of the full costs of providing … services.” 8 U.S.C. § 1356(m);




                                                         7
                                                                                                      PA13
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 48 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 14 of 31




       see USCIS, Form G-1055, Fee Schedule, at 34-35 (ed. Jan. 17, 2025).

                                                  ARGUMENT

              “When assessing a request for a preliminary injunction, a district court must consider ‘(1)

       the movant’s likelihood of success on the merits; (2) the likelihood of the movant suffering

       irreparable harm; (3) the balance of equities; and (4) whether granting the injunction is in the public

       interest.’” Norris ex rel. A.M. v. Cape Elizabeth Sch. Dist., 969 F.3d 12, 22 (1st Cir. 2020). All

       four factors overwhelmingly support granting a preliminary injunction.

       I.     PLAINTIFFS HAVE STANDING TO BRING SUIT.

              Plaintiffs have standing to challenge this unprecedented Order because they will suffer an

       “injury in fact” that is “fairly traceable” to the Order and “may be redressed by” a judicial order

       enjoining its implementation. McBreairty v. Miller, 93 F.4th 513, 518 (1st Cir. 2024). Plaintiffs

       can show standing based on a “substantial risk” that they will suffer proprietary harms, including

       fiscal injuries. Massachusetts v. U.S. Dep’t of Health & Hum. Servs., 923 F.3d 209, 222 (1st Cir.

       2019) (State “established standing under a traditional Article III analysis” via its “demonstration

       of fiscal injury”); In re Fin. Oversight & Mgmt. Bd. for P.R., 110 F.4th 295, 308 (1st Cir. 2024)

       (agreeing financial losses are “a quintessential injury in fact”); Gustavsen v. Alcon Labs, Inc., 903

       F.3d 1, 7 (1st Cir. 2018) (“out-of-pocket loss of $500 to $1000 per year” is Article III injury). Even

       “small economic loss … is enough to confer standing.” Massachusetts, 923 F.3d at 222.

              Plaintiffs have more than cleared that bar here. As detailed both above and in the attached

       declarations, Plaintiffs have demonstrated that the Order will impose financial injuries directly on

       them: the loss of federal health funds and concomitant state healthcare expenses, supra at 4-5; loss

       of federal funding and concomitant expenses for special needs youth, supra at 5; loss of federal

       funding and concomitant governmental expenses for foster care, adoption, guardianship, and child




                                                         8
                                                                                                      PA14
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 49 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 15 of 31




       welfare assistance, supra at 5-6; loss of SSA reimbursements under the EAB, supra at 6; and major

       operational disruptions and administrative burdens across agencies and facilities, supra at 6-7.

       Each financial injury flows from the Order, which requires all federal agencies to comply with its

       unprecedented approach to citizenship, and would thus be redressed by a swift injunction.

       II.    PLAINTIFFS ARE HIGHLY LIKELY TO SUCCEED ON THE MERITS.

              Plaintiffs are exceptionally likely to succeed on their claims that the Order contravenes the

       Constitution and a series of federal statutes, including the Immigration and Nationality Act (INA),

       and that any actions an executive agency takes to implement it would violate the APA. See, e.g.,

       Pub. Int. Rsch. Grp. v. FCC, 522 F.2d 1060, 1064 (1st Cir. 1975) (Executive is bound by “the twin

       external standards of statutory law and constitutional right”); 5 U.S.C. § 706(2) (requiring court

       invalidate agency action that is contrary to law). The President’s decision to eliminate birthright

       citizenship contravenes the plain text of the Fourteenth Amendment, directly on-point Supreme

       Court decisions, centuries of history and practice, and a decades-old federal statute.

              A.      The Order Violates the Fourteenth Amendment.

              Begin with the Fourteenth Amendment. The Citizenship Clause is clear: “All persons born

       … in the United States, and subject to the jurisdiction thereof, are citizens of the United States.”

       U.S. Const. amend. XIV, § 1. The Constitution does not qualify this guarantee of citizenship, nor

       does it empower the President, or even Congress, to do so. The sole textual question is thus whether

       a child born in the United States to non-citizen parents is “subject to the jurisdiction” of the United

       States. That question admits of an easy answer: prior to the adoption of the Citizenship Clause in

       1868, it was established that persons physically present in the United States, including non-citizens

       and their children, were subject to its sovereign power and control. See, e.g., Noah Webster, An

       American Dictionary of the English Language 635 (George & Charles Merriam 1860) (Ex. X)

       (explaining legal term of art “subject to the jurisdiction” refers to the sovereign’s “[p]ower of


                                                         9
                                                                                                      PA15
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 50 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 16 of 31




       governing or legislating” or “power or right of exercising authority” over the person); Schooner

       Exchange v. McFaddon, 11 U.S. 116, 136 (1812) (Marshall, C.J.) (“The jurisdiction of the nation

       within its own territory is necessarily exclusive and absolute. It is susceptible of no limitation not

       imposed by itself.”); Wong Kim Ark, 169 U.S. at 693 (emphasizing “[i]t can hardly be denied that

       an alien is completely subject to the political jurisdiction of the country in which he resides”).

              The Supreme Court has twice held, in no uncertain terms, that children born in the United

       States to non-citizen parents fall within the Citizenship Clause’s textual guarantee—regardless of

       their parents’ immigration status. In Wong Kim Ark, decided 127 years ago, the Court forcefully

       rejected a challenge to the citizenship of an American born in California to parents of Chinese

       descent. 169 U.S. at 705. The Court reviewed the text of the Fourteenth Amendment, canvassed

       the history of birthright citizenship, and found that the Citizenship Clause “affirms the ancient and

       fundamental rule of citizenship by birth within the territory” and expressly “includ[es] all children

       here born of resident aliens.” Id. at 693; As the Court explained:

                      The amendment, in clear words and in manifest intent, includes the
                      children born within the territory of the United States of all other
                      persons, of whatever race or color, domiciled within the United
                      States. Every citizen or subject of another country, while domiciled
                      here, is within the allegiance and the protection, and consequently
                      subject to the jurisdiction, of the United States.

       Id. In short, the Court held, to “exclude[] from citizenship the children born in the United States

       of citizens or subjects of other countries, would be to deny citizenship to thousands of persons …

       who have always been considered and treated as citizens of the United States.” Id. at 694.

              The four circumscribed exceptions to birthright citizenship that Wong Kim Ark identified

       only confirm the Citizenship Clause extends broadly to those born in the United States and subject

       to U.S. authority. The exceptions are for children: (1) of active “members of the Indian tribes,” (2)

       of “foreign sovereigns or their ministers,” (3) “born on foreign public ships,” and (4) of “enemies



                                                        10
                                                                                                      PA16
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 51 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 17 of 31




       within and during a hostile occupation of part of our territory.” Wong Kim Ark, 169 U.S. at 693.

       Each describes individuals who are not fully subject to U.S. jurisdiction, that is, to U.S. law and

       governance, despite physical presence in the country. “[C]hildren of members of the Indian tribes”

       who maintain their tribal affiliations, id., are subject to tribal law. See Elk v. Wilkins, 112 U.S. 94,

       102 (1884). (Congress ultimately granted children of tribal members citizenship by statute in 1924.

       See 8 U.S.C. § 1401(b).) Children of foreign sovereigns and their ministers, and children born on

       foreign government ships, enjoy immunity from U.S. law, conferred by common law, see Wong

       Kim Ark, 169 U.S. at 658, 684-85; conferred by statute, see 22 U.S.C. §§ 254a–254e; or both. And

       children of foreign enemies “during and within [a] hostile occupation” are governed by martial

       law. Wong Kim Ark, 169 U.S. at 655; see Inglis v. Trustees of Sailor’s Snug Harbour, 28 U.S. 99,

       156 (1830) (Story, J., dissenting) (explaining common-law rule that “children of enemies, born in

       a place … then occupied by them by conquest, are still aliens”); Michael Ramsey, Originalism and

       Birthright Citizenship, 109 Geo. L.J. 405, 444 (2020) (“It was common ground that hostile armies

       were not subject to U.S. jurisdiction when within U.S. territory as a result of their practical

       condition as beyond U.S. civil authority”). The children born to foreign visitors or resident aliens

       fit none of these; they are bound by U.S. law, enjoying no immunity from its reach. See Christopher

       L. Eisgruber, Birthright Citizenship and the Constitution, 72 N.Y.U. L. Rev. 54, 65 (1997) (“[T]he

       children of illegal aliens are certainly ‘subject to the jurisdiction of the United States’ in the sense

       that they have no immunity from American law.”).

               The Supreme Court unanimously reached the same conclusion eight decades later in Plyler

       v. Doe, 457 U.S. 202 (1982). Although that case involved the threshold question of which persons

       fall “within [the United States’s] jurisdiction” for purposes of the Fourteenth Amendment’s Equal

       Protection Clause, U.S. Const. Amend XIV, § 1, the Supreme Court acknowledged that the phrase




                                                         11
                                                                                                       PA17
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 52 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 18 of 31




       bore the same meaning across the Amendment. See Wong Kim Ark, 169 U.S. at 687 (finding it “is

       impossible to construe the words ‘subject to the jurisdiction thereof,’ in the [Citizenship Clause],

       as less comprehensive than the words ‘within its jurisdiction,’ in the [Equal Protection Clause]”);

       Plyler, 457 U.S. at 211 n.10 (same). And in construing the term, the Court agreed that immigrants

       who are physically present in this country, regardless of their immigration status, fall within the

       Nation’s “jurisdiction.” Compare Plyler, 457 U.S. at 211 & n.10 (majority) (finding “no plausible”

       basis to distinguish “resident aliens whose entry into the United States was lawful, and resident

       aliens whose entry was unlawful,” for purposes of who falls “within” U.S. “jurisdiction”), with id.

       at 243 (Burger, C.J., dissenting) (agreeing equal protection “applies to aliens who, after their illegal

       entry into this country, are indeed physically ‘within the jurisdiction’ of a state”). 2

               Not only is this Court bound by Wong Kim Ark and Plyler, but these longstanding decisions

       follow inexorably from the history and original understanding of the Citizenship Clause. Prior to

       the Fourteenth Amendment, the Constitution referenced U.S. citizenship, see, e.g., U.S. Const. art.

       I, §§ 2-3; id. art. IV, § 2, including the concept of citizenship by birth, see id. art. II, § 1, but left

       its precise scope to the common law. See Slaughter-House Cases, 83 U.S. 36, 72 (1872); Ramsey,

       supra, at 410-15. With respect to the acquisition of citizenship at birth, the prevailing view in the

       early nineteenth century was that the United States adopted “the English idea of subjectship by

       birth within the nation’s territory (jus soli),” id. at 413, that “[n]atural-born subjects are such as

       are born within the dominions of the crown of England,” 1 William Blackstone, Commentaries on

       the Laws of England 366 (6th ed., Co. of Booksellers, Dublin 1775) (Ex. Y); accord Wong Kim



       2
         Nor was Plyler the last word: the Supreme Court has repeatedly acknowledged that children born
       in this country to noncitizens are citizens themselves. See INS v. Rios-Pineda, 471 U.S. 444, 446
       (1985) (unanimously noting undocumented resident “had given birth to a child, who, born in the
       United States, was a citizen of this country”); Hamdi v. Rumsfeld, 542 U.S. 507, 510 (2004).


                                                          12
                                                                                                         PA18
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 53 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 19 of 31




       Ark, 169 U.S. at 654-64 (detailing common law jus soli rule and surveying U.S. decisions holding

       that birth within United States sovereign territory conveys U.S. citizenship). And when the

       Supreme Court infamously declared that this citizenship right was unavailable to the descendants

       of slaves, Dred Scott v. Sandford, 60 U.S. 393, 404-05 (1857), the post-Civil War Nation adopted

       the Citizenship Clause “to establish a clear and comprehensive definition” of citizenship,

       Slaughter-House Cases, 83 U.S. at 73, by returning the Nation to the citizenship doctrine that had

       long prevailed. See Cong. Globe, 39th Cong., 1st Sess., 2890 (Ex. Z) (Sen. Howard of Michigan,

       introducing Citizenship Clause proposal and explaining “[t]his amendment … is simply

       declaratory of what I regard as the law of the land already, that every person born within the limits

       of the United States, and subject to their jurisdiction, is … a citizen of the United States”); id. at

       2890-91 (Sen. Cowan) (opposing provision because it would ensure birthright citizenship); James

       C. Ho, Defining “American:” Birthright Citizenship & the Original Understanding of the 14th

       Amendment, 9 Green Bag 2d 367, 370 (2006) (canvassing Citizenship Clause debates and finding

       “[t]his understanding was universally adopted by other Senators,” including by its opponents).

               Beyond text, precedent, and history, centuries of practice are in accord. The Department of

       Justice’s Office of Legal Counsel has found that “the text and legislative history of the citizenship

       clause as well as consistent judicial interpretation” all “place the right to citizenship based on birth

       within the jurisdiction of the United States beyond question.” Legislation Denying Citizenship at

       Birth to Certain Children Born in the United States, 19 Op. O.L.C. 340, 1995 WL 1767990, at *1-

       2 (1995) (“OLC Op.”). And federal agencies have long accepted a U.S. birth certificate as evidence

       of citizenship. See, e.g., 20 C.F.R. § 422.107(d) (“[A]n applicant for an original or replacement

       social security number card may prove that he or she is a U.S. citizen by birth by submitting a birth

       certificate … that shows a U.S. place of birth.”); 20 C.F.R. § 422.103(c)(2) (same for issuance of




                                                         13
                                                                                                       PA19
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 54 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 20 of 31




       SSNs to newborns through State’s birth registration process); Ex. U (State Department’s Foreign

       Affairs Manual, involving issuance of passports, noting “[a]ll children born in and subject, at the

       time of birth, to the jurisdiction of the United States acquire U.S. citizenship at birth even if their

       parents were in the United States illegally at the time of birth”). Plaintiffs know of no contrary

       precedent, history, or practice that would undermine this bedrock principle.

              B.      The Order Independently Violates Federal Law.

              Not only does the Order thus violate the Fourteenth Amendment, but it is contrary to the

       INA as well. The INA, enacted in 1952, parrots the Citizenship Clause’s language by providing

       that any “person born in the United States, and subject to the jurisdiction thereof” is a “citizen[] of

       the United States at birth.” Pub. L. No. 82-414, §301(a)(1), 66 Stat. 163, 235 (codified at 8 U.S.C.

       § 1401(a)). “Under controlling precedent, [this Court] interpret[s] a statute’s words based on their

       plain and ordinary meaning at the time of the statute’s enactment.” United States v. Abreu, 106

       F.4th 1, 12 (1st Cir. 2024). And by 1952, the meaning of the term of art “subject to the jurisdiction

       thereof” was clear: it followed the “fundamental rule of citizenship by birth within the territory,”

       and “includ[ed] all children here born of resident aliens.” Wong Kim Ark, 169 U.S. at 693. So even

       if the federal government urges the Supreme Court to abandon its interpretation of the Citizenship

       Clause—notwithstanding its plain text, unanimous precedent, preexisting common law, originalist

       evidence, and a century of practice—the meaning of the law Congress enacted in 1952 would stay

       the same. See, e.g., Miles v. Apex Marine Corp., 498 U.S. 19, 32 (1990) (“We assume that Congress

       is aware of existing law when it passes legislation.”). In abrogating birthright citizenship for the

       first time since the Civil War, the Order is unconstitutional and ultra vires alike. 3


       3
         Actions federal agencies will have to take in order to implement this Order likewise violate their
       governing laws, and so those actions must thus be enjoined on those bases too. For example, SSA
       is statutorily required to issue SSNs to persons eligible to apply for federal benefits, 42 U.S.C.



                                                         14
                                                                                                      PA20
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 55 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 21 of 31




       III.   THE EQUITIES COMPEL PRELIMINARY RELIEF.

              This Court should grant preliminary relief to protect the centuries-old status quo before the

       Order strips American children of citizenship in 30 days, not only because the Order is unlawful,

       but because relief is necessary to avoid irreparable harm and protect the equities and public interest.

       See, e.g., CMM Cable Rep., Inc. v. Ocean Coast Props., 48 F.3d 618, 620 (1st Cir. 1995) (noting

       salutary “purpose of a preliminary injunction is to preserve the status quo” and “freez[e] an existing

       situation” to avoid injuries while court engages in “full adjudication”); Rio Grande Cmty. Health

       Ctr., Inc. v. Rullan, 397 F.3d 56, 76 (1st Cir. 2005) (asking if challengers would suffer “irreparable

       harm” because injuries “cannot adequately be compensated for either by a later-issued permanent

       injunction, after a full adjudication on the merits, or by a later-issued damages remedy”).

              Absent relief from this Court before the Order takes effect, Plaintiffs’ injuries here will be

       immediate and irreparable. See, e.g., Concord Hosp., Inc. v. NH Dep’t of Health & Hum. Servs.,

       ___ F. Supp. 3d ___, 2024 WL 3650089, at *24 (D.N.H. Aug. 5, 2024) (emphasizing financial

       costs cannot be recouped where the public defendant is protected from damages claims); Crowe

       & Dunlevy, P.C. v. Stidham, 640 F.3d 1140, 1157 (10th Cir. 2011); Texas v. Yellen, 105 F.4th 755,

       774 (5th Cir. 2024); Kentucky v. Biden, 57 F.4th 545, 556 (6th Cir. 2023). As the record confirms,

       approximately 153,000 babies are born in this country to two undocumented parents every year—

       such that, on average, at least 420 Affected Children would be born, stripped of their citizenship,




       § 405(c)(2)(B), which necessarily includes Affected Children pursuant to the Citizenship Clause
       and 8 U.S.C. § 1401(a). SSA therefore cannot implement this Order and start categorically refusing
       to recognize as proof of citizenship documents showing that a child was born in the United States
       without running afoul of that statute and, consequently, the APA. See 5 U.S.C. §§ 706(2)(B)-(D);
       E. Bay Sanctuary v. Covenant v. Trump, 932 F.3d 742, 770-71 (9th Cir. 2018) (finding agency
       action implementing executive order is reviewable under the APA).


                                                         15
                                                                                                      PA21
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 56 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 22 of 31




       every day after the Order takes effect in a month. See Lapkoff Decl. (Ex. F), Ex. 2 at 1. 4

              Plaintiffs must thus contend with the operational chaos and financial losses that this Order

       imposes as soon as it takes effect—indeed they must start planning for its disruption now. See City

       & Cnty. of S.F. v. USCIS, 408 F. Supp. 3d 1057, 1122 (N.D. Cal. 2019) (recognizing “burdens on

       … ongoing operations” for public entities constitute irreparable harm); Tennessee v. Dep’t of

       Education, 104 F.4th 577, 613 (6th Cir. 2024) (same); cf. Whitman-Walker Clinic, Inc., v. HHS,

       485 F.Supp.3d 1, 56 (D.D.C. 2020) (finding irreparable harm based upon “financial and

       operational burdens” imposed by a regulatory action). For Affected Children, Plaintiffs could no

       longer use their existing and longstanding procedures for verifying eligibility for federal funding

       for health and welfare programs. See, e.g., Ex. D at ¶16 (noting, as immediate example in which

       verification is needed, that hundreds of New Jersey children unfortunately enter state care in first

       year of their lives, some of whom will be Affected Children); Ex. A at ¶30-31 (noting many States

       enroll low-income children in public health insurance immediately upon birth, likewise requiring

       verification). Instead of relying on a U.S. hospital’s registration to confirm the newborn’s

       eligibility for federal funding, Plaintiffs would need to develop eligibility verification systems that

       document and track the immigration status of the newborn’s parents—an immediate change that

       demands significant expenditures and diversion of resources. See Ex. A at ¶¶31-35; Ex. D at ¶¶22-

       24; see also Stock, supra, at 152 (“Proving one’s parents’ citizenship or immigration status at the

       moment of one’s birth can be difficult … apart from the simple birthright citizenship rule.”);

       USCIS, Form G-1055, at 34-35 ($1,335 per application to certify citizenship based upon

       parentage). This disruption will be compounded if Plaintiffs prevail, despite having spent weeks


       4
         This is a conservative estimate of the number of Affected Children, because it does not account
       for Affected Children whose parents are lawfully present on a temporary basis or whose fathers at
       birth are conditional permanent residents. See Order, § 2(a).


                                                         16
                                                                                                      PA22
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 57 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 23 of 31




       redesigning and reimplementing their system, as they would then have to expend resources to

       revert to the pre-existing system. A court order preserving the status quo that has been in effect

       since 1868 would prevent this chaos and harm.

              Beyond the chaos for residents and Plaintiffs alike, the many financial harms laid out above

       are likewise imminent and irreparable. As explained above, many States enroll their low-income

       children in public health insurance immediately upon birth. See, e.g., Ex. A at ¶30. That matters

       not only for basic operations, but for funding too: Federal Medicaid and CHIP funding are provided

       through an upfront quarterly grant. Ex. A at ¶17. States utilize these funds throughout the quarter—

       for example, New Jersey draws from the funds on a weekly basis—to fund health care expenditures

       for enrolled children. Id. ¶18. Once the Order takes effect, more and more Affected Children will

       be enrolled in state-funded health care rather than Medicaid or CHIP with each passing day, and

       States will be unable to use the federal funds to pay for their care—funds they would have received

       but for the Order. Id. ¶¶28-29. And the same is true for EAB funding associated with SSNs, which

       will also prove irreparable immediately upon the Order taking effect. Once any newborn leaves a

       hospital without securing an SSN through the EAB program, States will likely lose the opportunity

       to secure an EAB payment. And Title IV-E funding, for its part, is provided quarterly, meaning

       States must submit to the federal government their next reimbursement claims for eligible children

       soon after the end of the first quarter in 2025. See, e.g., Ex. D at ¶12. There is no basis to require

       States to incur these costs where their legal success is so certain.

              The equities and public interest overwhelmingly demand temporary and preliminary relief

       too. See, e.g., Does 1-6 v. Mills, 16 F.4th 20, 37 (1st Cir. 2021) (noting the balance of equities and

       the public interest “merge when the [g]overnment is the opposing party” (quoting Nken v. Holder,

       556 U.S. 418, 435 (2009)); Savino v. Souza, 459 F. Supp. 3d 317, 331 (D. Mass. 2020) (adding the




                                                         17
                                                                                                      PA23
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 58 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 24 of 31




       factors merge “in the immigration context”). The public interest could scarcely be clearer: today’s

       Order undermines “the ancient and fundamental rule of citizenship by birth within the territory,”

       Wong Kim Ark, 169 U.S. at 693, a doctrine that reflects the post-Dred Scott lesson that “our country

       should never again trust to judges or politicians the power to deprive from a class born on our soil

       the right of citizenship,” and that ensures there will “be no inquiry into whether or not one came

       from the right caste, or race, or lineage, or bloodline in establishing American citizenship,” OLC

       Op. at *6. Without the fundamental citizenship to which their birth entitles them, Affected Children

       risk deportation before their right to citizenship may be adjudicated, even in the weeks and months

       in which this case is pending. Even if they are not removed during the pendency of this litigation,

       in many States, they will be unable to access non-emergency healthcare during the first few months

       of their lives on account of ineligibility for federal benefits like CHIP and Medicaid. Add to that

       the federal funds Plaintiffs will irreparably lose and the time and resources that their agencies must

       expend as they rush to redesign benefits eligibility systems to accord with the Executive Branch’s

       new definition of citizenship, supra at 2-3, and the equities call powerfully for averting all these

       harms by preserving the status quo prior to February 19, 2025, while this litigation proceeds.

              Consistent with the extraordinary nature of this case, the emergency relief this Court orders

       should apply nationwide. District court judges have discretion “to design ‘the scope of injunctive

       relief’” so that it is tailored to the “specific harm alleged.” DraftKings Inc. v. Hermalyn, 118 F.4th

       416, 423 (1st Cir. 2024) (affirming nationwide preliminary injunction enjoining ex-employee from

       competing with former employer anywhere in the country). Because there are times in which any

       narrower relief “would entirely undercut th[e] injunction’s effectiveness,” id. at 424, courts have

       found nationwide injunctions of federal policies can be appropriate if a more limited preliminary

       injunction would fail to remedy the irreparable harm. See, e.g., Trump v. Int’l Refugee Assistance




                                                        18
                                                                                                      PA24
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 59 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 25 of 31




       Project, 582 U.S. 571, 579, 581 (2017) (declining to stay nationwide injunction insofar as it barred

       enforcement of travel ban “against foreign nationals who have a … relationship with a person or

       entity in the United States,” given “the hardships identified by the courts below” that would flow

       to such persons absent nationwide preliminary relief); HIAS v. Trump, 985 F.3d 309, 326-27 (4th

       Cir. 2021) (affirming nationwide injunction when state agencies “place[d] refugees throughout the

       country” and demonstrated irreparable harm from the order taking effect in other jurisdictions).

              Such relief is appropriate here. Initially, the issue has already been settled for this Nation:

       the Supreme Court has twice, in decisions that apply to every State, expressly confirmed that the

       Constitution ensures birthright citizenship for all American-born children subject to our sovereign

       laws. See Wong Kim Ark, 169 U.S. 649; Plyler, 457 U.S. 202. Indeed, other than in the post-Dred

       Scott Civil War, that has been the clear status quo for the entire Nation since before the Fourteenth

       Amendment and in the 157 years since. And any order that grants narrower relief than established

       by Wong Kim Ark and Plyler—in which birthright citizenship would exist in some States but not

       others—would fail to fully remedy Plaintiffs’ harms. After all, if children born in Plaintiff States

       acquire citizenship regardless of their parents’ immigration status, but children born in other States

       do not, then Plaintiffs’ agencies would still have to recalibrate how they determine eligibility for

       federal programs, and incur related administrative costs, due to the reality that infants born in other

       States can move to Plaintiff States and ultimately seek services. Ex. A at ¶36; Ex. D at ¶25. That

       is, given the reality that families move across state lines, Plaintiff States faced with any patchwork

       judicial order would still have to redesign and implement eligibility verification systems to account

       for this possibility—one of the irreparable harms laid out above, see supra at 7—which would

       “undercut th[e] injunction’s effectiveness.” DraftKings, 118 F.4th at 424.

              There are further reasons that a patchwork court order fails “to provide complete relief” to




                                                         19
                                                                                                      PA25
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 60 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 26 of 31




       Plaintiffs. Sindi v. El-Moslimany, 896 F.3d 1, 31 (1st Cir. 2018). In addition to the operational

       chaos that would persist, if the challenged policies are enjoined within the Plaintiff States but not

       throughout the rest of the country, then Plaintiff States will still incur increased costs for providing

       state-funded healthcare and foster care to infants who move into their States after being born in

       non-Plaintiff States. For example, Plaintiff States provide foster care to infants regardless of the

       child’s state of birth or of the parents’ citizenship or immigration status, but they only receive Title

       IV-E matching funds for providing foster care to U.S. citizens or qualifying noncitizens. See supra

       at 5-6; Ex. D at ¶11. And many Plaintiff States likewise fund health care for children without

       regard to their immigration status or to the State in which they were born. See supra at 4-5. Without

       nationwide preliminary relief, Plaintiff States would have to spend more of their own funds

       providing foster care and healthcare to children born to undocumented parents in this country but

       outside of the Plaintiff States. Given the unprecedented and extraordinary nature of this Order, this

       court should preserve the centuries-old status quo to protect babies’ fundamental citizenship rights

       and avoid profound irreparable harms while this case proceeds.

               As the Department of Justice has acknowledged, “[t]o have citizenship in one’s own right,

       by birth upon this soil, is fundamental to our liberty as we understand it.” OLC Op. at *7. Although

       other Nations make other choices, “for us, for our nation, the simple, objective, bright-line fact of

       birth on American soil is fundamental.” Id. at *6. Simply put, “All who have the fortune to be born

       in this land inherit the right, save by their own renunciation of it, to its freedoms and protections.”

       Id. at *7. This Court should enjoin this assault on our fundamental American tradition.

                                                 CONCLUSION

               This Court should grant the motion for a preliminary injunction.




                                                         20
                                                                                                       PA26
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 61 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 27 of 31




       January 21, 2025                         Respectfully submitted.

       MATTHEW J. PLATKIN                       ANDREA JOY CAMPBELL
        ATTORNEY GENERAL OF NEW JERSEY           ATTORNEY GENERAL OF MASSACHUSETTS

       /s/ Jeremy M. Feigenbaum                  /s/ Gerard J. Cedrone
       Jeremy M. Feigenbaum *                   Gerard J. Cedrone (BBO No. 699674)
         Solicitor General                         Deputy State Solicitor
       Shankar Duraiswamy*                      Jared B. Cohen (BBO No. 689217)
         Deputy Solicitor General                  Assistant Attorney General
       Viviana M. Hanley*                       Office of the Attorney General
       Shefali Saxena*                          One Ashburton Place, 20th Floor
       Elizabeth R. Walsh*                      Boston, MA 02108
         Deputy Attorneys General               (617) 963-2282
       Office of the Attorney General           gerard.cedrone@mass.gov
       25 Market Street                         jared.b.cohen@mass.gov
       Trenton, NJ 08625
       (609) 376-3377                           Counsel for the Commonwealth of
       Jeremy.feigenbaum@njoag.gov               Massachusetts

       Counsel for the State of New Jersey

       ROB BONTA                                 PHIL WEISER
        ATTORNEY GENERAL OF CALIFORNIA            ATTORNEY GENERAL OF COLORADO

       /s/ Denise Levey                          /s/ Shannon Stevenson
       Denise Levey*                             Shannon Stevenson
         Deputy Attorney General                  Solicitor General
       Michael Newman                            Office of the Colorado Attorney General
         Senior Assistant Attorney General       1300 Broadway, #10
       Marissa Malouff*                          Denver, CO 80203
       Irina Trasovan*                           (720) 508-6000
         Supervising Deputy Attorneys General    Shannon.Stevenson@coag.gov
       Lorraine López*
       Delbert Tran*                             Counsel for the State of Colorado
       Annabelle Wilmott*
         Deputy Attorneys General
       Office of the Attorney General
       300 South Spring Street, Suite 1702
       Los Angeles, CA 90013-1230
       (213) 269-6269
       Denise.Levey@doj.ca.gov

       Counsel for the State of California




                                                21
                                                                                           PA27
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 62 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 28 of 31




       WILLIAM M. TONG                                     KATHLEEN JENNINGS
        ATTORNEY GENERAL OF CONNECTICUT                    ATTORNEY GENERAL OF DELAWARE

       /s/ William M. Tong                                 /s/ Vanessa L. Kassab
       William M. Tong*                                    Vanessa L. Kassab*
         Attorney General                                    Deputy Attorney General
       Janelle Rose Medeiros*                              Delaware Department of Justice
         Assistant Attorney General                        820 N. French Street
       Office of the Attorney General                      Wilmington, DE 19801
       165 Capitol Avenue                                  (302) 683-8899
       Hartford, CT 06106                                  vanessa.kassab@delaware.gov
       (860)-808-5020
       Janelle.Medeiros@ct.gov                            Counsel for the State of Delaware

       Counsel for the State of Connecticut

        BRIAN L. SCHWALB                                   ANNE E. LOPEZ
         ATTORNEY GENERAL FOR THE DISTRICT OF               ATTORNEY GENERAL OF HAWAI‘I
        COLUMBIA
                                                           /s/ Kalikoʻonālani D. Fernandes
        /s/ Nicole S. Hill                                   Solicitor General
        Nicole S. Hill*                                    425 Queen Street
          Assistant Attorney General                       Honolulu, Hawai‘i 96813
        Public Advocacy Division                           (808) 586-1360
        Office of the Attorney General for the District    kaliko.d.fernandes@hawaii.gov
        of Columbia
        400 Sixth Street, N.W.                             Counsel for the State of Hawai‘i
        Washington, D.C. 20001
        (202) 727-4171
        nicole.hill@dc.gov

        Counsel for the District of Columbia




                                                          22
                                                                                              PA28
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 63 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 29 of 31




        AARON M. FREY                                  ANTHONY G. BROWN
         ATTORNEY GENERAL OF MAINE                      ATTORNEY GENERAL OF MARYLAND

        /s/ Sean D. Magenis                            /s/ Jessica M. Finberg
        Sean D. Magenis                                Jessica M. Finberg*
          Assistant Attorney General                     Assistant Attorney General
        Office of the Attorney General                 Office of the Attorney General
        6 State House Station                          200 Saint Paul Place, 20th Floor
        Augusta, ME 04333-0006                         Baltimore, Maryland 21202
        (207) 626-8800                                 jfinberg@oag.state.md.us
        Sean.d.magenis@maine.gov                       410-576-6921

        Counsel for the State of Maine                 Counsel for the State of Maryland

        DANA NESSEL                                    KEITH ELLISON
         ATTORNEY GENERAL OF MICHIGAN                   ATTORNEY GENERAL OF MINNESOTA

        /s/ Toni L. Harris                             /s/ John C. Keller
        Toni L. Harris*                                John C. Keller*
        Stephanie Service*                               Chief Deputy Attorney General
        Neil Giovanatti*                               445 Minnesota Street, Suite 1200
          Assistant Attorneys General                  St. Paul, MN 55101-2130
        Michigan Department of Attorney General        651-757-1355
        525 W. Ottawa                                  john.keller@ag.state.mn.us
        Lansing, Michigan 48909
        (517) 335-7603                                 Counsel for the State of Minnesota
        harrist19@michigan.gov
        ServiceS3@michigan.gov
        GiovanattiN@michigan.gov

        Counsel for Attorney General Dana Nessel on
        behalf of the People of Michigan




                                                      23
                                                                                            PA29
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 64 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 30 of 31




        AARON D. FORD                              RAÚL TORREZ
         ATTORNEY GENERAL OF NEVADA                 ATTORNEY GENERAL OF NEW MEXICO

        /s/ Heidi Parry Stern                      /s/ James W. Grayson
        Heidi Parry Stern*                         James W. Grayson*
          Solicitor General                          Chief Deputy Attorney General
        Office of the Nevada Attorney General      New Mexico Department of Justice
        1 State of Nevada Way, Ste. 100            408 Galisteo St.
        Las Vegas, NV 89119                        Santa Fe, NM 87501
        (702) 486-5708                             (505) 218-0850
        HStern@ag.nv.gov                           jgrayson@nmdoj.gov

        Counsel for the State of Nevada            Counsel for the State of New Mexico

        LETITIA JAMES                              JEFF JACKSON
         ATTORNEY GENERAL OF NEW YORK               ATTORNEY GENERAL OF NORTH CAROLINA

        /s/ Zoe Levine                             /s/ Daniel P. Mosteller
        Zoe Levine*                                Daniel P. Mosteller*
          Special Counsel for Immigrant Justice      Associate Deputy Attorney General
        28 Liberty Street                          Laura Howard
        New York, NY 10005                           Chief Deputy Attorney General
        zoe.levine@ag.ny.gov                       Associate Deputy Attorney General
        (212) 416-8329                             North Carolina Department of Justice
                                                   PO Box 629
        Counsel for the State of New York          Raleigh, NC 27602
                                                   919-716-6026
                                                   dmosteller@ncdoj.gov

                                                   Counsel for State of North Carolina




                                                  24
                                                                                          PA30
Case: 25-1170 Case
               Document: 00118255171
                   1:25-cv-10139      Page:5 65 Filed
                                  Document          Date Filed: 03/04/2025
                                                      01/21/25                Entry ID: 6704290
                                                                  Page 31 of 31




        PETER F. NERONHA                              CHARITY R. CLARK
         ATTORNEY GENERAL OF RHODE ISLAND              ATTORNEY GENERAL OF VERMONT

        /s/ Katherine Connolly Sadeck                 /s/ Julio A. Thompson
        Katherine Connolly Sadeck (MA Bar No.         Julio A. Thompson*
        681501)                                         Co-Director, Civil Rights Unit
          Solicitor General                           109 State Street
        Rhode Island Office of the Attorney General   Montpelier, VT 06509
        150 South Main Street                         (802) 828-5519
        Providence, RI 02903                          julio.thompson@vermont.gov
        Tel: (401) 274-4400, Ext. 2480
        Fax: (401) 222-2995                           Counsel for State of Vermont
        ksadeck@riag.ri.gov

        Counsel for the State of Rhode Island

        JOSHUA L. KAUL                                DAVID CHIU*
         ATTORNEY GENERAL OF WISCONSIN                 CITY ATTORNEY, CITY AND COUNTY OF SAN
                                                      FRANCISCO
        /s/ Gabe Johnson-Karp
        Gabe Johnson-Karp*                            /s/ David Chiu
          Assistant Attorney General                  Yvonne R. Meré*
        Wisconsin Department of Justice                 Chief Deputy City Attorney
        17 West Main Street                           Sara J. Eisenberg*
        Post Office Box 7857                            Chief of Complex and Affirmative Litigation
        Madison, Wisconsin 53707-7857                 Mollie M. Lee*
        (608) 267-8904                                  Chief of Strategic Advocacy
        johnsonkarpg@doj.state.wi.us                  David S. Louk*
                                                      Molly J. Alarcon*
        Counsel for the State of Wisconsin              Deputy City Attorneys
                                                      Fox Plaza
                                                      1390 Market Street, 6th Fl.
                                                      San Francisco, California 94102-5408
                                                      (415) 505-0844
                                                      David.Louk@sfcityatty.org

                                                      Counsel for City and County of San
                                                      Francisco

       *Application for pro hac vice admission forthcoming




                                                    25
                                                                                              PA31
Case: 25-1170    Document:
                 Case       00118255171
                      1:25-cv-10139      Page:5-1
                                     Document  66            Date01/21/25
                                                            Filed Filed: 03/04/2025
                                                                             Page 1 of 2Entry ID: 6704290




                                         TABLE OF EXHIBITS

       Exhibit   Description
                 Declaration of Sarah Adelman, Commissioner of New Jersey Department of Human
          A
                 Services
                 Declaration of Kathy Ehling, Assistant Commissioner for the Division of
          B
                 Educational Services in the New Jersey Department of Education
                 Declaration of Kaitlan Baston, Commissioner of the New Jersey Department of
          C
                 Health
                 Declaration of Laura Jamet, Assistant Commissioner of New Jersey Department of
          D
                 Children and Families
                 Declaration of Sharon C. Boyle, General Counsel of the Massachusetts Executive
          E
                 Office of Health and Human Services (EOHHS)
          F      Declaration of Shelley Lapkoff, Senior Demographer at NDC
                 Declaration of Michael F. Rice, Superintendent of Public Instruction within the
          G
                 Michigan Department of Education (MDE)
                 Declaration of Kelly Sesti, Director for the Bureau of Administration within the
          H      Children’s Services Administration (CSA) of the Michigan Department of Health
                 and Human Services (MDHHS)
                 Declaration of Jeffrey Duncan, State Registrar and the Director of the Division of
          I      Vital Records and Health Statistics (VRHS) within the Michigan Department of
                 Health and Human Services (MDHHS)
                 Declaration of Meghan Groen, Senior Deputy Director for Behavioral and Physical
          J      Health and Aging Services within the Michigan Department of Health and Human
                 Services (MDHHS).
                 Declaration of Lindy Harrington, Assistant State Medicaid Director at the California
          K
                 Department of Health Care Services (DHCS)
                 Declaration of Rachel A. Heenan, Director of the Special Education Division at the
          L
                 California Department of Education (CDE)
                 Declaration of Rita Nguyen, Assistant Public Health Officer for the State of
          M
                 California at the California Department of Public Health (CDPH)
                 Declaration of Elizabeth Villamil-Cummings, New York State Registrar and the
          N      Director of the Bureau of Vital Records at the New York Department of Health
                 (DOH)
                 Declaration of Gabrielle Armenia, Director of the Division of Eligibility and
          O      Marketplace Integration in the Office of Health Insurance Programs of the New
                 York Department of Health (DOH)
                 Declaration of Jonathan Fanning, Director of Fiscal Management of the New York
          P
                 Department of Health (DOH)
                 Declaration of Jennifer Avenia, Director of Immigration Practice for the Connecticut
          Q
                 Department of Children and Families (DCF)
                 Declaration of Peter Hadler, Deputy Commissioner for the Connecticut Department
          R
                 of Social Services (DSS)
                 Declaration of Yvette Gauthier, State Registrar of Vital Records of the Connecticut
          S
                 Department of Public Health


                                                                                                        1

                                                                                               PA32
Case: 25-1170   Document:
                Case       00118255171
                     1:25-cv-10139      Page:5-1
                                    Document  67            Date01/21/25
                                                           Filed Filed: 03/04/2025
                                                                            Page 2 of 2Entry ID: 6704290




                Declaration of Tom Wong, Associate Professor at the University of California, San
          T
                Diego (UCSD)
          U     State Department’s Foreign Affairs Manual
                Declaration of Peri Weisberg, Principal Administrative Analyst in the Planning Unit
          V
                of the City and County of San Francisco’s Human Services Agency
                Executive Order, “Protecting the Meaning and Value of American Citizenship,”
          W
                (Jan. 20, 2025)
                Noah Webster, An American Dictionary of the English Language 635 (George &
          X
                Charles Merriam 1860) (excerpt)
                1 William Blackstone, Commentaries on the Laws of England 366 (6th ed., Co. of
          Y
                Booksellers, Dublin 1775) (excerpt)
          Z     Cong. Globe, 39th Cong., 1st Sess. (excerpts)




                                                                                                      2

                                                                                              PA33
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 68
                                               5-2   Date
                                                     FiledFiled: 03/04/2025
                                                          01/21/25     Page 1 ofEntry
                                                                                 11 ID: 6704290




                        EXHIBIT A




                                                                                 PA34
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 69
                                               5-2              Date
                                                                FiledFiled: 03/04/2025
                                                                     01/21/25     Page 2 ofEntry
                                                                                            11 ID: 6704290




                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS
                                            :
         STATE OF NEW JERSEY, et al.        :
                                            :
              Plaintiffs,
                                            :
           v.                               :
                                            :
         DONALD J. TRUMP, et al.            :
                                            :
              Defendants.                   :
                                            :
                                               Civil Action No.: ___________
                                                                  25-cv-10139
                                            :
                                            :
                                            :
                                            :
                                            :
                                            :
                                            :
                                            :
                                            :
                                            :
                          DECLARATION OF SARAH ADELMAN

              I, Sarah Adelman, hereby declare:

       1. I am the Commissioner of the New Jersey Department of Human Services (“DHS”). I have

          been employed as Commissioner since January 2021.

       2. As Commissioner of DHS, I have personal knowledge of the matters set forth below, or have

          knowledge of the matters based on my review of information and records gathered by my

          staff.

       3. I am providing this declaration to explain certain impacts on the State of New Jersey’s health

          insurance programs of an executive order titled “Protecting the Meaning and Value of

          American Citizenship,” issued on January 20, 2025 (the “Executive Order”), which revokes

          birthright citizenship for children born after February 19, 2025 to (i) a mother who is




                                                       1

                                                                                                    PA35
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 70
                                               5-2              Date
                                                                FiledFiled: 03/04/2025
                                                                     01/21/25     Page 3 ofEntry
                                                                                            11 ID: 6704290




          unlawfully present or who is lawfully present in the United States but on a temporary basis,

          and (ii) a father who is neither a citizen nor a lawful permanent resident.

                                     NJ FamilyCare and Eligibility Rules

       4. Within DHS, the Division of Medical Assistance and Health Services (“DMAHS”),

          administers several programs that enable qualifying New Jersey residents to access free or

          low-cost healthcare coverage. These are referred to as “NJ FamilyCare” programs.

       5. NJ FamilyCare is publicly funded health insurance. It includes New Jersey’s partially

          federally funded Medicaid program (“Federal-State Medicaid”), New Jersey’s partially

          federally funded Children’s Health Insurance Program (“CHIP”), and New Jersey’s Cover

          All Kids Phase II initiative. As of December 2024, 1,673,856 New Jersey residents are

          enrolled in Federal-State Medicaid, of which 639,212 were children. An additional 161,577

          children are enrolled in CHIP.

       6. NJ FamilyCare provides comprehensive healthcare coverage for a wide range of services,

          including primary care, hospitalization, laboratory tests, x-rays, prescriptions, mental health

          care, dental care, preventive screenings, and more.

       7. Health insurance provided through NJ FamilyCare, including programs that rely in part on

          federal funding and those funded entirely by the state, are generally administered through

          managed care organizations (“MCOs”) that receive a monthly capitation payment from the

          State for each member enrolled in a particular MCO plan.

       8. Eligibility for NJ FamilyCare health insurance programs, including eligibility for Federal-

          State Medicaid and CHIP, depends in part on age, immigration status, and household income.

       9. In general, children under the age of 18 (i) meet the income eligibility requirement for

          Federal-State Medicaid in New Jersey if their household’s modified adjusted gross income


                                                        2

                                                                                                     PA36
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 71
                                               5-2              Date
                                                                FiledFiled: 03/04/2025
                                                                     01/21/25     Page 4 ofEntry
                                                                                            11 ID: 6704290




          (“MAGI”) is less than 147% of the federal poverty level (“FPL”), and (ii) meet the income

          eligibility requirement for CHIP in New Jersey if their household’s MAGI is less than 355%

          of the FPL.

       10. To be eligible for Federal-State Medicaid or CHIP, a child must also be a U.S. citizen or

          “lawfully residing,” as that term is defined by federal law. “Lawfully residing” individuals

          are “lawfully present” and include qualified immigrants such as lawful permanent residents,

          asylees, refugees, and trafficking victims, as well as nonimmigrant visa holders and

          humanitarian status classes such as Temporary Protected Status and Special Immigrant

          Juvenile Status. Children who are not citizens or “lawfully residing” are commonly referred

          to as undocumented. This eligibility requirement is subject to certain narrowly-defined

          exceptions for some emergency services, which Federal-State Medicaid may cover for

          individuals who are neither citizens nor “lawfully residing” if they meet the Federal-State

          Medicaid income eligibility guidelines.

       11. Pursuant to Cover All Kids Phase II, all New Jersey children under age 19 who meet the

          income eligibility requirements for Federal-State Medicaid or CHIP but are not U.S. citizens

          or “lawfully residing” are eligible for health insurance through NJ FamilyCare that is fully

          funded by the State.

       12. New Jersey implemented Cover All Kids Phase II because access to healthcare, particularly

          to primary care, makes children and communities healthier, and it is a fiscally responsible

          investment in the future of New Jersey children.

       13. The increased enrollment of children in NJ FamilyCare via Cover All Kids Phase II has had a

          positive impact on public health in the state. Children enrolled in NJ FamilyCare are more

          likely to receive preventative care services. This reduces the need for more intensive health



                                                       3

                                                                                                  PA37
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 72
                                               5-2               Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 5 ofEntry
                                                                                             11 ID: 6704290




          care treatments, including emergency care, as illnesses develop. It also reduces the financial

          burden on health care providers from providing care to uninsured individuals and ensures

          that families are not left with medical bills that they are unable to pay. In addition, sick

          children with health insurance coverage are more likely to see a health care provider and

          receive treatment, limiting the spread of infectious illnesses across the state.

       14. Having insurance coverage also makes it less likely that children will have to visit an

          emergency room to treat preventable illnesses because it is more likely that they will receive

          medical care before a treatable medical issue becomes an emergency. This reduces the

          resource strain and uncompensated care burden on hospitals.

                                                Federal Funding

       15. For children covered by the Federal-State Medicaid program, the federal government

          generally reimburses for 50 percent of New Jersey’s health care expenditures. For children

          covered by CHIP, the federal government generally reimburses for 65 percent of New

          Jersey’s health care expenditures.

       16. By contrast, with the exception of certain limited emergency medical services that may be

          covered by Federal-State Medicaid, NJ FamilyCare coverage for undocumented children is

          fully funded by New Jersey, without any federal funding assistance.

       17. Federal funding for NJ FamilyCare’s Medicaid and CHIP programs is provided through an

          advance quarterly grant from the federal Centers on Medicare and Medicaid Services

          (“CMS”) to the State of New Jersey, with a post-quarter reconciliation. This quarterly

          process begins with the State submitting to CMS a CMS-37 report, which estimates the

          reimbursable expenditures the State expects to make for the upcoming quarter, six weeks

          before the quarter begins. Those estimates are based on current enrollment figures. For the



                                                        4

                                                                                                     PA38
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 73
                                               5-2                Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 6 ofEntry
                                                                                              11 ID: 6704290




          January to March 2025 quarter, the State submitted the report on or about October 15, 2024.

          The next CMS-37 report is expected to be submitted in mid-February.

       18. CMS then issues quarterly federal grants the week before the start of the quarter. During the

          quarter, the State draws down from this grant award what is needed to make weekly batch

          payments to partially fund its expenditures for Medicaid and CHIP. Within 30 days after the

          end of a quarter, the State sends to CMS a CMS-64 report, which reports all reimbursable

          expenditures for the quarter. If the initial federal grant was less than final reimbursable

          expenditures, CMS will typically transmit an additional reconciling grant four to five months

          after the end of the relevant quarter.

                                      Healthcare Coverage for Newborns

       19. All children born in the United States and residing in New Jersey whose family income is at

          or below 355% of the Federal Poverty Level are eligible for NJ FamilyCare.

       20. Before the Executive Order, all children born in New Jersey were considered U.S. citizens.

          Thus, NJ FamilyCare coverage for newborns in New Jersey was partially funded by the State

          and partially funded by the federal government, either through Federal-State Medicaid or

          CHIP.

       21. Most healthy newborns remain in the hospital for two or three days after delivery. During

          this time, they receive routine postnatal care, including a vitamin K injection, antibiotic eye

          ointment, screening tests (e.g., heel-prick blood test, hearing screening), and hepatitis B

          vaccination.

       22. Additionally, the American Academy of Pediatrics recommends that newborns see a doctor

          or nurse for a “well-baby visit” six times before their first birthday, including within the first




                                                        5

                                                                                                      PA39
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 74
                                               5-2               Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 7 ofEntry
                                                                                             11 ID: 6704290




          3-5 days, the first month, the second month, the fourth month, the sixth month, and the ninth

          month after birth.

       23. Within the first year of life, babies may also need to visit a doctor when they appear ill and

          may require testing or prescription medication.

       24. Children ages 1-18 typically have a range of health care needs that require services from

          various health care providers. For example, children in New Jersey must receive certain

          immunizations prior to starting school, unless they have an exemption for medical or

          religious reasons.

                                Fiscal Impact of Revoking Birthright Citizenship

       25. NJ FamilyCare currently pays $248.35 per member, per month (totaling $2,980.20 per year)

          for the vast majority of children enrolled in NJ FamilyCare health insurance programs. As

          noted above, the federal government generally covers 50 percent of these costs for children

          enrolled in Federal-State Medicaid and 65 percent for children enrolled in CHIP.

       26. However, if a child were not eligible for Federal-State Medicaid or CHIP, New Jersey would

          not receive that federal assistance, and would cover the full cost of health insurance coverage

          for the newborn.

       27. The Medical Emergency Payment Program (“MEPP”) provides limited emergency Medicaid

          coverage that is partially federally-funded to adults ages 19 or older who meet income

          eligibility guidelines regardless of citizenship or immigration status. MEPP covers labor and

          delivery services for undocumented women giving birth in New Jersey, but does not cover

          post-delivery health care for their newborn children. Instead, those newborns have, until

          now, been eligible for Federal-State Medicaid because they meet the income eligibility

          guidelines and are U.S. citizens.



                                                        6

                                                                                                     PA40
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 75
                                               5-2               Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 8 ofEntry
                                                                                             11 ID: 6704290




       28. In each of the last three calendar years, there have been between 7,000 and 8,000 births per

          year to pregnant women whose labor and delivery was covered by MEPP. DHS has been

          advised of estimates indicating that approximately 58 percent of these children likely had a

          second parent who was undocumented. Thus, a reasonable approximation of the number of

          children born to undocumented parents who would have been eligible for Federal-State

          Medicaid but will not be due to the Executive Order—and instead will receive health

          insurance through New Jersey’s state-funded health insurance program—is 4,060 to 4,640

          children per year. This is an underestimate to some degree because it does not include

          children who have one parent who is not undocumented but who nonetheless does not meet

          the immigration status requirements of the Executive Order to confer citizenship on their

          child born in the United States.

       29. New Jersey spends close to $3,000 per member per year on children enrolled in Federal-State

          Medicaid, and the federal government covers 50 percent of these costs. If between 4,060 and

          4,640 children are enrolled in fully state-funded health insurance rather than Federal-State

          Medicaid in a given year because of the Executive Order, this will cost the State between

          approximately $6 to $7 million per year. This estimate does not include the loss of federal

          funding that New Jersey would experience from children who are eligible for CHIP but not

          Federal-State Medicaid being shifted to fully state-funded health insurance.

                  Eligibility Verification Process For Federally-Funded Medicaid and CHIP

       30. When a child is born to parents who lack private health insurance, the healthcare facility at

          which the child is born typically submits information to DHS for a determination of the

          child’s eligibility for public health insurance through NJ FamilyCare. The application is

          processed by either a state vendor or the county social services agency in the individual’s



                                                        7

                                                                                                    PA41
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 76
                                               5-2                Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 9 ofEntry
                                                                                              11 ID: 6704290




          county of residence. Approximately half of all Medicaid enrollees are enrolled through the

          vendor and another half through the counties.

       31. The vendor and counties utilize an eligibility verification system to determine whether the

          applicant is eligible for Federal-State Medicaid or CHIP, and if not, if they are eligible for

          fully state-funded health insurance. The vendor uses its own eligibility verification system,

          while the counties use a system designed by DHS. Both systems currently rely on the fact

          that a newborn was born in a New Jersey healthcare facility as proof of citizenship to qualify

          the newborn for Federal-State Medicaid or CHIP.

       32. Because of the Executive Order, the state vendor and DHS will have to develop a new

          eligibility verification system to determine whether newborn children are eligible for

          Federal-State Medicaid or CHIP because they can no longer rely on the fact that a child was

          born in the United States to confirm citizenship status. Although some newborn children,

          pursuant to a federal regulation, may be deemed eligible for Federal-State Medicaid until the

          age of one because their mother was covered by MEPP, this does not ensure coverage for all

          newborn children who are otherwise eligible for Federal-State Medicaid or CHIP.

       33. DHS and the state vendor would incur significant costs to re-design their eligibility

          verifications systems to address changes in citizenship rules for newborn children. The re-

          design would require significant planning to understand the new rules governing U.S.

          citizenship for newborn children born in the United States, to identify and determine the

          kinds of evidence that would suffice as proof of citizenship, and to modify the IT systems

          that are used to process applications and verify eligibility. The state vendor would almost

          certainly seek to pass on to the State any costs that it incurred.




                                                         8

                                                                                                    PA42
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-2
                                     Document 77                 Date 01/21/25
                                                                 Filed Filed: 03/04/2025   Entry
                                                                                   Page 10 of 11 ID: 6704290




      34. In addition, DHS would incur significant costs to train staff, partners, and healthcare

         providers on the new eligibility system and procedures, and to revise existing guidance

         documents and manuals regarding eligibility rules and procedures. DHS currently relies on

         1,471 county caseworkers and 173 vendor employees to handle eligibility determinations for

         NJ FamilyCare.

      35. It will likely take in the range of six months to develop and implement a new eligibility

         system and undertake the necessary training to ensure that it can be deployed effectively.

      36. Children residing in New Jersey are eligible for NJ FamilyCare health insurance programs,

         including the fully state-funded program regardless of where they were born. Children

         residing in New Jersey who moved into the state from other states, including neighboring

         states like Pennsylvania or New York, are frequently enrolled in NJ FamilyCare health

         insurance programs. Presently, the eligibility verification systems used by DHS’s vendor and

         county agencies have no reason to track the state of birth of U.S.-born children who apply for

         NJ FamilyCare. If the rules governing birthright citizenship varied by state of birth, these

         eligibility verification systems will have to start tracking state of birth so that they can

         accurately determine whether a child is a citizen and therefore eligible for Federal-State

         Medicaid or CHIP, or whether they are not a citizen and thus only eligible for fully state-

         funded health insurance. This will further complicate the process of redesigning eligibility

         verification systems described above, requiring additional expenditure of DHS’s time and

         resources.




                                                        9

                                                                                                        PA43
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-2
                                     Document 78              Date 01/21/25
                                                              Filed Filed: 03/04/2025   Entry
                                                                                Page 11 of 11 ID: 6704290




            I declare under penalty of perjury that the foregoing is true and correct to the best of my

      knowledge.

            Executed this 21st day of January, 2025, in Trenton, New Jersey.




                                                          ___________________________________
                                                          Sarah Adelman, Commissioner
                                                          New Jersey Department of Human Services




                                                     10

                                                                                                  PA44
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 79
                                               5-3 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 1 of 7 ID: 6704290




                         EXHIBIT B




                                                                                 PA45
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 80
                                               5-3 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 2 of 7 ID: 6704290




                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MASSACHUSETTS
                                                            :
         STATE OF NEW JERSEY, et al.                        :
                                                            :
                     Plaintiffs,
                                                            :
            v.                                              :
                                                            :
         DONALD J. TRUMP, et al.                            :
                                                            :
                     Defendants.                            :
                                                            :
                                                                 Civil Action No.: ___________
                                                                                   25-cv-10139
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :

                                   DECLARATION OF KATHLEEN EHLING

                 I, Kathleen Ehling, hereby declare:

       1. I am the Assistant Commissioner for the Division of Educational Services within the New

          Jersey Department of Education (“NJDOE”), a position I have held since 2021. As Assistant

          Commissioner, I oversee the Offices of Special Education, including the Special Education

          Medicaid Initiative (“SEMI”) program, Supplemental Educational Programs, Fiscal and Data

          Services, Student Support Services, Performance Management and the Marie H. Katzenbach

          School for the Deaf. I am also responsible for overseeing implementation of the federal

          Every Student Succeeds Act, the federal Individuals with Disabilities Education Act

          (“IDEA”), the New Jersey Tiered Systems of Support, and the development and release of

          the annual School Performance Reports. Prior to holding this position, I served in various

          positions throughout my 20-year tenure with NJDOE including as the Director of the Office

                                                       1

                                                                                                 PA46
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 81
                                               5-3 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 3 of 7 ID: 6704290




          of Fiscal and Data Services in which I oversaw the administration of over $4 billion in

          federal and state grant funds for NJDOE. Prior to this role, I served as the Manager of the

          Bureau of Governance and Fiscal Support, Office of Special Education Policy and Procedure

          within NJDOE. In this capacity, I oversaw the implementation of administrative policy for

          the office, including development of regulations, model individualized education programs

          (“IEPs”), and the Parental Rights in Special Education booklet. I also oversaw the dispute

          resolution system, the complaint investigation process, the approval and monitoring of

          approved private schools for students with disabilities and clinics and agencies, the SEMI

          program, and the IDEA Part B grant process. Prior to assuming the role of Manager, I

          worked as a Special Assistant to the Director of the Office of Special Education Programs, a

          Complaint Investigator, and a Mediator with the Office of Special Education.

       2. As Assistant Commissioner, I have personal knowledge of the matters set forth below, or I

          have knowledge of the matters below based on my review of information, information

          provided by other state agencies, including the New Jersey Department of the Treasury, and

          information gathered by my staff.

       3. I am providing this declaration to explain certain impacts on the State of New Jersey and its

          local education agencies of an executive order entitled “Protecting the Meaning and Value of

          American Citizenship” issued on January 20, 2025 (the “Executive Order”). The Executive

          Order revokes birthright citizenship for children born after February 19, 2025, to (i) a mother

          who is unlawfully present or who is lawfully present in the United States but on a temporary

          basis, and (ii) a father who is neither a citizen nor a lawful permanent resident.

                                     New Jersey Department of Education




                                                        2

                                                                                                    PA47
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 82
                                               5-3 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 4 of 7 ID: 6704290




       4. NJDOE’s mission is to support schools, educators, and districts to ensure all of New Jersey’s

          1.4 million public school students have equitable access to high quality education and

          achieve academic excellence.

       5. Pursuant to Plyler v. Doe, 457 U.S. 202 (1982), local education agencies (“LEAs”) within the

          State serve all school-age children, regardless of their immigration status. An LEA is a public

          authority legally constituted by the State as an administrative agency to provide control of

          and direction for kindergarten through grade 12 public educational institutions.

       6. Within NJDOE, the Division of Finance and Business Services administers federal and state

          funds to LEAs to support crucial education initiatives and provide essential services to

          students.

                                       Special Education Medicaid Initiative

       7. School-based health services (“SBHS”) refer broadly to medical services provided to all

          students in a school setting, such as on-site school nurses, behavioral health counselors, and

          preventative health screenings for visual and auditory acuity.

       8. All New Jersey LEAs are required to provide certain SBHS free of charge to all students,

          regardless of their immigration or insurance status.

       9. In State Fiscal Year 2024, $2,466,759,247 of State funds were provided to LEAs for special

          education services. This is the total amount for special education categorical aid,

          extraordinary aid for special education costs, and the estimated portion of equalization aid

          that is calculated for special education costs.

       10. Since 1988, Section 1903(c) of the Social Security Act has authorized the federal Medicaid

          program to reimburse LEAs for medically necessary SBHS provided to Medicaid-eligible

          students with disabilities (“special education SBHS”) pursuant to the IDEA, 20 U.S.C. §



                                                        3

                                                                                                     PA48
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 83
                                               5-3 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 5 of 7 ID: 6704290




          1400 et seq., provided the services were delineated in the student’s individualized education

          program (“IEP”) (or similar plan) and covered in the State plan for Medicaid. IDEA requires

          LEAs to develop an IEP for children found eligible for special education and related services.

          An IEP identifies certain special education and related services, and program modifications

          and supports, that the LEA will provide a child with a disability.

       11. Currently, New Jersey’s State plan for Medicaid provides coverage for certain special

          education SBHS, such as occupational or speech therapy, that are specified in a student’s

          IEP.

       12. The Medicaid reimbursement program for special education SBHS in New Jersey is called

          the Special Education Medicaid Initiative (“SEMI”), which is jointly operated by NJDOE

          and New Jersey’s Departments of Human Services and Treasury.

       13. New Jersey has contracted with a vendor for administrative support in managing SEMI and

          matching reimbursement claims to Medicaid-eligible students.

       14. Approximately 408 LEAs in New Jersey were required under State law to participate in

          SEMI in State Fiscal year 2025 because they had more than 40 Medicaid-eligible classified

          students. LEAs with 40 or fewer Medicaid-eligible classified students may request a waiver

          from the executive county superintendent not to participate in SEMI. Approximately 185

          such LEAs did not seek a waiver and therefore participated in SEMI in State Fiscal year

          2025.

       15. Under SEMI, over the course of a school year, LEAs receive interim reimbursement

          payments through a fee-for-service process for costs associated with providing special

          education SBHS to Medicaid-eligible students.




                                                       4

                                                                                                   PA49
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 84
                                               5-3 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 6 of 7 ID: 6704290




       16. The federal reimbursement funds are split between the State Treasury and LEAs. In State

          Fiscal Year 2024, the federal government paid 50% of the costs submitted for interim

          reimbursement for special education SBHS. The State retained 65% of the federal

          reimbursement and passed on 35% of the federal reimbursement to the relevant LEA.

       17. At the end of the fiscal year, New Jersey engages in a cost settlement process to verify that

          LEAs are accurately reimbursed for the costs of providing SBHS by comparing interim

          reimbursements with reported annual expenditures.

       18. In State Fiscal Year 2024, New Jersey LEAs submitted interim fee-for-service

          reimbursement claims to the federal government for claims valued at $220,734,493, of which

          federal Medicaid reimbursed 50%, or $110,367,246.60. The State retained 65% of the federal

          reimbursement, a total of $71,755,196.95, and passed on the remaining 35%, a total of

          $38,612,049, to the LEAs. These sums reflect the pre-cost settlement interim dollar amount,

          as the cost settlement process has not been completed.

       19. To be eligible for a partially federally-funded Medicaid program, a student must be a U.S.

          citizen, a “qualified non-citizen,” or “lawfully present.”

              a. Qualified non-citizens include lawful permanent residents, asylees, refugees, and

                  trafficking victims, among others.

              b. Individuals who are lawfully present include those with humanitarian statuses (such

                  Temporary Protected Status and Special Immigrant Juvenile Status) as well as asylum

                  applicants, among others.

              c. Children who are neither “qualified non-citizens” nor “lawfully present” are

                  commonly referred to as undocumented.




                                                        5

                                                                                                    PA50
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 85
                                               5-3 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 7 of 7 ID: 6704290




       20. Thus, undocumented children are not eligible for partially federally-funded Medicaid. LEAs

          are still required to provide special education SBHS to undocumented children, but cannot

          receive federal reimbursement dollars for those services.

       21. In 2024, New Jersey’s SEMI vendor identified approximately 88,000 students with

          disabilities who were enrolled in partially federally-funded Medicaid in New Jersey.

       22. Because of the Executive Order, students with disabilities who are born in the United States

          to two undocumented parents, or whose birthright citizenship will otherwise be revoked by

          the Executive Order, will lose eligibility for federally-funded Medicaid for which they

          otherwise would have qualified. LEAs will thus not receive any SEMI reimbursement funds

          for provision of SBHS to those students, increasing the State’s net costs.

       23. The Executive Order will also increase the population of undocumented children, some

          percentage of whom will very likely have disabilities that require SBHS and would be

          eligible for partially federally-funded Medicaid but for their immigration status. The costs of

          providing those services will be borne by the State and LEAs without any federal Medicaid

          reimbursement.

          I declare under penalty of perjury that the foregoing is true and correct to the best of my

       knowledge.

          Executed this 21st day of January, 2025, in Trenton, New Jersey.




                                                            ____________________________________
                                                            Kathleen Ehling, Assistant Commissioner
                                                            Division of Educational Services, New
                                                            Jersey Department of Education



                                                       6

                                                                                                    PA51
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 86
                                               5-4 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 1 of 8 ID: 6704290




                         EXHIBIT C




                                                                                 PA52
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 87
                                               5-4 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 2 of 8 ID: 6704290




                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MASSACHUSETTS
                                                            :
         STATE OF NEW JERSEY, et al.                        :
                                                            :
                     Plaintiffs,
                                                            :
            v.                                              :
                                                            :
         DONALD J. TRUMP, et al.                            :
                                                            :
                     Defendants.                            :
                                                            :
                                                                Civil Action No.: ___________
                                                                                  25-cv-10139
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :
                                                            :


                                   DECLARATION OF KAITLAN BASTON

                 I, Kaitlan Baston, MD, MSc, DFASAM, hereby declare the following:

       1. I am the Commissioner of the New Jersey Department of Health (“DOH”) and have been

          employed as the Commissioner since August of 2023. I am dual boarded in Family Medicine

          and Addiction Medicine, obtained a master’s degree in Neuroscience from Kings College,

          London, and graduated from Jefferson Medical College in Philadelphia, Pennsylvania. Prior

          to becoming DOH’s Commissioner, I built and led the Cooper Center for Healing, an

          integrated pain, addiction, and behavioral health center and was an Associate Professor of

          Medicine at Cooper Medical School of Rowan University. Prior to my position with Cooper,

          my work ranged from public health projects in Rwanda, to public maternity and trauma




                                                      1

                                                                                                 PA53
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 88
                                               5-4 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 3 of 8 ID: 6704290




          hospitals in the Dominican Republic, to providing full spectrum family planning services and

          working in a bilingual community health center in Seattle, Washington.

       2. The information in the statements set forth below were compiled through personal

          knowledge, through DOH personnel who have assisted in gathering this information from

          our agency, as well as information from experts outside of DOH provided to me.

                                        New Jersey Department of Health

       3. DOH’s mission is to protect public health, promote healthy communities, and continue to

          improve the quality of health care in New Jersey. To support that goal, DOH performs many

          functions, including regulating healthcare facilities and overseeing the registration of vital

          events, such as births, through the Department’s Office of Vital Statistics and Registry

          (“OVSR”).

                                  Registration and Birth Certificates of Newborns

       4. Healthcare facilities coordinate with OVSR to collect information to register a child’s birth.

       5. When a child is born in a healthcare facility, a medical attendant to the birth is statutorily

          obligated to register the birth. They provide the newborn’s parents with a Birth Certificate

          Worksheet (“the Worksheet”). The Worksheet does not inquire about the parents’

          immigration status.

       6. After the newborn’s parents complete and sign the Worksheet, the healthcare facility enters

          the information from the Worksheet into an electronic birth system (VERI) maintained by

          OVSR. The local registrar in the municipality where the child is born then reviews the birth

          record in VERI, and if accepted, the birth certificate is created and registered with OVSR.

       7. A newborn’s completed birth certificate does not indicate whether the parents have a Social

          Security Number (“SSN”). The only information provided on a birth certificate regarding the



                                                         2

                                                                                                     PA54
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 89
                                               5-4 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 4 of 8 ID: 6704290




          child’s parents is the mother’s legal name, the father’s full name (if provided), their places

          and dates of birth, residence, and mailing addresses. Currently, it is not possible to determine

          a foreign-born parent’s immigration status from their child’s birth certificate.

       8. In 2024 there were approximately 95,792 births registered in the State of New Jersey.

                               Application for Social Security Number of Newborns

       9. While registering a newborn for a birth certificate at a healthcare facility, parents may also

          indicate on the Worksheet whether they would like to request an SSN for their child through

          a Social Security Administration (“SSA”) program called Enumeration at Birth (“EAB”).

       10. The EAB program is voluntary for families, but according to SSA, about 99 percent of SSNs

          for infants are assigned through this program. If parents indicate on the Worksheet that they

          want an SSN for their child, healthcare facilities transmit these requests electronically to

          OVSR, which then transmits the requests to SSA.

       11. New Jersey receives federal funding from the SSA EAB process on a quarterly basis for each

          SSN that is issued through the EAB process. The State receives $4.82 per SSN issued

          through the EAB program, or approximately $90,000 to $110,000 per quarter. The State

          generally receives payment a month after the quarter ends and is thus expecting its next

          payment in April 2025. OVSR uses those funds to support the payment of administrative and

          operational costs.

                       Effects of the Executive Order on Registration and EAB Process

       12. I have been advised that an executive order titled “Protecting the Meaning and Value of

          American Citizenship” was issued on January 20, 2025 (the “Executive Order”) stating that

          children born to (i) a mother who is unauthorized or who is lawfully present but only on a

          temporary basis, and (ii) a father who is neither a U.S. citizen nor a lawful permanent



                                                        3

                                                                                                    PA55
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 90
                                               5-4 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 5 of 8 ID: 6704290




          resident, shall not be recognized as citizens by the federal government, rendering them

          ineligible to receive an SSN. DOH has been advised that approximately 6,200 children per

          year are born in New Jersey with two undocumented parents. This is an underestimate to

          some degree because it does not include children who have one parent who is not

          undocumented but who nonetheless does not meet the immigration status requirements of the

          Executive Order to confer citizenship on their child born in the United States.

       13. If SSA will not issue an SSN to those children, OVSR estimates approximately 6,200 fewer

          SSNs will be issued annually in New Jersey. If approximately 6,200 fewer SSNs are issued

          through the EAB process under the Executive Order, this will result in an annual loss of EAB

          funding to New Jersey of approximately $30,000.

       14. If, as a result of the Executive Order, the newborn registration process has to be amended to

          provide for verification of the parents’ citizenship and/or immigration status either to obtain

          an SSN for the newborn, issue a birth certificate to the newborn, or to indicate on the birth

          certificate whether the newborn child is eligible for birthright citizenship based on their

          parents’ status, this will impose material administrative burdens on OVSR and healthcare

          facilities, including University Hospital, which is an acute care hospital that is an

          instrumentality of the State providing obstetric services.

       15. OVSR and healthcare facilities would have to develop a system for ascertaining,

          documenting, and verifying the parents’ immigration status, and they would have to train

          staff on how to implement and use this system. Assuming this burden would further lead to

          delays in registration and issuance of the newborn’s birth certificate, which must be

          completed within five days of the birth under state law.




                                                        4

                                                                                                    PA56
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 91
                                               5-4 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 6 of 8 ID: 6704290




       16. Because of the Executive Order, SSA will presumably require proof of parents’ lawful status

          to issue an SSN. Healthcare facilities providing obstetric services, including University

          Hospital, will be forced to consult with, and assist, families with obtaining the paperwork

          necessary to prove their lawful status. It is likely that the electronic system and guidelines

          for submitting SSN applications through that system—which are currently detailed in a 59-

          page SSA manual— will have to be revised. This will likely require healthcare facilities to

          train, and potentially hire, staff to work with parents in obtaining, and then verifying, the

          requisite documents to establish lawful immigration status. It will also require OVSR to

          expend resources to modify its systems for obtaining information from healthcare facilities

          and transmitting that information to SSA, and to train staff on these changes.

                                      Early Intervention Services for Children

       17. Under the federal Individuals with Disabilities Act (“IDEA”), states are required to provide

          Early Intervention Services (“EIS”), such as speech or occupational therapy, to children up to

          three years old with certain disabilities and developmental delays. In New Jersey, DOH

          administers and provides EIS for families.

       18. Direct services for children enrolled in EIS are principally funded by the State, but the

          federal government covers 50 percent of the costs for children enrolled in the federal-state

          Medicaid program (“Federal-State Medicaid”). Children are eligible for Federal-State

          Medicaid if they are U.S. citizens or “qualified aliens” and their family income is below

          certain thresholds.

       19. There are currently 37,075 children in New Jersey receiving EIS, of which approximately 46

          percent, or 17,220 are enrolled in Federal-State Medicaid.




                                                        5

                                                                                                       PA57
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 92
                                               5-4 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 7 of 8 ID: 6704290




       20. For EIS direct services furnished in State fiscal year 2024, New Jersey appropriated

          approximately $118 million, had approximately $180 million in EIS Medicaid claims, and

          the federal government reimbursed approximately $90 million of those claims.

       21. Before the Executive Order, children born in New Jersey were U.S. citizens by birthright

          regardless of their parents’ immigration status and would be eligible for Federal-State

          Medicaid provided they met certain income requirements. If those children were enrolled in

          Federal-State Medicaid and needed EIS in the first three years of life, DOH would provide

          those services and receive a 50 percent cost reimbursement from the federal government. If

          those children needed EIS, but were ineligible for Federal-State Medicaid, DOH would still

          be required to provide EIS, but would not receive any reimbursement from the federal

          government and instead would have to rely on State-appropriated funds.

       22. DOH has been advised of estimates that in the last three calendar years, there have been

          between 7,000 and 8,000 births per year to undocumented pregnant women whose labor and

          delivery were covered by emergency Medicaid services. Undocumented patients may qualify

          for emergency Medicaid that covers certain emergency medical services if they meet all

          Federal-State Medicaid eligibility requirements except for immigration status.

       23. DOH has further been informed that approximately 58 percent of children born to

          undocumented mothers covered by emergency Medicaid likely had a second parent who was

          undocumented. Thus, a reasonable approximation of the number of children born to

          undocumented parents who have been eligible for Federal-State Medicaid prior to the

          Executive Order is 4,060 to 4,640 children per year.




                                                       6

                                                                                                    PA58
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 93
                                               5-4 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 8 of 8 ID: 6704290




       24. Of this number, it is highly likely some will require EIS. The State will lose the federal

          reimbursement funds it would have otherwise received and will then have to absorb the cost

          of those lost reimbursement funds.



          I declare under penalty of perjury that I am authorized to sign this certification, that there is

       no single official or employee of the DOH who has personal knowledge of all such matters; that

       the facts stated above have been assembled by employees of DOH as well as provided by experts

       outside of DOH, and I am informed that the information set forth above are in accordance with

       the information available to me and records maintained by the DOH and are true and accurate. I

       am aware that if any of the foregoing statements made by me are willfully false, I am subject to

       punishment.



          Executed this 21st day of January, 2025, in Trenton, New Jersey.




                                                             ______________________________
                                                             Kaitlan Baston, MD, MSc, DFASAM
                                                             Commissioner
                                                             New Jersey Department of Health




                                                         7

                                                                                                        PA59
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 94
                                               5-5 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 1 of 9 ID: 6704290




                         EXHIBIT D




                                                                                 PA60
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 95
                                               5-5 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 2 of 9 ID: 6704290




                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS
                                            :
         STATE OF NEW JERSEY, et al.        :
                                            :
              Plaintiffs,
                                            :
           v.                               :
                                            :
         DONALD J. TRUMP, et al.            :
                                            :
              Defendants.                   :
                                            :
                                               Civil Action No.: ___________
                                                                  25-cv-10139
                                            :
                                            :
                                            :
                                            :
                                            :
                                            :
                                            :
                                            :
                                            :
                                            :
                            DECLARATION OF LAURA JAMET

              I, Laura Jamet, hereby declare:

       1. I am Assistant Commissioner of the New Jersey Department of Children and Families

          (“DCF”), a position I have held since 2023. As Assistant Commissioner, I oversee the

          Division of Child Protection and Permanency (“DCPP”), New Jersey’s division responsible

          for child protective services and permanency, including foster care and public adoptions.

          Prior to holding this position, I served in an acting capacity as Assistant Commissioner since

          2022, and I served as Deputy Director of Operations for DCPP since 2021, along with other

          clinical and administrative roles in the New York City Administration for Children’s

          Services.




                                                      1

                                                                                                  PA61
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 96
                                               5-5 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 3 of 9 ID: 6704290




       2. As Assistant Commissioner for DCF, I have personal knowledge of the matters set forth

          below, or have knowledge of the matters based on my review of information and records

          gathered by my staff.

       3. I am providing this declaration to explain certain impacts on the State of New Jersey’s child

          welfare programs of an executive order entitled “Protecting the Meaning and Value of

          American Citizenship,” issued on January 20, 2025 (the “Executive Order”). The Executive

          Order revokes birthright citizenship for children born in the United States after February 19,

          2025, to (i) a mother who is unlawfully present or who is lawfully present in the United

          States but on a temporary basis, and (ii) a father who is neither a citizen nor a lawful

          permanent resident.

                                  Division of Child Protection and Permanency

       4. DCF is devoted to serving and supporting at-risk children and families. Within DCF, the

          DCPP is New Jersey’s child protection and child welfare agency. DCPP is responsible for

          investigating allegations of child abuse and neglect and, if necessary, arranging for a child’s

          protection.

       5. DCPP contracts with community-based agencies throughout the State to provide services for

          children and families. Services include counseling, substance abuse treatment, in-home

          services, and residential placement.

       6. If a child has been harmed or is at risk of harm, DCPP may ask the county family court to

          place the child in foster care. Foster homes are provided by caring individuals who have

          completed extensive licensing and care training.

       7. DCPP provides foster care services to children regardless of their immigration status.




                                                        2

                                                                                                     PA62
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 97
                                               5-5 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 4 of 9 ID: 6704290




       8. The average daily population of children in foster care in New Jersey in State Fiscal Year

          2024 was 3,753. The total number of children in foster care in New Jersey in Calendar Year

          2024 was 4,547.

       9. Children often enter DCPP’s care within the first year of their lives. In 2023, 268 children

          entered DCPP’s care within three months of birth, 308 within six months of birth, and 364

          within 12 months of birth.

                                Federal Funding Tied to a Child’s Citizenship

       Title IV-E Funding

       10. Under Title IV-E of the federal Social Security Act, the federal government provides grants

          to State foster care agencies with approved Title IV-E plans, including DCF, to assist those

          agencies with the costs of foster care maintenance for eligible children, as well as for

          adoption, guardianship, prevention services, and other support services.

       11. Federal funding under Title IV-E is available only for services provided to children who are

          United States citizens or “qualified aliens.” As DCF understands the Title IV-E limitations,

          undocumented children are not “qualified aliens,” cf. 8 U.S.C. § 1641, and thus DCF does

          not receive any federal reimbursement for foster care expenditures by DCF for

          undocumented children.

       12. Federal funding under Title IV-E covers maintenance payments for eligible children and a

          portion of the State’s administrative expenses. Maintenance payments include foster care

          assistance, adoption assistance, and guardianship assistance, and cover the cost of basic

          necessities, including food, clothing, shelter, daily supervision, and school supplies, for

          eligible children in DCF’s care. Federal funding is provided on a quarterly basis after the




                                                        3

                                                                                                     PA63
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 98
                                               5-5 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 5 of 9 ID: 6704290




          State submits claims for eligible expenditures associated with eligible children. New Jersey

          submits claims for reimbursement within eight weeks of the close of a quarter.

       13. Partial reimbursement of administrative expenses is calculated by using the State’s

          “penetration rate,” which is the percentage of children in foster care who are eligible for Title

          IV-E funding. DCF calculates a penetration rate for each quarter. For federal Fiscal Years

          2023 and 2024, the penetration rate was between 55 and 60 percent.

       14. In Federal Fiscal Year 2024, DCF received $205.3 million in Title IV-E federal funding,

          including $138.9 million for administrative expenses and $66.4 million for maintenance

          payments for eligible children. This federal funding constitutes a substantial share of DCF’s

          budget. For example, DCF spent approximately $170 million on maintenance payments

          during the last fiscal year. Federal funding covered approximately 40 percent of these

          maintenance expenditures.

       15. DCF must, consistent with state law, continue to provide children born in the United States

          whose birthright citizenship is not recognized by the federal government with foster care

          services as needed. However, because these children are now ineligible for Title IV-E

          funding, DCF will not receive any reimbursement under Title IV-E for providing those

          services.

       16. DCF does not keep records of the immigration status of the parents of children that DCF

          works with. Based on DCF’s experience and understanding of general demographics in New

          Jersey, it is very likely that DCF serves U.S. citizen children whose birthright citizenship

          would not be recognized by the federal government pursuant to the Executive Order. DCF

          has been advised that there were around 95,792 registered births in New Jersey in 2024, and

          that an estimated 6,200 children are born each year in New Jersey to two undocumented



                                                        4

                                                                                                    PA64
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 99
                                               5-5 Date
                                                    FiledFiled: 03/04/2025
                                                          01/21/25            Entry
                                                                       Page 6 of 9 ID: 6704290




          parents. This is a conservative underestimate of the number of children affected by the

          Executive Order because it does not include children who have one parent who is not

          undocumented but who nonetheless does not meet the immigration status requirements of the

          Executive Order to confer citizenship on their child born in the United States. Given that 364

          children entered foster care within the first year of their lives in 2023, it is likely that some

          number of these children had two undocumented parents or a mother with temporary lawful

          status and a father who was neither a U.S. citizen nor lawful permanent resident. DCF

          reasonably expects that some number of children born within the 12-month period after

          February 19, 2025 will enter DCF’s care. As a result of the Executive Order, DCF will lose

          material amounts of federal funding that it would use for foster care maintenance payments

          for those children, as well as reimbursement for administrative expenses associated with their

          care.

       Medicaid Funding

       17. Under New Jersey law, all foster children, regardless of immigration status, are eligible for

          public health insurance through NJ FamilyCare. Children in foster care who are U.S. citizens

          or have a qualifying immigration status are eligible for the federal-state Medicaid program

          that is partially funded by the federal government. However, except for certain limited

          emergency care that is covered by the federal-state emergency Medicaid program,

          undocumented children in foster care are eligible only for health insurance that is fully

          funded by the State. Because of the Executive Order, the State will lose federal health

          insurance for such children and incur greater health care costs.

       Other Federal Benefits Programs




                                                         5

                                                                                                       PA65
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 100
                                                5-5               Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 7 ofEntry
                                                                                              9 ID: 6704290




       18. DCF provides targeted financial and resource assistance to families with children who are at

          risk of familial crisis, including for necessities such as rent, baby supplies, and groceries, to

          ensure that children receive adequate care. DCF’s goal is to keep families together, so that

          children do not experience the disruption and trauma of being removed from their home. In

          fiscal year 2024, DCF spent $13.3 million on this assistance. Many families with at-risk

          children also receive assistance for their children through federal programs, including SNAP,

          TANF, and SSI, for which their children are eligible because of their citizenship status. DCF

          determines the need for providing targeted assistance only after considering whether federal

          assistance to these families is sufficient to ensure that the basic needs of their children are

          met. Children with two undocumented parents, or whose birthright citizenship will otherwise

          be revoked by the Executive Order, will not be recognized as eligible for such federal

          assistance. DCF will be forced to increase its expenditures to ensure that these at-risk

          children receive adequate care.

                           Costs of Ascertaining Citizenship and Immigration Status

       19. In order to determine whether children in its care are eligible for Title IV-E funding, DCF

          needs to determine the citizenship or immigration status of the children it serves.

       20. In addition, DCF is responsible for applying for certain federal assistance for which a child in

          its care may be eligible, including Medicaid and SSI benefits. These federal benefits are not

          available to children who are not citizens or have a qualifying immigration status. Thus, as

          part of the application process, DCF must submit proof that a child is a citizen or has a

          qualifying immigration status.




                                                         6

                                                                                                      PA66
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 101
                                                5-5               Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 8 ofEntry
                                                                                              9 ID: 6704290




       21. Presently, DCF relies on a birth certificate as evidence of U.S. citizenship. This is

          administratively simple, especially with respect to newborns that DCPP caseworkers may

          interact with shortly after birth.

       22. The Executive Order complicates DCF’s ascertainment of whether a child is eligible for Title

          IV-E funding and the process for applying for certain federal assistance for children in its

          care.

       23. To ascertain eligibility for these programs, DCPP caseworkers must now develop a new

          system for determining the citizenship and immigration status of children in its care. That

          system will likely require DCPP to take steps to determine, verify, and document the

          immigration status of the parents of children who come into foster care. This may be

          especially difficult in certain circumstances where parents are unwilling to engage with DCF.

          It will cost considerable time and resources to implement such a system.

       24. DCPP will have to expend considerable resources to develop and implement a system to

          determine, verify, and document the citizenship and immigration status of children whose

          citizenship could not be presumed on the basis of a birth certificate showing their birth in the

          United States. DCPP will also incur significant costs to train DCPP caseworkers to

          implement that system. While the precise costs are difficult to estimate without further

          guidance from the federal government on how states must determine citizenship status for

          Title IV-E eligibility, it may easily cost millions of dollars. Because quarterly submissions to

          the federal government for reimbursements are due within 30 days of the end of a quarter,

          DCF must develop and begin implementing such a system within a matter of months. As a

          result of the Executive Order, DCF must immediately begin planning the development of a




                                                         7

                                                                                                    PA67
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 102
                                                5-5               Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 9 ofEntry
                                                                                              9 ID: 6704290




          new system for determining, verifying, and documenting the citizenship and immigration

          status of children born in the United States.

       25. DCF provides services for children residing in New Jersey regardless of where they were

          born. With respect to U.S.-born children, DCF commonly provides services for children

          residing in New Jersey who moved into the state from other states, including neighboring

          states like Pennsylvania or New York. Presently, DCF does not and has no reason to track the

          state of birth of U.S.-born children in its care. If rules governing birthright citizenship varied

          by state of birth, DCF would have to start tracking state of birth so that DCF could accurately

          determine the citizenship and immigration status of children in its care for the purpose of

          determining Title IV-E eligibility. Without uniformity around such eligibility, DCF must also

          design, implement, and train staff on an eligibility determination system that accounts for

          differential rules based on a child’s state of birth. This introduces additional complexity into

          any eligibility determination process for children in DCF’s care, and will require additional

          expenditure of DCF’s time and resources.

                                                       ***

              I declare under penalty of perjury that the foregoing is true and correct to the best of my

       knowledge.



       Executed this 21st day of January, 2025, in Trenton, New Jersey.



                                                     _______________________________
                                                     Laura Jamet, Assistant Commissioner
                                                     New Jersey Department of Children and Families




                                                          8

                                                                                                      PA68
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 103
                                                5-6   Date
                                                      FiledFiled: 03/04/2025
                                                           01/21/25     Page 1 ofEntry
                                                                                  8 ID: 6704290




                         EXHIBIT E




                                                                                 PA69
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 104
                                                5-6               Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 2 ofEntry
                                                                                              8 ID: 6704290




                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MASSACHUSETTS


        STATE OF NEW JERSEY, et al.,

                                        Plaintiffs,

            v.                                                            No. 1:25-cv-10139

        DONALD J. TRUMP, et al.,

                                        Defendants.


                                  DECLARATION OF SHARON C. BOYLE

                 I, Sharon C. Boyle, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       I.        Background

                 1.     I am the General Counsel of the Massachusetts Executive Office of Health and

       Human Services (EOHHS), a position I have held since 2016. EOHHS is a cabinet-level secretariat

       in Massachusetts that directly manages the MassHealth program and oversees eleven state

       agencies charged with promoting the health, resilience, and independence of the Commonwealth’s

       residents. EOHHS’s public-health programs serve nearly one in three Massachusetts residents,

       touching every city and town in the Commonwealth.

                 2.     Between 2003 and 2016, before assuming my current role, I held several titles

       within the EOHHS general counsel’s unit, including First Deputy General Counsel and Chief

       MassHealth Counsel. From 1995 to 2003, I worked as an assistant general counsel in the Division

       of Medical Assistance.

                 3.     As EOHHS General Counsel, I have personal knowledge of the rules, regulations,

       and processes governing EOHHS and its agencies. I have personal knowledge, or knowledge based




                                                                                                PA70
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 105
                                                5-6              Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 3 ofEntry
                                                                                             8 ID: 6704290




       on review in my capacity as General Counsel of information and records gathered by EOHHS and

       agency staff, of the matters set forth below.

       II.    MassHealth Programs

              A.      Overview, Eligibility, and Funding
              4.      EOHHS administers several publicly funded programs that enable qualifying

       Massachusetts residents to access free or low-cost healthcare coverage. These programs include

       the Medicaid plan, Children’s Health Insurance Program (CHIP), and the 1115 Demonstration

       Project—collectively known in Massachusetts as “MassHealth.” Jointly funded by state and

       federal dollars, MassHealth provides coverage for a wide range of health services to children, the

       elderly, families, and individuals with disabilities. MassHealth benefits may vary depending on,

       among other things, a person’s citizenship and immigration status and household income.

              5.      Depending on household income, children who are U.S. Citizens or who have

       qualifying immigration status are eligible for MassHealth’s more comprehensive health benefits.

       For example, children whose household income is no more than 200% of the federal poverty level

       (for children under 1) or 150% of the federal poverty level (for children 1 through 18) are eligible

       for MassHealth Standard benefits. These MassHealth plans, which are funded in part by federal

       dollars, cover comprehensive medical and behavioral health care, primary and specialty physician

       services, inpatient and outpatient hospital services, long-term services and supports,

       comprehensive dental and vision care, lab tests, and pharmacy services.

              6.      Under federal law, children who are undocumented or who lack a qualifying

       immigration status are not eligible for the comprehensive plans discussed in the preceding

       paragraph. Instead, the only Medicaid coverage available for children who are undocumented or

       who lack qualifying immigration status is emergency services—known in Massachusetts as

       “MassHealth Limited.” The household income thresholds for MassHealth Limited are 200% of the

                                                        2

                                                                                                    PA71
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 106
                                                5-6             Date
                                                                FiledFiled: 03/04/2025
                                                                     01/21/25     Page 4 ofEntry
                                                                                            8 ID: 6704290




       federal poverty level for children under 1 and 150% of the federal poverty level for children aged

       1 through 18.

              7.       To provide more comprehensive coverage for children who are ineligible for the

       comprehensive MassHealth plans discussed in paragraph 5, Massachusetts allows individuals

       under age 19 to enroll in the state’s Children’s Medical Security Plan (CMSP). A child whose

       household income is at or below 200% of the federal poverty level does not pay for CMSP

       coverage. CMSP is funded primarily by the Commonwealth of Massachusetts; the federal

       government does not provide matching funds for CMSP as it does for the comprehensive

       MassHealth programs. 1 Stated otherwise, Massachusetts children under age 19 who meet the

       income eligibility requirements for federally funded comprehensive Medicaid or CHIP programs,

       but who are not eligible for those programs because they are not U.S. citizens or qualified

       immigrants, are eligible for more comprehensive health coverage through CMSP at the state’s

       expense.

              8.       For most MassHealth programs, the “Federal Medical Assistance Percentage”—

       i.e., the amount that the federal government reimburses the Commonwealth for its spending—is

       50%. For spending on children in CHIP, the Federal Medical Assistance Percentage is 65%. By

       contrast, and as just discussed, CMSP coverage for undocumented children, who are not eligible

       for federal-state Medicaid or CHIP, is primarily funded by the Commonwealth.

              B.       Fiscal Impact from Elimination of Birthright Citizenship




       1
         The federal government provides limited funding for CMSP through the “Health Services
       Initiative,” but that funding is subject to an annual cap which the program regularly exceeds,
       meaning that the state will shoulder the cost of any increased enrollment in the CMSP.

                                                       3

                                                                                                  PA72
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 107
                                                5-6              Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 5 ofEntry
                                                                                             8 ID: 6704290




              9.      Today, any child born in Massachusetts is automatically deemed a U.S. citizen.

       Thus, any child born in Massachusetts to Massachusetts residents who meets income-eligibility

       criteria is eligible, as a citizen, for comprehensive federally funded MassHealth programs.

              10.     Massachusetts currently spends an average of approximately $4,800 per year per

       child enrolled in a comprehensive federally funded MassHealth program. As noted above, the

       federal government currently reimburses at least 50–65% of those costs.

              11.     On January 20, 2025, the President issued an Executive Order entitled “Protecting

       the Meaning and Value of American Citizenship,” which purports to revoke birthright citizenship

       for certain children born in the United States after February 19, 2025. If the Executive Order is

       given effect, children covered by the Executive Order would not be eligible for any federally

       funded MassHealth program beyond MassHealth Limited. Instead, those children, if they meet

       income and other eligibility criteria, would receive CMSP from birth. Accordingly, other than

       emergency services, Massachusetts would cover the increased cost of health coverage for those

       children without federal reimbursement. This will be a significant number of children. MassHealth

       covers approximately 40% of the births in Massachusetts. Babies whose mothers are on

       MassHealth are deemed eligible for MassHealth for their first year.

              C.      Administrative Burdens from Elimination of Birthright Citizenship
              12.     Today, MassHealth’s process for determining a newborn’s eligibility for health

       care coverage operates on the premise that birth in a Massachusetts healthcare facility is, without

       more, proof that the newborn is a citizen.

              13.     If the Executive Order goes into effect, MassHealth would have to develop new

       eligibility processes because EOHHS could no longer rely on the fact that a child was born in the

       United States to confirm citizenship status.



                                                       4

                                                                                                     PA73
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 108
                                                5-6              Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 6 ofEntry
                                                                                             8 ID: 6704290




              14.     EOHHS would incur significant costs to train eligibility staff and customer service

       workers on the new procedures and to revise existing guidance documents and manuals regarding

       eligibility rules and procedures.

       III.   Enumeration at Birth Program

              15.     Massachusetts is a participant in the Social Security Administration’s

       “Enumeration at Birth” (EAB) program. EAB allows new parents to request a Social Security

       Number (SSN) during the birth registration process, eliminating the need for them to gather

       documents and submit a separate application to the Social Security Administration.

              16.     EAB involves collaboration between the federal government and state agencies.

       When a state participates in the program, the state’s vital-statistics agency—in Massachusetts, the

       Registry of Vital Records and Statistics (RVRS) in the Department of Health (DPH)—

       electronically sends birth registration information to the Social Security Administration. The

       Administration then assigns an SSN, issues a card, and automatically updates its records with proof

       of birth. The federal government provides funding to the state for each SSN assigned this way.

              17.     According to the Social Security Administration, approximately 99% of SSNs for

       infants are assigned through this program. Parents born outside the United States can apply for and

       receive an SSN for their child without including their own SSNs on the application. Currently,

       because children born in the United States are U.S. citizens, they are eligible for SSNs regardless

       of their parents’ immigration status.

              18.     Massachusetts receives federal funding from the federal government in connection

       with the EAB program on a quarterly basis. The funding rate for the June 2024–June 2025 time

       period is $4.82 per SSN issued through Massachusetts’s EAB participation. Massachusetts’s

       current contract with the Social Security Administrations provides for up to 87,860 SSNs to be



                                                       5

                                                                                                   PA74
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 109
                                                5-6           Date
                                                              FiledFiled: 03/04/2025
                                                                   01/21/25     Page 7 ofEntry
                                                                                          8 ID: 6704290




       issued through the program in Massachusetts in that time—resulting in up to $423,485.20 in

       federal payments to the Commonwealth.

              19.    If birthright citizenship were revoked pursuant to the Executive Order, children

       covered by the order would no longer be citizens and would therefore be ineligible for an SSN,

       and Massachusetts would lose the federal funding associated with issuance of those SSNs.




                                                     6

                                                                                                  PA75
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 110
                                                5-6              Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 8 ofEntry
                                                                                             8 ID: 6704290




              I declare under penalty of perjury that the foregoing is true and correct to the best of my

       knowledge.



       Executed this 21st day of January, 2025.




                                                            _____________________________

                                                            Sharon C. Boyle
                                                            General Counsel, Massachusetts Executive
                                                            Office of Health and Human Services




                                                        7

                                                                                                    PA76
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 111
                                                5-9   Date
                                                      FiledFiled: 03/04/2025
                                                           01/21/25     Page 1 ofEntry
                                                                                  8 ID: 6704290




                         EXHIBIT H




                                                                                 PA77
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 112
                                                5-9           Date
                                                              FiledFiled: 03/04/2025
                                                                   01/21/25     Page 2 ofEntry
                                                                                          8 ID: 6704290




                                      UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MASSACHUSETTS

         STATE OF NEW JERSEY, et al.                     :
                                                         :
                      Plaintiffs,
                                                         :
            v.                                           :
                                                         :
                                                         :   Civil Action No.: 1:25-cv-10139
                                                                               ___________
         DONALD J. TRUMP, et al.
                                                         :
                      Defendants.                        :
                                                         :
                                                         :
                                                         :



                                     DECLARATION OF KELLY SESTI
                 I, KELLY SESTI, pursuant to 28 U.S.C. § 1746, hereby declare that the

       following is true and correct:


                 1.      I am the Director for the Bureau of Administration within the

       Children’s Services Administration (CSA) of the Michigan Department of Health

       and Human Services (MDHHS). In this role, I am responsible for oversight of

       policy, technology, human resources, budget, continuous quality improvement

       efforts and data management for CSA. I also oversee the Title IV-E program for

       Michigan.

                 2.      Through my role, I have personal knowledge of the matters set forth

       below or have knowledge of the matters based on my review of information and

       records gathered by my staff.

                 3.      I am providing this declaration to explain certain impacts on the State

       of Michigan’s Title IV-E program of the executive order titled “Protecting the


                                                     1

                                                                                               PA78
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 113
                                                5-9        Date
                                                           FiledFiled: 03/04/2025
                                                                01/21/25     Page 3 ofEntry
                                                                                       8 ID: 6704290




       Meaning and Value of American Citizenship,” issued on January 20, 2025 (the

       “Executive Order”), which revokes birthright citizenship for children born in the

       United States after February 19, 2025 to (i) a mother who is unlawfully present or

       permitted into the United States on a temporary basis, and (ii) a father who is

       neither a citizen nor a lawful permanent resident..

           Michigan’s Title IV-E program, eligibility requirements, and federal funding

             4.     Michigan currently serves a monthly average of 8,668 children through

       the Title IV-E foster care program, 15,740 children through the Title IV-E adoption

       assistance program, 527 children through the Title IV-E guardianship program, and

       8,516 children with Title IV-E prevention services. These numbers do not include

       the number of children who are already supported through state, county, and tribal

       funds. All children who are eligible receive equitable access to these services

       regardless of their citizenship status. Currently, MDHHS ensures that all children

       in need of services are supported through a combination of state, county, and tribal

       funds if they are not eligible for Title IV-E or other federal support. If children in

       the Michigan foster care system are stripped of citizenship status pursuant to the

       Executive Order, MDHHS would, consistent with state law and policy, continue to

       provide these children with foster care services as needed. However, because those

       children would be ineligible for Title IV-E funding, MDHHS would not receive any

       federal reimbursement under Title IV-E for providing these services.

             5.     Michigan’s Title IV-E program also supports many programs through

       administrative claims. Staffing for foster care, adoption, guardianship, and



                                                  2

                                                                                          PA79
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 114
                                                5-9       Date
                                                          FiledFiled: 03/04/2025
                                                               01/21/25     Page 4 ofEntry
                                                                                      8 ID: 6704290




       prevention cases are supported in part through Title IV-E funds. Child and parent

       legal representation and the Foster Care Review Board through the State Court

       Administrative Office are also supported through Title IV-E funds. Statewide

       training initiatives for current MDHHS, contracted private agencies, and tribal

       social services receive Title IV-E funding. The Title IV-E Child Welfare Fellowship

       program, contracted through the University of Michigan and subcontracted to

       several other Michigan public universities, is supported through Title IV-E funds.

       These programs rely on the Title IV-E penetration rate to determine the matching

       funds to meet the Title IV-E requirements. Partial reimbursement of

       administrative expenses is calculated by using the State’s Title IV-E penetration

       rate, which is based in part on the percentage of children in foster care who are

       eligible for Title IV-E payments. MDHHS calculates the penetration rate for each

       quarter. For federal Fiscal Years 2023 and 2024, the penetration rate was between

       31 and 32 percent.

             6.     Due to the expansive programming that MDHHS has implemented

       with Title IV-E support, a small drop in the Title IV-E penetration rate causes a

       significant increase in the amount that the State, counties, and tribes must

       contribute. For example, a one percent increase in the penetration rate in each

       quarter of fiscal year 2024 would have resulted in an estimated $2,950,941.59 more

       Title IV-E reimbursement to the state.

             7.     Children who are eligible for Title IV-E are categorically eligible for

       Medicaid per federal requirements. Children placed with MDHHS who are not



                                                  3

                                                                                        PA80
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 115
                                                5-9       Date
                                                          FiledFiled: 03/04/2025
                                                               01/21/25     Page 5 ofEntry
                                                                                      8 ID: 6704290




       eligible for Medicaid because they are not a U.S. citizen or qualified alien, however,

       continue to incur medical and dental expenses. Those expenses are paid by state

       funds to ensure children have access to appropriate medical and dental care. Any

       increase in the number of children who are not Title IV-E or Medicaid eligible due

       to a change in citizenship determination will result in substantial increases in the

       medical and dental costs to the state, starting with birth expenses for a child who

       enters care as a newborn.

                         Fiscal Impact of Revoking Birthright Citizenship

             8.     The federal government’s policy of ending birthright citizenship for

       children born in the United States based on their parent(s)’ non-citizen/immigration

       status will have a variety of widespread impacts on Michigan’s foster care, adoption,

       guardianship, and prevention system programs, including a decrease in receipt of

       federal Title IV-E funding for children born in Michigan and increased operational

       and administrative costs for Michigan.

             9.     For fiscal year 2024, Michigan claimed $30,824,969 in maintenance

       expenses for foster care expenses, $113,843,897 for adoption assistance

       maintenance expenses, $3,662,817 for guardianship maintenance expenses, and

       $5,831,968 for prevention services. For fiscal year 2024, Michigan claimed a total of

       $61,455,039 in administrative and training expenses for foster care, $21,808,189 in

       administrative expenses for adoption assistance, $159,385 in administrative

       expenses for guardianship, and $9,296,981 in administrative expenses for

       prevention administration and training.



                                                 4

                                                                                        PA81
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 116
                                                5-9       Date
                                                          FiledFiled: 03/04/2025
                                                               01/21/25     Page 6 ofEntry
                                                                                      8 ID: 6704290




                                      Administrative Burden

             10.    In addition, MDHHS expects burdensome increases in administrative

       and training costs for Title IV-E program as a result of the Executive Order.

             11.    MDHHS currently determines Title IV-E eligibility by meeting several

       factors, one of which is being determined to be a United States citizen or qualified

       alien. Per federal guidance, the Interim Guidance on Verification of Citizenship,

       Qualified Alien Status and Eligibility Under Title IV-E of the Personal

       Responsibility and Work Opportunity Reconciliation Act of 1996, published in the

       Federal Register on November 17, 1997 (62 Fed. Reg. 61344) by the Department of

       Justice, requirements were incorporated into MDHHS policies to ensure that the

       citizenship and qualified alien requirements are being met. There are checks and

       balances built into MDHHS’s policy, processes, and electronic case records system to

       ensure that this eligibility requirement is met. Prior to the Executive Order there

       were no federal requirements for the child’s parents’ citizenship to be factored into

       the eligibility decision. That information is not gathered by MDHHS, nor readily

       available. Obtaining this information from the Michigan Vital Records Department

       would most likely require legislative changes if the parent does not voluntarily

       provide the documentation. This delay in determining if this child is Title IV-E

       eligible due to their citizenship would cause the child’s payments to be made from a

       combination of state and county funds—rather than Title VI-E funds. This process

       will add additional research onto those working with the family and the child

       welfare funding specialists. Those delays in making a determination will force the



                                                 5

                                                                                        PA82
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 117
                                                5-9       Date
                                                          FiledFiled: 03/04/2025
                                                               01/21/25     Page 7 ofEntry
                                                                                      8 ID: 6704290




       state, county, and/or tribe to fully support those children in the interim time needed

       for this additional research.

             12.    Estimates on the number of children who will be impacted is difficult

       to determine as the citizenship and immigration status of parents is not something

       that is currently tracked. The shift will impact the processes for all children who

       enter care and were born after the implementation date of the Executive Order. In

       fiscal year 2024, 824 children under one-year-old entered foster care. It is

       estimated a similar number of newborns will enter foster care in 2025. For children

       born after February 19, 2025, they will all require additional research into their

       parents’ citizenship to determine if they meet the new citizenship details in the

       Executive Order.

             13.    There is federal guidance regarding Social Security Numbers and their

       impact to both Title IV-E and Medicaid eligibility as follows: Changes brought

       about by the Deficit Reduction Act of 1984 (DEFRA) (Public Law 98-369) resulted in

       an Office of Human Development Services (OHDS) Policy Announcement which

       stated that otherwise eligible children are not required to apply for or furnish a

       Social Security Number (SSN) in order to be eligible for the Title IV-E Foster Care

       Maintenance Payments Program or the Adoption Assistance Program. However,

       Title XIX program regulations, 42 C.F.R. § 435.910, were amended to require,

       effective April 1, 1985, that each individual (including children) requesting

       Medicaid services furnish his/her SSN as a condition of eligibility for Medicaid.

       Children who are eligible for Title XIX Medicaid on the basis of their eligibility



                                                  6

                                                                                        PA83
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 118
                                                5-9       Date
                                                          FiledFiled: 03/04/2025
                                                               01/21/25     Page 8 ofEntry
                                                                                      8 ID: 6704290




       under Title IV-E must furnish an SSN as a condition of eligibility for Medicaid, even

       though an SSN is not required under title IV-E.

             14.    The changes to citizenship documentation will require policy updates

       and changes to the electronic case records system. Changes to the system come at a

       large expense and will involve several different departments within MDHHS.

       Training will be needed for all case managers within MDHHS, contracted private

       agencies, and tribal social services agencies. Training of the courts in collaboration

       with the State Court Administrative Office (SCAO) would be needed as well. The

       Child Welfare Funding Specialists will require additional training regarding how to

       now determine a child’s citizenship and how to manually track the changes until

       updates can be made to the electronic case records system.

             15.    The cost of care for children who are not eligible for Title IV-E is paid

       for with a combination of state, county, and tribal funds. Each of Michigan’s 83

       counties and twelve federally recognized tribes will need to turn to their local

       communities for additional funding to support the expected increase in their

       contributions due to this Executive Order.


             I declare under penalty of perjury under the laws of the United States of

       America that the foregoing is true and correct.




       Dated: January 21, 2025                        ___________________________
                                                      Kelly Sesti
                                                      Director, Bureau of Administration
                                                      Children’s Services, MDHHS
                                                  7

                                                                                          PA84
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 119
                                               5-10 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 1 of 7 ID: 6704290




                           EXHIBIT I




                                                                                 PA85
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 120
                                               5-10 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 2 of 7 ID: 6704290




                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MASSACHUSETTS

         STATE OF NEW JERSEY, et al.                   :
                                                       :
                   Plaintiffs,
                                                       :
            v.                                         :
                                                       :
                                                       :   Civil Action No.: ___________
                                                                             25-cv-10139
         DONALD J. TRUMP, et al.
                                                       :
                   Defendants.                         :
                                                       :
                                                       :
                                                       :



              I, JEFFREY DUNCAN, pursuant to 28 U.S.C. § 1746, hereby declare that the

       following is true and correct:


              1.      I am the State Registrar and the Director of the Division of Vital

       Records and Health Statistics (VRHS) within the Michigan Department of Health

       and Human Services (MDHHS). In this role, I am responsible for administration of

       Michigan’s state vital records and statistics functions, including the civil

       registration of births, deaths, marriages, and divorces. I also administer contracts

       under which VRHS has to provide services to the Social Security Administration

       and the National Center for Health Statistics, a Center in the U.S. Centers for

       Disease Control and Prevention (CDC). In addition, I am the President-Elect of the

       National Association for Public Health Statistics and Information Systems, the

       organization of state and territorial vital statistics registrars.




                                                   1

                                                                                           PA86
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 121
                                               5-10 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 3 of 7 ID: 6704290




             2.     As Michigan’s State Registrar, I have personal knowledge of the

       matters set forth below, or have knowledge of the matters based on my review of

       information and records gathered by my staff.

             3.     I am providing this declaration to explain certain impacts on the State

       of Michigan of the executive order titled “Protecting the Meaning and Value of

       American Citizenship,” issued on January 20, 2025 (the “Executive Order”), which

       revokes birthright citizenship for children born in the United States after February

       19, 2025 to (i) a mother who is unlawfully present or who is lawfully present in

       permitted into the United States but on a temporary basis, and (ii) a father who is

       neither a citizen nor a lawful permanent resident.

             4.     The VRHS is responsible for the civil registration of births, deaths,

       marriages, and divorces, as well as issuing certified copies of these events to the

       public. VRHS contracts with the National Center for Health Statistics (NCHS) to

       contribute data toward national vital statistics, and with the Social Security

       Administration for Enumeration at Birth (EAB).

                           Registration and Birth Certificates of Newborns

             5.     Healthcare facilities throughout Michigan coordinate with VRHS to

       collect and submit information to register each child’s birth.

             6.     When a child is born in a healthcare facility, a medical attendant to

       the birth is statutorily obligated to register the birth. They provide the newborn’s

       parents with a Birth Certificate Worksheet that asks for several pieces of




                                                  2

                                                                                        PA87
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 122
                                               5-10 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 4 of 7 ID: 6704290




       information, including the parents’ place of birth and Social Security Numbers

       (SSNs). The Worksheet does not inquire about the parents’ immigration status.

             7.     After the newborn’s parents complete and sign the Worksheet, hospital

       staff enter the information from the Worksheet into an electronic birth system

       (VERA) maintained by VRHS. Local registrars, typically county clerks in Michigan,

       log in to VERA to accept and register each birth certificate and file it with VRHS.

       Upon registration, VRHS subsequently extracts statistical information from birth

       certificates and transmits weekly to the NCHS. Daily, VRHS extracts data from

       newly registered birth records and submits to Social Security for EAB.

             8.     A newborn’s completed birth certificate does not indicate whether the

       parents have an SSN. The only information on the parents is the mother’s legal

       name, the father’s full name (if provided), their places and dates of birth, residence,

       and mailing addresses. Currently, it is not possible to determine a foreign-born

       parent’s immigration status from their child’s birth certificate.

             9.     Healthcare facilities do not routinely ask patients, including new

       parents, for their immigration status. Generally, hospitals learn that information

       only when assessing a patient’s eligibility for public benefits, which may depend on

       immigration status. If hospitals obtain immigration status information for patients,

       it is recorded in their health records and becomes protected health information that

       is shielded from disclosure under the Health Insurance Portability and

       Accountability Act (HIPAA).




                                                  3

                                                                                         PA88
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 123
                                               5-10 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 5 of 7 ID: 6704290




              10.    If the newborn registration process had to be amended to provide for

       verification of the parents’ citizenship and/or immigration status, this would impose

       material administrative burdens on healthcare facilities throughout Michigan.

       During the newborn registration process, hospitals ask parents for their SSNs and

       places of birth, but do not directly inquire about immigration status. Currently,

       healthcare facilities do not verify the accuracy of the information provided. If

       healthcare facilities were required to confirm the accuracy of the parents’ places of

       birth, SSNs, or immigration status, they would incur significant new administrative

       costs to implement a system to substantiate the information and hire and train

       staff. This burden would likely further lead to delays in registration and issuance of

       birth certificates for all children.

                          Application for Social Security Number of Newborns

              11.    While registering a newborn for a birth certificate at a healthcare

       facility, parents may also request an SSN for their child through a Social Security

       Administration (SSA) program called Enumeration at Birth (EAB).

              12.    The EAB process is voluntary for families, but according to SSA, about

       99% of SSNs for infants are assigned through this program.

              13.    The EAB application is included as part of the Birth Certificate

       Worksheet parents complete at the facility. For EAB purposes the Worksheet asks

       for the parents’ SSNs. Parents born outside the United States can apply for and

       receive an SSN for their child without including their own SSNs on the application.

       Currently, because children born in the United States are U.S. citizens, they are



                                                  4

                                                                                           PA89
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 124
                                               5-10 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 6 of 7 ID: 6704290




       eligible for SSNs regardless of their parents’ immigration status. Parents check a

       box on the Worksheet indicating their permission to share information with SSA to

       obtain a social security number for their newborn child.

             14.    EAB information collected on the Worksheet is keyed into VERA and

       submitted to the VRHS electronically at the same time the birth is filed. VRHS

       extracts and submits EAB information to SSA daily to support timely enumeration.

       VRHS only sends EAB records to SSA for enumeration of infants born within the

       past 12 months.

             15.    Michigan receives federal funding from the SSA EAB process on a

       quarterly basis for each SSN that is issued through the EAB process. The State

       receives $4.82 per SSN issued through the EAB process, or approximately $100,000

       to $115,000 per quarter. VRHS uses those funds to support the payment of

       administrative and operational costs.

             16.    If birthright citizenship were revoked pursuant to the Executive Order

       for children born in the United States after February 19, 2025 to (i) a mother who is

       unlawfully present or who is lawfully present in permitted into the United States

       but on a temporary basis, and (ii) a father who is neither a citizen nor a lawful

       permanent resident, such children would no longer be citizens and would therefore

       be ineligible for an SSN. Assuming that SSA would not issue an SSN to such

       children , VRHS estimates approximately 6,615 to 6,673 fewer SSNs would be

       issued. This estimate is based on the number of births for which the parents




                                                 5

                                                                                           PA90
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 125
                                               5-10 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 7 of 7 ID: 6704290




       identified a foreign place of birth and did not provide an SSN on the Birth

       Certificate Worksheet in 2023 (6,673 births) and in 2024 (6,615 births).

             17.    If approximately 6,600 to 6,800 fewer SSNs were issued through the

       EAB process due to the revocation of birthright citizenship, this would result in an

       annual loss of EAB funding to Michigan of approximately $31,812 to $32,776.

             18.    In addition to the loss in funding, healthcare facilities in Michigan

       would incur new administrative costs by expending resources to verify parents’

       immigration status before applying for a newborn’s SSN through the EAB process

       as SSA will presumably require proof of parents’ lawful status to issue an SSN.

       Healthcare facilities will be forced to consult with, and assist, families with

       obtaining the paperwork necessary to prove their lawful status. It is likely that

       Michigan’s VERA system and guidelines for submitting SSN applications through

       to SSA—which are currently detailed in a 59-page SSA manual—would have to be

       revised. This would likely require healthcare facilities to train, and potentially

       hire, staff to work with parents in obtaining, and then verifying, the requisite

       documents to establish lawful immigration status.



             I declare under penalty of perjury under the laws of the United States of

       America that the foregoing is true and correct.


       Dated: January 21, 2025                 Jeffrey Duncan
                                               Jeffrey Duncan
                                               State Registrar
                                               Director, State Vital Records Office
                                               MDHHS

                                                  6

                                                                                          PA91
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 126
                                               5-11   Date
                                                      FiledFiled: 03/04/2025
                                                           01/21/25     Page 1 ofEntry
                                                                                  11 ID: 6704290




                          EXHIBIT J




                                                                                  PA92
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 127
                                               5-11      Date
                                                         FiledFiled: 03/04/2025
                                                              01/21/25     Page 2 ofEntry
                                                                                     11 ID: 6704290




                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

         STATE OF NEW JERSEY, et al.
                                                     :
                    Plaintiffs,                      :
                                                     :
          v.                                         :
                                                     :     Civil Action No.: ___________
                                                                              25-cv-10139
         DONALD J. TRUMP, et al.                     :
                                                     :
                    Defendants.                      :
                                                     :
                                                     :
                                                     :

               I, MEGHAN GROEN, pursuant to 28 U.S.C. § 1746, hereby declare that the

       following is true and correct:

               1.    I am the Senior Deputy Director for behavioral and physical health

       and aging services within the Michigan Department of Health and Human Services

       (MDHHS). I became the Senior Deputy Director for behavioral and physical health

       and aging services in May 2023. I am responsible for executive level oversight and

       administration of Medicaid and the HMP (Healthy Michigan Plan) (together

       commonly referred to as Medicaid), as well as CHIP (Children’s Health Insurance

       Program), policy and the related eligibility and determination process. In this

       capacity, I also serve as the Michigan Medicaid Director.

               2.    I am providing this declaration to explain certain impacts on

       Michigan’s health assistance programs of an Executive Order titled “Protecting the

       Meaning and Value of American Citizenship,” issued on January 20, 2025 (the

       “Executive Order”), which revokes birthright citizenship for children born in the


                                                 1

                                                                                         PA93
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 128
                                               5-11         Date
                                                            FiledFiled: 03/04/2025
                                                                 01/21/25     Page 3 ofEntry
                                                                                        11 ID: 6704290




       United States after February 19, 2025 to (i) a mother who is unlawfully present or

       who is lawfully present in the United States but on a temporary basis, and (ii) a

       father who is neither a citizen nor a lawful permanent resident.

                  Michigan’s Medicaid and CHIP programs, eligibility requirements,
                                        and federal funding

             3.       Medicaid is a comprehensive health care coverage program for low-

       income Michiganders. To qualify, individuals must generally fall into one of the

       following categories:

                  •   Elderly adults

                  •   Blind or disabled adults

                  •   Pregnant women Families/Caretakers of dependent children

                  •   Very low income children (generally under 110% of the federal poverty

                      level)

             4.       HMP is Michigan’s Medicaid Expansion program, which provides

       comprehensive health care coverage for individuals who:

                  •   Are age 19-64 years

                  •   Have income at or below 133% of the federal poverty level* ($16,000 for

                      a single person or $33,000 for a family of four)

                  •   Do not qualify for or are not enrolled in Medicare

                  •   Do not qualify for or are not enrolled in other Medicaid programs

                  •   Are not pregnant at the time of application, and

                  •   Are residents of the State of Michigan.




                                                   2
                                                                                          PA94
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 129
                                               5-11        Date
                                                           FiledFiled: 03/04/2025
                                                                01/21/25     Page 4 ofEntry
                                                                                       11 ID: 6704290




             5.       CHIP is a health coverage program funded jointly by the state and

       federal government to provide health care coverage to eligible children in families

       that make too much to be eligible for Medicaid, but too low to afford private

       coverage. Michigan’s primary CHIP program is known by the name of MIChild.

       Children enrolled in MIChild are considered Medicaid beneficiaries and are entitled

       to all Medicaid covered services. The MIChild program provides health care

       coverage for children who:

                  •   Are age 0 through 18

                  •   Have income above traditional Medicaid eligibility levels but at or

                      below 212% of the Federal Poverty Level under the Modified Adjusted

                      Gross Income (MAGI) methodology

                  •   Do not have other comprehensive medical insurance (this includes

                      insurance that covers inpatient and outpatient hospital services,

                      laboratory, x-ray, pharmacy, and physician services)

                  •   Do not qualify for other MAGI related Medicaid programs, and

                  •   Are residents of the State of Michigan.

             6.       Medicaid, HMP, and MIChild offer a full array of health benefits,

       including physical health, behavioral health, dental, vision, and long-term care

       coverage. Medicaid, HMP, and MIChild are federal-state partnership programs with

       both a federal and state share funding the overall program costs. Michigan is able

       to draw 65% federal match for Medicaid, 90% federal match for HMP, and 76%

       federal match for MIChild.




                                                   3
                                                                                          PA95
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 130
                                               5-11       Date
                                                          FiledFiled: 03/04/2025
                                                               01/21/25     Page 5 ofEntry
                                                                                      11 ID: 6704290




              7.    Non-citizens are generally eligible for coverage of Emergency Services

       Only (ESO) Medicaid. ESO Medicaid provides a very limited benefit for aliens who

       are not otherwise eligible for full Medicaid because of immigration status. Aliens

       who are not otherwise eligible for full Medicaid because of immigration status may

       be eligible for Emergency Services Only (ESO) Medicaid. For the purpose of ESO

       coverage, federal Medicaid regulations define an emergency medical condition

       (including emergency labor and delivery) as a sudden onset of a physical or mental

       condition which causes acute symptoms, including severe pain, where the absence of

       immediate medical attention could reasonably be expected to:

          •   Place the person’s health in serious jeopardy, or

          •   Cause serious impairment to bodily functions, or

          •   Cause serious dysfunction of any bodily organ or part.


       ESO Medicaid coverage is limited to those services necessary to treat emergency

       conditions. The following services are not covered under this benefit today:

          •   preventative services

          •   follow-up services related to emergency treatment (e.g., removal of cast,

              follow-up laboratory studies, etc.)

          •   treatment of chronic conditions (e.g., chemotherapy, etc.)

          •   sterilizations performed in conjunction with delivery

          •   organ transplants pre-scheduled surgeries

          •   postpartum care

          •   non-emergency newborn care



                                                    4
                                                                                          PA96
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 131
                                               5-11       Date
                                                          FiledFiled: 03/04/2025
                                                               01/21/25     Page 6 ofEntry
                                                                                      11 ID: 6704290




               8.    In order to get Medicaid or HMP coverage, most non-citizens have a

       five-year waiting period before they can get full Medicaid or HMP coverage. Certain

       noncitizens, like refugees or asylees, are exempt from the five-year waiting period.

               9.    The Children’s Health Insurance Program Reauthorization Act of 2009

       (CHIPRA) allows states to provide full coverage to pregnant women and children

       who are lawfully residing in the United States. Michigan Medicaid allows lawfully

       residing pregnant women to receive full coverage through the entirety of both their

       pregnancy and their 12-month postpartum period. After the end of their postpartum

       period, they will revert to ESO coverage if applicable. Lawfully residing children

       receive full coverage until they reach age 21 and then revert to ESO coverage if

       applicable. Individuals who are not considered lawfully present pursuant to section

       1903(v)(4) and 2107(e)(l)(J) of the Social Security Act would not qualify for this

       option and instead receive limited coverage through ESO Medicaid only.

               10.   During state fiscal year 2024, 3.3 million Michiganders, including 1.22

       million children, were provided with health care coverage through Michigan’s

       Medicaid and CHIP programs. An average of 979,727 children under the age of 18

       and 42,735 pregnant women were covered each month over the course of the fiscal

       year.

               11.   Under federal law, Medicaid and CHIP coverage is provided to citizens

       and qualified noncitizens whose citizenship or qualifying immigration status is

       verified and who are otherwise eligible. Individuals may apply via MI Bridges,

       Michigan’s online application platform, via phone, or in person by completing an




                                                  5
                                                                                        PA97
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 132
                                               5-11        Date
                                                           FiledFiled: 03/04/2025
                                                                01/21/25     Page 7 ofEntry
                                                                                       11 ID: 6704290




       application. With the exception of individuals who apply for ESO Medicaid coverage

       only, citizenship is considered to be an eligibility factor for Medicaid and CHIP

       coverage and is verified by MDHHS. There are multiple ways that MDHHS verifies

       citizenship to determine eligibility.

             12.    Citizenship is generally verified through a data matching process

       leveraging Social Security Administration and/or MDHHS vital records data. In

       instances where citizenship cannot be verified through those automatic means, the

       applicant is contacted to provide supporting documentation, including, but not

       limited to, a passport, Certificate of Naturalization, or Certificate of Citizenship,

       military record of service. If verification of this manner cannot be provided,

       MDHHS will request third level evidence of U.S. citizenship.

             13.    Third level evidence is usually a non-government document

       established for a reason other than to establish U.S. citizenship and showing a U.S.

       place of birth. This includes an extract of a hospital record on hospital letterhead

       established at the time of birth that was created at least five years before the initial

       application date that indicates a U.S. place of birth; life, health or other insurance

       record showing a U.S. place of birth that was created at least five years before the

       initial application date; religious record recorded in the U.S. within three months of

       birth showing the birth occurred in the U.S. and showing either the date of the birth

       or the individual’s age at the time the record was made; or an early school record

       showing a U.S. place of birth.




                                                  6
                                                                                          PA98
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 133
                                               5-11       Date
                                                          FiledFiled: 03/04/2025
                                                               01/21/25     Page 8 ofEntry
                                                                                      11 ID: 6704290




             14.    If third level evidence cannot be supplied, MDHHS policy stipulates

       that fourth level evidence can be used only in the rarest of circumstances. When

       this is necessitated, a written affidavit completed by the applicant or recipient and

       at least two additional individuals of whom one is not related to the

       applicant/recipient and who have personal knowledge of the event(s) establishing

       the person’s claim of citizenship can be considered. Individuals making the affidavit

       must be able to provide proof of their own citizenship and identity. The affidavit is

       signed under penalty of perjury by the person making the affidavit and must

       include information explaining why other documentary evidence establishing the

       applicant’s claim of citizenship does not exist or cannot be obtained.

             15.    A child born to a woman receiving Medicaid in Michigan is considered

       a U.S. citizen. No further documentation of the child’s citizenship is required.

       Following the child’s birth, he or she would be automatically enrolled in Medicaid

       for the first 12 months after birth. This coverage provides full Medicaid benefits and

       permits the hospital and other providers to bill Medicaid for the child’s covered

       services such as newborn testing and screenings, vaccination, pediatrician visit, and

       the hospital stay. The Executive Order is likely to have serious impacts on public

       health and inflict harm on hospitals and other safety-net providers that will be left

       with the costs of now uncompensated, but required, health care services and

       supports. Hospitals across the country and in Michigan have suspended labor and

       delivery units and adding uncompensated costs as a result of this order may




                                                  7
                                                                                          PA99
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 134
                                               5-11       Date
                                                          FiledFiled: 03/04/2025
                                                               01/21/25     Page 9 ofEntry
                                                                                      11 ID: 6704290




       exacerbate growing access concerns over access to labor and delivery services for

       pregnant women regardless of their insurer.

             16.    I understand that the President has issued an Executive Order ending

       birthright citizenship. The federal government’s policy of ending birthright

       citizenship for children born in the United States based on their parent(s)’ non-

       citizen/immigration status will have a variety of widespread impacts on Michigan’s

       medical benefits programs, including a decrease in receipt of proper medical care for

       children born in Michigan and increased operational and administrative costs for

       Michigan. In addition, the change of policy will have a direct impact on Michigan’s

       administration of its Medicaid and CHIP programs and result in a loss of federal

       funding Michigan receives to reimburse medical expenses in Michigan. As a result,

       uncompensated care costs will increase for hospitals and safety net providers in

       Michigan.

                         Fiscal Impact of Revoking Birthright Citizenship

             17.    The Executive Order will result in a direct loss of federal funding for

       both the undocumented mothers and their children that were eligible for the

       Maternity Outpatient Medical Services program (MOMS).

             18.    MOMS is a health coverage program in Michigan. The MOMS program

       provides health coverage for pregnant or recently pregnant women who are eligible

       for ESO Medicaid. MOMS provides coverage for outpatient prenatal services and

       pregnancy-related postpartum services for two months after the pregnancy ends

       including but not limited to inpatient labor and delivery, radiology and ultrasound,




                                                 8
                                                                                      PA100
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-11
                                     Document 135         Date 01/21/25
                                                          Filed Filed: 03/04/2025   Entry
                                                                            Page 10 of 11 ID: 6704290




       laboratory service, doula and home visiting, behavioral health and substance use

       disorder services. MOMS also covers family planning services for the mother during

       the postpartum period.

             19.    In state fiscal year 2024, 5,500 women were covered through the

       MOMS program for at least a portion of their pregnancy and postpartum period and

       1,907 babies were born to women covered by this program. If the pregnant women

       covered through MOMS became ineligible due to a loss of citizenship for their

       unborn child, that would result in a loss of $13.2 million in federal reimbursements

       to Michigan and, assuming the State covers MOMS program expenses for those

       individuals with State funds, a corresponding increase to State expenditures of the

       same amount. If the babies born to these women were no longer considered citizens

       and ineligible for Medicaid as a result of this status change, that would result in a

       loss of approximately $11.6 million in federal reimbursements to Michigan and a

       corresponding increase to State expenditures of the same amount.

             20.    The Executive Order will also result in a direct loss of federal funding

       for children that are born in Michigan to undocumented parents and were eligible

       for CHIP.

                                      Administrative Burden

             21.    In addition, MDHHS expects increased administrative and training

       costs for these programs relative to resources for training and potentially

       systems/policy implementation as a result of the Executive Order. Additional

       administrative costs will be incurred by hospitals and other safety-net providers.




                                                  9
                                                                                       PA101
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-11
                                     Document 136        Date 01/21/25
                                                         Filed Filed: 03/04/2025   Entry
                                                                           Page 11 of 11 ID: 6704290




             I declare under penalty of perjury under the laws of the United States of

       America that the foregoing is true and correct.



       Dated: January 20, 2025                       ____________________________
                                                     Meghan E. Groen
                                                     Senior Deputy Director
                                                     Behavioral and Physical Health and
                                                     Aging Services Administration
                                                     MDHHS




                                                10
                                                                                    PA102
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 137
                                               5-12   Date
                                                      FiledFiled: 03/04/2025
                                                           01/21/25     Page 1 ofEntry
                                                                                  13 ID: 6704290




                         EXHIBIT K




                                                                                 PA103
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 138
                                               5-12               Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 2 ofEntry
                                                                                              13 ID: 6704290




                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MASSACHUSETTS

         STATE OF NEW JERSEY, et al.                         :
                                                             :
                   Plaintiffs,
                                                             :
            v.                                               :
                                                             :
                                                             :   Civil Action No.: ___________
                                                                                   25-cv-10139
         DONALD J. TRUMP, et al.
                                                             :
                   Defendants.                               :
                                                             :
                                                             :
                                                             :


                                 DECLARATION OF LINDY HARRINGTON

              I, Lindy Harrington, hereby declare:

              1.      I am a resident of the State of California. I am over the age of 18 and have

       personal knowledge of all the facts stated herein, except to those matters stated upon information

       and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

       testify competently to the matters set forth below.

              2.      I am currently employed by the California Department of Health Care Services

       (DHCS) as the Assistant State Medicaid Director. I have held the Assistant State Medicaid

       Director position since 2023. As Assistant State Medicaid Director my responsibilities include

       assisting the State Medicaid Director in overseeing all aspects of the Medicaid and Children’s

       Health Insurance Programs (CHIP) as governed by state and federal rules. My experience

       includes over 17 years of various executive leadership roles within DHCS, including over 7

       years as the Deputy Director, Health Care Financing where I was responsible for the

       development, promotion, and implementation of financing for California’s Medicaid program

       (Medi-Cal) prior to my appointment as Assistant State Medicaid Director.


                                                         1

                                                                                                     PA104
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 139
                                               5-12               Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 3 ofEntry
                                                                                              13 ID: 6704290




              3.       The organizational purpose of DHCS is to provide equitable access to quality

       health care leading to a healthy California for all. In that effort, DHCS oversees the provision of

       healthcare for citizen and noncitizen low-income families, children, women, seniors, and persons

       with disabilities within the Medi-Cal and CHIP programs.

              4.       DHCS is the single state agency authorized to administer California’s Medicaid

       program under Title XIX of the federal Social Security Act, referred to in California as “Medi-

       Cal” and California’s Children’s Health Insurance Program (CHIP) under Title XIX and XXI of

       the federal Social Security Act.

              5.       I am providing this declaration to explain certain impacts on the State of

       California’s health insurance programs of the Executive Order titled “Protecting the Meaning

       and Value of American Citizenship,” issued on January 20, 2025 (the “Executive Order”), which

       revokes birthright citizenship for children born in the United States after February 19, 2025 to

       (i) a mother who is unlawfully present or who is lawfully present in the United States but on a

       temporary basis, and (ii) a father who is neither a citizen nor a lawful permanent resident.

              6.       As described below, this Executive Order will inflict significant harm upon

       DHCS’ efforts to provide Californians with equitable access to quality health care.

                                              Medicaid and CHIP

              7.       California’s Medi-Cal and CHIP programs are federal/state partnerships that

       provide comprehensive healthcare to individuals and families who meet defined eligibility

       requirements.

              8.       There are several ways to be eligible for Medi-Cal, but in general, children born

       in the United States and residing in California whose household modified adjusted gross income

       (MAGI) is at or below 266 percent of the Federal Poverty Level (FPL) are eligible for Medi-Cal.



                                                        2

                                                                                                    PA105
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 140
                                               5-12              Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 4 ofEntry
                                                                                             13 ID: 6704290




              9.      DHCS also leverages Medi-Cal resources to extend meaningful coverage to a

       wide range of children. This is accomplished in part with federal funds available under Titles

       XIX and XXI (Children’s Health Insurance Program or CHIP).

              10.     The vast majority of the State’s Title XXI allotment is used to expand Medicaid

       coverage to children in working families whose parent(s) or guardians(s) exceed the income

       eligibility thresholds for traditional Title XIX based Medi-Cal. DHCS uses Title XXI funds to

       further extend coverage to children with income up to 322 percent of the FPL in San Francisco,

       Santa Clara, and San Mateo Counties.

              11.     In addition, DHCS has elected to use Medi-Cal resources to make pregnancy

       health services accessible to the largest number of individuals possible. Medi-Cal includes

       coverage for eligible pregnant individuals up to 213 percent of the FPL. Pregnancy-related

       services include prenatal care, all Medi-Cal services for conditions that might complicate

       pregnancy (such as high blood pressure and diabetes) and postpartum care. Labor and delivery

       are provided under emergency services. Additionally, these services directly affect maternal and

       child health outcomes.

              12.     As part of California’s CHIP State Plan, pregnant individuals and individuals up

       to 12 months post-partum who have income between 213 percent of the FPL and up to 322

       percent of the FPL may be eligible for the Medi-Cal Access Program (MCAP), which includes

       the From-Conception-to-the-End-of-Pregnancy (FCEP) Option, which offers comprehensive

       coverage for no-cost with no copayments or deductibles for its covered services. Eligible

       pregnant individuals that meet the State’s residency requirements may qualify for the MCAP,

       regardless of immigration status.




                                                       3

                                                                                                    PA106
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 141
                                               5-12              Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 5 ofEntry
                                                                                             13 ID: 6704290




               13.     Newborns whose mothers are enrolled in Medi-Cal or MCAP and give birth in

       participating hospitals or clinics can be automatically enrolled into Medi-Cal or the Medi-Cal

       Access Infant Program (MCAIP) at the time of birth using a simplified application. Medi-Cal

       deemed eligible newborns and MCAIP infants will receive full-scope, no-cost Medi-Cal until

       their first birthday.

               14.     Under federal law, individuals who are undocumented and do not have a lawful,

       qualifying immigration status, are not eligible for federal Medicaid, CHIP, or other benefits. The

       limited exception involves the federal program for undocumented or non-qualified individuals

       otherwise eligible for Medicaid, known as Emergency Medicaid. Thus, except for emergency,

       pregnancy-related services, and postpartum services, California fully funds health insurance for

       individuals who meet the income eligibility guidelines for federally-funded Medicaid or CHIP,

       but do not qualify for those programs because they are not United States citizens or “qualified

       aliens.”

               15.     Under the CHIP State Plan, DHCS elected the From-Conception-to-End-of-

       Pregnancy Option, which provides full-scope coverage of services for pregnant individuals,

       regardless of immigration status, up to 322 percent of the FPL. This option provides the DHCS

       authority to cover pregnancy-related and postpartum services for undocumented or non-qualified

       individuals.

               16.     DHCS recognizes that meaningful access to affordable and quality healthcare

       requires statewide efforts to increase coverage for more Californians.

               17.     Thus, to better address the State’s coverage needs, in 2015, California expanded

       full-scope, State-funded Medi-Cal eligibility to all low-income children through age eighteen,

       regardless of immigration status, and subsequently, expanded coverage to additional age groups



                                                        4

                                                                                                 PA107
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 142
                                               5-12               Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 6 ofEntry
                                                                                              13 ID: 6704290




       until, beginning in 2024, California became the second state to expand comprehensive coverage

       to all income-eligible residents, regardless of immigration status.

                                                 Federal Funding

              18.     As of the State Fiscal Year 2024-25 enacted budget, DHCS has an annual budget

       of more than $160 billion, the vast majority of which relates to Medi-Cal and CHIP, which

       supports the health care of more than 14 million Californians.

              19.     The amount contributed by the federal government, known as the Federal Medical

       Assistance Percentage (FMAP), is based on a formula that uses a state’s per capita income.

       California receives a 50 percent FMAP for Medi-Cal, which generally means that for every

       dollar California spends on Medi-Cal services, the federal government matches it with a dollar.

       For CHIP, the FMAP is 65 percent.

              20.     However, Medi-Cal coverage for undocumented children who are not eligible for

       federal Medicaid or CHIP because of their immigration status, is fully funded by California,

       without any federal funding assistance.

              21.     The only exception to this is Emergency Medicaid which is available to all

       income-eligible individuals who have a medical emergency or need pregnancy-related or

       postpartum services.

              22.     In order to receive Medicaid matching funds from the federal government for

       healthcare expenditures by California, DHCS needs to verify that the expenditures submitted for

       federal matching were for care provided to citizens or qualifying noncitizens, or for emergency,

       pregnancy-related, or postpartum services.

              23.     As of 2024, DHCS administers Medicaid and CHIP funded coverage for more

       than five million children in California. DHCS estimates that coverage on a per-child basis costs



                                                        5

                                                                                                PA108
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 143
                                               5-12               Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 7 ofEntry
                                                                                              13 ID: 6704290




       approximately $3,445 per year. For this coverage, California estimates it expended

       approximately $17 billion in total and received approximately $8 billion in reimbursement from

       the federal government under Medicaid and CHIP.

              24.     Federal funding for California’s Medi-Cal program is provided through an

       advance quarterly grant from the federal Centers on Medicare and Medicaid Services (“CMS”)

       to California, with a post-quarter reconciliation. This quarterly process begins approximately six

       weeks before the quarter begins, with the State submitting to CMS a CMS-37 report, which

       estimates the reimbursable expenditures California expects to make for the upcoming quarter.

       For instance, for the January to March 2025 quarter, California submitted the CMS-37 report on

       approximately November 15, 2024.

              25.     Federal funding for California’s CHIP program is provided through an annual

       allotment. The allotment amount is calculated by CMS as defined in Section 2104(m)(10) of the

       Social Security Act. Funds from this allotment are released to California based on the quarterly

       budget submission to CMS. For the January through March 2025 quarter, the State submitted the

       reports on approximately November 15, 2024. Initial CHIP allotment funds for Federal Fiscal

       Year 2025 were released to California previously.

              26.     CMS then issues a quarterly federal grant no later than the week before the start

       of the quarter. The State draws from this grant award during the quarter to partially fund its

       expenditures for Medicaid and CHIP.

                                     Healthcare Coverage for Newborns

              27.     Presently, all children born in California are U.S. citizens.

              28.     Thus, at present, Medi-Cal coverage for newborns in California is partially funded

       by the State and partially funded by the federal government, either through Medicaid or CHIP.



                                                        6

                                                                                                  PA109
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 144
                                               5-12              Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 8 ofEntry
                                                                                             13 ID: 6704290




       However, if a child were not eligible for federally-funded Medicaid or CHIP, California would

       not receive that federal assistance, and would cover the full cost of health insurance coverage for

       the newborn, with the exception of federal funding for emergency services.

              29.     CHIP and Medi-Cal are especially important for children under 21 years of age

       with disabilities enrolled in California’s Children’s Services (CCS) program which provides

       diagnostic and treatment services, medical case management, and physical and occupational

       therapy health care services to children with CCS-eligible conditions (e.g., severe genetic

       diseases, chronic medical conditions, infectious diseases producing major sequelae, and

       traumatic injuries) from families unable to afford catastrophic health care costs. CCS currently

       serves approximately 182,000 children in California, approximately 90 percent of whom receive

       this service through CHIP and Medi-Cal benefits.

                                          Impact of Executive Order

              30.     Medi-Cal is the pillar of the State’s health care safety net, providing access and

       meaningful coverage to millions of low-income Californians. If implemented, the Executive

       Order will not only interfere with the administration of Medi-Cal and other health programs

       operated by DHCS, reducing California’s health care coverage gains, but it will also reduce the

       amount of federal funding California receives to reimburse medical expenses for children in

       California.

              31.     California’s current Medicaid and health benefits programs are structured around

       the significant reimbursements from the federal government, and any loss of funding would have

       serious consequences for DHCS and those individuals it serves.

              32.     The Executive Order revoking birthright citizenship for certain children born in

       the United States will result in some babies being born in California as non-citizens with no legal



                                                        7

                                                                                                  PA110
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 145
                                               5-12                 Date
                                                                    FiledFiled: 03/04/2025
                                                                         01/21/25     Page 9 ofEntry
                                                                                                13 ID: 6704290




       status. That will result in the direct loss of federal reimbursements to the State for coverage

       provided to those children because eligibility for federally matched programs such as Medicaid

       and CHIP depends on the individual’s eligibility under federal law, which necessarily depends

       on their citizenship or immigration status.

               33.       In particular, federally matched coverage for many children that would have been

       provided under Medicaid or CHIP will very likely be lost, since those programs are not available

       to unauthorized individuals aside from Emergency Medicaid coverage. This will necessarily

       result in a shift to the State of funding responsibility for this group of children.

               34.       Further under California’s CHIP State Plan, California covers pregnant

       individuals regardless of immigration status, with incomes at or below 322 percent of the FPL

       for prenatal care so even though the mother may not have a legal immigration status, the child

       will be born a U.S. citizen and is therefore eligible under CHIP from conception through birth.

       After the child is born, the child (as a U.S. citizen) can remain covered under CHIP, while the

       mother is no longer covered under the federal CHIP program. If these children are no longer

       deemed citizens at birth, DHCS will lose federal funding for all non-emergency services for

       these children.

               35.       This poses an immediate risk to DHCS’s federal funding stream used to provide

       healthcare coverage to vulnerable California newborns and children.

               36.       In 2022, DHCS estimates there were approximately 41,000 births to

       undocumented pregnant individuals whose labor and delivery was covered by emergency

       Medicaid. Assuming that a similar number of undocumented pregnant individuals give birth

       within one year of the Executive Order, and that many of those children would have been




                                                          8

                                                                                                    PA111
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-12
                                     Document 146                   Date 01/21/25
                                                                    Filed Filed: 03/04/2025   Entry
                                                                                      Page 10 of 13 ID: 6704290




       eligible for federal Medicaid and CHIP but for their new non-citizen status, DHCS estimates that

       it will lose several millions in federal funding in the first year, compounding annually.

              37.     Further, to the extent that the Executive Order will sow confusion about

       immigrants and their children’s ability to access essential health benefits, for which they remain

       eligible under state law, the Executive Order undermines the substantial progress that DHCS has

       made to increase access to healthcare, harming families and communities, weakening the public

       health, and creating public distrust in the State’s social welfare institutions.

              38.     Because the Executive Order will cause families and caregivers of children,

       especially infants, to avoid the preventive care and treatment provided by these programs, it will

       have long-term consequences for the health outcomes of those children.

              39.     Currently, these programs all follow the American Academy of Pediatrics Bright

       Futures recommendations, a series of evidence-based preventive care and treatment

       recommendations shown to improve the health outcomes of children. Beyond health outcomes

       like avoiding childhood diseases, avoiding long-term risk of chronic diseases in adulthood and

       promoting age-appropriate development, these services are also critical for ensuring the success

       of children in other domains like engagement in school, literacy and appropriate social

       development. These programs are also where any issues, especially related to development, child

       welfare and congenital or infectious diseases are first identified and treated early. Lack of

       utilization of these programs will pose long-term risk to the health of all Californians, increased

       risk for future pandemics, and overall impact to California’s health and economy.

              40.     In addition, if implemented the Executive Order likely will interfere with and

       complicate DHCS’ administration of programs.




                                                          9

                                                                                                   PA112
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-12
                                     Document 147                 Date 01/21/25
                                                                  Filed Filed: 03/04/2025   Entry
                                                                                    Page 11 of 13 ID: 6704290




               41.    DHCS will need to immediately begin planning for the potential loss of federal

       funding. This includes reassigning staff from other priorities, hiring contractor support, and

       expanding existing financial and programmatic support contracts to encompass the new scope of

       work this would entail.

               42.    DHCS would also incur significant costs to train staff, partners, and healthcare

       providers on any updated eligibility system and procedures, and to revise existing guidance

       documents and manuals regarding eligibility rules and procedures. DHCS will have an enormous

       administrative burden in training workers across 58 counties on processing Medi-Cal eligibility

       based on new immigration rules, which is a significant overhaul to Medi-Cal's current enrollment

       policies.

               43.    DHCS will need to revise all eligibility determination policies around Medi-Cal at

       application, annual renewal, and changes of circumstances relating to citizenship and

       immigration status verifications, which can take as many as several years to complete and

       operationalize due to complexity. This includes significant updates to the Medicaid application

       and its requisite online applications in two eligibility systems, including reconstructing how

       verifications of immigration status will work to output an accurate Medi-Cal determination.

       None of these changes will be immediate due to the complexity, breadth, and depth of these

       fundamental policies for verification of citizenship status.

               44.    Because so many changes will need to be made to implement Medicaid and CHIP

       under this new citizenship rule, DHCS is unable to currently predict how many millions of

       dollars it will cost to implement these changes. The changes that would need to be made both at

       the state and federal level could take years to update to the new citizenship rule.




                                                        10

                                                                                                  PA113
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-12
                                     Document 148                  Date 01/21/25
                                                                   Filed Filed: 03/04/2025   Entry
                                                                                     Page 12 of 13 ID: 6704290




              45.     Further, children residing in California are eligible for Medi-Cal, including the

       fully state-funded program, regardless of whether they were born in California. Children residing

       in California who moved into the State from other states, are frequently enrolled in Medi-Cal.

       Presently, the eligibility verification systems used by DHCS’s vendor and county agencies does

       not track the state of birth of U.S.-born children who apply for Medi-Cal. If the rules governing

       birthright citizenship varied by state of birth, these eligibility verification systems need to be

       modified to track state of birth and parentage in order to determine whether a child relocating

       from another State is a citizen and therefore eligible for Federal-State Medicaid or CHIP. This

       would add further complexity to the process of updating eligibility verification systems described

       above, requiring additional expenditure of DHCS’s time and resources.




                                                         11

                                                                                                     PA114
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-12
                                     Document 149                Date 01/21/25
                                                                 Filed Filed: 03/04/2025   Entry
                                                                                   Page 13 of 13 ID: 6704290




              I declare under penalty of perjury that the foregoing is true and correct to the best of my

       knowledge.



       Executed this __20th__ day of January, 2025, in Sacramento, CA.




                                                    _____________________________
                                                    Lindy Harrington
                                                    Assistant State Medicaid Director
                                                    California Department of Health Care Services




                                                       12

                                                                                                  PA115
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 150
                                               5-13 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 1 of 7 ID: 6704290




                          EXHIBIT L




                                                                                PA116
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 151
                                               5-13 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 2 of 7 ID: 6704290




                                      UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MASSACHUSETTS

         STATE OF NEW JERSEY, et al.                         :
                                                             :
                      Plaintiffs,
                                                             :
            v.                                               :
                                                             :
                                                             :      Civil Action No.: ___________
                                                                                       25-cv-10139
         DONALD J. TRUMP, et al.
                                                             :
                      Defendants.                            :
                                                             :
                                                             :
                                                             :


                                    DECLARATION OF RACHEL A. HEENAN


                         I, Rachel A. Heenan, declare as follows:

                 1.      I am a resident of the State of California. I am over the age of 18 and have

       personal knowledge of all the facts stated herein, except to those matters stated upon information

       and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

       testify competently to the matters set forth below.

                 2.      I am currently employed by the California Department of Education (CDE) as the

       Director of the Special Education Division. I have been in this position for one year. I have more

       than 7 years of experience as District Special Education Director and Special Education Local

       Plan Area Director and more than 19 years of experience in Special Education administration.

                 3.      As the Director of Special Education, I oversee the implementation of federal and

       state special education laws including the Individuals with Disabilities Education Act. I also

       oversee a total budget of $6,300,000,000 in state and federal funds that are allocated to Local

       Educational Agencies (LEAs) to meet the needs of 850,000 students with disabilities.




                                                                                                            1

                                                                                                        PA117
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 152
                                               5-13 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 3 of 7 ID: 6704290




                4.    CDE’s mission is to innovate and collaborate with educators, schools, parents,

       districts, and community partners to ensure that all of California’s 5.8 million public school

       students—across more than 9,000 schools—have access to a world-class education. Our aim is to

       prepare students to live, work, and thrive in a multicultural, multilingual, and highly connected

       world.

                5.    Pursuant to Plyler v. Doe, 457 U.S. 202 (1982), LEAs within the State serve all

       school-age children, regardless of their immigration status. An LEA—such as a school district—

       is a public authority legally constituted by the State as an administrative agency to provide

       control of and direction for kindergarten through grade 12 public educational institutions.

                6.    The children of immigrant families are a vital part of our school communities, and

       they are a part of what makes our schools so vibrant and diverse.

                7.    I understand that the President issued the Executive Order “Protecting the

       Meaning and Value of American Citizenship” on January 20, 2025 (the “Executive Order”). It is

       my understanding that the Executive Order revokes birthright citizenship for children born in the

       United States after February 19, 2025 to (i) a mother who is unlawfully present or who is

       lawfully present in the United States but on a temporary basis, and (ii) a father who is neither a

       citizen nor a lawful permanent resident.

                8.    As described below, it is my understanding that an Executive Order ending

       birthright citizenship would inflict significant harm upon CDE’s efforts to provide a free and

       appropriate public education to all children by restricting the federal funding made available to

       LEAs and public schools in California to serve students with disabilities.




                                                                                                            2

                                                                                                   PA118
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 153
                                               5-13 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 4 of 7 ID: 6704290




                                                Special Education

              9.      The Individuals with Disabilities Education Act (IDEA) provides that schools are

       responsible for providing a free appropriate public education (FAPE) to students with

       disabilities. 20 U.S.C. § 1412(e).

              10.     Funding for special education is meant to cover the additional costs that are

       associated with educating students with disabilities due to their disability. In California, there are

       three main sources of special education funding: (1) the federal government, as part of the IDEA;

       (2) the State; and (3) school district and charter school LEAs. For the school year 2024-25,

       California received $1.5 billion in special education funding from the federal government, the

       State allocated $4.8 billion for special education, and LEAs, using unrestricted funds, covered

       the remaining approximately $8 billion in special education costs.

              11.     Medicaid responsibility precedes that of the LEA for a Medicaid (called Medi-Cal

       in California) covered service in the student’s Individualized Education Plan (IEP). 20 U.S.C.

       § 1412(a)(12)(A)(i); 42 U.S.C. § 1396b(c). Section 1396b(c) states: “Nothing in this subchapter

       shall be construed as prohibiting or restricting, or authorizing the Secretary to prohibit or restrict,

       payment under subsection (a) for medical assistance for covered services furnished to a child

       with a disability because such services are included in the child’s individualized education

       program established pursuant to part B of the IDEA [20 U.S.C. 1411 et seq.] or furnished to an

       infant or toddler with a disability because such services are included in the child’s individualized

       family service plan adopted pursuant to part C of such Act [20 U.S.C. 1431 et seq.].” The IDEA

       provisions regarding LEA responsibilities for a FAPE do not alter the Medicaid responsibility for

       Medicaid-covered services in the IEP. 20 U.S.C. § 1412(e).




                                                                                                             3

                                                                                                     PA119
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 154
                                               5-13 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 5 of 7 ID: 6704290




              12.     CDE receives funding under three provisions of IDEA. Since 1988, Section

       1903(c) of the Social Security Act has authorized the federal Medicaid program to reimburse

       LEAs for covered services provided to Medicaid-eligible students with disabilities, pursuant to

       the IDEA, 20 U.S.C. § 1400 et seq., provided the services were delineated in the student’s IEP

       (or similar plan) and covered in the state plan for Medicaid.

              13.     IDEA requires LEAs to develop an IEP for children found eligible for special

       education and related services. An IEP identifies certain special education and related services,

       and program modifications and supports, that the LEA will provide a child with a disability. If

       the IEP identifies Medicaid-covered services necessary to provide supports for the child with a

       disability, the IDEA requires LEAs to provide those Medicaid-covered services pursuant to the

       IEP.

              14.     Thus, LEAs and public schools in California may provide certain Medicaid-

       covered services to special needs students under an IEP, such as (but not limited to): audiological

       services, occupational therapy, physical therapy, psychological and mental health services,

       behavioral intervention services, as well as speech and language therapy.

              15.     In school year 2023-24, one of the largest school districts in the state (serving

       approximately 10,000 students with disabilities) received $5,000,000 in Medi-Cal

       reimbursements. Smaller districts sampled received approximately $1.5-$1.8 million in

       reimbursement for these services. On average, LEAs with between 4,000-6,000 students with

       disabilities receive more than $1,000,000 per LEA. In the State, there are 30 LEAs that serve

       more than 4,000 students with disabilities, thus receiving approximately $30,000,000 in Medi-

       Cal reimbursement.




                                                                                                           4

                                                                                                   PA120
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 155
                                               5-13 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 6 of 7 ID: 6704290




              16.     It is my understanding that if birthright citizenship is terminated, students with

       disabilities with undocumented parents—who would otherwise be citizens and qualify for

       federally-funded Medicaid but for the Order—will not be eligible for federally-funded Medicaid.

              17.     LEAs would thus not receive any federal Medicaid reimbursements for their

       provision of health services to those special needs students under their IEPs. In the absence of

       those federal reimbursements, LEAs would have to draw upon state funds to maintain those IEP-

       required services for the affected special needs students, reducing the State’s overall funds and

       diverting those funds from other educational services.




                                                                                                           5

                                                                                                   PA121
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 156
                                               5-13 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 7 of 7 ID: 6704290




       I declare under penalty of perjury that the foregoing is true and correct.

                      Executed on January 21, 2025, at Clearwater, Florida.



                                                     /s/ Rachel A. Heenan




                                                                                        6

                                                                                    PA122
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 157
                                               5-14 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 1 of 9 ID: 6704290




                         EXHIBIT M




                                                                                PA123
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 158
                                               5-14 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 2 of 9 ID: 6704290




                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MASSACHUSETTS

         STATE OF NEW JERSEY, et al.                         :
                                                             :
                   Plaintiffs,
                                                             :
            v.                                               :
                                                             :
                                                             :   Civil Action No.: ___________
                                                                                    25-cv-10139
         DONALD J. TRUMP, et al.
                                                             :
                   Defendants.                               :
                                                             :
                                                             :
                                                             :


                                 DECLARATION OF RITA NGUYEN, M.D.

                      I, Rita Nguyen, declare as follows:

              1.      I am a resident of the State of California. I am over the age of 18 and have

       personal knowledge of all the facts stated herein, except to those matters stated upon information

       and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

       testify competently to the matters set forth below.

              2.      I am currently employed by the California Department of Public Health (CDPH)

       as the Assistant Public Health Officer for the State of California, a role I have served in since

       February 2022. I was previously the Assistant Health Officer at the San Francisco Department of

       Public Health from 2017-2022 where I supported chronic disease and cancer prevention efforts

       for the City and County of San Francisco. Prior to that, I was Assistant Clinical Professor at

       UCSF with a focus on nutrition security, public health, and providing clinical care to hospitalized

       patients. I received my M.D. at Johns Hopkins University School of Medicine and B.A. from

       Stanford University. I completed Internal Medicine Residency Training at Brigham and

       Women’s Hospital.

                                                         1

                                                                                                     PA124
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 159
                                               5-14 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 3 of 9 ID: 6704290




              3.      I oversee CDPH’s Population Health Pillar which entails providing policy,

       program, and administrative oversight of the Centers for Healthy Communities, Family Health,

       Environmental Health, and Health Statistics and Informatics. As the Assistant Public Health

       Officer, I also assist and support the Director and State Public Officer with pressing and/or

       emerging public health issues.

              4.      CDPH aims to optimize the health and wellbeing of all people in California.

       CDPH works with local health departments, as well as public and private partners, to implement

       policies and programs that advance public health.

              5.      I am familiar with the Executive Order “Protecting the Meaning and Value of

       American Citizenship” issued on January 20, 2025 (the “Executive Order”). It is my

       understanding that the Executive Order revokes birthright citizenship for children born in the

       United States after February 19, 2025 to (i) a mother who is unlawfully present or who is

       lawfully present in the United States but on a temporary basis, and (ii) a father who is neither a

       citizen nor a lawful permanent resident.

              6.      I anticipate that the Executive Order will harm California by: (1) directly

       impacting the federal funding that CDPH and California receive to facilitate Social Security

       Number applications for newborn babies; and (2) imposing new administrative burdens upon

       CDPH that require it to expend and divert resources.

                              Registration and Birth Certificates of Newborns

              7.      As part of its functions, CDPH maintains birth, death, fetal death/still birth,

       marriage, and divorce records for California. CDPH issues certified copies of California vital

       records and registers and amends vital records as authorized by law.




                                                        2

                                                                                                    PA125
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 160
                                               5-14 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 4 of 9 ID: 6704290




                 8.    Within CDPH, the Center for Health Statistics and Informatics (CHSI) is

       responsible for collecting and maintaining data regarding births in California.

                 9.    California has the largest proportion and highest number of births in the United

       States, representing about one out of every eight births in the nation.

                 10.   In 2022, 420,543 babies were born in California.

                 11.   Hospitals and other healthcare facilities in California coordinate with CHSI to

       collect information to register a child’s birth.

                 12.   When a child is born in a healthcare facility, a medical attendant to the birth is

       statutorily obligated to register the birth. They provide the newborn’s parents with a Birth

       Certificate form that asks for several pieces of information, including the parents’ place of birth

       and Social Security Numbers (SSNs). The form does not inquire about the parents’ immigration

       status.

                 13.   If the parents do not have an SSN, or do not wish to share it, they can leave that

       field blank. Their omission of that information does not affect the newborn’s ability to obtain a

       birth certificate.

                 14.   After the newborn’s parents complete and sign the form, hospital staff enter the

       information from the form into the Electronic Birth Registration System (EBRS) maintained by

       CHSI. Hospital staff then submit the record to the Local Registration District (usually affiliated

       with the county health department) who then registers the record (i.e., local registration). Once

       the record has been locally registered, it is then state registered by CHSI.

                 15.   A newborn’s completed birth certificate only includes the parents’ SSNs at the

       bottom of the confidential section if the parents provided an SSN. The mother’s residence

       address is also provided in the confidential section. The mother’s birth name, the father’s birth



                                                          3

                                                                                                    PA126
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 161
                                               5-14 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 5 of 9 ID: 6704290




       name (if provided), and their places and dates of birth are provided in the public section of the

       certificate.

               16.     Currently, it is not possible to determine a parent’s immigration status from their

       child’s birth certificate.

                             Application for Social Security Number of Newborns

               17.     CHSI also helps facilitate parents’ applications for an SSN for their newborn baby

       through a Social Security Administration program called Enumeration at Birth.

               18.     Under the Enumeration at Birth Program, the healthcare facility provides parents

       with an application form to request an SSN for their child.

               19.     The Enumeration at Birth application form asks for the parents’ SSNs. However,

       parents can leave that information field blank in the application, for various reasons. In 2023-

       2024, 22 percent of all Enumeration at Birth applications in California did not include either

       parents’ SSN.

               20.     After a healthcare facility receives a completed SSN application from the parents,

       it submits the information from the application through EBRS, which then transmits that

       information and request to SSA after state registration.

               21.     Although the Enumeration at Birth Program is voluntary, the vast majority of

       families apply for SSNs for their newborns through this Program. In California, approximately

       98 percent of families participated in the Enumeration at Birth Program in 2024.

               22.     CDPH receives federal funding from the Social Security Administration’s

       Enumeration at Birth Program for each SSN that is issued through this process.




                                                         4

                                                                                                   PA127
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 162
                                               5-14 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 6 of 9 ID: 6704290




              23.     CDPH receives $4.82 in federal funding per SSN issued to a newborn baby in

       California. For the upcoming year, CDPH estimates that it will receive up to $2,885,599 through

       federal funding for CDPH’s administration of the Enumeration at Birth Program in California.

              24.     Prior to the Executive Order, the Social Security Administration accepted nearly

       all Enumeration at Birth applications sent by CDPH, including those that did not contain either

       parent’s SSN. CDPH receives a report from the Social Security Administration every day

       indicating how many SSN applications the Social Security Administration received from CDPH,

       the number of applications rejected, and the reason for rejection. In 2023 and 2024, CDPH

       received no rejections of SSN applications sent through the Enumeration at Birth Program due to

       a lack of parental SSN.

              25.     In 2023, parents in California submitted 393,897 applications for SSNs for

       newborn babies through the Enumeration at Birth Program, resulting in $1,898,583.54 in federal

       funding.

              26.     In 2024, parents in California submitted 390,966 applications for SSNs for

       newborn babies through the Enumeration at Birth Program, resulting in $1,884,456.12 in federal

       funding.

              27.     If the Executive Order revokes the citizenship of newborn babies born to

       undocumented parents, or to newborn babies born to one undocumented parent where the other

       parent is unknown, those babies would no longer be eligible for an SSN.

              28.     If the Social Security Administration declines to issue SSNs to babies born to two

       undocumented parents, CDPH estimates approximately 24,500 babies would be affected.

              29.     This estimate is based on figures provided to me by the State’s demographer

       approximating the number of births to California residents who are undocumented in 2022. This



                                                       5

                                                                                                 PA128
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 163
                                               5-14 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 7 of 9 ID: 6704290




       is an underestimate to some degree because it does not include children who have one parent

       who is not undocumented but who nonetheless does not meet the immigration status

       requirements of the Executive Order.

               30.     If approximately 24,500 newborn babies were denied SSNs due to the revocation

       of birthright citizenship, this would result in an annual loss of Enumeration at Birth funding to

       California of approximately $118,090.

               31.     In addition to the loss in funding, CDPH would incur new administrative costs if

       required to expend resources to verify parents’ immigration status before facilitating an

       application for a newborn’s SSN through the Enumeration at Birth Process. If required to obtain

       proof of parents’ lawful status before facilitating an SSN application for newborns, CDPH or

       state-run facilities will be forced to consult with, and assist, families with obtaining the

       paperwork necessary to prove lawful status.

               32.     CDPH would also need to update and revise its electronic system, along with its

       guidelines for submitting SSN applications through that system. This would likely require CDPH

       and state healthcare facilities to train, and potentially hire, staff to work with parents in

       obtaining, and then verifying, the requisite documents to establish lawful immigration status.

                                                    Conclusion

               33.     CDPH’s mission is to protect and advance the public health of California’s

       residents. But the Executive Order impairs this mission in two main ways.

               34.     First, by stripping away the citizenship of newborn babies, the Order threatens to

       deny CDPH and the State of California more than a hundred thousand dollars per year in federal

       funding through the Enumeration at Birth Program.




                                                          6

                                                                                                       PA129
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 164
                                               5-14 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 8 of 9 ID: 6704290




              35.     Second, the Executive Order imposes administrative burdens and costs upon

       CDPH. CDPH would incur administrative costs if required to verify parents’ immigration status

       before facilitating an application for a newborn’s SSN through the Enumeration at Birth Process,

       including the expenditure of resources revising CDPH’s electronic system, submission

       guidelines, and the necessary training, hiring, and technical expertise to accomplish these

       changes.

              36.     In sum, the Executive Order directly reduces the federal funding that CDPH

       receives, imposes administrative burdens, and diverts resources from public health programs that

       protect the health of families and their children.




                                                            7

                                                                                                     PA130
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 165
                                               5-14 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 9 of 9 ID: 6704290




             I declare under penalty of perjury under the laws of the United States that the foregoing is

       true and correct.

                      Executed on January 20, 2025, at Walnut Creek, California.



                                                    _____________________________________
                                                           Rita Nguyen, M.D.




                                                        8

                                                                                                  PA131
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 166
                                               5-15   Date
                                                      FiledFiled: 03/04/2025
                                                           01/21/25     Page 1 ofEntry
                                                                                  22 ID: 6704290




                         EXHIBIT N




                                                                                 PA132
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 167
                                               5-15             Date
                                                                FiledFiled: 03/04/2025
                                                                     01/21/25     Page 2 ofEntry
                                                                                            22 ID: 6704290




                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MASSACHUSETTS

         STATE OF NEW JERSEY, et al.                      :
                                                          :
                   Plaintiffs,
                                                          :
            v.                                            :
                                                          :
                                                          :   Civil Action No.: ___________
                                                                                25-cv-10139
         DONALD J. TRUMP, et al.
                                                          :
                   Defendants.                            :
                                                          :
                                                          :
                                                          :


                                 Declaration of Elizabeth Villamil-Cummings

          I, Elizabeth Villamil-Cummings, hereby declare:

       1. I am the New York State Registrar and the Director of the Bureau of Vital Records at the

          New York Department of Health (“DOH”). I have held this position since June 2023. As the

          State Registrar, I oversee all of the Bureau’s operations including the filing of vital records

          and the processing of applications and court order for copies of, and amendments to, such

          records, in New York State, outside of New York City. Before this position, I was the

          Director of Data Management and Analytics in the Bureau of Vital Records.

       2. As the State Registrar, I have personal knowledge of the matters set forth below, or have

          knowledge of the matters based on my review of information and records gathered by my

          staff.

       3. I am providing this declaration to explain certain impacts of the Executive Order “Protecting

          the Meaning and Value of American Citizenship” (January 20, 2025) (the “Executive

          Order”), which revokes birthright citizenship for certain newly-born children of immigrants

          in the United States, on the State of New York’s vital records programs.


                                                                                                       1

                                                                                                PA133
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 168
                                               5-15                Date
                                                                   FiledFiled: 03/04/2025
                                                                        01/21/25     Page 3 ofEntry
                                                                                               22 ID: 6704290




       4. DOH’s mission is to protect and promote health and well-being for all, building on a

          foundation of health equity. To support that goal, DOH performs many functions, including

          regulating healthcare facilities and overseeing the registration of vital events such as births.

                                 Registration and Birth Certificates of Newborns

       5. Healthcare facilities coordinate with New York State Bureau of Vital Records 1 to collect

          information to register a child’s birth.

       6. When a child is born in a healthcare facility, a medical attendant to the birth is statutorily

          obligated to register the birth with the institution’s registrar. They provide the newborn’s

          parents with a Birth Certificate Work Booklet that asks for several pieces of information,

          including the parents’ place of birth and Social Security Numbers (SSNs). 2 The Work

          Booklet does not inquire about, or require proof of, the parents’ immigration status. A copy

          of the Birth Certificate Work Booklet is attached hereto, as Exhibit A.

       7. After the newborn’s parents complete and sign the Work Booklet, hospital staff enter the

          information from the Work Booklet into an electronic birth registration system maintained by

          the Bureau of Vital Records.

       8. When a record is complete, the hospital prints out a short-form birth certificate, which contains

          only that portion of the birth information contained on the legal record. Once the physician or

          hospital administrator has signed the certificate, the record is filed with the local registrar, who

          in turn sends the state’s copy of the certificate to the state.



       1 Through a cooperative agreement, the DOH Bureau of Vital Records receives data on vital

       events recorded in New York City from the New York City Department of Health and Mental
       Hygiene’s Bureau of Vital Statistics.
       2 Parents of children born in New York State are provided with a Work Booklet by the New

       York State Bureau of Vital Records, and parents of children born in New York City are provided
       with a Work Booklet by the New York City Department of Health and Mental Hygiene’s Bureau
       of Vital Statistics.
                                                                                                            2

                                                                                                     PA134
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 169
                                               5-15              Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 4 ofEntry
                                                                                             22 ID: 6704290




       9. A newborn’s completed birth certificate does not indicate whether the parents have an SSN.

          The only information provided on a birth certificate regarding the child’s parents is the

          birthing parent’s legal name, the second parent’s full name (if provided), their places and

          dates of birth, residence, and mailing addresses. Currently, it is not possible to determine a

          foreign-born parent’s immigration status from their child’s birth certificate.

       10. Healthcare facilities do not routinely ask patients, including new parents, for their

          immigration status and do not collect proof of citizenship or immigration status.

                              Application for Social Security Number of Newborns

       11. Through the birth certificate registration process at a healthcare facility, parents have the

          opportunity to apply for an SSN for their newborn through a Social Security Administration

          (“SSA”) program called Enumeration at Birth (“EAB”).

       12. The EAB program is voluntary for families, but according to SSA, about 99 percent of SSNs

          for infants are assigned through this program. 3

       13. To obtain an SSN through the EAB program, newborn parents can indicate on the Work

          Booklet that they allow the furnishing of information from the Work Booklet to SSA to issue

          their child an SSN.

       14. The EAB application asks for the parents’ SSNs. Parents born outside the United States can

          apply for and receive an SSN for their child without including their own SSNs on the

          application. Because children born in the United States are entitled to U.S. citizenship, they

          are eligible for SSNs regardless of their parents’ immigration status.




       3 SOCIAL SECURITY ADMINISTRATION – BUREAU OF VITAL STATISTICS , STATE PROCESSING

       GUIDELINES FOR ENUMERATION AT BIRTH (2024), https://perma.cc/UK22-ZQSS.
                                                                                                           3

                                                                                                   PA135
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 170
                                               5-15             Date
                                                                FiledFiled: 03/04/2025
                                                                     01/21/25     Page 5 ofEntry
                                                                                            22 ID: 6704290




       15. Healthcare facilities transmit these requests electronically to the Bureau of Vital Records,

          which then transmits the request to SSA.

       16. New York receives federal funding from the SSA EAB process on a quarterly basis for each

          SSN that is issued through the EAB process. The State receives $4.82 per SSN issued

          through the EAB process, or approximately $111,000 per quarter. The state generally

          receives payment a month after the quarter ends, and is thus expecting its next payment in

          April 2025.

                      Effects of the Executive Order on Registration and EAB Process

       17. Following the Executive Order, children born in the United States to two undocumented

          parents, among others, will no longer be considered citizens and will therefore be deemed

          ineligible for an SSN. The State of New York will lose revenue from the SSA, because fewer

          children born in the U.S. will be eligible for SSNs. The State of New York also anticipates a

          chilling effect, wherein fewer parents will opt in to the EAB program, out of concerns about

          sharing their information with the federal government. This, too, will result in reduced

          revenue to the State of New York.

       18. In addition to the loss in funding, the State of New York would need to update its

          information technology infrastructure and train health care staff in how to document the

          information necessary to determine whether a child born in New York is eligible for an SSN.

          In addition, the Bureau of Vital Records would need to differentiate the births between those

          born to U.S. citizens or lawful permanent residents, or those born in the U.S. This would

          result in two different birth certificates, enhanced information gathering on parents’

          citizenship and technology advancements to capture the new workflow, data modifications

          and verification processes.



                                                                                                      4

                                                                                                PA136
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 171
                                               5-15               Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 6 ofEntry
                                                                                              22 ID: 6704290




       19. The State of New York also anticipates that it is likely that the electronic system and

          guidelines for submitting SSN applications through that system—which are currently

          detailed in a 59-page SSA manual—would have to be revised. This would likely require

          healthcare facilities to train, and potentially hire, staff to work with parents in obtaining, and

          then verifying, the requisite documents to establish lawful immigration status.

       20. If, as a result of the Executive Order, the newborn registration process has to be amended to

          provide for verification of the parents’ citizenship and/or immigration status, this would

          impose material administrative burdens on the State to communicate with and train staff in

          healthcare facilities. There are 121 maternity hospitals across the State of New York, and it

          is a huge undertaking to communicate with these hospitals and birthing centers about

          changes to what the Department of Health requires for newborn registration.

       21. During the newborn registration process, hospitals ask parents for their SSNs and places of

          birth, but do not directly inquire about immigration status. Currently, healthcare facilities do

          not verify the accuracy of the information provided. If healthcare facilities were required to

          confirm the accuracy of the parents’ places of birth, SSNs, or immigration status, they would

          incur significant new administrative costs to implement a system to substantiate the

          information. This burden will lead to delays in registration and issuance of the newborn’s

          birth certificate, which must be completed within five days under state law. The lack of that

          birth certificate, in turn, can prevent a parent from securing health insurance coverage for the

          infant, leading to otherwise preventable lapses in early pediatric care.



       I declare under penalty of perjury that the foregoing is true and correct to the best of my

       knowledge.



                                                                                                          5

                                                                                                   PA137
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 172
                                               5-15   Date
                                                      FiledFiled: 03/04/2025
                                                           01/21/25     Page 7 ofEntry
                                                                                  22 ID: 6704290




                                                                                 PA138
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 173
                                               5-15   Date
                                                      FiledFiled: 03/04/2025
                                                           01/21/25     Page 8 ofEntry
                                                                                  22 ID: 6704290




                         EXHIBIT A




                                                                                 PA139
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 174
                                               5-15                                       Date
                                                                                          FiledFiled: 03/04/2025
                                                                                               01/21/25     Page 9 ofEntry
                                                                                                                      22 ID: 6704290
   NEW YORK STATE DEPARTMENT OF HEALTH
   Vital Records – Birth Registration Unit
                                                                                         Birth Certificate and SPDS Work Booklet

       Mother’s Name:                                                                                               Mother’s Med. Rec. Number:


      New York State Birth Certificate and Statewide Perinatal Data System Work Booklet
     A child’s birth certificate is a very important document. It is the official record of the child’s full name, date of birth and place
     of birth. Throughout the child’s lifetime, it provides proof of identity and age. As a child grows from childhood to adulthood,
     information in the birth certificate will be needed for many important events such as: entrance to school, obtaining a work
     permit, driver’s license or marriage license, entrance in the Armed Forces, employment, collection of Social Security and
     retirement benefits, and for a passport to travel in foreign lands.

     Because the birth certificate is such an important document, great care must be taken to make certain that it is correct in
     every detail. By completing this work booklet carefully, you can help assure the accuracy of the child’s birth certificate.

     Please Note: The Certificate of Live Birth serves as medical documentation of a birth event. Therefore, the sex of the infant
     (Male, Female, Unknown/ Undetermined – a synonym for intersex) is captured as a medical fact by attending personnel.
     The Department of Health has an administrative interest in retaining the medically designated sex at birth on the Certificate
     of Live Birth to ensure the proper tracking of the health and development of this child. Therefore, the gender designation of
     ‘X (Non-Binary)’ will not be permitted on the original Certificate of Live Birth.

       New York State Birth Certificate:
       PARENTS, for the birth certificate, you must complete the unshaded portions of this work booklet, see pages
       3 - 5, 10 - 12 & 14 (the shaded portions will be completed by hospital staff).
       Information that is not labeled “QI”, “IMM”, ‘HS’, or “NBS” in the work booklet will be used to prepare the official birth
       certificate. The completed birth certificate is filed with the Local Registrar of Vital Statistics of the municipality where the child
       was born within five (5) business days after the birth and with the New York State Department of Health. When the filing
       process is completed, the mother will receive a Certified Copy of the birth certificate. This is an official form that may be used
       as proof of age, parentage, and identity. Receiving it confirms that the child’s birth certificate is officially registered in the
       State of New York. Additional copies of the birth certificate may be obtained from the Local Registrar or the New York State
       Department of Health, P.O. Box 2602, Albany, New York 12220-2602. For further information about obtaining copies, please
       call (518) 474-3077 or visit the New York State Department of Health web site at: www.health.ny.gov/vital_records/.

       All information (including personal/identifying information) is shared with the County Health Departments or other Local
       Health Units where the child was born and where the mother resides, if different. County Health Departments and Local
       Health Units may use this data for Public Health Programs. The Social Security Administration receives a minimal set of data
       ONLY when the parents have indicated, in this work booklet, that they wish to participate in the Social Security
       Administration’s Enumeration at Birth program.

       While individual information is important, public health workers will use medical and demographic data in their efforts to
       identify, monitor, and reduce maternal and newborn risk factors. This information also provides physicians and medical
       scientists with the basis to develop new maternal and childcare programs for New York State residents.



       Statewide Perinatal Data System (SPDS) – Quality Improvement (QI), Immunization Registry
       (IMM), Hearing Screening (HS) and Newborn Screening Program (NBS) Information:

       The information labeled “QI” will be used by medical providers and scientists to perform data analyses aimed at
       improving services provided to pregnant women and their babies. “IMM” information will be used by New York
       State’s Immunization Information System (NYSIIS). A birthing hospital’s obligation to report immunizations for
       newborns can be met by recording the information in SPDS, including the manufacturer and lot number as required
       by law. “HS” information will be used to improve the Newborn Hearing Screening program. Information labeled
       “NBS” will result in significant improvements in the Newborn Screening Program such as better identification and
       earlier treatment of infants at risk for a variety of disorders.




    DOH-2184E (1/23)                        New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                    Page 1 of 14
                                                                                                                                        PA140
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 175                                      Date 01/21/25
                                                                                       Filed Filed: 03/04/2025   Entry
                                                                                                         Page 10 of 22 ID: 6704290
   NEW YORK STATE DEPARTMENT OF HEALTH
   Vital Records – Birth Registration Unit
                                                                                      Birth Certificate and SPDS Work Booklet

      Mother’s Name:                                                                                             Mother’s Med. Rec. Number:



    ATTENTION HOSPITAL STAFF:
    This work booklet has been designed to obtain information relating to the pregnancy and birth during the 72-hour period
    immediately following the birth of a live born child in New York State. Hospital staff should complete the shaded portions of
    the work booklet.

    New York State Public Health Law provides the basis for the collection of the birth certificate data. For pertinent information
    about the New York State Public Health Laws refer to sections 206(1)(e), 4102, 4130.5, 4132 and 4135. These laws are also
    described in the New York State Birth Certificate Guidelines. The Guidelines are available to SPDS users on the Help tab of
    the SPDS Core Module.

    Please Note: If the parent or legal guardian wishes to change the gender identification of the child to “X (Non-Binary)”,
    the Parent/Legal Guardian Notarized Affidavit of Gender Error for a Person 16 Years of Age or Under and
    Parent/Legal Guardian Application for Correction of Certificate of Birth for Gender Designation for a Minor forms must
    be completed. If, at the age of 17 years or older, an individual would like to change their gender identification to “X
    (Non-Binary)”, the Application for Correction of Certificate of Birth for Gender Designation for an Adult forms must be
    completed. If requested, parents or legal guardians can be directed to the NYS Bureau of Vital records website for
    more information: Birth Certificates - New York State Department of Health (ny.gov)




   DOH-2184E (1/23)                      New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                    Page 2 of 14
                                                                                                                                     PA141
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 176                                       Date 01/21/25
                                                                                        Filed Filed: 03/04/2025   Entry
                                                                                                          Page 11 of 22 ID: 6704290
   NEW YORK STATE DEPARTMENT OF HEALTH
   Vital Records – Birth Registration Unit
                                                                                       Birth Certificate and SPDS Work Booklet

      Mother’s Name:                                                                                              Mother’s Med. Rec. Number:



                             Help for Parents Completing This Work Booklet

         Page 4:       Last Name on Mother’s Birth Certificate
                       This is commonly referred to as “maiden name.” If the mother was adopted, it would be the
                       last name on her birth certificate after the adoption.

         Page 4:       Infant’s Pediatrician/Family Practitioner
                       Enter the name of the doctor who will care for the infant after he/she is released from the
                       hospital. This may or may not be the same as the doctor who cared for the infant while in the
                       hospital.

         Page 11: Last Name on Father’s / Second Parent’s Birth Certificate
                  • Father: This is usually the same as his current last name. In the event that a man has
                    changed his last name through marriage, the name on his birth certificate should be
                    entered here. This may or may not be the same as his current last name depending on
                    whether his name was changed by marriage only or changed through a court proceeding
                    which resulted in an amendment to his birth certificate.

                       • Mother (Second Parent): This is commonly referred to as maiden name and is the name
                         on her birth certificate.

                       • In either case: If the parent was adopted it would be the last name on his or her birth
                         certificate after the adoption.




   DOH-2184E (1/23)                      New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                     Page 3 of 14



                                                                                                                                      PA142
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 177                                                               Date 01/21/25
                                                                                                                Filed Filed: 03/04/2025   Entry
                                                                                                                                  Page 12 of 22 ID: 6704290
       NEW YORK STATE DEPARTMENT OF HEALTH
       Vital Records – Birth Registration Unit
                                                                                                               Birth Certificate and SPDS Work Booklet

               Mother’s Name:                                                                                                             Mother’s Med. Rec. Number:



                                                                              New Birth Registration
                        Mother’s First Name:                                                                Mother’s Middle Name:

                        Mother’s Current Last Name :                                                        Last Name on Mother’s Birth Certificate:
 Parents
           Mother




                        Social Security Number:                      Mother’s Date of Birth: (MM/DD/YYYY)
                                    –     –                                       /        /
                        Infant’s First Name:                                                  Infant’s Middle Name:

                        Infant’s Last Name:                                                                                      Infant’s Name Suffix
                                                                                                                                 (e.g. Jr., 2nd, III):
                        Sex:  Male  Female                                  Plurality:                 Birth Order:                  Medical Record No.:
           Infant




                              Undetermined
                        Date of Birth:                     /         /                Time of Birth: (HH:MM)                      :             am  pm  military (24-hour time)
                          (MM/DD/YYYY)

                        Was child born in this facility?            Yes  No If child was not born in this facility, please answer the following questions:
                        In what type of place was the infant born?                           If New York State Birthing Center, enter its name:
           Infant




                         Freestanding Birth Center         Home (unknown intent)
                           (regulated by DOH)               Clinic / Doctor’s Office
                         Home (intended)                    (not regulated by DOH)          In what county was the child born?
                         Home (unintended)                 Other
 Parents




                                                                                               Institution
                        Site of Birth, If Other Type of Place:                 Street Address – if other than Hospital / Birthing Center:
           Birthplace




                        If place of infant’s birth was other than Hospital or Birthing Center:
                           City, town or village where birth occurred:                                                                   Zip / Postal Code:


                        Infant’s Pediatrician/Family Practitioner:
                        Attendant’s Information:
                        License Number: Name:                                                                        Middle                                      Last
           Attendant




                                                                            First


                        Title: (Select one)
                             Medical Doctor          Doctor of Osteopathy          Licensed Midwife (CNM)             Licensed Midwife (CM)         Other
                        Certifier’s Information:
                         Check here if the Certifier is the same as the Attendant (otherwise enter information below)
           Certifier




                        License Number:              Name:                  First                                    Middle                                      Last


                        Title: (Select one)
                             Medical Doctor          Doctor of Osteopathy          Licensed Midwife (CNM)             Licensed Midwife (CM)         Other

                        Primary Payor for this Delivery:
                        Select one:
                          Medicaid / Family Health Plus             Private Insurance                                    Indian Health Service
 Parents
           Payor




                          CHAMPUS / TRICARE                         Other Government / Child Health Plus B               Other
                          Self-pay
                        If Medicaid is not the primary payor, is it a secondary                         Is the mother enrolled in an HMO or other managed care
                        payor for this delivery?          Yes  No                                     plan?             Yes  No

       DOH-2184E (1/23)                                           New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                     Page 4 of 14
                                                                                                                                                              PA143
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 178                                               Date 01/21/25
                                                                                                Filed Filed: 03/04/2025   Entry
                                                                                                                  Page 13 of 22 ID: 6704290
 NEW YORK STATE DEPARTMENT OF HEALTH
 Vital Records – Birth Registration Unit
                                                                                             Birth Certificate and SPDS Work Booklet

    Mother’s Name:     First                           Middle                                       Last                         Mother’s Med. Rec. Number:

    Father / Second Parent Name: First                 Middle                                       Last                                          Suffix

    Infant’s Name:     First                           Middle                                       Last                         Suffix             Date of Birth


   To the hospital:
   1. Obtain the parent(s) signature(s).
   2. File the original Release Form in the mother's hospital record.
      Note: It is not necessary to file the remainder of the Work Booklet.
   3. Provide a copy to the parent(s).
   4. Do not send copies to the New York State Department of Health or to any Social Security office, unless specifically
      requested by such agency.
   To the parent(s):
   1. Please read the following notice about the collection and use of Social Security Numbers on your child's birth
      certificate.
   2. Please check "Yes" or "No" to indicate if you wish to participate in the Social Security Administration’s Enumeration
      at Birth program.

     NOTICE REGARDING COLLECTION OF PARENTS' SOCIAL SECURITY NUMBERS: The collection of
     parents' Social Security Numbers on the New York State Certificate of Live Birth is mandatory. They are
     required by Public Health Law Section 4132(1) and may be used for child support enforcement, public health
     related purposes, when requested by State, federal and municipal governments for official purposes, when
     required by Public Health Law Section 4173 or 4174, and when otherwise required or authorized by law.

   Social Security Release
   The Social Security Administration offers the parents of newborns an opportunity to apply for a Social Security Number
   for their child through the birth certificate registration process. This is referred to by the Social Security Administration
   as Enumeration at Birth (EAB). If you participate in the EAB, the New York State Department of Health will forward to
   the Social Security Administration information from your child’s birth certificate. Please note that the Social Security
   Administration will not process your EAB request unless, the birth certificate includes your child’s full name. If you
   participate in the EAB, disclosure of parents’ Social Security Numbers is mandated by 42 U.S.C. 405(c)(2). The Social
   Security Number(s) will be used by the Internal Revenue Service (IRS) solely for the purpose of determining Earned
   Income Tax Credit compliance. If you wish to participate in the Social Security Administration EAB program check “Yes”
   below.
   May the Social Security Administration be furnished with information from this form to issue your child a social
   security number?
     Yes     
      No     

   Mother’s Signature                                                                                                   Date

   Father’s or Second
   Parent’s Signature                                                                                                   Date

   Either parent's signature applies to the above release.
   If neither box is checked for the release, a ‘No’ response will be assumed.

     Hospital Name:


     Signature of Hospital Representative:                                                                                                Date:
     

    DOH-2184E (1/23)                         New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                                Page 5 of 14
                                                                                                                                                  PA144
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 179                                    Date 01/21/25
                                                                                     Filed Filed: 03/04/2025   Entry
                                                                                                       Page 14 of 22 ID: 6704290
    NEW YORK STATE DEPARTMENT OF HEALTH
    Vital Records – Birth Registration Unit
                                                                                   Birth Certificate and SPDS Work Booklet




   DOH-2184E (1/23)                  New York State Birth Certificate and Statewide Perinatal Data System Work Booklet       Page 6 of 14
                                                                                                                         PA145
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 180                                                              Date 01/21/25
                                                                                                               Filed Filed: 03/04/2025   Entry
                                                                                                                                 Page 15 of 22 ID: 6704290
     NEW YORK STATE DEPARTMENT OF HEALTH
     Vital Records – Birth Registration Unit
                                                                                                                Birth Certificate and SPDS Work Booklet

                 Mother’s Name:                                                                                                                    Mother’s Med. Rec. Number:


                                                                                               Infant
                         If Multiple Births:                                                                 Birth Weight:
                         Number of Live Births:                Number of Fetal Deaths:
                                                                                                                                          grams                       lbs.            oz.
                         If birth weight < 1250 grams (2 lbs. 12 oz.), reason(s) for delivery at a less than level III hospital: (Only if applicable)
                          None  Unknown at this time
     Infant




                         Select all that apply:
                          Rapid / Advanced Labor                      Bleeding                         Fetus at Risk                Severe pre-eclampsia
                          Woman Refused Transfer                      Other (specify)
                         Infant Transferred:                                        NYS Hospital Infant Transferred To:                                    State/Terr./Province:
                          Within 24 hrs  After 24 hrs.  Not
                           transferred
                         Apgar                                                                Is the Infant Alive?                Clinical Estimate                Newborn
                         Scores                5 minutes:               10 minutes:              Yes  No                        of Gestation:                    Treatment
     Birth Information




                         1 minute:                                                               Infant Transferred /
                                                                                                                                  (Weeks)                          Given:
                                                                                                  Status Unknown                                                    Conjunctivitis only
                                                                                                                                                                    Vitamin K only
                          How is infant being fed at discharge? (Select one)                                                                                        Both
                           Breast Milk Only            Formula Only               Both Breast Milk and Formula                                                   Neither
                           Other                       Do Not Know
                         Newborn Blood-Spot Screening                                             Reason if Lab ID is not submitted:
     Newborn Screening




                         Screening Lab ID Number: (9-digits)
                                                                                                         No NBS Lab ID because infant died prior to test
                                                                                                         No NBS Lab ID because infant transferred prior to test
                                                                                                         Lab ID is unknown / illegible
                         ___ ___ ___ ___ ___ ___ ___ ___ ___                                             Refused NBS

                         Hepatitis B Inoculation
                          Immunization Administered:  Yes  No                                              Immunoglobulin Administered:  Yes  No
     Hepatitis B




                          Date: (MM/DD/YYYY)                      /            /                             Date: (MM/DD/YYYY)                           /          /
                          Mfr:                                                                                Mfr:

                          Lot:                                                                                Lot:
                         Newborn Hearing Screening                                 Equipment Type                   Screening Results
     Hearing Screening




                           Screening Performed (one or both ears)                   AABR        Unknown            Left Ear:               Right Ear:
                           Not Performed – Facility Related                         ABR                                 Pass                   Pass
                           Not Performed – Medical Exclusion (both ears)            TEOAE                               Refer                  Refer
                           Not Performed – Parent Refused                           DPOAE                               Not Performed -        Not Performed -
                                                                                                                             Medical Exclusion       Medical Exclusion
                         Date: (MM/DD/YYYY)        /      /                                   - Enter date final hearing screening was conducted prior to discharge
                            Abnormal Conditions of the Newborn:
                                None  Unknown at this time
     Conditions of the




                               Select all that apply
        Abnormal

        Newborn




                                Assisted ventilation required immediately following delivery                  Assisted ventilation required for more than six hours
                                NICU Admission                                                                Newborn given surfactant replacement therapy
                                Antibiotics received by the newborn for suspected neonatal sepsis             Seizures or serious neurologic dysfunction
                                Significant birth injury (skeletal fx, peripheral nerve injury, soft
                                   tissue/solid organ hemorrhage which requires intervention)




   DOH-2184E (1/23)                                            New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                             Page 7 of 14
                                                                                                                                                                  PA146
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 181                                                                 Date 01/21/25
                                                                                                                  Filed Filed: 03/04/2025   Entry
                                                                                                                                    Page 16 of 22 ID: 6704290
     NEW YORK STATE DEPARTMENT OF HEALTH
     Vital Records – Birth Registration Unit
                                                                                                                   Birth Certificate and SPDS Work Booklet

                   Mother’s Name:                                                                                                                     Mother’s Med. Rec. Number:



                                                                                 Congenital Anomalies
                             None of the listed  Unknown at this time         Diagnosed
                                                                                                  If Yes, please indicate all methods used:
                            Select all that apply                               Prenatally?

                             Yes No                                               Yes No           Level II Ultrasound  MSAFP / Triple Screen                          Amniocentesis
                                         Anencephaly
                                                                                                                                                          Other     Unknown
     Congenital Anomalies




                             Yes No                                               Yes No           Level II Ultrasound  MSAFP / Triple Screen                          Amniocentesis
                                         Meningomyelocele/Spina Bifida
                                                                                                                                                          Other     Unknown
                             Yes No      Cyanotic Congenital Heart                Yes No           Level II Ultrasound
                                          Disease                                                                                                         Other     Unknown
                             Yes No      Congenital Diaphragmatic                 Yes No           Level II Ultrasound
                                          Hernia                                                                                                          Other     Unknown
                             Yes No                                               Yes No           Level II Ultrasound
                                         Omphalocele
                                                                                                                                                          Other     Unknown

                             Yes No                                               Yes No           Level II Ultrasound
                                          Gastroschisis
                                                                                                                                                          Other     Unknown
                             Yes No                                               Yes No           Level II Ultrasound
                                          Limb Reduction Defect
                                                                                                                                                          Other     Unknown
                             Yes No       Cleft lip with or without Cleft         Yes No           Level II Ultrasound
     Congenital Anomalies




                                           Palate                                                                                                         Other     Unknown
                             Yes No                                               Yes No           Level II Ultrasound
                                          Cleft Palate Alone
                                                                                                                                                          Other     Unknown
                                          Down Syndrome
                             Yes No                                               Yes No           Level II Ultrasound  MSAFP / Triple Screen  CVS                    Amniocentesis
                                             Karyotype confirmed
                                                                                                                                             Other                  Unknown
                                             Karyotype pending
                                          Other Chromosomal Disorder
                             Yes No                                               Yes No           Level II Ultrasound  MSAFP / Triple Screen  CVS                    Amniocentesis
                                              Karyotype confirmed
                                                                                                                                             Other                  Unknown
                                              Karyotype pending
                             Yes No                                               Yes No           Level II Ultrasound
                                          Hypospadias
                                                                                                                                                          Other     Unknown

                                                                                         Labor & Delivery
                            Mother Transferred in Antepartum:                     NYS Facility Mother Transferred From:                                       State/Terr./Province:
                                 Yes  No
     Delivery
     Labor &




                             Mother’s Weight at Delivery:
                                                                        lbs.

                             Fetal Presentation: (select one)
                                 Cephalic        Breech              Other
     Method of Delivery




                             Route & Method: (select one)
                                 Spontaneous  Forceps – Mid                Forceps – Low / Outlet        Vacuum           Cesarean          Unknown
                             Cesarean Section History:
                                 Previous C-Section           Number
                             Attempted Procedures:
                                Was delivery with forceps attempted but unsuccessful?            Yes  No
                                Was delivery with vacuum extraction attempted but unsuccessful?  Yes  No

   DOH-2184E (1/23)                                               New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                            Page 8 of 14
                                                                                                                                                                    PA147
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 182                                                                  Date 01/21/25
                                                                                                                   Filed Filed: 03/04/2025   Entry
                                                                                                                                     Page 17 of 22 ID: 6704290
     NEW YORK STATE DEPARTMENT OF HEALTH
     Vital Records – Birth Registration Unit
                                                                                                                    Birth Certificate and SPDS Work Booklet

                     Mother’s Name:                                                                                                                    Mother’s Med. Rec. Number:




                                                                                       Labor & Delivery
                              Trial Labor:
                                  If Cesarean section, was trial labor attempted?                       Yes  No
                              Indications for C-Section:
                                   Unknown
     Method of Delivery




                              Select all that apply
                                   Failure to progress                 Malpresentation                                           Previous C-Section
                                   Fetus at Risk / NFS                 Maternal Condition – Not Pregnancy Related                Maternal Condition – Pregnancy Related
                                   Refused VBAC                        Elective                                                  Other
                              Indications for Vacuum:                                                          Indications for Forceps:
                                   Unknown                                                                         Unknown
                              Select all that apply                                                            Select all that apply
                                   Failure to progress                           Fetus at Risk                    Failure to progress                     Fetus at Risk
                                   Other                                                                           Other
                              Onset of Labor
                               None  Unknown at this time
                              Select all that apply
     Labor




                                 Prolonged Rupture of Membranes --               Premature Rupture of Membranes --                  Precipitous Labor -- (less than 3 hours)
                                    (12 or more hours)                              (prior to labor)
                                 Prolonged Labor (20 or more hours)
                              Characteristics of Labor & Delivery
                                   None  Unknown at this time
     Characteristics




                              Select all that apply
                                   Induction of Labor – AROM                     Induction of Labor – Medicinal                     Augmentation of Labor
                                   Steroids                                      Antibiotics                                        Chorioamnionitis
                                   Meconium Staining                             Fetal Intolerance                                  External Electronic Fetal Monitoring
                                   Internal Electronic Fetal Monitoring
                              Maternal Morbidity
     Maternal Morbidity




                                     None  Unknown at this time
                              Select all that apply
                                 Maternal Transfusion                            Perineal Laceration (3rd / 4th Degree)             Ruptured Uterus
                                 Unplanned Hysterectomy                          Admit to ICU                                       Unplanned Operating Room Procedure
                                 Postpartum transfer to a higher level                                                                Following Delivery
                                    of care
                              Anesthesia / Analgesia
     Anesthesia / Analgesia




                                   None  Unknown at this time
                              Select all that apply
                                 Epidural (Caudal)                               Local                                              Spinal
                                 General Inhalation                              Paracervical                                       General Intravenous
                                 Pudendal
                              Was an analgesic administered?
                                  Yes  No
                              Other Procedures Performed at Delivery
     Procedures




                                   None  Unknown at this time
                              Select all that apply
                               Episiotomy and Repair            Sterilization



   DOH-2184E (1/23)                                                New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                            Page 9 of 14
                                                                                                                                                                     PA148
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 183                                                                      Date 01/21/25
                                                                                                                       Filed Filed: 03/04/2025   Entry
                                                                                                                                         Page 18 of 22 ID: 6704290
           NEW YORK STATE DEPARTMENT OF HEALTH
           Vital Records – Birth Registration Unit
                                                                                                                        Birth Certificate and SPDS Work Booklet

                          Mother’s Name:                                                                                                                   Mother’s Med. Rec. Number:



                                                                                                   Mother
                                     Medical Record Number:

                                    Mother’s Education: (select one)
                                      8th grade or less                       Some college credit, but no degree              Master’s degree
           Mother’ s Demographics




                                      9th – 12th grade; no diploma            Associate’s degree                              Doctorate degree
                                      High school graduate; or GED            Bachelor’s degree
                                    City of Birth:                                                        State/Terr./Province of Birth:                   Country of Birth, if not USA:

                                    Hispanic Origin:
                                     Select all that apply
                                          No, not Spanish/Hispanic/Latina              Yes, Mexican, Mexican American, Chicana                  Yes, Puerto Rican
                                          Yes, Cuban                                   Yes, Other Spanish/Hispanic/Latina
                                                                                          Specify:
                                    Race:
                                    Select all that apply
           Mother’ s Demographics




                                        White/Caucasian                                Black or African American                                Asian Indian
                                        Chinese                                        Filipino                                                 Japanese
                                        Korean                                         Vietnamese                                               Native Hawaiian
                                        Guamanian or Chamorro                          Samoan
                                        American Indian or Alaska Native Tribe:
                                        Other Asian                     Specify:
                                        Other Pacific Islander          Specify:
 Parents




                                        Other                           Specify:
                                    Residence Address
           Mother’ s Residence




                                     Street Address:

                                     State/Terr./Province:                          County:                                          City, Town or Village:

                                     Zip/Postal Code:            Mother’s Country of Residence, if not USA:                                   U.S./Canadian Phone Number:
                                                                                                                                              (      )        –
                                    Mailing Address – Most Recent
           Mother’ s Mailing




                                      Check here if the mailing address is the same as the residence address (otherwise enter information below)
               Address




                                     Mailing Address:

                                     City, Town or Village:                                  State/Terr./Province:                 Country, if not USA:                 Zip/Postal Code:

                                    Employment History
                                     Employed while Pregnant:                  Current / Most Recent Occupation:                                    Kind of Business / Industry:
           Employment




                                          Yes  No
                                     Name of Company or Firm:                                      Address:

                                     City:                                                             State/Territory/Province:                                      Zip / Postal Code:




     DOH-2184E (1/23)                                                  New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                           Page 10 of 14
                                                                                                                                                                         PA149
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 184                                                                                           Date 01/21/25
                                                                                                                                            Filed Filed: 03/04/2025   Entry
                                                                                                                                                              Page 19 of 22 ID: 6704290
           NEW YORK STATE DEPARTMENT OF HEALTH
           Vital Records – Birth Registration Unit
                                                                                                                                             Birth Certificate and SPDS Work Booklet

                                         Mother’s Name:                                                                                                                         Mother’s Med. Rec. Number:




                                                                                                        Father or Second Parent
                                                        Will the mother and father be executing an                What type of certificate is required?
                                                        Acknowledgement of Parentage?  Yes  No  Not required                     Mother / Father  Mother / Mother
                                                        Parent’s First Name:                                  Parent’s Middle Name:

                                                        Parent’s Current Last Name:                                                   Last Name on Parent’s Birth Certificate:

                                                        Parent’s Name Suffix                                      Social Security Number:
                                                              (e.g. Jr., 2nd, III):                                         –       –
                                                        Demographics
                                                         Parent’s Date of Birth:                    Education: (select one)
           Father‘ s or Second Parent’ s Demographics




                                                                    (MM/DD/YYYY)                     8th grade or less                              Some college credit, but no degree          Master’s degree
                                                                                                     9th – 12th grade; no diploma                   Associate’s degree                          Doctorate degree
                                                                       /        /
                                                                                                     High school graduate; or GED                   Bachelor’s degree
                                                          City of Birth:                                                       State/Terr./Province of Birth:                   Country of Birth, if not USA:

                                                        Hispanic Origin:
                                                        Select all that apply
                                                             No, not Spanish/Hispanic/Latino              Yes, Mexican, Mexican American, Chicano                  Yes, Puerto Rican
                                                             Yes, Cuban                                   Yes, Other Spanish/Hispanic/Latino
                                                                                                             Specify:
                                                        Race:
                                                        Select all that apply
                                                             White/Caucasian                              Black or African American                                Asian Indian
 Parents




                                                             Chinese                                      Filipino                                                 Japanese
                                                             Korean                                       Vietnamese                                               Native Hawaiian
                                                             Guamanian or Chamorro                        Samoan
                                                             American Indian or Alaska Native Tribe:
                                                             Other Asian                    Specify:
                                                             Other Pacific Islander         Specify:
                                                             Other                          Specify:
                                                        Residence Address
                                                          Check here if the parent’s residence address is the same as the mother’s address
           Parent’ s Residence




                                                              (otherwise enter information below)
                                                          Street Address:

                                                          City, Town or Village:                                                                                 State / Territory / Province:

                                                          Parent’s Country of Residence, if not USA:                                                                             Zip / Postal Code:

                                                        Employment History
                                                         Current / Most Recent Occupation:                                              Kind of Business / Industry:
           Employment




                                                          Name of Company or Firm:                                    Address:

                                                          City:                                                           State / Territory / Province:                                  Zip / Postal Code:



     DOH-2184E (1/23)                                                                       New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                           Page 11 of 14
                                                                                                                                                                                              PA150
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 185                                                                     Date 01/21/25
                                                                                                                      Filed Filed: 03/04/2025   Entry
                                                                                                                                        Page 20 of 22 ID: 6704290
       NEW YORK STATE DEPARTMENT OF HEALTH
       Vital Records – Birth Registration Unit
                                                                                                                       Birth Certificate and SPDS Work Booklet

                   Mother’s Name:                                                                                                                        Mother’s Med. Rec. Number:


                                                                                         Prenatal History
                                 Did mother receive              Primary Prenatal Care Provider Type:                                        Did mother participate in WIC?
                                 prenatal care?
  Parents




                                                                  MD / DO / C(N)M / HMO                            No Information
                                     Yes  No                    Clinic                                           No Provider                   Yes  No
            Prenatal History




                                                                  Other
                                 Key Pregnancy Dates (MM/DD/YYYY)
                                 Date of Last Menses:      Estimated Due Date:                              Date of First Prenatal Visit:                 Date of Last Prenatal Visit:
                                         /       /                 /     /                                           /       /                                      /      /
                                 Prenatal Visits
                                 Total Number of Prenatal Visits:

                                 Pregnancy History
                                 Previous Live Births:                           Previous Spontaneous                                     Previous Induced              Total Prior
                                                                                 Terminations:                                            Terminations:                 Pregnancies:
            Pregnancy History




                                 Now Living           Now Dead                   Less than 20 Weeks           20 Weeks or More
                                 None or Number       None or Number             None or Number               None or Number              None or Number                None or Number
                                                                                                                                                                    

                                 First Live Birth:         Last Live Birth:                  Last Other Pregnancy                  Prepregnancy                     Height:
                                     (MM / YYYY)                 (MM / YYYY)                 Outcome: (MM / YYYY)                  Weight:

                                            /                             /                                   /                                              lbs.              ft.            in.


                                                                                                 Prenatal Care
                                 Risk Factors in this Pregnancy
                                  None  Unknown at this time
                                 Select all that apply
                                  Prepregnancy Diabetes                 Gestational Diabetes                            Prepregnancy Hypertension             Gestational hypertension
            Risk Factors




                                  Other Serious Chronic Illnesses       Previous Preterm Births                         Abruptio Placenta                     Eclampsia
                                  Other Poor Pregnancy Outcomes         Prelabor Referred for High Risk Care            Other Vaginal Bleeding                Previous Low
                                                                                                                                                                  Birthweight Infant
                                  Pregnancy resulted from infertility treatment (if yes, check all that apply)
                                     Fertility-enhancing drugs, artificial or intrauterine insemination
                                     Assisted reproductive technology (e.g. IVF, GIFT) Number of Embryos Implanted: (if applicable)

                                 Infections Present and/or Treated During Pregnancy
                                  None  Unknown at this time
            Infections




                                 Select all that apply
                                  Gonorrhea                            Syphilis                                  Herpes Simplex Virus (HSV)             Chlamydia
                                  Hepatitis B                          Hepatitis C                               Tuberculosis                           Rubella
                                  Bacterial Vaginosis
                                 Other Risk Factors
            Other Risk Factors




                                                            List Number of Packs OR Cigarettes Smoked Per DAY
                                 Smoking Before or           3 Months Prior to Pregnancy            First Three Months              Second Three Months             Third Trimester of Pregnancy
  Parents




                                 During Pregnancy?                                                     of Pregnancy                     of Pregnancy
                                                            Packs          OR Cigarettes        Packs       OR Cigarettes         Packs      OR Cigarettes          Packs       OR        Cigarettes
                                     Yes  No




    DOH-2184E (1/23)                                                 New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                               Page 12 of 14
                                                                                                                                                                        PA151
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 186                                                             Date 01/21/25
                                                                                                              Filed Filed: 03/04/2025   Entry
                                                                                                                                Page 21 of 22 ID: 6704290
     NEW YORK STATE DEPARTMENT OF HEALTH
     Vital Records – Birth Registration Unit
                                                                                                               Birth Certificate and SPDS Work Booklet

                Mother’s Name:                                                                                                                    Mother’s Med. Rec. Number:


                                                                                         Prenatal Care
                              Other Risk Factors
                              Alcohol                     Number of Drinks per                      Illegal Drugs
       Other Risk




                              Consumed During This        Week:                                     Used During This
                              Pregnancy?                                                            Pregnancy?
                                  Yes  No                                                                Yes  No
                              Obstetric Procedures
       Obstetric Procedures




                               None  Unknown at this time
                              Select all that apply
                               Cervical Cerclage                             Tocolysis                    External Cephalic Version —  Successful  Failed
                               Fetal Genetic Testing
                              If woman was 35 or over, was fetal genetic testing offered?
                                  Yes  No, Too Late  No, Other Reason
                              Serological Test for Syphilis?                 Date of Test:                               Reason, if No Test:
                                  Yes  No                                  (MM/DD/YYYY)                                      Mother refused
                                                                                                                               Religious reasons
                                                                                           /          /
                                                                                                                               No prenatal care
                                                                                                                               Other
                                                                                                                               No time before delivery




   DOH-2184E (1/23)                                           New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                           Page 13 of 14
                                                                                                                                                                PA152
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-15
                                     Document 187                                                                                                   Date 01/21/25
                                                                                                                                                    Filed Filed: 03/04/2025   Entry
                                                                                                                                                                      Page 22 of 22 ID: 6704290
                NEW YORK STATE DEPARTMENT OF HEALTH
                Vital Records – Birth Registration Unit
                                                                                                                                                       Birth Certificate and SPDS Work Booklet

                                            Mother’s Name:                                                                                                                              Mother’s Med. Rec. Number:


                                                                                                                   Interview/Records
                                                                   Survey of Mother (in hospital)
                                                                   Did you receive prenatal care?  Yes  No (If ‘Yes’ please answer question 1. Otherwise skip to question 2.)
                                                                   1. During any of your prenatal care visits, did a doctor, nurse, or other health care worker talk with you about
                                                                      any of the things listed below?
                                                                                                                                                              Yes      No
                                                                       a. How smoking during pregnancy could affect your baby?                                        
                                                                       b. How drinking alcohol during your pregnancy could affect your baby?                          
                                                                       c. How using illegal drugs could affect your baby?                                             
                                  Survey of Mother (in hospital)




                                                                       d. How long to wait before having another baby?                                                
                                                                       e. Birth control methods to use after your pregnancy?                                          
                                                                       f. What to do if your labor starts early?                                                      
 Parents




                                                                       g. How to keep from getting HIV (the virus that causes AIDS)?                                  
                                                                       h. Physical abuse to women by their husbands or partners?       
                                                                   2. How many times per week during your current pregnancy did you exercise for 30 minutes or                                              Times per week:
                                                                      more, above your usual activities?
                                                                   3. Did you have any problems with your gums at any time during pregnancy, for example,                                                     Yes
                                                                      swollen or bleeding gums?                                                                                                               No
                                                                   4. During your pregnancy, would you say that you were: (select one)
                                                                       Not depressed at all                                   A little depressed
                                                                       Moderately depressed                                   Very depressed
                                                                       Very depressed and had to get help
                                                                   5. Thinking back to just before you were pregnant, how did you feel about becoming pregnant?
                                                                       You wanted to be pregnant sooner                       You wanted to be pregnant later
                                                                       You wanted to be pregnant then                         You didn’t want to be pregnant then or at any time in the future
                                                                   Chart Review (Prenatal and Medical)
                                                                   1a. Copy of prenatal record in chart?
      Chart Review (Prenatal and Medical)




                                                                       Yes, Full Record                                                     Yes, Prenatal Summary Only
                                                                       No
                                                                   1b. Was formal risk assessment in prenatal chart?
                                                                       Yes, with Social Assessment                                          Yes, without Social Assessment
                                                                       No
                                                                   1c. Was MSAFP / triple screen test offered?
                                                                       Yes                                                                  No
                                                                       No, Too Late
                                                                   1d. Was MSAFP / triple screen test done?
                                                                       Yes                                                                  No
                                                                   2. How many times was the mother hospitalized during this
                                                                      pregnancy, not including hospitalization for delivery?
                                                                   Admission and Discharge Information
      Admission & Discharge




                                                                   Mother
                                                                    Admission Date for Delivery (MM/DD/YYYY)        Discharge Date (MM/DD/YYYY)
                                                                                   /        /                                           /          /
                                                                   Infant
                                                                    Discharge Date (MM/DD/YYYY)                     Discharged Home                         Infant Died at Birth Hospital
                                                                                                                    Infant Still in Hospital                Infant Discharged to Foster Care/Adoption
                                                                                   /        /                       Infant Transferred Out                  Unknown


     DOH-2184E (1/23)                                                                               New York State Birth Certificate and Statewide Perinatal Data System Work Booklet                 PA153Page 14 of 14
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 188
                                               5-16   Date
                                                      FiledFiled: 03/04/2025
                                                           01/21/25     Page 1 ofEntry
                                                                                  10 ID: 6704290




                         EXHIBIT O




                                                                                 PA154
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 189
                                               5-16            Date
                                                               FiledFiled: 03/04/2025
                                                                    01/21/25     Page 2 ofEntry
                                                                                           10 ID: 6704290




                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MASSACHUSETTS

         STATE OF NEW JERSEY, et al.
                                                         :
                   Plaintiffs,                           :
                                                         :
            v.                                           :
                                                         :
         DONALD J. TRUMP, et al.                             Civil Action No.: ___________
                                                                                25-cv-10139
                                                         :
                   Defendants.                           :
                                                         :
                                                         :
                                                         :
                                                         :

                                     Declaration of Gabrielle Armenia

          I, Gabrielle Armenia, hereby declare:

       1. I am the Director of the Division of Eligibility and Marketplace Integration in the Office of

          Health Insurance Programs of the New York Department of Health (“DOH”), a position I

          have held since 2024. I have also been New York State’s Children’s Health Insurance

          Program (CHIP) Director since 2019. As Director of Eligibility and Marketplace Integration,

          I am responsible for eligibility policy for the Medicaid and Child Health Plus Program,

          among other things. Prior to holding this position, I was the Director of the Bureau of Child

          Health Plus policy from April 2008 through October 2013, the Director of the Bureau of

          Child Health Plus and Marketplace Integration from October 2013 through October 2022,

          and the Director of the Child Health Plus and Marketplace Consumer Assistance Group from

          October 2022 through March 2024.

       2. As Director of the Division of Eligibility and Marketplace Integration and New York’s CHIP

          Director, I have personal knowledge of the matters set forth below or have knowledge of the

          matters based on my review of information and records gathered by my staff.

                                                                                                     1

                                                                                               PA155
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 190
                                               5-16                    Date
                                                                       FiledFiled: 03/04/2025
                                                                            01/21/25     Page 3 ofEntry
                                                                                                   10 ID: 6704290




       3. I am providing this declaration to explain certain impacts of Executive Order titled

           “Protecting the Meaning and Value of American Citizenship” January 20, 2025) (the

           “Executive Order”), which revokes birthright citizenship for certain newly-born children of

           immigrants in the United States, on the State of New York’s health insurance programs.

       4. DOH’s mission is to protect and promote health and well-being for all, building on a

           foundation of health equity. To support that goal, DOH performs many functions, including

           regulating healthcare facilities and overseeing the registration of vital events such as births.

                                 New York Health Insurance and Eligibility Rules

       5. Within DOH, the Office of Health Insurance Programs administers several programs through

           the NY State of Health Marketplace that enable qualifying New York residents to access free

           or low-cost healthcare coverage.

       6. Publicly-funded health insurance programs in New York include: Medicaid 1, Child Health

           Plus 2 (New York’s Children’s Health Insurance Program, which includes federal- and state-




       1 The term “Medicaid,” as used throughout, means the New York State- and federally-funded healthcare

       program for low-income New Yorkers whose income and/or resources are below certain levels. It also
       includes state-funded Medicaid for individuals who are ineligible for federally funded Medicaid due to
       their immigration status. Eligible populations include children, pregnant women, single individuals,
       families, and individuals certified blind or disabled. In addition, certain persons with medical bills may be
       eligible for Medicaid if paying such bills allows them to spend down their income and resources to meet
       required Medicaid income levels. Medicaid enrollees do not pay premiums and have little to no out-of-
       pocket costs for many services. The term “Medicaid” does not include the Essential Plan, Child Health
       Plus, or Qualified Health Plans.
       2 Eligibility for Child Health Plus begins where Medicaid eligibility ends (223 percent of the federal

       poverty level for children under 1 year old and 154 percent of the federal poverty level for children age 1
       year and older; children are eligible for subsidized coverage with incomes up to 400 percent of the federal
       poverty level. There is no Child Health Plus premium for children in households with incomes below 223
       percent of the federal poverty level, and a sliding scale premium for those in households with incomes
       above 222 up to 400 percent of the federal poverty level. Households with incomes above 400 percent of
       the federal poverty level have the option to purchase Child Health Plus at full premium. 96 percent of
       children enrolled in Child Health Plus are enrolled with no premium or sliding scale premiums, and
       approximately four percent are enrolled with full premiums.


                                                                                                                  2

                                                                                                          PA156
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 191
                                               5-16                 Date
                                                                    FiledFiled: 03/04/2025
                                                                         01/21/25     Page 4 ofEntry
                                                                                                10 ID: 6704290




           funded CHIP and New York’s state extension), the Essential Plan 3 (“EP”) (New York’s 1332

           State Innovation Waiver), and Qualified Health Plans (“QHP”) 4.

       7. As of October 2024, a total of 2,461,497 children in New York were enrolled in federal- and

           state- funded Medicaid (“Federal-State Medicaid”) and Child Health Insurance Program, of

           whom 571,386 were enrolled in Child Health Plus. Some of the children enrolled in Child

           Health Plus were enrolled in federal- and state-funded CHIP, and some were enrolled in New

           York’s state extension.

       8. In New York, Medicaid and Child Health Plus provide comprehensive healthcare coverage

           for a wide range of services, including primary care, hospitalization, laboratory tests, x-rays,

           prescriptions, mental health care, dental care, preventive screenings, and more.

       9. Eligibility for New York’s publicly funded health insurance programs, including eligibility

           for Medicaid and Child Health Plus depends on age, New York State residency, household

           size, immigration status, and household income. Specifically, a child must not be eligible for

           Medicaid or have other comprehensive insurance or enrollment in or access to state health




       3 The Essential Plan covers New Yorkers between the ages of 19-64 who are not eligible for Medicaid

       and have incomes up to 250 percent of the federal poverty level. The Essential Plan provides
       comprehensive benefits including free preventive care and dental and vision with no annual deductibles
       and low copayments. Essential Plan is currently authorized under Section 1332 of the Affordable Care
       Act as a State Innovation Waiver, which allows states to pursue innovative strategies for providing
       residents with access to high-quality, affordable health insurance. Section 369-ii of the NY Social
       Services Law authorizes State action under the Waiver. New York’s Section 1332 State Innovation
       Waiver was approved effective April 1, 2024 to expand Essential Plan eligibility to consumers up to 250
       percent of the Federal Poverty Level, and is effective through December 31, 2029. New York received
       approval of a Waiver Amendment to extend subsidies to certain Qualified Health Plan enrollees under the
       Waiver, with an effective date of January 1, 2025.
       4 Qualified Health Plans are health plans that have been certified by and are available through the

       Marketplace in accordance with the Affordable Care Act and federal regulations. 42 § U.S.C. 18021(a).
       Enrollment in a Qualified Health Plan with financial assistance is available based on income and the cost
       of available health plans ,for residents who do not have access to other affordable health insurance that
       meets minimum essential coverage.
                                                                                                              3

                                                                                                       PA157
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 192
                                               5-16             Date
                                                                FiledFiled: 03/04/2025
                                                                     01/21/25     Page 5 ofEntry
                                                                                            10 ID: 6704290




          benefits coverage (New York State Health Insurance Program or NYSHIP) to be eligible for

          Child Health Plus.

       10. In general, children under the age of 18 (i) meet the income eligibility requirement for

          Medicaid in New York if their household’s modified adjusted gross income (“MAGI”) is less

          than 223% of the federal poverty level (FPL) for children under age 1 and 154% of the FPL

          for children between the ages of 1 and 18, and (ii) meet the income eligibility requirement for

          subsidized Child Health Plus coverage if their household’s MAGI is less than 400% of the

          FPL. Children with household income over 400% of the FPL who are otherwise eligible may

          purchase coverage at the full cost.

       11. For a child to be eligible for Federal-State Medicaid or CHIP, they must also be a U.S.

          citizen or “lawfully residing,” as that term is defined by federal law.

       12. Most New York children under age 19 who do not qualify for Federal-State Medicaid

          because they are not U.S. citizens or “lawfully residing” are eligible for Child Health Plus,

          and the cost of providing that coverage is fully funded by the state.

       13. New York implemented Child Health Plus because access to healthcare, particularly to

          primary care, makes children and communities healthier, and it is a fiscally responsible

          investment in the future of New York children.

       14. The increased enrollment of children in New York through Child Health Plus has had a

          positive impact on public health in the state. Children enrolled in health insurance are more

          likely to receive preventative care services, including vaccinations. This reduces the need for

          more intensive health care treatments, including emergency care, as illnesses develop. It also

          reduces the financial burden on health care providers from providing care to uninsured

          individuals and ensures that families are not left with medical bills that they are unable to



                                                                                                       4

                                                                                                PA158
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 193
                                               5-16               Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 6 ofEntry
                                                                                              10 ID: 6704290




          pay. In addition, sick children with health insurance coverage are more likely to see a health

          care provider and receive treatment, limiting the spread of infectious illnesses across the

          state.

       15. Having insurance coverage also makes it less likely that children will have to visit an

          emergency room to treat preventable illnesses because it is more likely that they will receive

          medical care before a treatable medical issue becomes an emergency. This reduces the

          resource strain and uncompensated care burden on hospitals.

                                       Healthcare Coverage for Newborns

       16. Many children born in the United States and residing in New York whose family income is

          at or below 400% of the Federal Poverty Level are eligible for New York public health

          insurance.

       17. Presently, all children born in New York are U.S. citizens, regardless of the immigration

          status of their parent(s).

       18. Thus, at present, public health insurance coverage for newborns born in New York State is

          funded jointly by the state and federal government, either through Medicaid or Child Health

          Plus.

       19. Most healthy newborns remain in the hospital for two or three days after delivery. During

          this time, they receive routine postnatal care, including a vitamin K injection, antibiotic eye

          ointment, screening tests (e.g., heel-prick blood test, hearing screening), and hepatitis B

          vaccination.

       20. Additionally, the American Academy of Pediatrics recommends that newborns see a doctor

          or nurse for a “well-baby visit” six times before their first birthday, including within the first




                                                                                                          5

                                                                                                   PA159
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 194
                                               5-16             Date
                                                                FiledFiled: 03/04/2025
                                                                     01/21/25     Page 7 ofEntry
                                                                                            10 ID: 6704290




          3-5 days, the first month, the second month, the fourth month, the sixth month, and the ninth

          month after birth.

       21. Within the first year of life, babies may also need to visit a doctor when they appear ill and

          may require testing or prescription medication.

       22. Children ages 1-18 typically have a range of health care needs that require services from

          various health care providers. For example, children in New York must show proof of

          certain immunizations within 14 days of starting school, unless they have an exemption for

          medical reasons.

                               Fiscal Impact of Revoking Birthright Citizenship

       23. New York spends on average $299 per member per month on non-disabled children enrolled

          in Medicaid. New York currently pays approximately $272 per member, per month (totaling

          $3,264 per member per year) for children enrolled in its Child Health Plus program. As noted

          above, the federal government generally covers 50 percent of these costs for children

          enrolled in Federal-State Medicaid and 65 percent for children enrolled in Child Health Plus.

       24. However, if a low-income child were not eligible for Federal-State Medicaid or CHIP, New

          York would not receive that federal assistance, and would cover the full cost of health

          insurance coverage for the newborn through Child Health Plus.

       25. In 2023, approximately 100,000 or approximately 49% of births in New York State are

          enrolled in Federal-State Medicaid. Assuming that as a result of the Executive Order certain

          children born in New York will no longer be considered citizens, within one year of the

          revocation of birthright citizenship, a substantial portion of these children would be eligible

          for federally participating Federal-State Medicaid but for their new status as non-citizens.




                                                                                                       6

                                                                                                PA160
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 195
                                               5-16             Date
                                                                FiledFiled: 03/04/2025
                                                                     01/21/25     Page 8 ofEntry
                                                                                            10 ID: 6704290




       26. DOH would need to immediately begin planning for this potential loss of federal funding and

          would need to determine how to offset this loss to pay for coverage if newborns were shifted

          to state only funding through Child Health Plus. This includes reassigning staff from other

          priorities, hiring contractor support, changing information technology infrastructure, and

          expanding existing financial and programmatic support contracts to encompass the new

          scope of work this would entail. These costs increase dramatically the longer it takes CMS

          and the federal government to issue Medicaid specific impact guidance on this new policy.

             Eligibility Verification Process for Children on Federal-State Medicaid and CHIP

       27. The State of New York fully funds public health insurance for children who meet the income

          eligibility guidelines for Federal-State Medicaid or CHIP, but do not qualify for those

          programs because they are not United States citizens or “qualified aliens.”

       28. When a child’s birthing parent is enrolled in Federal-State Medicaid, the DOH automatically

          enrolls that child in Medicaid, as a “deemed newborn.” This is authorized by 42 C.F.R. §

          435.117, which requires States to provide Medicaid coverage from birth to a child’s first

          birthday if the child’s birthing parent was eligible for and received Federal-State Medicaid at

          the time of the child’s birth. Newborns are not “deemed” in Child Health Plus and must

          proactively apply for coverage as it is not automatic.

       29. New York State utilizes the hospital newborn reporting system to automatically deem and

          enroll an eligible child in Federal-State Medicaid. The eligibility system currently relies on

          the fact that a newborn was born in a New York health care facility provided through the

          hospital newborn reporting system as proof of citizenship, qualifying the newborn for

          Federal-State Medicaid.




                                                                                                       7

                                                                                                PA161
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 196
                                               5-16             Date
                                                                FiledFiled: 03/04/2025
                                                                     01/21/25     Page 9 ofEntry
                                                                                            10 ID: 6704290




       30. Under the Executive Order, DOH will have to amend its existing processes to determine

          whether newborn children are eligible for Federal-State Medicaid because they can no longer

          rely on the fact that a child was born in the United States to confirm citizenship status. For

          example, the intake process including the booklet the parents complete in the hospital when

          the child is born would need to be revised to collect the immigration status of the birthing

          parent. Hospitals would only report children who appear eligible for Federal-State Medicaid

          through this system. Hospitals would need to be trained about what cases to report. Quality

          assurance reviews would need to occur to be sure the hospitals appropriately report the births

          that are Medicaid eligible. Since newborns are not deemed in Child Health Plus as they are

          for Medicaid, the parent/guardian would be required to apply for coverage on NY State of

          Health. For purposes of Child Health Plus, as long as a completed application is submitted

          within 60-days of the date of birth, coverage can be retroactive to the first date of the month

          of the child’s date of birth. This may create a gap in coverage for the child if the application

          is not completed within this timeframe, thus creating the potential for families to forgo

          needed care and placing a strain of uncompensated care on the provider community.

       31. The DOH would incur significant costs to revise the process hospitals follow for reporting

          births to address changes in citizenship rules for newborns. This would require significant

          planning to understand the new rules governing U.S. citizenship for newborn children, to

          identify and determine the kinds of evidence that would suffice as proof of citizenship, to

          modify the intake process/booklet the parent completes in the hospital, and to develop and

          implement guidance and training for Department and State agency staff as well as for

          hospital staff statewide.




                                                                                                        8

                                                                                                 PA162
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-16
                                     Document 197    Date 01/21/25
                                                     Filed Filed: 03/04/2025   Entry
                                                                       Page 10 of 10 ID: 6704290




                                                                                PA163
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 198
                                               5-19   Date
                                                      FiledFiled: 03/04/2025
                                                           01/21/25     Page 1 ofEntry
                                                                                  15 ID: 6704290




                         EXHIBIT R




                                                                                 PA164
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 199
                                               5-19    Date
                                                       FiledFiled: 03/04/2025
                                                            01/21/25     Page 2 ofEntry
                                                                                   15 ID: 6704290




                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS

         STATE OF NEW JERSEY, et al.,            :
                                                 :
                 Plaintiffs,
                                                 :
            v.                                   :
                                                 :
                                                 :    Civil Action No.: ___________
                                                                         25-cv-10139
         DONALD J. TRUMP, et al.,
                                                 :
                 Defendants.                     :
                                                 :
                                                 :
                                                 :




                                                                                       PA165
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 200
                                               5-19            Date
                                                               FiledFiled: 03/04/2025
                                                                    01/21/25     Page 3 ofEntry
                                                                                           15 ID: 6704290




                                      DECLARATION OF PETER HADLER


       I, Peter Hadler, hereby declare as follows:


          1. I am over the age of 18, competent to testify as to the matters herein, and make this

              declaration based on my personal knowledge or have knowledge of the matters herein

              based on my review of information and records gathered by agency staff.

          2. I am the Deputy Commissioner for the Connecticut Department of Social Services (DSS).

              I have been employed in this position since April 2023 and have been employed by DSS

              since January 2012. I am responsible for executive level program and policy oversight and

              administration of eligibility policy and enrollment determinations for the Medicaid

                                                                gram (CHIP), among other healthcare



              policy administration for the Supplemental Nutrition Assistance Program, the Temporary

              Assistance for Needy Families block grant, the Low Income Home Energy Assistance

              block grant and numerous other public assistance programs.

          3. I am an attorney with a juris doctor degree from Boston University and am admitted to the

              bar in both Connecticut and New York.

                                      Connecticut HUSKY and Eligibility Rules

          4. Medicaid is the federally matched medical assistance program under Title XIX of the

              Social Security Act. CHIP is the federally matched medical assistance program under Title

              XXI of the Social Security Act. The programs operate as a state and federal partnership

              with states funding a portion of the programs (usually starting at 50%). In Connecticut,



                                                               comprehensive health care coverage to



                                                                                               PA166
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 201
                                               5-19              Date
                                                                 FiledFiled: 03/04/2025
                                                                      01/21/25     Page 4 ofEntry
                                                                                             15 ID: 6704290




               State residents, including preventative care, inpatient and outpatient services, behavioral

               health services and many other health care services.

          5.



               regulated by the U.S. Department of Health and Human Services. Medicaid and CHIP are

               jointly funded by both state and federal dollars, though at different rates, as explained

               herein. DSS also administers some state funded health care programs, including the State

               HUSKY program (which provides coverage for children up to 15 years of age who do not

               qualify for Medicaid or CHIP due to immigration status).

          6.

               assistance programs, including Medicaid, CHIP and state-funded coverage. DSS is



               coverage in Connecticut. It is a leader in ensuring Connecticut residents have access to

               high-quality, affordable health care, and it is committed to whole-person care, integrating

               physical and behavioral health services for better results and healthier communities in

               Connecticut. DSS provides health care for over 1 million state residents annually through

               HUSKY.

          7. The table below illustrates the State Fiscal Year (SFY) 2024 expenditure dollars in the



               funded (SF) expenditures. The Medicaid line in the table includes funds associated with all

               eligibility groups authorized pursuant to Title XIX of the Social Security Act as well as

               CHIP funds that cover certain pregnant women and children. The CHIP line in the table

               includes children covered under Title XXI of the Social Security Act. State-only programs




                                                                                                 PA167
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 202
                                               5-19            Date
                                                               FiledFiled: 03/04/2025
                                                                    01/21/25     Page 5 ofEntry
                                                                                           15 ID: 6704290




             in Connecticut include State HUSKY for Children and post-partum coverage for

             noncitizens, among others. States, including Connecticut, use federal funds to support

             services for noncitizens through Emergency Medicaid. Emergency Medicaid is authorized

             under Title XIX and expenditures are reflected within the Medicaid line in the below table.


                               SFY 2024 Expenditures ($$ in Thousands)
                                       FF              SF                      Total
                     Medicaid
                       CHIP
                     State-only
                  (State HUSKY)
                        Total

          8. Within DSS, roughly 1,000 State employees and hundreds of contracted staff are

             responsible for determining eligibility, providing customer service, and managing policy

             for the majority of state and federal medical assistance programs serving over 1 million

             Connecticut residents. In addition to providing direct access to the Medicaid and CHIP

             programs through HUSKY, DSS administers the Supplemental Nutrition Assistance

             Program, the Temporary Assistance for Needy Families block grant, and a number of other

             public assistance programs.

          9. Medicaid eligibility is comprised of three income methodologies: Modified Adjusted Gross

             Income (MAGI) methodology, non-MAGI methodology, and categorical eligibility (for

             example, SSI recipients or Foster Care/Adoption support coverage). Programs with

             eligibility determined under MAGI rules include coverage for adults aged 19-64, pregnant

             women, families, and children. Programs with eligibility determined under non-MAGI

             rules include coverage for aged, blind, or disabled populations, including long-term

             services and supports programs. Categorical eligibility means that a person is granted




                                                                                               PA168
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 203
                                               5-19             Date
                                                                FiledFiled: 03/04/2025
                                                                     01/21/25     Page 6 ofEntry
                                                                                            15 ID: 6704290




             coverage based on their categorical relationship to the program. For example, a person

             receiving Supplemental Security Income (SSI) automatically receives Medicaid coverage.

          10. Federal Medicaid rules direct states to look at income and residency rules first and then

             determine whether someone is a citizen or has a qualifying immigration status in order to

             determine eligibility. Individuals who are undocumented or do not have a lawful,

             qualifying immigration status are not eligible for Medicaid or most other federally funded

             DSS administered benefits. The limited exception involves the federal Medicaid program

             for undocumented or non-qualified non-citizens to receive emergency medical care

             coverage if they are otherwise eligible for Medicaid. This is also known as Emergency

             Medicaid. Emergency Medicaid covers emergency health care for a limited set of

             qualifying emergent medical conditions. Individuals must meet all the income and other



             and immigration status. Individuals who are undocumented or non-qualified can receive

             Emergency Medicaid services, and the federal matching rate is 50%, meaning that federal

             funds cover 50% of the cost and state funds cover 50% of the cost.

          11. Coverage programs for children are also provided under HUSKY. HUSKY covers all kids

             through age 15, regardless of immigration status, up to 323% of the Federal Poverty Level

             (FPL), and covers all citizen children and non-citizens with qualifying immigration statuses



             for different programs that fall under the HUSKY Health branding, i.e. Medicaid, CHIP or

             State coverage.

          12. Below 201% of the FPL, for children who are citizens or qualified immigrants, the funding

             for this coverage is through Medicaid.




                                                                                                PA169
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 204
                                               5-19                 Date
                                                                    FiledFiled: 03/04/2025
                                                                         01/21/25     Page 7 ofEntry
                                                                                                15 ID: 6704290




          13. Between 201% and 323% of the FPL, for children who are citizens or qualified immigrants,

                the funding for this coverage comes through CHIP, and some households pay a small

                premium or copays for coverage. CHIP is a federally matched health coverage program

                that expands

                offers comprehensive healthcare coverage to children through age 18, who reside in

                households with incomes between 201% and 323% of the FPL, whereas Medicaid covers

                eligible children at or below 201% of the FPL.

          14. While provided in Connecticut under the name HUSKY, coverage provided under the

                CHIP program operates separately from Medicaid on the funding side. Historically, CHIP

                federal match has been 65%. It was increased as high as 88% for a period of time in recent

                years, but now is at 65%. This means that coverage provided to eligible children under the

                CHIP funding structure results in federal funds covering a higher portion of the expenses

                compared to Medicaid, where federal funding normally covers 50% of the expenses.

          15.                                                                     Medicaid or CHIP-funded

                coverage programs had they met immigration status requirements receive coverage through

                the 100% state-funded State HUSKY program. Connecticut law requires such coverage to

                be provided to all children who apply and are eligible.

                                Healthcare Coverage for Pregnant Women and Newborns

          16. HUSKY also covers all pregnant women regardless of immigration status with income at

                or below 263% of the FPL. This is possible because their unborn children are deemed

                covered at conception, so even though the mother may not have a qualifying immigration

                status, the child will be born a U.S. citizen and is therefore eligible for services under CHIP

                from conception through birth. After the child is born, the child (as a U.S. citizen) can




                                                                                                      PA170
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 205
                                               5-19                Date
                                                                   FiledFiled: 03/04/2025
                                                                        01/21/25     Page 8 ofEntry
                                                                                               15 ID: 6704290




             remain covered under HUSKY, while the mother is no longer covered under any federal

             healthcare program, but in Connecticut is provided 12 months of state-funded postpartum

             coverage.

          17. As of 2024, DSS administers Medicaid funded coverage for more than 380,000 children

             annually in Connecticut, and CHIP funded coverage for approximately 39,000 children in

             Connecticut. DSS estimates that coverage on a per-child basis costs approximately $3,850

             per year on average. For this coverage, Connecticut expended approximately

             $1,450,000,000 and received $744,000,000 in reimbursement from the federal government

             under Medicaid and CHIP. With respect to State HUSKY, there were over 20,000 children

             covered and the State expended approximately $23,000,000 in 2024.

          18. Under federal law, DSS must provide Medicaid and CHIP coverage to citizens and

             qualified noncitizens whose citizenship or qualifying immigration status is verified and

             who are otherwise eligible. Applications for coverage are processed either through Access

                                                health insurance marketplace), where eligibility is based on

             a MAGI determination, or through DSS directly for individuals qualifying under a non-

             MAGI basis. Citizenship eligibility status is one eligibility factor that DSS must verify for

             HUSKY coverage. There are multiple ways that DSS verifies citizenship or immigration

             status to determine eligibility.

          19. Generally speaking, for MAGI-



             check the SSN with the Social Security Administration (SSA) in order to confirm identity

             and citizenship or qualifying immigration status

                            For newborns who do not yet have an SSN, citizenship eligibility is verified




                                                                                                   PA171
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 206
                                               5-19               Date
                                                                  FiledFiled: 03/04/2025
                                                                       01/21/25     Page 9 ofEntry
                                                                                              15 ID: 6704290




             by birth records provided (usually by the hospital or other medical provider) at the time of

             birth because children born in the United States are citizens. For individuals who declare

             to be lawfully present and have an SSN, DSS uses the SSN, name, and date of birth to



             who have an SSN and declare to be a citizen, but for whom citizenship cannot be

             automatically verified, DSS will request verification from the individual of their

             citizenship. When an individual is applying for non-MAGI coverage through DSS, SSN



          20. In the relatively infrequent instances where citizenship is not or cannot be verified by those

             automatic means, an individual can be approved for coverage based on their attestation and

             given a reasonable opportunity to provide verification. On that issue, a declaration of

             citizenship or qualifying immigration status may be provided in writing, and under penalty

             of perjury by an adult member of the household, an authorized representative, or someone

             acting for the applicant. States must provide otherwise eligible individuals with a

                                                               qualifying immigration status. Individuals

             making a declaration of a qualifying citizenship or immigration status are furnished at least

             90 days of Medicaid coverage while additional verification is collected

             status is found to be unsatisfactory before the 90 days, their eligibility is determined and

             their coverage closed.

                              Impact of Purported Revocation of Birthright Citizenship

          21. I am aware o                                                                        American



             citizenship for children born in the United States after February 19, 2025 to (i) a mother




                                                                                                   PA172
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-19
                                     Document 207               Date 01/21/25
                                                                Filed Filed: 03/04/2025   Entry
                                                                                  Page 10 of 15 ID: 6704290




             who is unlawfully present or who is lawfully present in the United States but on a temporary

             basis, and (ii) a father who is neither a citizen nor a lawful permanent resident. This

             Executive Order will have a variety of widespread harmful

             HUSKY programs, including a decrease in receipt of proper medical care for children born

             in Connecticut and increased operational and administrative costs for the State.

          22. In addition to impacts on those subject to such a policy   children who would have been

             citizens had they been born weeks earlier

             administration of its healthcare programs and the amount of federal funding Connecticut

             receives to reimburse medical expenses for children residing in Connecticut.

          23. Connecticut has made tremendous strides in reducing the number of uninsured individuals.

             Many immigrants are direct beneficiaries of HUSKY coverage. Connecticut has continued

             to improve and broaden coverage options for children residing in the State and worked to

             streamline the application process and make that process as simple as possible for parents

             seeking coverage for themselves and their children. This is possible using both state and

             federal Medicaid and CHIP dollars as appropriate. Uninsured individuals suffer significant

             negative health impacts and the economic impacts of an increase in the uninsured rate could

             be severe. Individuals with health insurance that provides preventative care are less likely

             to need more intensive health care treatments, including emergency care. Health insurance

             reduces the financial burden on Connecticut health care providers who provide care to

             uninsured individuals, reduces uncompensated care, and ensures families are not left with

             medical bills that they are unable to pay. Sick children with health insurance coverage are

             more likely to see a health care provider and receive treatment, limiting the spread of

             infectious illnesses across the state.




                                                                                                PA173
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-19
                                     Document 208                  Date 01/21/25
                                                                   Filed Filed: 03/04/2025   Entry
                                                                                     Page 11 of 15 ID: 6704290




          24.

                around the significant reimbursements from the federal government, and any loss of

                funding would have serious consequences for Connecticut and the individuals served by

                DSS. The federal government action of taking away birthright citizenship from children

                born in Connecticut would result in babies being born as non-citizens with no legal status.

                That will result in direct loss of federal reimbursements to the State for coverage provided

                to those children because eligibility for federally matched programs such as Medicaid and



                on their citizenship or immigration status. In particular, federally matched coverage to

                many children that would have been provided under Medicaid or CHIP will very likely be

                lost without the clear line of eligibility tied to birth in the United States, because those

                programs are not available to individuals who have not been verified to be eligible. This

                will necessarily result in a shift to the State of funding responsibility for this group of

                children, which poses a direct threat to the ability of the State to provide meaningful

                healthcare to all in need without interruption. It will also likely result in a significant

                number of children going uninsured and receiving only emergency care when absolutely

                necessary, leading to worse health outcomes as they grow up and require more expensive

                care through emergency procedures due to a lack of access to affordable preventative care.

          25. Additionally, there will be substantial uncertainty and administrative burdens for DSS in

                providing coverage to pregnant women and their unborn children. As noted above,

                Connecticut is able to provide coverage to all pregnant women, regardless of citizenship

                status, for prenatal care under the CHIP program because the unborn children are covered

                under CHIP. If the children are no longer to be citizens at birth, DSS will be left in limbo




                                                                                                   PA174
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-19
                                     Document 209                Date 01/21/25
                                                                 Filed Filed: 03/04/2025   Entry
                                                                                   Page 12 of 15 ID: 6704290




             to determine whether coverage to those vulnerable pregnant women will be able to be

             covered, and if so, under what program. This is likely to pose a significant barrier to DSS

             providing streamlined coverage to State residents in need of medical care for themselves

             and their future children.

          26. The purported removal of birthright citizenship is also likely to cause coverage lapses or,

             at a minimum, result in direct shifts to the State with respect to the cost of funding

             healthcare coverage for children who would have otherwise been immediately eligible for

             Medicaid and/or CHIP at birth. These are not impacts that can be avoided. For example,

             with respect to emergency care, the State and its providers will be required to absorb costs

             that would normally be recoverable through federal reimbursements under Medicaid and

             CHIP. Hospitals must provide emergency medical care under federal law, including the

             Emergency Medical Treatment and Labor Act and the relevant Emergency Medicaid

             provisions. They cannot turn patients away as a general rule. Such emergency services, if

             provided to a child otherwise eligible for Medicaid but for their immigration status, will

             still be covered in part by the federal government at the 50% match rate for Medicaid.

             However, if a child is a citizen and covered under CHIP, such services would be covered

             and reimbursed at the 65% match rate. If that same child is deemed a non-citizen at birth

             (and thus is ineligible for CHIP), the State will be left to pay for that care. Indeed,

                                 -funded State HUSKY program would provide coverage, as is required

             under state law. As a result, for each child that would be eligible for CHIP but for their new

             non-citizen status, the State will lose the 65% federal reimbursement for any care

             provided    solely because the child, now as a non-citizen, would not be eligible for CHIP.




                                                                                                  PA175
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-19
                                     Document 210                   Date 01/21/25
                                                                    Filed Filed: 03/04/2025   Entry
                                                                                      Page 13 of 15 ID: 6704290




          27. This poses a

                                                                                                        2024,

                there were over 5,500 children born who were eligible for HUSKY and born to mothers

                who qualified for state-funded postpartum coverage because the mother could not qualify

                for Medicaid due to their immigration status. If the children covered under Medicaid and

                CHIP became ineligible due to a loss of citizenship and moved to the State-funded

                coverage, that would result in a loss of over $10,000,000 in federal reimbursements to

                Connecticut and a corresponding increase to State expenditures of the same amount.

          28.

                DSS will also need to develop updated comprehensive training for staff, partners, and

                healthcare providers. For example, DSS will need to update its training and guidance

                around which children are citizens and therefore eligible for Medicaid and CHIP programs,

                and which must be funneled into state-only programs. DSS will also need to change its

                verification processes, acquire more information from parents, pursue absent parents,

                change its computer systems, and in so doing significantly increase both the number of

                staff required to conduct this eligibility work and delay the enrollment process for

                families. This is a significant burden for the State, children, parents, and healthcare

                providers. This will require additional eligibility units comprised of eligibility workers and

                supervisory staff. For every additional eligibility unit that would need to be brought on to

                support the additional work, it will cost the state approximately $1,700,000. Because of the

                burden of revamping a program of this size and complexity, adjusting to the federal



                would likely take one year at a minimum. It may also require additional legislative




                                                                                                     PA176
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-19
                                     Document 211                Date 01/21/25
                                                                 Filed Filed: 03/04/2025   Entry
                                                                                   Page 14 of 15 ID: 6704290




             solutions at the state level, including the allocation of additional state funds to

             operationalize this dramatically changed interpretation of citizenship.



          29. In addition, and upon information and belief, local education agencies (LEAs) within the

             State serve all school-age children, regardless of their immigration status. Within DSS, the

             Division of Health Services administers federal Medicaid funds to LEAs to support crucial

             education initiatives and provide essential services to students. Upon information and

             belief, school-based health services (SBHS) refer broadly to medical services provided to

             all students in a school setting, such as on-site school nurses, behavioral health counselors,

             and preventative health screenings for visual and auditory acuity. All Connecticut LEAs

             are required to provide certain SBHS free of charge to all students, regardless of their

             immigration or insurance status.

          30. Upon information and belief, Section 1903(c) of the Social Security Act has authorized the

             federal Medicaid program to reimburse LEAs for medically necessary SBHS provided to

             Medicaid-eligible students with disabilities pursuant to the Individuals with Disabilities

             Education Act (IDEA), 20 U.S.C. § 1400 et seq., provided the services were delineated in



             State plan for Medicaid. IDEA requires LEAs to develop an IEP for children found eligible

             for special education and related services. An IEP identifies certain special education and

             related services, and program modifications and supports, that the LEA will provide a child

             with a disability.

          31. Upon information and belief, in SFY 2023 there were over 25,000 unique Medicaid

             recipients identified as obtaining services claimed under Medicaid related to SBHS. For




                                                                                                  PA177
Case: 25-1170
            CaseDocument:  00118255171
                 1:25-cv-10139-LTS      Page: 5-19
                                     Document 212                  Date 01/21/25
                                                                   Filed Filed: 03/04/2025   Entry
                                                                                     Page 15 of 15 ID: 6704290




              SFY 2023, and upon information and belief, quarterly statistics submitted by the LEAs to

              DSS indicate a total of approximately 22,800 Medicaid-eligible special educated students

              with medical services in their IEP/504 plans. Upon information and belief, in SFY 2022,

              total LEA gross costs were approximately $61 million, of which federal Medicaid

              reimbursed 50%, or approximately $30.5 million. The State retained 50% of the federal

              reimbursement, or approximately $15.25 million, with the remainder passed on to the

              LEAs.

          32. If birthright citizenship was revoked, impacted students with disabilities   who would have

              otherwise qualified for federally-funded Medicaid       would lose that eligibility and thus

              there would be no federal matching support. LEAs would thus not receive any

              reimbursement funds for provision of SBHS to those

              costs. A change to birthright citizenship would also increase the population of

              undocumented children, some percentage of whom would very likely have disabilities that

              require SBHS and would have been eligible for partially federally-funded Medicaid but for

              their immigration status. The costs of providing those services would be borne by the State

              of Connecticut and LEAs without any federal Medicaid reimbursement.



       I declare under penalty of perjury under the laws of the State of Connecticut and the United
       States of America that the foregoing is true and correct.


       Executed this 21st day of January 2025, in New Haven, Connecticut.




                                                                                                 PA178
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 213
                                               5-20 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 1 of 6 ID: 6704290




                          EXHIBIT S




                                                                                PA179
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 214
                                               5-20 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 2 of 6 ID: 6704290




                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS

         STATE OF NEW JERSEY, et al.,            :
                                                 :
                 Plaintiffs,
                                                 :
            v.                                   :
                                                 :
                                                 :   Civil Action No.: ___________
                                                                       25-cv-10139
         DONALD J. TRUMP, et al.,
                                                 :
                 Defendants.                     :
                                                 :
                                                 :
                                                 :




                                                                                     PA180
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 215
                                               5-20 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 3 of 6 ID: 6704290




                                DECLARATION OF YVETTE GAUTHIER

              I, Yvette Gauthier, hereby declare:

       1. I am State Registrar of Vital Records of the Connecticut Department of Public Health, a

          position I have held since 2022. As State Registrar of Vital Records, I am responsible for the

          supervision of the State-wide vital records data collection system. Prior to holding this

          position, I was the Health Program Supervisor of the Office of Vital Records.

       2. As Registrar of Vital Records, I have personal knowledge of the matters set forth below, or

          have knowledge of the matters based on my review of information and records gathered by

          my staff.

                                    Connecticut Department of Public Health

       3. Connecticut Department of Public Health’s mission is to protect and improve the health and

          safety of the people of Connecticut by assuring the conditions in which people can be

          healthy; preventing disease, injury and disability, and promoting the equal enjoyment of the

          highest attainable standard of health, which is a human right and a priority of the State.

          To support that goal, Connecticut Department of Public Health performs many functions,

          including regulating healthcare facilities and overseeing the Office of Vital Records (OVR),

          which facilitates the registration of vital events such as births.

                                  Registration and Birth Certificates of Newborns

       4. Healthcare facilities coordinate with OVR to collect information to register a child’s birth.

       5. When a child is born in a healthcare facility, a medical attendant to the birth is statutorily

          obligated to register the birth. They must provide the newborn’s parents with a Birth

          Certificate Worksheet that asks for several pieces of information, including the parents’ place




                                                                                                           2

                                                                                                    PA181
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 216
                                               5-20 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 4 of 6 ID: 6704290




          of birth and Social Security Numbers (SSNs). The Worksheet does not inquire about the

          parents’ citizenship or immigration status.

       6. If the parents do not have SSNs, or do not wish to share them, they can leave that field blank.

          Their omission of that information does not affect the newborn’s ability to obtain a birth

          certificate.

       7. After the newborn’s parents complete and sign the Worksheet, hospital staff enter the

          information from the Worksheet into an electronic birth system (ConnVRS) maintained by

          OVR. Local Registrars in the town of Birth then create and register the birth certificate with

          the State. Neither OVR nor Local Registrars have a duty to verify the accuracy of the

          information submitted by the parent(s) on the Worksheet.

       8. A newborn’s completed birth certificate does not indicate whether the parents have an SSN.

          The only information on the parents is the mother’s legal name and previous name, the

          father’s full name (if provided), their places and dates of birth, mother’s residence and

          mailing address(es). Currently, it is not possible to determine a foreign-born parent’s

          citizenship or immigration status from their child’s birth certificate.

       9. If the newborn registration process had to be amended to require the Department to verify the

          parents’ citizenship and/or immigration status, this would impose substantial administrative

          burdens on the Department. Assuming this burden would further lead to delays in registration

          and issuance of the newborn’s birth certificate.

       10. Connecticut currently receives funding from the National Center for Health Statistics

          (NCHS), which is a unit of the Centers for Disease Control and Prevention, for sharing its

          statistical birth data with NCHS. NCHS annually allocates funds to states based on the

          number and quality of birth records provided. If the births of children born to two foreign



                                                                                                           3

                                                                                                    PA182
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 217
                                               5-20 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 5 of 6 ID: 6704290




          born parents were not recorded, the State estimates that it would lose approximately 20% of

          its NCHS funding.

       11. The State received $341,280 from NCHS for its 2023 birth records. A loss of 20% in funding

          would total $68,256.

                               Application for Social Security Number of Newborns

       12. While registering a newborn for a birth certificate at a healthcare facility, parents may also

          complete an application for an SSN for the newborn through a Social Security

          Administration (SSA) program called Enumeration at Birth (EAB).

       13. The EAB process is voluntary for families, but according to SSA, about 99% of SSNs for

          infants are assigned through this program.

       14. Under the EAB process, the healthcare facility provides parents with an application form to

          request an SSN for their child.

       15. The EAB application asks for the parents’ SSNs. Parents born outside the United States can

          apply for and receive an SSN for their child without including their own SSNs on the

          application. Currently, because children born in the United States are U.S. citizens, they are

          eligible for SSNs regardless of their parents’ citizenship or immigration status.

       16. After a healthcare facility receives a completed SSN application, it submits electronically the

          information from the application and a request for an SSN to OVR, which then transmits that

          information and request to SSA. OVR only sends EAB records to SSA for enumeration of

          infants born within the past 12 months. OVR does not have a duty to verify the information

          submitted by the parent(s) on the EAB application.

       17. Connecticut Department of Public Health receives federal funding from the SSA EAB

          process on a quarterly basis for each SSN that is issued through the EAB process. The



                                                                                                            4

                                                                                                    PA183
Case: 25-1170Case
               Document:   00118255171Document
                  1:25-cv-10139-LTS     Page: 218
                                               5-20 Date
                                                     FiledFiled: 03/04/2025
                                                           01/21/25            Entry
                                                                        Page 6 of 6 ID: 6704290




          Department receives $4.82 per SSN issued through the EAB process, or approximately

          $45,000 per quarter. OVR uses those funds to support the payment of administrative and

          operational costs.

       18. Assuming that SSA would not issue an SSN to a child born in the United States if the child’s

          parents were undocumented, OVR estimates approximately 7,400 fewer SSNs annually

          would be issued. This estimate is based on the number of births for which the parents

          identified a foreign place of birth on the Birth Certificate Worksheet in 2023 (7,380 births)

          and in 2024 (7,704 births).

       19. If approximately 7,400 fewer SSNs were issued through the EAB process due to the

          revocation of birthright citizenship, this would result in an annual loss of EAB funding to the

          Connecticut Department of Public Health of approximately $35,668.



       I declare under penalty of perjury that the foregoing is true and correct to the best of my

       knowledge.



       Executed this ____ day of January, 2025, in _____________________.



                                                             _______________________________

                                                             Yvette Gauthier, State Registrar of Vital

                                                             Records

                                                             Connecticut Department of Public

                                                             Health/Office of Vital Records




                                                                                                          5

                                                                                                     PA184
Case: 25-1170   Document: 00118255171          Page: 219       Date Filed: 03/04/2025        Entry ID: 6704290
 01/24/2025     71 District Judge Leo T. Sorokin: ELECTRONIC ORDER entered.

                    After review of the response to the Order to Show Cause filed by the Plaintiffs, Doc. No.
                    59, the Court discharges the Order and determines that the two cases at issue are related
                    within the meaning of Local Rule 40.1(g) for the reasons expressed in the filing. Most
                    significantly, the Court notes: (1) though the Complaint and Motion filed by the Plaintiffs
                    in this case involve a broader range of factual issues, they do also involve the same
                    factual issues raised by the Doe Complaint and Motion; (2) random reassignment of this
                    case poses a risk of different determinations as to the same factual issues, as well as a
                    possible risk that Defendants might become subject to conflicting court orders regarding
                    their treatment of Ms. Doe and members of the organizations that are also plaintiffs in the
                    Doe case; and (3) counsel representing all Defendants in both cases “do not oppose
                    continuing to treat the cases as related,” Doc. No. 59 at 1 n.1. In addition, the Court
                    ADOPTS the jointly proposed briefing deadlines, Doc. No. 60 at 1, and schedules a
                    hearing on the Plaintiffs’ motion for preliminary injunction (Doc. No. 3) for February 7,
                    2025, at 10:00 AM, along with the previously scheduled hearing on the motion for
                    preliminary injunctive relief in Doe.( Motion Hearing set for 2/7/2025 10:00 AM in
                    Courtroom 13 (In person only) before District Judge Leo T. Sorokin.)(SED) (Entered:
                    01/24/2025)
 01/24/2025     72 NOTICE of Appearance by Marissa Malouff on behalf of State of California (Malouff,
                   Marissa) (Entered: 01/24/2025)
 01/27/2025     73 NOTICE of Appearance by John C. Keller on behalf of State of Minnesota (Keller, John)
                   (Entered: 01/27/2025)
 01/27/2025     74 NOTICE of Appearance by Shefali Saxena on behalf of State of New Jersey (Saxena,
                   Shefali) (Additional attachment(s) added on 1/28/2025: # 1 Certficate of Service) (FGD).
                   (Entered: 01/27/2025)
 01/27/2025     75 NOTICE of Appearance by Elizabeth R. Walsh on behalf of State of New Jersey (Walsh,
                   Elizabeth) (Additional attachment(s) added on 1/28/2025: # 1 Certficate of Service)
                   (FGD). (Main Document 75 replaced on 1/28/2025, with corrected information per
                   counsel's request.) (FGD) (Entered: 01/27/2025)
 01/27/2025     76 NOTICE of Appearance by William M. Tong on behalf of State of Connecticut (Tong,
                   William) (Entered: 01/27/2025)
 01/27/2025     77 NOTICE of Appearance by Janelle Medeiros on behalf of State of Connecticut
                   (Medeiros, Janelle) (Entered: 01/27/2025)
 01/27/2025     78 NOTICE of Appearance by Yuri Fuchs on behalf of Donald J. Trump, U.S. Department of
                   State, Marco Rubio, U.S. Department of Homeland Security, Benjamine Huffman, U.S.
                   Department of Health and Human Services, Dorothy Fink, U.S. Social Security
                   Administration, Michelle King, United States of America (Fuchs, Yuri) (Entered:
                   01/27/2025)
 01/27/2025     79 MOTION for Leave to Appear Pro Hac Vice for admission of Heidi Parry Stern Filing
                   fee: $ 125, receipt number AMADC-10808133 by State of Nevada. (Attachments: # 1
                   Heidi Parry Stern Certification)(Cedrone, Gerard) (Entered: 01/27/2025)
 01/27/2025     80 NOTICE of Appearance by Kalikoonalani Diara Fernandes on behalf of State of Hawaii
                   (Fernandes, Kalikoonalani) (Entered: 01/27/2025)
 01/28/2025     81 District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 79 Motion for
                   Leave to Appear Pro Hac Vice Added Heidi Parry Stern.


                                                                                               PA185
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 220
                                                92              Date 01/31/25
                                                                Filed Filed: 03/04/2025
                                                                                  Page 1 ofEntry
                                                                                           52 ID: 6704290




                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS


        O. DOE, et al.,

                               Plaintiffs,

                v.                                            Case No. 1:25-cv-10135-LTS

        DONALD J. TRUMP, in his official
        capacity as President of the United States, et
        al.,

                               Defendants.



        STATE OF NEW JERSEY, et al.,

                               Plaintiffs,

                v.                                            Case No. 1:25-cv-10139-LTS

        DONALD J. TRUMP, in his official
        capacity as President of the United States, et
        al.,

                               Defendants.


           DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
                      MOTIONS FOR PRELIMINARY INJUNCTION

              Pursuant to the Court’s January 24, 2025 Order (ECF No. 71, New Jersey, et al v. Donald

       J. Trump, et al,, No. 1:25-cv-10139-LTS), Defendants submit this consolidated memorandum in

       opposition to the motions for preliminary injunction filed in the two above-referenced cases.




                                                                                                PA186
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 221
                                                92                                         Date 01/31/25
                                                                                           Filed Filed: 03/04/2025
                                                                                                             Page 2 ofEntry
                                                                                                                      52 ID: 6704290




                                                          TABLE OF CONTENTS

       INTRODUCTION .......................................................................................................................... 1

       BACKGROUND ............................................................................................................................ 3

       I.        The Executive Order ........................................................................................................... 3

       II.       This Litigation..................................................................................................................... 5

       STANDARD OF REVIEW ............................................................................................................ 6

       ARGUMENT .................................................................................................................................. 7

       I.        The State Plaintiffs Lack Standing. .................................................................................... 7

       II.       Plaintiffs Lack A Valid Cause of Action. ......................................................................... 11

                 A.         Plaintiffs’ APA Claims Fail. ................................................................................. 11

                 B.         Plaintiffs Lack a Cause of Action to Assert Their Constitutional and INA
                            Claims. .................................................................................................................. 13

       III.      Plaintiffs Are Not Likely To Succeed On the Merits. ...................................................... 14

                 A.         The Term “Jurisdiction” in the Citizenship Clause Does Not Refer to
                            Regulatory Power.................................................................................................. 15

                 B.         Children Born of Unlawfully Present Aliens or Lawful But Temporary
                            Visitors Fall Outside the Citizenship Clause. ....................................................... 19

                 C.         Applicable Interpretive Principles Support the Government’s Reading of
                            the Citizenship Clause........................................................................................... 27

                 D.         Plaintiffs’ Contrary Arguments Are Unpersuasive. .............................................. 30

       IV.       Plaintiffs Will Not Suffer Irreparable Harm During the Pendency of This Lawsuit. ....... 35

       V.        The Public Interest Does Not Favor an Injunction. .......................................................... 38

       VI.       Any Relief Should Be Limited. ........................................................................................ 38

       CONCLUSION ............................................................................................................................. 40




                                                                              i

                                                                                                                                            PA187
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 222
                                                92                                      Date 01/31/25
                                                                                        Filed Filed: 03/04/2025
                                                                                                          Page 3 ofEntry
                                                                                                                   52 ID: 6704290




                                                      TABLE OF AUTHORITIES

       Cases

       Abuhajeb v. Pompeo,
         531 F. Supp. 3d 447 (D. Mass. 2021) ....................................................................................... 13

       Afroyim v. Rusk,
         387 U.S. 253 (1967) .................................................................................................................. 35

       Alexander v. Sandoval,
         532 U.S. 275 (2001) .................................................................................................................. 14

       Alsaidi v. U.S. Dep’t of State,
         292 F. Supp. 3d 320 (D.D.C. 2018) .......................................................................................... 13

       Arcam Pharm. Corp. v. Faria,
         513 F.3d 1 (1st Cir. 2007) ......................................................................................................... 33

       Arizona v. Biden,
         40 F.4th 375 (6th Cir. 2022).............................................................................................. 8, 9, 39

       Arizona v. United States,
         567 U.S. 387 (2012) .................................................................................................................. 38

       Benny v. O’Brien,
         32 A. 696 (N.J. 1895) .......................................................................................................... 25, 26

       Berenyi v. Dist. Dir., INS,
         385 U.S. 630 (1967) .................................................................................................................. 30

       Boston Parent Coal. for Acad. Excellence Corp. v. Sch. Comm. of Bos.,
         996 F.3d 37 (1st Cir. 2021) ....................................................................................................... 37

       Cambranis v. Blinken,
         994 F.3d 457 (5th Cir. 2021) ..................................................................................................... 12

       Cap. Area Immigrants’ Rts. Coal. v. Trump,
         471 F. Supp. 3d 25 (D.D.C. 2020) ............................................................................................ 37

       Carlisle v. United States,
        83 U.S. (16 Wall.) 147 (1872) ................................................................................................... 20

       Charlesbank Equity Fund II v. Blinds To Go, Inc.,
         370 F.3d 151 (1st Cir. 2004) ..................................................................................................... 37

       Cherokee Nation v. Georgia,
         30 U.S. (5 Pet.) 1 (1831) ........................................................................................................... 21

                                                                           ii

                                                                                                                                      PA188
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 223
                                                92                                      Date 01/31/25
                                                                                        Filed Filed: 03/04/2025
                                                                                                          Page 4 ofEntry
                                                                                                                   52 ID: 6704290




       Chin Bak Kan v. United States,
        186 U.S. 193 (1902) .................................................................................................................. 32

       Clapper v. Amnesty Int’l USA,
         568 U.S. 398 (2013) .................................................................................................................... 9

       DeVillier v. Texas,
        601 U.S. 285 (2024) .................................................................................................................. 13

       District of Columbia v. Heller,
         554 U.S. 570 (2008) .................................................................................................................. 35

       Doe #1 v. Trump,
        957 F.3d 1050 (9th Cir. 2020) ................................................................................................... 38

       E. Bay Sanctuary Covenant v. Biden,
         102 F.4th 996 (9th Cir. 2024)...................................................................................................... 8

       Elk Run Coal Co. v. U.S. Dep’t of Labor,
         804 F. Supp. 2d 8 (D.D.C. 2011) .............................................................................................. 11

       Elk v. Wilkins,
         112 U.S. 94 (1884) ............................................................................................................. passim

       Elkins v. Moreno,
         435 U.S. 647 (1978) .................................................................................................................. 20

       FDA v. All. for Hippocratic Med.,
        602 U.S. 367 (2024) .................................................................................................................... 9

       Franchise Tax Bd. of Cal. v. Hyatt,
         587 U.S. 230 (2019) .................................................................................................................. 22

       Franklin v. Massachusetts,
         505 U.S. 788 (1992) ............................................................................................................ 11, 39

       Garcia v. Vilsack,
        563 F.3d 519 (D.C. Cir. 2009) .................................................................................................. 12

       Gen. Bldg. Contractors Ass’n, Inc. v. Pennsylvania,
        458 U.S. 375 (1982) .................................................................................................................. 17

       Gill v. Whitford,
         585 U.S. 48 (2018) .................................................................................................................... 39

       Haaland v. Brackeen,
        599 U.S. 255 (2023) ................................................................................................ 10, 11, 16, 21



                                                                           iii

                                                                                                                                       PA189
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 224
                                                92                                      Date 01/31/25
                                                                                        Filed Filed: 03/04/2025
                                                                                                          Page 5 ofEntry
                                                                                                                   52 ID: 6704290




       Harisiades v. Shaughnessy,
        342 U.S. 580 (1952) .................................................................................................................. 27

       Inglis v. Trs. of Sailor’s Snug Harbor,
         28 U.S. (3 Pet.) 99 (1830) ................................................................................................... 22, 31

       INS v. Chadha,
         462 U.S. 919 (1983) .................................................................................................................. 35

       INS v. Legalization Assistance Project,
         510 U.S. 1301 (1993) ................................................................................................................ 38

       Kaiser v. Blue Cross of Cal.,
         347 F.3d 1107 (9th Cir. 2003) ................................................................................................... 36

       Kawakita v. United States,
         343 U.S. 717 (1952) .................................................................................................................. 29

       Kowalski v. Tesmer,
         543 U.S. 125 (2004) .................................................................................................................. 10

       Kwock Jan Fat v. White,
        253 U.S. 454 (1920) .................................................................................................................. 32

       Lac du Flambeau Band of Lake Superior Chippewa Indians v. Coughlin,
         599 U.S. 382 (2023) .................................................................................................................. 21

       Lamar v. Micou,
         112 U.S. 452 (1884) .................................................................................................................. 20

       Liu v. SEC,
         591 U.S. 71 (2020) .................................................................................................................... 28

       Lone Wolf v. Hitchcock,
         187 U.S. 553 (1903) .................................................................................................................. 16

       Madsen v. Women’s Health Ctr., Inc.,
        512 U.S. 753 (1994) .................................................................................................................. 38

       Marbury v. Madison,
        5 U.S. (1 Cranch) 137 (1803) .................................................................................................... 16

       Martinez v. Bynum,
        461 U.S. 321 (1983) .................................................................................................................. 20

       Maryland v. King,
        567 U.S. 1301 (2012) ................................................................................................................ 38



                                                                           iv

                                                                                                                                       PA190
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 225
                                                92                                      Date 01/31/25
                                                                                        Filed Filed: 03/04/2025
                                                                                                          Page 6 ofEntry
                                                                                                                   52 ID: 6704290




       Massachusetts v. Mellon,
        262 U.S. 447 (1923) .................................................................................................................. 10

       Mazurek v. Armstrong,
        520 U.S. 968 (1997) .................................................................................................................... 6

       McDonald v. City of Chicago,
        561 U.S. 742 (2010) .................................................................................................................. 17

       Metro. Stevedore Co. v. Rambo,
        515 U.S. 291 (1995) .................................................................................................................... 3

       Miller v. Albright,
        523 U.S. 420 (1998) .................................................................................................................. 30

       Minor v. Happersett,
        88 U.S. 162 (1874) .................................................................................................................... 19

       Mississippi Band of Choctaw Indians v. Holyfield,
        490 U.S. 30 (1989) .................................................................................................................... 20

       Mississippi v. Johnson,
        71 U.S. 475 (1866) .................................................................................................................... 39

       Murthy v. Missouri,
        603 U.S. 43 (2024) .................................................................................................................... 10

       NACM-New England, Inc. v. Nat’l Ass’n of Credit Mgmt., Inc.,
        927 F.3d 1 (1st Cir. 2019) ......................................................................................................... 36

       Newdow v. Roberts,
         603 F.3d 1002 (D.C. Cir. 2010) ................................................................................................ 39

       Nishimura Ekiu v. United States,
         142 U.S. 651 (1892) .................................................................................................................. 28

       Nken v. Holder,
         556 U.S. 418 (2009) .................................................................................................................. 38

       NYSRPA v. Bruen,
        597 U.S. 1 (2022) ................................................................................................................ 34, 35

       Oceanic Navigation Co. v. Stranahan,
        214 U.S. 320 (1909) .................................................................................................................. 28

       Oklahoma v. Castro-Huerta,
        597 U.S. 629 (2022) .................................................................................................................. 35



                                                                           v

                                                                                                                                      PA191
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 226
                                                92                                       Date 01/31/25
                                                                                         Filed Filed: 03/04/2025
                                                                                                           Page 7 ofEntry
                                                                                                                    52 ID: 6704290




       Ortega-Morales v. Lynch,
         168 F. Supp. 3d 1228 (D. Ariz. 2016) ....................................................................................... 13

       Pennsylvania v. New Jersey,
         426 U.S. 660 (1976) .................................................................................................................... 9

       Pizarro,
         15 U.S. (2 Wheat.) 227 (1817) .................................................................................................. 20

       Plyler v. Doe,
         457 U.S. 202 (1982) .................................................................................................................. 33

       Richards v. Sec’y of State,
         752 F.2d 1413 (9th Cir. 1985) ................................................................................................... 12

       Robertson v. Cease,
         97 U.S. 646 (1878) .................................................................................................................... 18

       Rogers v. Bellei,
         401 U.S. 815 (1971) .................................................................................................................. 29

       Savorgnan v. United States,
         338 U.S. 491 (1950) .................................................................................................................. 29

       Schooner Exchange v. McFaddon,
         11 U.S. (7 Cranch) 116 (1812) ............................................................................................ 16, 17

       Sierra Club v. Larson,
         769 F. Supp. 420 (D. Mass. 1991) ............................................................................................ 36

       South Carolina v. Katzenbach,
         383 U.S. 301 (1966) .................................................................................................................. 10

       The Slaughterhouse Cases,
         83 U.S. 36 (1873) ...................................................................................................................... 24

       Town of Milton v. FAA,
         87 F.4th 91 (1st Cir. 2023) ........................................................................................................ 10

       TransUnion LLC v. Ramirez,
         594 U.S. 413 (2021) .................................................................................................................... 7

       Trump v. Hawaii,
         585 U.S. 667 (2018) .................................................................................................................. 27

       U.S. Army Corps of Eng’rs v. Hawkes Co.,
         578 U.S. 590 (2016) .................................................................................................................. 12



                                                                            vi

                                                                                                                                        PA192
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 227
                                                92                                         Date 01/31/25
                                                                                           Filed Filed: 03/04/2025
                                                                                                             Page 8 ofEntry
                                                                                                                      52 ID: 6704290




       United States v. Antelope,
        430 U.S. 641 (1977) .................................................................................................................. 34

       United States v. Holliday,
        70 U.S. (3 Wall.) 407 (1866) ..................................................................................................... 16

       United States v. Kagama,
        118 U.S. 375 (1886) .................................................................................................................. 16

       United States v. Manzi,
        276 U.S. 463 (1928) .................................................................................................................. 30

       United States v. Rahimi,
        602 U.S. 680 (2024) ............................................................................................................ 34, 39

       United States v. Texas,
        599 U.S. 670 (2023) ................................................................................................................ 2, 7

       United States v. Wong Kim Ark,
        169 U.S. 649 (1898) ........................................................................................................... passim

       Vance v. Terrazas,
         444 U.S. 252 (1980) .................................................................................................................. 12

       Verlinden BV v. Central Bank of Nigeria,
         461 U.S. 480 (1983) .................................................................................................................. 16

       Warth v. Seldin,
        422 U.S. 490 (1975) .............................................................................................................. 9, 10

       Wilkins v. United States,
        598 U.S. 152 (2023) .................................................................................................................. 15

       Winter v. Nat. Res. Def. Council,
        555 U.S. 7 (2008) ........................................................................................................................ 6

       Winton v. Amos,
        255 U.S. 373 (1921) .................................................................................................................. 15

       Constitution

       U.S. Const. Art. I, § 8, Cl. 4.......................................................................................................... 28

       U.S. Const. amend. XIV, § 1 ................................................................................................. passim

       Statutes

       5 U.S.C. § 704 ............................................................................................................................... 11


                                                                             vii

                                                                                                                                            PA193
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 228
                                                92                                         Date 01/31/25
                                                                                           Filed Filed: 03/04/2025
                                                                                                             Page 9 ofEntry
                                                                                                                      52 ID: 6704290




       8 U.S.C. § 1185(d)(5)(C) .............................................................................................................. 14

       8 U.S.C. § 1225(b)(3) ................................................................................................................... 14

       8 U.S.C. § 1226(f) ......................................................................................................................... 14

       8 U.S.C. § 1231(a)(2)(B) .............................................................................................................. 14

       8 U.S.C. § 1252(b)(5) ............................................................................................................. 12, 37

       8 U.S.C. § 1253(e) ........................................................................................................................ 14

       8 U.S.C. § 1401(a) ............................................................................................................ 14, 15, 30

       8 U.S.C. § 1503 ....................................................................................................................... 12, 37

       28 U.S.C. § 2201 ........................................................................................................................... 12

       Civil Rights Act of 1866,
         14 Stat. 27............................................................................................................................ 17, 23

       Laken Riley Act,
         Pub. L. No. 119-1, 139 Stat. 3 (2025) .................................................................................. 13-14

       Nationality Act of 1940,
        ch. 876, § 201(a), 54 Stat. 1137 ................................................................................................ 17

       Naturalization Act of 1790,
        ch. 3, 1 Stat. 103 ........................................................................................................................ 30

       Rules

       Fed. R. Civ. P. 54(b)(2)................................................................................................................. 40

       Fed. R. Civ. P. 65(a)(2) ................................................................................................................. 40

       Legislative Materials

       2 Cong. Rec. 3279 (1874) ............................................................................................................. 26

       Cong. Globe, 39th Cong., 1st Sess. 572 (1866) ............................................................................ 18

       Cong. Globe, 39th Cong., 1st Sess. 1117 (1866) .......................................................................... 23

       Cong. Globe, 39th Cong., 1st Sess. 1262 (1866) .......................................................................... 18

       Cong. Globe, 39th Cong., 1st Sess. 2768 (1866) .......................................................................... 24

       Cong. Globe, 39th Cong., 1st Sess. 2769 (1866) .......................................................................... 24

                                                                            viii

                                                                                                                                           PA194
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 229
                                                92                                         Date01/31/25
                                                                                          Filed Filed: 03/04/2025
                                                                                                           Page 10 ofEntry
                                                                                                                      52 ID: 6704290




       Cong. Globe, 39th Cong., 1st Sess. 2890 (1866) .......................................................................... 24

       Cong. Globe, 39th Cong., 1st Sess. 2893 (1866) .......................................................................... 18

       Cong. Globe, 39th Cong., 1st Sess. 2894 (1866) .......................................................................... 18

       Cong. Globe, 40th Cong., 2nd Sess. 868 (1868)........................................................................... 34

       Cong. Globe, 40th Cong., 2nd Sess. 967 (1868)........................................................................... 34

       Cong. Globe, 40th Cong., 2nd Sess. 1130-31 (1868) ................................................................... 34

       Administrative & Executive Materials

       Exec. Order No. 14159, Protecting the American People Against Invasion (Jan. 20, 2025) ... 3, 27

       Exec. Order No. 14160, Protecting the Meaning and Value of American Citizenship (Jan. 20,
         2025).............................................................................................................................. 1, 4, 5, 36

       Exec. Order No. 14165, Securing Our Borders (Jan. 20, 2025) ..................................................... 3

       Proclamation No. 10866, Declaring a National Emergency at the Southern Border of the United
         States (Jan. 20, 2025) ................................................................................................................... 3

       Other Authorities

       2 A Digest of the International Law of the United States (Francis Wharton ed., 2d. ed. 1887)
         (Wharton’s Digest) ........................................................................................................ 25, 26, 27

       2 James Kent, Commentaries on American Law (6th ed. 1848) ................................................... 22

       Alexander Porter Morse, A Treatise on Citizenship 248 (1881) ................................................... 25

       Amy Swearer, Heritage Found., Legal Memorandum No. 250, The Political Case for Confining
        Birthright Citizenship to Its Original Meaning at 8-11 (2019) ................................................... 4

       Boyd Winchester, Citizenship in its International Relation,
         31 Am. L. Rev. 504 (1897) ....................................................................................................... 25

       Emmerich de Vattel, The Law of Nations (London, printed for G.G. and J. Robinson,
        Paternoster-Row, 1797 ed.) ................................................................................................. 22, 29

       Hannis Taylor, A Treatise on International Public Law (1901) ................................................... 33

       Henry Brannon, A Treatise on the Rights and Privileges Guaranteed by the Fourteenth
        Amendment to the Constitution of the United States (1901) ..................................................... 33

       Henry Campbell Black, Handbook of American Constitutional Law (1895) ............................... 25


                                                                              ix

                                                                                                                                            PA195
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 230
                                                92                                   Date01/31/25
                                                                                    Filed Filed: 03/04/2025
                                                                                                     Page 11 ofEntry
                                                                                                                52 ID: 6704290




       John Westlake, International Law (1904) ............................................................................... 32-33

       Joseph Story, Commentaries on the Conflict of Laws (1834)....................................................... 23

       Justin Lollman, Note, The Significance of Parental Domicile Under the Citizenship Clause,
         101 Va. L. Rev. 455 (2015) ....................................................................................................... 26

       Letter from Sen. Lyman Trumbull to President Andrew Johnson, (in Andrew Johnson Papers,
         Reel 45, Manuscript Div., Library of Congress) ....................................................................... 23

       M.A. Lesser, Citizenship and Franchise,
        4 Colum. L. Times 145 (1891) ............................................................................................ 18, 25

       Mark Shawhan, Comment, The Significance of Domicile in Lyman Trumbull’s Conception of
        Citizenship,
        119 Yale L. J. 1351 (2010) .................................................................................................. 23, 24

       Robert E. Mensel, Jurisdiction in Nineteenth Century International Law and Its Meaning in the
         Citizenship Clause of the Fourteenth Amendment,
        32 St. Louis U. L. Rev. 329 (2012) ........................................................................................... 29

       Samuel F. Miller, Lectures on the Constitution of the United States at 279 (1891) ..................... 25

       Spanish Treaty Claims Comm’n, U.S. Dep’t of Justice, Final Report of William Wallace Brown,
         Assistant Attorney General (1910) ............................................................................................ 32

       The Significance of Parental Domicile Under the Citizenship Clause,
         101 Va. L. Rev. 455 (2015) ....................................................................................................... 26

       William Edward Hall, A Treatise on International Law (4th ed. 1895) ................................. 21, 25




                                                                         x

                                                                                                                                  PA196
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 231
                                                92                  Date01/31/25
                                                                   Filed Filed: 03/04/2025
                                                                                    Page 12 ofEntry
                                                                                               52 ID: 6704290




                                                INTRODUCTION

               The Citizenship Clause of the Fourteenth Amendment provides that “[a]ll persons born or

       naturalized in the United States, and subject to the jurisdiction thereof, are citizens of the United

       States and of the State wherein they reside.” U.S. Const. amend. XIV, § 1. On January 20, 2025,

       President Donald J. Trump issued an Executive Order addressing what it means to be “subject to

       the jurisdiction” of the United States. See Exec. Order No. 14160, Protecting the Meaning and

       Value of American Citizenship (Citizenship EO or EO). That EO recognizes that the Constitution

       does not grant birthright citizenship to the children of aliens who are unlawfully present in the

       United States or the children of aliens whose presence is lawful but temporary.                Prior

       misimpressions of the Citizenship Clause have created a perverse incentive for illegal immigration

       that has negatively impacted this country’s sovereignty, national security, and economic stability.

       But the generation that enacted the Fourteenth Amendment did not fate the United States to such

       a reality.   Instead, text, history, and precedent support what common sense compels: the

       Constitution does not harbor a windfall clause granting American citizenship to, inter alia, the

       children of those who have circumvented (or outright defied) federal immigration laws.

               The Plaintiffs—in one case, a group of states and other governmental entities, and in the

       other, an individual and two membership organizations—filed suit within hours of the EO’s

       issuance. But their dramatic assertions about the supposed illegality of the EO cannot substitute

       for a showing that Plaintiffs are entitled to extraordinary emergency relief. And as to each factor

       of that analysis, Plaintiffs have failed to carry their burden.

               To start, the states lack standing. While they largely concede that the EO does not operate

       directly upon them, they nonetheless complain that the EO will force them to spend more money

       on public benefits. But that is the exact sort of incidental expenditure the Supreme Court has held



                                                          1

                                                                                                   PA197
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 232
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 13 ofEntry
                                                                                             52 ID: 6704290




       insufficient. Indeed, just two years ago, the Supreme Court rejected Texas’s argument for standing

       based on expenditures on public programs in response to a federal policy that increased the number

       of illegal aliens in the state. See United States v. Texas, 599 U.S. 670 (2023). Similarly, the states

       here cannot satisfy Article III by claiming that they will choose to spend more money on public

       programs in response to a federal policy that will result in more individuals in their states being

       classified as illegal aliens. Moreover, all Plaintiffs lack a cause of action—they cannot proceed

       under the Administrative Procedure Act (APA), nor can they bring these suits under the

       Citizenship Clause or the Immigration and Nationality Act (INA).

              Plaintiffs are also unlikely to succeed on the merits. As was apparent from the time of its

       enactment, the Citizenship Clause’s use of the phrase “subject to the jurisdiction” of the United

       States contemplates something more than being subject to this country’s regulatory power. It

       conveys that persons must be “completely subject to [the] political jurisdiction” of the United

       States, i.e., that they have a “direct and immediate allegiance” to this country, unqualified by an

       allegiance to any other foreign power. Elk v. Wilkins, 112 U.S. 94, 102 (1884). Just as that does

       not hold for diplomats or occupying enemies, it similarly does not hold for foreigners admitted

       temporarily or individuals here illegally. “[N]o one can become a citizen of a nation without its

       consent.” Id. at 103. And if the United States has not consented to someone’s enduring presence,

       it follows that it has not consented to making citizens of that person’s children.

              Although Plaintiffs contend that the Citizenship EO upends well-settled law, it is their

       maximalist reading which runs headlong into existing law. Not only is it inconsistent with the

       Supreme Court’s holding in Elk that the children of Tribal Indians did not fall within the

       Citizenship Clause, even though they were subject to the regulatory power of the United States,

       id. at 101-02, but it would render the Civil Rights Act of 1866 (which defined citizenship to cover



                                                         2

                                                                                                    PA198
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 233
                                                92               Date01/31/25
                                                                Filed Filed: 03/04/2025
                                                                                 Page 14 ofEntry
                                                                                            52 ID: 6704290




       those born in the United States, not “subject to any foreign power”) unconstitutional just two years

       after it was passed. But the Citizenship Clause was an effort to constitutionalize the Civil Rights

       Act. Plaintiffs also rely heavily on the Supreme Court’s decision in United States v. Wong Kim

       Ark, 169 U.S. 649 (1898). The Court, however, was careful to cabin its actual holding to the

       children of those with a “permanent domicile and residence in the United States,” id. at 652-53,

       and “[b]reath spent repeating dicta does not infuse it with life.” Metro. Stevedore Co. v. Rambo,

       515 U.S. 291, 300 (1995). The Court in Wong Kim Ark did not suggest that it was overturning Elk

       or jeopardizing the 1866 Civil Rights Act, and reading that decision to leave open the question

       presented here is consistent with contemporary accounts, prior practices of the political branches,

       and Supreme Court decisions in the years following Wong Kim Ark.

              Finally, the balance of the equities does not favor injunctive relief. The Court should deny

       the pending preliminary injunction motions in both cases.

                                               BACKGROUND

       I.     The Executive Order

              The Citizenship EO is an integral part of President Trump’s broader effort to repair the

       United States’ immigration system and to address the ongoing crisis at the southern border. See,

       e.g., Exec. Order No. 14165, Securing Our Borders (Jan. 20, 2025); Proclamation No. 10866,

       Declaring a National Emergency at the Southern Border of the United States (Jan. 20, 2025); Exec.

       Order No. 14159, Protecting the American People Against Invasion (Jan. 20, 2025) (Invasion EO).

       As the President has recognized, individuals unlawfully in this country “present significant threats

       to national security and public safety,” Invasion EO § 1, and the severity of these problems

       warrants a full panoply of immigration measures. Some of these threats are related to the United

       States’ prior, erroneous policy of recognizing near-universal birthright citizenship. For instance,



                                                        3

                                                                                                  PA199
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 234
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 15 ofEntry
                                                                                             52 ID: 6704290




       “the nation’s current policy of universally granting birthright citizenship to individuals who lack

       any meaningful ties to the United States provides substantial opportunities for abuse by motivated

       enemies.” Amy Swearer, Heritage Found., Legal Memorandum No. 250, The Political Case for

       Confining Birthright Citizenship to Its Original Meaning at 8-11 (2019).

              The Citizenship EO seeks to correct the Executive Branch’s prior misreading of the

       Citizenship Clause. It recognizes that the Constitution and the INA provide for citizenship for all

       persons who are born in the United States and subject to the jurisdiction thereof, and identifies two

       circumstances in which a person born in the United States is not automatically extended the

       privilege of United States citizenship:

              (1) when that person’s mother was unlawfully present in the United States and the
              father was not a United States citizen or lawful permanent resident at the time of
              said person’s birth, or (2) when that person’s mother’s presence in the United States
              at the time of said person’s birth was lawful but temporary (such as, but not limited
              to, visiting the United States under the auspices of the Visa Waiver Program or
              visiting on a student, work, or tourist visa) and the father was not a United States
              citizen or lawful permanent resident at the time of said person’s birth.

               Citizenship EO § 1.

              Section 2(a) of the EO directs the Executive Branch (1) not to issue documents recognizing

       U.S. citizenship to persons born in the United States under the conditions described in section 1,

       and (2) not to accept documents issued by state, local, or other governments purporting to

       recognize the U.S. citizenship of such persons. The EO specifies, however, that those directives

       “apply only to persons who are born within the United States after 30 days from the date of this

       order,” or February 19. Citizenship EO § 2(b). The Citizenship EO makes clear that its provisions

       do not “affect the entitlement of other individuals, including children of lawful permanent

       residents, to obtain documentation of their United States citizenship.” Id. § 2(c).

              As for enforcement, the EO directs the Secretary of State, the Attorney General, the

       Secretary of Homeland Security, and the Commissioner of Social Security to take “all appropriate
                                                        4

                                                                                                   PA200
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 235
                                                92               Date01/31/25
                                                                Filed Filed: 03/04/2025
                                                                                 Page 16 ofEntry
                                                                                            52 ID: 6704290




       measures to ensure that the regulations and policies of their respective departments and agencies

       are consistent with this order,” and not to “act, or forbear from acting, in any manner inconsistent

       with this order.” Id. § 3(a). It further directs the heads of all federal agencies to issue public

       guidance within 30 days (by February 19) “regarding this order’s implementation with respect to

       their operations and activities.” Id. § 3(b).

       II.    This Litigation

              On January 20, 2025, the same day the EO issued, Lawyers for Civil Rights initiated a

       lawsuit on behalf of one individual (O. Doe, an expectant mother with Temporary Protected Status)

       and two membership organizations (the Brazilian Worker Center and La Colaborativa) (the private

       plaintiffs or Doe plaintiffs). See Compl. ¶¶ 13-15, Doe, et al. v. Trump, et al., No. 1:25-cv-10135

       (“Doe”), ECF No. 1. Both organizations allege that they have “numerous” members who “are

       undocumented or in the United States on temporary statuses and who are either pregnant or plan

       to grow their families in the future.” Id. ¶¶ 14-15. The complaint asserts claims under the

       Citizenship Clause (Count I), the Equal Protection Clause (Count II), and the INA (Count III). It

       also asserts an APA claim challenging “arbitrary and capricious” agency actions (Count IV) and a

       claim pursuant to the Declaratory Judgment Act (Count V). The Doe plaintiffs moved for a

       preliminary injunction on January 23, see Mem. in Supp. of Pls.’ Mot. for Prelim. Inj., Doe ECF

       No. 11 (“Doe Mem.”), which is expressly limited to “their claims under the Citizenship Clause, 8

       U.S.C. § 1401, and the APA” (Counts I, III, and IV). Id. at 2 n.2.

              On January 21, 2025, 18 states (plus the District of Columbia and the City and County of

       San Francisco) (the state plaintiffs or the states), also filed suit against the EO. See Compl., New




                                                        5

                                                                                                  PA201
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 236
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 17 ofEntry
                                                                                             52 ID: 6704290




       Jersey, et al. v. Trump, et al., No. 1:25-cv-10139, ECF No. 1. 1 Claiming harm to “their residents,”

       id. ¶ 4, and the loss of federal reimbursement for services the states voluntarily choose to provide,

       id. ¶ 5, the states assert claims via the Citizenship Clause (Count 1), the separation of powers

       (Count 2), the INA (Count 3), and the APA, to the extent the EO “directs federal agencies . . . to

       take actions that are contrary to the constitution and federal statutes,” id. (Count 4, ¶ 16). The

       states moved for a preliminary injunction the same day. See Mem. in Supp. of Pls.’ Mot. for

       Prelim. Inj., New Jersey ECF No. 5 (“New Jersey Mem.”). On January 24, the Court entered an

       order relating the Doe and New Jersey cases, setting a hearing for both cases on February 7, and

       authorizing Defendants to file this consolidated brief opposing both motions. New Jersey ECF

       No. 71.

                                           STANDARD OF REVIEW

                 A preliminary injunction is “an extraordinary and drastic remedy, one that should not be

       granted unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v.

       Armstrong, 520 U.S. 968, 972 (1997) (citation omitted). “A plaintiff seeking a preliminary

       injunction must establish that he is likely to succeed on the merits, that he is likely to suffer

       irreparable harm in the absence of preliminary relief, that the balance of equities tips in his favor,

       and that the injunction is in the public interest.” Winter v. Nat. Res. Def. Council, 555 U.S. 7, 20

       (2008).




                 1
                  The Citizenship EO has been challenged in several other lawsuits. On January 23, a
       district judge in the Western District of Washington issued a temporary restraining order “fully”
       enjoining the Defendants in that case “and all their respective officers, agents, servants, employees,
       and attorneys,” from enforcing or implementing Section 2(a), Section 3(a), or Section 3(b) of the
       Citizenship EO. See TRO, Washington v. Trump, No. 2:25-cv-00127-JCC (Jan. 23, 2025), ECF
       No. 43. That TRO remains in effect “pending further orders from th[e] Court,” id., and the court
       has scheduled a preliminary injunction hearing for February 6. See Washington, ECF No. 44.
                                                         6

                                                                                                    PA202
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 237
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 18 ofEntry
                                                                                             52 ID: 6704290




                                                  ARGUMENT

       I.     The State Plaintiffs Lack Standing.

              The state plaintiffs’ preliminary injunction motion should be denied at the outset because

       the states have not established that they are likely to meet Article III standing requirements. First,

       the direct harms that they allege to have suffered as states are insufficient to confer Article III

       standing. And second, the state plaintiffs lack third-party standing to assert Citizenship Clause

       claims on behalf of their residents.

              1.      To establish Article III standing, the states must show that they have suffered a

       judicially cognizable injury that is fairly traceable to the defendant and likely redressable by

       judicial relief. See TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021). The states attempt to

       satisfy that requirement primarily by asserting incidental “proprietary harms” and “fiscal injuries.”

       New Jersey Mem. at 8. Those harms—which boil down to the contention that states will have to

       “assume a greater fiscal responsibility for providing critical services and assistance” to residents

       who are classified as aliens under the EO, id. at 4—do not satisfy Article III.

              As an initial matter, the Supreme Court rejected those types of incidental economic harms

       as a basis for standing in United States v. Texas. There, Texas and Louisiana challenged federal

       actions that, in their view, increased the number of noncitizens in their states, which imposed

       various costs on the states (e.g., costs from continuing to “supply social services . . . to

       noncitizens”). See Texas, 599 U.S. at 674. Those costs were insufficient for standing:

              [I]n our system of dual federal and state sovereignty, federal policies frequently
              generate indirect effects on state revenues or state spending. And when a State
              asserts, for example, that a federal law has produced only those kinds of indirect
              effects, the State’s claim for standing can become more attenuated. In short, none
              of the various theories of standing asserted by the States in this case overcomes the
              fundamental Article III problem with this lawsuit.

       Id. at 680 n.3 (citations omitted).


                                                         7

                                                                                                    PA203
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 238
                                                92                   Date01/31/25
                                                                    Filed Filed: 03/04/2025
                                                                                     Page 19 ofEntry
                                                                                                52 ID: 6704290




              That holding forecloses the state plaintiffs’ standing here. Just as in Texas, where it was

       insufficient for the challenger states to identify monetary costs stemming from the presence of

       aliens, these states cannot rely on social services expenditures to challenge the federal

       government’s regulation of others.       The Citizenship EO simply regulates how the federal

       government will approach certain individuals’ citizenship status. The state (or municipality) where

       such individuals live has no legally cognizable interest in the recognition of citizenship by the

       federal government of a particular individual—let alone economic benefits or burdens that are

       wholly collateral to citizenship status. Whatever potential downstream effects might arise for state

       programs in response cannot establish standing. See E. Bay Sanctuary Covenant v. Biden, 102

       F.4th 996, 1002 (9th Cir. 2024) (holding that states lack “a significant protectable interest in

       minimizing their expenditures” from immigration-related policy changes because “such incidental

       effects are … attenuated and speculative.”).

              Accepting the states’ theory of injury here—that states suffer Article III injury whenever a

       federal policy allegedly results in an increase in state expenditures or loss in state revenues—would

       eliminate any limits on state challenges to federal policies. See Arizona v. Biden, 40 F.4th 375,

       386 (6th Cir. 2022) (“Are we really going to say that any federal regulation of individuals through

       a policy statement that imposes peripheral costs on a State creates a cognizable Article III injury

       for the State to vindicate in federal court? If so, what limits on state standing remain?”). Indeed,

       the states’ claimed interest in future fees under their contract with the Social Security

       Administration (SSA), New Jersey Mem. at 6, highlights the breadth of their theory—asserting

       that a discrete contract with SSA grants them Article III license to challenge any federal action

       that conceivably lowers the birthrate within their states.

              Moreover, the states’ asserted injuries are also not traceable to the Citizenship EO. Nothing



                                                         8

                                                                                                   PA204
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 239
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 20 ofEntry
                                                                                             52 ID: 6704290




       in the EO requires the states to provide “low-cost health insurance,” “certain educational services,”

       or “child welfare services,” New Jersey Mem. at 4, to aliens. Nor have the states identified any

       other source of federal law that compels them to provide the referenced services—indeed, as they

       recognize, federal law makes clear that if states choose to offer otherwise reimbursable services

       and benefits to individuals who are not citizens, the federal government will not provide

       reimbursement. See, e.g., id. Because the states have voluntarily chosen to provide such benefits,

       the costs they incur to do so are the result of an independent choice made by the states’ legislatures

       and not attributable to the Citizenship EO itself. See Clapper v. Amnesty Int’l USA, 568 U.S. 398,

       417-18 (2013) (holding that “respondents’ self-inflicted injuries” were insufficient for Article III

       standing, because they “are not fairly traceable” to the challenged government action);

       Pennsylvania v. New Jersey, 426 U.S. 660, 664 (1976) (“The injuries to the plaintiffs’ fiscs were

       self-inflicted, resulting from decisions by their respective state legislatures. . . . No State can be

       heard to complain about damage inflicted by its own hand.”).

              The state plaintiffs likewise cannot rely on “administrative and operational burdens” that

       they claim will result from the Citizenship EO, New Jersey Mem. at 7, which does not require

       states to change their systems or impose any penalty for failing to do so. Thus, these claimed

       harms are not attributable to the federal policy itself. And again, the notion that states can assert

       standing based on putative harms from changing their systems to adapt to new federal policies

       would create automatic standing to challenge every new federal policy. That is not the law, for

       states or other organizations. See FDA v. All. for Hippocratic Med., 602 U.S. 367, 394-95 (2024).

              2.      “[E]ven when the plaintiff has alleged injury sufficient to meet the ‘case or

       controversy’ requirement,” “the plaintiff generally must assert his own legal rights and interests.”

       Warth v. Seldin, 422 U.S. 490, 499 (1975) (citation omitted). A plaintiff “cannot rest his claim to



                                                         9

                                                                                                    PA205
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 240
                                                92                  Date01/31/25
                                                                   Filed Filed: 03/04/2025
                                                                                    Page 21 ofEntry
                                                                                               52 ID: 6704290




       relief on the legal rights or interests of third parties.” Id. Thus, constitutional claims generally

       may be brought only by “one at whom the constitutional protection is aimed.” Kowalski v. Tesmer,

       543 U.S. 125, 129 (2004) (citation omitted).

               Relatedly, the Supreme Court has foreclosed states from suing the federal government in

       parens patriae actions to protect their citizens. See, e.g., Massachusetts v. Mellon, 262 U.S. 447,

       485-486 (1923) (“[I]t is no part of [a state’s] duty or power to enforce [its people’s] rights in respect

       of their relations with the federal government.”); Murthy v. Missouri, 603 U.S. 43, 76 (2024)

       (“States do not have standing as parens patriae to bring an action against the Federal Government.”

       (internal quotation marks & citation omitted)). The same principles apply to entities like San

       Francisco, which “derive their existence from the state and function as political subdivisions of

       the state.” Town of Milton v. FAA, 87 F.4th 91, 96 (1st Cir. 2023) (citation omitted).

               Applying those principles, the Supreme Court has held that states lack standing to bring

       claims under Section 1 of the Fourteenth Amendment against the federal government. For

       example, in South Carolina v. Katzenbach, 383 U.S. 301 (1966), the Court held that South Carolina

       lacked standing to challenge a federal statute under the Due Process Clause. See id. at 323-324.

       The “States of the Union” have no rights of their own under that clause; “[n]or does a State have

       standing as the parent of its citizens to invoke these constitutional provisions against the Federal

       Government.” Id. at 323-24. Similarly, in Haaland v. Brackeen, 599 U.S. 255 (2023), the Court

       held that Texas lacked standing to challenge a federal statute under the Equal Protection Clause.

       Texas “ha[d] no equal protection rights of its own,” and Texas could not “assert equal protection

       claims on behalf of its citizens because ‘a State does not have standing as parens patriae to bring

       an action against the Federal Government.’” Id. at 294-295 (brackets and citation omitted).

               Those precedents control this case. Just as South Carolina and Texas could not sue the



                                                          10

                                                                                                       PA206
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 241
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 22 ofEntry
                                                                                             52 ID: 6704290




       federal government under the Fourteenth Amendment’s Due Process and Equal Protection

       Clauses, the state plaintiffs here may not sue the federal government under the Citizenship Clause.

       Neither the states, nor the City and County of San Francisco, which is “organized and existing

       under and by virtue of the law of the State of California,” New Jersey Compl. ¶ 66, “ha[ve] [any]

       [citizenship] rights of their own,” and given established “limits on parens patriae standing,” they

       also may not “assert [Citizenship Clause] claims on behalf of [their residents].” Brackeen, 599

       U.S. at 294-95 & n.11.

       II.    Plaintiffs Lack A Valid Cause of Action.

              The Court should also deny both motions for the threshold reason that neither group of

       Plaintiffs are likely to show that they have a valid cause of action. Plaintiffs cannot proceed under

       the APA because they fail to identify any final agency action and because the INA provides an

       adequate remedy. And Plaintiffs cannot assert the claims at issue in this lawsuit directly under the

       Citizenship Clause or the INA.

              A.      Plaintiffs’ APA Claims Fail.

              Both sets of Plaintiffs purport to assert APA challenges to agency action implementing the

       EO. But the APA only authorizes judicial review over “final agency action for which there is no

       other adequate remedy in a court.” 5 U.S.C. § 704. Neither requirement is met here.

              First, Plaintiffs do not even attempt to “identify the final agency action being challenged.”

       Elk Run Coal Co. v. U.S. Dep’t of Labor, 804 F. Supp. 2d 8, 30 (D.D.C. 2011). They do not

       identify any agency action that has been taken, much less final agency action that is reviewable

       under the APA. The EO does not qualify as an agency action because the President is not an

       “agency” within the meaning of the APA. See Franklin v. Massachusetts, 505 U.S. 788, 800-01

       (1992). Until such time as an agency named in the complaints takes action by determining rights



                                                        11

                                                                                                   PA207
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 242
                                                92                 Date01/31/25
                                                                  Filed Filed: 03/04/2025
                                                                                   Page 23 ofEntry
                                                                                              52 ID: 6704290




       or obligations, or otherwise causes legal consequences, see, e.g., U.S. Army Corps of Eng’rs v.

       Hawkes Co., 578 U.S. 590, 597 (2016), Plaintiffs’ APA claims are not cognizable.

              Second, the INA provides an adequate alternate remedy for review of citizenship

       determinations. See Garcia v. Vilsack, 563 F.3d 519, 522 (D.C. Cir. 2009) (“[T]he Supreme Court

       interpreted [5 U.S.C.] § 704 as precluding APA review where Congress has otherwise provided a

       ‘special and adequate review procedure.’” (citation omitted)).              Pursuant to the INA’s

       comprehensive statutory framework for judicial review, disputes regarding the citizenship of an

       individual within the United States are resolved by the individual filing an action for declaratory

       relief once he is denied a right or privilege as a U.S. national. 8 U.S.C. § 1503(a). Thus, “[i]f any

       person who is within the United States claims a right or privilege as a national of the United States

       and is denied such right or privilege by any department or independent agency, or official thereof,

       upon the ground that he is not a national of the United States,” then that person may institute an

       action under 8 U.S.C. § 1503(a), in conjunction with 28 U.S.C. § 2201, for a declaratory judgment

       that he is a U.S. national. See id. § 1503(a). 2 Under section 1503, district courts conduct de novo

       proceedings as to the person’s nationality status. See Vance v. Terrazas, 444 U.S. 252, 256 (1980);

       Richards v. Sec’y of State, 752 F.2d 1413, 1417 (9th Cir. 1985).

              Because “Congress intended § 1503(a) to be the exclusive remedy for a person within the

       United States to seek a declaration of U.S. nationality following an agency or department's denial

       of a privilege or right of citizenship upon the ground that the person is not a U.S. national,”

       Cambranis v. Blinken, 994 F.3d 457, 466 (5th Cir. 2021), courts have consistently concluded that




              2
                 If an individual is placed in removal proceedings, Section 1503 is unavailable and the
       individual can raise the issue of citizenship in those proceedings. 8 U.S.C. § 1252(b)(5) (if an
       alien appeals a removal order to a circuit court, that court, upon finding a genuine issue of material
       fact as to U.S. citizenship, transfers the proceeding to the district court for an evidentiary hearing).
                                                         12

                                                                                                      PA208
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 243
                                                92                  Date01/31/25
                                                                   Filed Filed: 03/04/2025
                                                                                    Page 24 ofEntry
                                                                                               52 ID: 6704290




       section 1503(a) offers an adequate alternative remedy to—and thus precludes—APA review. See,

       e.g., Alsaidi v. U.S. Dep’t of State, 292 F. Supp. 3d 320, 326-27 (D.D.C. 2018); Abuhajeb v.

       Pompeo, 531 F. Supp. 3d 447, 455 (D. Mass. 2021); Ortega-Morales v. Lynch, 168 F. Supp. 3d

       1228, 1233-34 (D. Ariz. 2016).

               B.      Plaintiffs Lack a Cause of Action to Assert Their Constitutional and INA
                       Claims.

               Both groups of Plaintiffs primarily assert claims under the Fourteenth Amendment’s

       Citizenship Clause. As discussed above, the state plaintiffs lack standing to assert such claims.

       But even setting that aside, it is well established that the Constitution does not generally provide a

       cause of action to pursue affirmative relief. See, e.g., DeVillier v. Texas, 601 U.S. 285, 291 (2024)

       (“[C]onstitutional rights are generally invoked defensively in cases arising under other sources of

       law, or asserted offensively pursuant to an independent cause of action designed for that

       purpose.”). Neither group of Plaintiffs identifies any “independent cause of action” 3 that would

       enable them to enforce the Citizenship Clause. Id. at 291.

               As for the INA claims, Congress provided a specific remedy for individuals within the

       United States to seek judicial resolution of disputes concerning their citizenship. See supra Sec.

       II.A. The exclusive remedy for an individual in the U.S. who claims to be a U.S. citizen denied a

       right or privilege of citizenship is to institute an action for declaratory relief under section 1503(a).

       The INA does not provide for states or organizations to sue under section 1503(a), either on their

       own account or on behalf of residents or members—a particularly telling omission, given that

       some provisions of the INA—as amended by the Laken Riley Act, Pub. L. No. 119-1, 139 Stat. 3




               3
                 As discussed above, Plaintiffs assert separate claims under the APA. But they do not
       allege that their constitutional or INA claims are pursuant to the APA cause of action, and in any
       event Plaintiffs have failed to assert a proper APA claim based on the defects described above.
                                                          13

                                                                                                       PA209
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 244
                                                92                 Date01/31/25
                                                                  Filed Filed: 03/04/2025
                                                                                   Page 25 ofEntry
                                                                                              52 ID: 6704290




       (2025)—expressly authorize states to bring enforcement actions. See 8 U.S.C. §§ 1185(d)(5)(C),

       1225(b)(3), 1226(f), 1231(a)(2)(B), 1253(e). And even with respect to an individual like Ms. Doe,

       the statute requires any dispute over a citizenship determination to be resolved in individual

       declaratory judgment proceedings once a right or privilege is actually denied. It does not permit

       Ms. Doe to file a facial challenge seeking to permanently enjoin enforcement of an executive order

       nationwide before any right has been denied to her. See, e.g., Alexander v. Sandoval, 532 U.S.

       275, 287 (2001) (“Raising up causes of action where a statute has not created them may be a proper

       function for common-law courts, but not for federal tribunals.” (citation omitted)).

       III.   Plaintiffs Are Not Likely To Succeed On the Merits.

              The Citizenship Clause provides that “[a]ll persons born or naturalized in the United States,

       and subject to the jurisdiction thereof, are citizens of the United States and of the State wherein

       they reside.” U.S. Const. amend. XIV, § 1. And the INA grants U.S. citizenship to any “person

       born in the United States, and subject to the jurisdiction thereof.” 8 U.S.C. § 1401(a). Plaintiffs

       contend that the EO violates both the Citizenship Clause and the INA, but they are mistaken. 4

              To obtain U.S. citizenship under the Citizenship Clause, a person must be: (1) “born or

       naturalized in the United States” and (2) “subject to the jurisdiction thereof.” U.S. Const. amend

       XIV, § 1. The Supreme Court has identified multiple categories of persons who, despite birth in

       the United States, are not constitutionally entitled to citizenship because they are not subject to the

       jurisdiction of the United States: children of foreign sovereigns or their diplomats, children of alien



              4
                 The Doe plaintiffs recognize that their statutory claim rises and falls with their
       constitutional claim, see Doe Mem. at 10, and while the states contend that the Citizenship EO
       “independently violate[s]” the INA, New Jersey Mem. at 14, they do not meaningfully explain
       how the two are distinct—nor do they identify any legal authority suggesting any intentional delta
       between the two sources of law. Rather, in using the exact text of the Citizenship Clause in the
       INA, Congress imported its exact scope. Because the two provisions are coterminous, Defendants
       focus here on the constitutional provision.
                                                         14

                                                                                                     PA210
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 245
                                                92               Date01/31/25
                                                                Filed Filed: 03/04/2025
                                                                                 Page 26 ofEntry
                                                                                            52 ID: 6704290




       enemies in hostile occupation, children born on foreign public ships, and certain children of

       members of Indian tribes. 5 United States v. Wong Kim Ark, 169 U.S. 649, 682, 693 (1898). The

       Citizenship EO recognizes an additional category of persons not subject to the jurisdiction of the

       United States: children born in the United States of foreign parents whose presence is either

       unlawful or lawful but temporary.

              A.      The Term “Jurisdiction” in the Citizenship Clause Does Not Refer to
                      Regulatory Power.

              “Jurisdiction . . . is a word of many, too many, meanings.” Wilkins v. United States, 598

       U.S. 152, 156 (2023) (citation omitted). Plaintiffs equate “jurisdiction” with something akin to

       regulatory power, arguing that anyone “to whom United States law applies” is subject to the

       jurisdiction of the United States. Doe Mem. at 7; see also New Jersey Mem. at 9-10. But that

       interpretation is incorrect. It conflicts with both Supreme Court precedent and ample evidence as

       to the provision’s original public meaning.

              1.      Most importantly, Plaintiffs’ understanding of the term “jurisdiction” conflicts with

       Supreme Court precedents identifying the categories of persons who are not subject to the United

       States’ jurisdiction within the meaning of the Citizenship Clause. For example, the Supreme Court

       has held that children of members of Indian tribes, “owing immediate allegiance” to those tribes,

       do not acquire citizenship by birth in the United States. Elk, 112 U.S. at 102; see Wong Kim Ark,

       169 U.S. at 680-82. Yet members of Indian tribes and their children are plainly subject to the

       United States’ regulatory power. “It is thoroughly established that Congress has plenary authority

       over the Indians and all their tribal relations.” Winton v. Amos, 255 U.S. 373, 391 (1921); see



              5
                 Although the Citizenship Clause has always been understood to exclude certain children
       of members of Indian tribes from a constitutional right to citizenship by birth, Congress has by
       statute extended U.S. citizenship to any “person born in the United States to a member of an Indian,
       Eskimo, Aleutian, or other aboriginal tribe.” 8 U.S.C. § 1401(b).
                                                       15

                                                                                                  PA211
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 246
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 27 ofEntry
                                                                                             52 ID: 6704290




       Brackeen, 599 U.S. at 272-73. For example, Congress may regulate Indian commercial activities,

       see United States v. Holliday, 70 U.S. (3 Wall.) 407, 416-18 (1866); Indian property, see Lone

       Wolf v. Hitchcock, 187 U.S. 553, 565 (1903); and Indian adoptions, see Brackeen, 599 U.S. at 276-

       280. And the United States may punish Indians for crimes. See United States v. Kagama, 118

       U.S. 375, 379-385 (1886). If, as Plaintiffs argue, “subject to the jurisdiction thereof” means subject

       to U.S. law, this longstanding exception for Indians would be inexplicable.

              In fact, Plaintiffs’ reading cannot even explain the exception to birthright citizenship for

       “children of foreign sovereigns or their ministers.” Wong Kim Ark, 169 U.S. at 693. Although

       foreign leaders and diplomats have traditionally enjoyed immunity as a matter of common law,

       the Constitution allows Congress to abrogate that immunity or to make exceptions to it. See

       Verlinden BV v. Central Bank of Nigeria, 461 U.S. 480, 486 (1983). And to the extent Plaintiffs

       argue that children of foreign leaders or diplomats are not subject to the United States’ jurisdiction

       because the U.S. chooses to extend immunity to them, their theory would allow Congress to turn

       the Citizenship Clause on and off at will by extending or retracting immunity.

              Against the surplusage canon, on Plaintiffs’ reading, the phrase “subject to the jurisdiction

       thereof” adds nothing to the phrase “born . . . in the United States.” Because the United States is

       sovereign over its territory, everyone who is born (and so present) in the United States would

       necessarily be subject, at least to some extent, to the United States’ regulatory authority. See

       Schooner Exchange v. McFaddon, 11 U.S. (7 Cranch) 116, 136 (1812). But “[i]t cannot be

       presumed that any clause in the [C]onstitution is intended to be without effect; and therefore such

       a construction is inadmissible.” Marbury v. Madison, 5 U.S. (1 Cranch) 137, 174 (1803).

              2.      Instead of equating “jurisdiction” with regulatory authority, the Supreme Court has

       held that a person is “subject to the jurisdiction” of the United States under the Citizenship Clause



                                                        16

                                                                                                    PA212
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 247
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 28 ofEntry
                                                                                             52 ID: 6704290




       if he is born “in the allegiance and under the protection of the country.” Wong Kim Ark, 169 U.S.

       at 693. That allegiance to the United States, the Court has further held, must be “direct,”

       “immediate,” and “complete,” unqualified by “allegiance to any alien power.” Elk, 112 U.S. at

       101-02. In other words, a person is subject to the jurisdiction of the United States within the

       meaning of the Clause only if he is not subject to the jurisdiction of a foreign power, and the

       “nation” has “consent[ed]” to him becoming part of its own “jurisdiction.” Elk, 112 U.S. at 102-

       03; see also Schooner Exchange, 11 U.S. at 136 (explaining a nation’s “jurisdiction … must be

       traced up to the consent of the nation itself”).

              That reading of the Citizenship Clause reflects its statutory background. Months before

       Congress proposed the Fourteenth Amendment, it enacted the Civil Rights Act of 1866. That Act

       served as “the initial blueprint” for the Amendment, Gen. Bldg. Contractors Ass’n, Inc. v.

       Pennsylvania, 458 U.S. 375, 389 (1982), and the Amendment in turn “provide[d] a constitutional

       basis for protecting the rights set out” in the Act, McDonald v. City of Chicago, 561 U.S. 742, 775

       (2010). The Act stated, as relevant here, that “all persons born in the United States and not subject

       to any foreign power, excluding Indians not taxed, are hereby declared to be citizens of the United

       States.” Civil Rights Act § 1, 14 Stat. 27 (1866) (emphasis added). There is no reason to read the

       phrase “subject to the jurisdiction thereof” in the Amendment as broader than the phrase “not

       subject to any foreign power” in the Act—in no small part, because doing so would render the

       Civil Rights Act unconstitutional. And as telling, the Act’s citizenship language remained on the

       books until revised by the Nationality Act of 1940, ch. 876, § 201(a), 54 Stat. 1137, 1138—

       suggesting that Congress regarded the Act’s “not subject to any foreign power” requirement as

       consistent with the Amendment’s “subject to the jurisdiction” requirement. The Act thus confirms

       that, to be subject to the jurisdiction of the United States under the Clause, a person must owe “no



                                                          17

                                                                                                   PA213
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 248
                                                92               Date01/31/25
                                                                Filed Filed: 03/04/2025
                                                                                 Page 29 ofEntry
                                                                                            52 ID: 6704290




       allegiance to any alien power.” Elk, 112 U.S. at 101.

              Debates on the Act and the Amendment show that members of Congress shared that

       understanding. During debates on the Act, Senator Lyman Trumbull explained that the purpose

       of the Act was “to make citizens of everybody born in the United States who owe[d] allegiance to

       the United States.” Cong. Globe, 39th Cong., 1st Sess. 572 (1866). And Representative John

       Broomall explained that the freed slaves were properly regarded as U.S. citizens by birth because

       they owed no allegiance to any foreign sovereign. See id. at 1262. Similarly, during debates on

       the Amendment, Senator Trumbull explained: “What do we mean by ‘subject to the jurisdiction

       of the United States?’ Not owing allegiance to anybody else. That is what it means. . . . It cannot

       be said of any Indian who owes allegiance, partial allegiance if you please, to some other

       Government that he is ‘subject to the jurisdiction of the United States.’” Id. at 2893. Trumbull

       went on to equate “being subject to our jurisdiction” with “owing allegiance solely to the United

       States.” Id. at 2894. And Senator Reverdy Johnson agreed that “all that this amendment provides

       is, that all persons born in the United States and not subject to some foreign Power . . . shall be

       considered as citizens.” Id. at 2893.

              The full text of the Citizenship Clause reinforces that reading of the Clause’s jurisdictional

       element. The Clause provides that persons born in the United States and subject to its jurisdiction

       “are citizens of the United States and of the State wherein they reside.” U.S. Const. amend. XIV,

       § 1. The Clause uses the term “reside[nce]” synonymously with “domicile.” See Robertson v.

       Cease, 97 U.S. 646, 650 (1878) (explaining that state citizenship requires “a fixed permanent

       domicile in that State”). And then as now, domicile was understood to have two components—

       presence that is both permanent and lawful. See M.A. Lesser, Citizenship and Franchise, 4 Colum.

       L. Times 145, 146 n.3 (1891) (explaining the term “‘resident’ … ‘is applied exclusively to one



                                                       18

                                                                                                   PA214
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 249
                                                92                 Date01/31/25
                                                                  Filed Filed: 03/04/2025
                                                                                   Page 30 ofEntry
                                                                                              52 ID: 6704290




       who lives in a place and has a fixed and legal settlement’” (citations omitted) (emphasis added)).

       The Clause thus confirms that citizenship flows from lawful domicile.

              Finally, as a decisive cross-check, the government’s reading, unlike Plaintiffs’

       interpretation, is the only one that fully explains the Supreme Court’s precedents on citizenship by

       birth in the United States. It was “never doubted” that “children born of citizen parents” owe

       allegiance to the United States and are subject to its jurisdiction. Minor v. Happersett, 88 U.S.

       162, 167 (1874). In Wong Kim Ark, the Court held that a child born in the United States “of parents

       of Chinese descent, who at the time of his birth [were] subjects of the emperor of China, but have

       a permanent domicile and residence in the United States, and are there carrying on business, and

       are not employed in any diplomatic or official capacity” by China are likewise subject to the

       jurisdiction of the United States. 169 U.S. at 653. The Court explained that “[e]very citizen or

       subject of another country, while domiciled here, is within the allegiance . . . of the United States.”

       Id. at 693. By contrast, children of diplomats, children of certain alien enemies, and children born

       on foreign public ships are not subject to the jurisdiction of the United States because they all owe

       allegiance to foreign sovereigns under background principles of common law. See id. at 655. And

       the Court has held that certain children of members of Indian tribes are not subject to U.S.

       jurisdiction in the necessary sense because they “owe[] immediate allegiance to their several

       tribes.” Elk, 112 U.S. at 99.

              B.      Children Born of Unlawfully Present Aliens or Lawful But Temporary
                      Visitors Fall Outside the Citizenship Clause.

              1.      To determine which sovereign may properly claim a person’s allegiance, the

       Supreme Court has looked to the background principles of the common law and the law of nations,

       as understood in the United States at the time of the ratification of the Fourteenth Amendment.

       See Wong Kim Ark, 169 U.S. at 653-55. Under those principles, a child born of foreign parents

                                                         19

                                                                                                     PA215
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 250
                                                92                 Date01/31/25
                                                                  Filed Filed: 03/04/2025
                                                                                   Page 31 ofEntry
                                                                                              52 ID: 6704290




       other than lawful permanent residents is domiciled in, and owes a measure of allegiance to, his

       parents’ home country. As a result, such a child is not subject to the jurisdiction of the United

       States within the meaning of the Citizenship Clause.

              Under the common law, a person owes a form of “allegiance” to the country in which he

       is “domiciled.” Carlisle v. United States, 83 U.S. (16 Wall.) 147, 155 (1872); see Pizarro, 15 U.S.

       (2 Wheat.) 227, 246 (1817) (Story, J.) (“[A] person domiciled in a country . . . owes allegiance to

       the country.”). A child’s domicile, and thus his allegiance, “follow[s] the independent domicile of

       [his] parent.” Lamar v. Micou, 112 U.S. 452, 470 (1884); see Mississippi Band of Choctaw Indians

       v. Holyfield, 490 U.S. 30, 48 (1989) (“Since most minors are legally incapable of forming the

       requisite intent to establish a domicile, their domicile is determined by that of their parents.”).

              Temporary visitors and unlawfully present aliens, however, are not domiciled here but in

       foreign countries. As touched on above, “[i]n general, the domicile of an individual is his true,

       fixed and permanent home.” Martinez v. Bynum, 461 U.S. 321, 331 (1983). Temporary visitors

       to the United States, by definition, retain permanent homes in foreign countries. And illegal aliens,

       by definition, have no right even to be present in the United States, much less a right to make

       lawful residence here. Instead, as a matter of law, illegal aliens formally retain their foreign

       domiciles, because they have not yet been accepted to reside anywhere else. See, e.g., Elkins v.

       Moreno, 435 U.S. 647, 665-66 (1978) (recognizing that federal immigration law restricts the

       ability of foreigners to establish domiciles in the United States). And if a temporary visitor or

       illegal alien domiciled in a foreign country has a child with another temporary visitor or illegal

       alien while in the United States, the child’s domicile also lies in the foreign country, and the child

       owes allegiance to that country. That “allegiance to [an] alien power” precludes the child from

       being “completely subject” to the United States’ jurisdiction, as the Fourteenth Amendment



                                                         20

                                                                                                     PA216
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 251
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 32 ofEntry
                                                                                             52 ID: 6704290




       requires. Elk, 112 U.S. at 101-02.

              Indeed, the Citizenship EO follows directly from Supreme Court precedent recognizing

       that distinction, and the established exception to birthright citizenship for certain “children of

       members of the Indian tribes.” Wong Kim Ark, 169 U.S. at 682. Indian tribes form “an

       intermediate category between foreign and domestic states.” Lac du Flambeau Band of Lake

       Superior Chippewa Indians v. Coughlin, 599 U.S. 382, 396 n.7 (2023) (citation omitted). The

       Supreme Court long ago determined that Indian tribes are not “foreign nations,” instead describing

       them as “domestic dependent nations.” Cherokee Nation v. Georgia, 30 U.S. (5 Pet.) 1, 17 (1831)

       (Marshall, C.J.). Yet the Court has held that “an Indian, born a member of one of the Indian tribes,”

       has no constitutional birthright to U.S. citizenship given his “immediate allegiance” to his tribe.

       Elk, 112 U.S. at 99, 101-02; see Wong Kim Ark, 169 U.S. at 680-682.

              Illegal aliens and temporary visitors have far weaker connections to the United States than

       do members of Indian tribes. “Our Constitution reserves for the Tribes a place—an enduring

       place—in the structure of American life.” Brackeen, 599 U.S. at 333 (Gorsuch, J., concurring). If

       the United States’ link with Indian tribes does not suffice as a constitutional matter for birthright

       citizenship, its weaker link with illegal aliens and temporary visitors even more obviously does

       not do so. See, e.g., William Edward Hall, A Treatise on International Law 237 n.1 (4th ed. 1895)

       (“[A] fortiori the children of foreigners in transient residence are not citizens, their fathers being

       subject to the jurisdiction less completely than Indians.”).

              2.      The Fourteenth Amendment’s historical background provides additional support

       for the conclusion that, while children born here of U.S. citizens and permanent residents are

       entitled to U.S. citizenship by birth, children born of parents whose presence is either unlawful or

       lawful but temporary are not. Under the common law, “[t]wo things usually concur to create



                                                        21

                                                                                                    PA217
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 252
                                                92                 Date01/31/25
                                                                  Filed Filed: 03/04/2025
                                                                                   Page 33 ofEntry
                                                                                              52 ID: 6704290




       citizenship; [f]irst, birth locally within the dominions of the sovereign; and, secondly, birth . . .

       within the ligeance of the sovereign.” Wong Kim Ark, 169 U.S. at 659 (citation omitted); see 2

       James Kent, Commentaries on American Law 42 (6th ed. 1848) (“To create [citizenship] by birth,

       the party must be born, not only within the territory, but within the ligeance of the government”).

       The phrase “born . . . in the United States,” U.S. Const. amend. XIV, § 1, codifies the traditional

       requirement of “birth within the territory,” Wong Kim Ark, 169 U.S. at 693, and the phrase “subject

       to the jurisdiction thereof,” U.S. Const. Amend. XIV, § 1, codifies the traditional requirement of

       birth “in the allegiance” of the country, Wong Kim Ark, 169 U.S. at 693.

               Drawing from the same tradition, Emmerich de Vattel—“the founding era’s foremost

       expert on the law of nations,” Franchise Tax Bd. of Cal. v. Hyatt, 587 U.S. 230, 239 (2019)—

       explained that citizenship under the law of nations depended not only on the child’s place of birth,

       but also on the parents’ political status. “[N]atural-born citizens,” Vattel wrote, include “those

       born in the country, of parents who are citizens.” Emmerich de Vattel, The Law of Nations § 212,

       at 101 (London, printed for G.G. and J. Robinson, Paternoster-Row, 1797 ed.). Citizenship by

       virtue of birth in the country also extends to the children of “perpetual inhabitants” of that country,

       whom Vattel regarded as “a kind of citize[n].” Id. § 213, at 102 (emphasis omitted); see also id.

       § 215, at 102. According to Vattel, citizenship does not extend, however, to children of those

       foreigners who lack “the right of perpetual residence” in the country. Id. § 213, at 102. Such

       persons would instead owe allegiance to their parents’ home countries, in accord with the principle

       that “children follow the condition of their fathers.” Id. § 215, at 102.

              Justice Story also understood that birthright citizenship required more than mere physical

       presence. He explained in a judicial opinion later quoted in Wong Kim Ark that “children of even

       aliens born in a country, while the parents are resident there,” “are subjects by birth.” Inglis v.



                                                         22

                                                                                                     PA218
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 253
                                                92                 Date01/31/25
                                                                  Filed Filed: 03/04/2025
                                                                                   Page 34 ofEntry
                                                                                              52 ID: 6704290




       Trs. of Sailor’s Snug Harbor, 28 U.S. (3 Pet.) 99, 164 (1830) (emphasis added) (quoted in Wong

       Kim Ark, 169 U.S. at 660). He also wrote in a treatise:

              Persons, who are born in a country, are generally deemed citizens and subjects of
              that country. A reasonable qualification of this rule would seem to be, that it
              should not apply to the children of parents, who were in itinere in the country, or
              abiding there for temporary purposes, as for health, or occasional business.

       Joseph Story, Commentaries on the Conflict of Laws § 48, at 48 (1834).

              3.      Congressional debates over the Civil Rights Act and Fourteenth Amendment also

       confirm that children born in the United States to non-resident aliens lack a right to U.S. citizenship

       because they are not subject to U.S. jurisdiction. For instance, Representative James Wilson

       explained during a debate over the Civil Rights Act that, under “the general law relating to subjects

       and citizens recognized by all nations,” a “person born in the United States” ordinarily “is a

       natural-born citizen.” Cong. Globe, 39th Cong., 1st Sess. 1117 (1866). But he recognized

       “except[ions]” to that general rule for “children born on our soil to temporary sojourners or

       representatives of foreign Governments.” Id. (emphasis added).

              When Congress was considering the Civil Rights Act, Senator Trumbull, “who wrote [the

       Act’s] citizenship language and managed the Act in the Senate, wrote a letter to President Andrew

       Johnson summarizing the bill.” Mark Shawhan, Comment, The Significance of Domicile in Lyman

       Trumbull’s Conception of Citizenship, 119 Yale L. J. 1351, 1352 (2010) (footnotes omitted). The

       Act, as noted above, provided that “all persons born in the United States and not subject to any

       foreign power, excluding Indians not taxed, are hereby declared to be citizens.” Civil Rights Act

       § 1, 14 Stat. 27 (emphasis added). Senator Trumbull summarized that provision: “The Bill declares

       ‘all persons’ born of parents domiciled in the United States, except untaxed Indians, to be citizens

       of the United States.” Shawhan, supra, at 1352-53 (emphasis added) (quoting Letter from Sen.

       Lyman Trumbull to President Andrew Johnson, (in Andrew Johnson Papers, Reel 45, Manuscript

                                                         23

                                                                                                     PA219
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 254
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 35 ofEntry
                                                                                             52 ID: 6704290




       Div., Library of Congress)). “Trumbull thus understood the Act’s ‘not subject to any foreign

       [p]ower’ requirement as equivalent to ‘child of parents domiciled in the United States.’” Id. at

       1353 (footnote omitted).

              During a debate over the Fourteenth Amendment, Senator Benjamin Wade proposed a

       version of the Amendment that would have referred to “persons born in the United States” (without

       the additional qualification of being “subject to the jurisdiction”). Cong. Globe, 39th Cong., 1st

       Sess. 2768 (1866). One of his colleagues objected that “persons may be born in the United States

       and yet not be citizens,” giving the example of “a person [who] is born here of parents from abroad

       temporarily in this country.” Id. at 2769. Senator Wade acknowledged that the unadorned phrase

       “born in the United States” would indeed encompass those individuals, but he argued that the

       situation would arise so infrequently that “it would be best not to alter the law for that case.” Id.

       at 2768-69. That exchange concludes that “a person [who] is born here of parents from abroad

       temporarily in this country” is not subject to the jurisdiction of the United States, id. at 2769, and

       is accordingly not constitutionally entitled to citizenship by birth. Likewise, Senator Howard

       stated that the Clause “of course” would not include the children of “foreigners” or “aliens.” Id.

       at 2890.

              4.      Contemporary understanding following ratification accords with that reading of the

       Fourteenth Amendment. Perhaps most telling, right on the heels of the Citizenship Clause, the

       Supreme Court described its scope as such: “The phrase, ‘subject to its jurisdiction,’ was intended

       to exclude from its operation children of ministers, consuls, and citizens or subjects of foreign

       States born within the United States.” The Slaughterhouse Cases, 83 U.S. 36, 73 (1873) (emphasis

       added). That is wholly consistent with the Citizenship EO.

              Contemporary commentators expressed similar views:



                                                        24

                                                                                                    PA220
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 255
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 36 ofEntry
                                                                                             52 ID: 6704290




                  •   “Indians are held not within this clause, not being ‘subject to the jurisdiction of the
                      United States.’ The same reasoning, it may be argued, would exclude children born
                      in the United States to foreigners here on transient residence, such children not
                      being by the law of nations ‘subject to the jurisdiction of the United States.’” 2 A
                      Digest of International Law of the United States § 183, at 393-394 (Francis
                      Wharton ed., 2d ed. 1887) (Wharton’s Digest) (citation omitted).

                  •   “The words ‘subject to the jurisdiction thereof’ exclude the children of foreigners
                      transiently within the United States.” Alexander Porter Morse, A Treatise on
                      Citizenship 248 (1881).

                  •   “If a stranger or traveller passing through, or temporarily residing in this country,
                      who has not himself been naturalized, and who claims to owe no allegiance to our
                      Government, has a child born here which goes out of the country with its father,
                      such a child is not a citizen of the United States, because it was not subject to its
                      jurisdiction.” Samuel F. Miller, Lectures on the Constitution of the United States
                      at 279 (1891).
                  •   “Indians are no more ‘born within the United States and subject to the jurisdiction
                      thereof,’ within the meaning of the XIVth amendment, than the children of foreign
                      subjects, born while the latter transiently sojourn here.” M.A. Lesser, Citizenship
                      and Franchise, 4 Colum. L. Times 145, 146 (1891).

                  •   “[I]f a stranger or traveler passing through the country, or temporarily residing here,
                      . . . has a child born here, who goes out of the country with his father, such child is
                      not a citizen of the United States, because he was not subject to its jurisdiction. But
                      the children, born within the United States, of permanently resident aliens, . . . are
                      citizens.” Henry Campbell Black, Handbook of American Constitutional Law 458-
                      459 (1895) (footnote omitted).

                  •   “In the United States it would seem that the children of foreigners in transient
                      residence are not citizens.” Hall, supra, 236-237.

                  •   “[T]he requirement of personal subjection to the ‘jurisdiction thereof’ . . . excludes
                      Indians, the children of foreign diplomatic representatives born within the limits of
                      the United States, and the children of persons passing through or temporarily
                      residing in this country.” Boyd Winchester, Citizenship in its International
                      Relation, 31 Am. L. Rev. 504, 504 (1897) (emphasis added).

              The Supreme Court of New Jersey similarly linked birthright citizenship with parental

       domicile in Benny v. O’Brien, 32 A. 696 (N.J. 1895). In a passage that was later quoted in Wong

       Kim Ark, the court interpreted the Citizenship Clause to establish “the general rule that, when the

       parents are domiciled here, birth establishes the right of citizenship.” Id. at 698 (emphasis added)

                                                        25

                                                                                                    PA221
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 256
                                                92               Date01/31/25
                                                                Filed Filed: 03/04/2025
                                                                                 Page 37 ofEntry
                                                                                            52 ID: 6704290




       (quoted in Wong Kim Ark, 169 U.S. at 692). And it explained that the Citizenship Clause’s

       jurisdictional element excludes “those born in this country of foreign parents who are temporarily

       traveling here” because “[s]uch children are, in theory, born within the allegiance of [a foreign]

       sovereign.” Id.

              The political branches operated from the same understanding in the years following the

       Fourteenth Amendment’s enactment. For instance, six years after ratification, Representative

       Ebenezer Hoar proposed a bill “to carry into execution the provisions of the [F]ourteenth

       [A]mendment . . . concerning citizenship.” 2 Cong. Rec. 3279 (1874). The bill would have

       provided that, as a general matter, “a child born within the United States of parents who are not

       citizens, and who do not reside within the United States, . . . shall not be regarded as a citizen

       thereof.” Id. Although the bill ultimately failed because of “opposition to its expatriation

       provisions,” its “parental domicile requirement” generated little meaningful “debate or

       controversy.” Justin Lollman, Note, The Significance of Parental Domicile Under the Citizenship

       Clause, 101 Va. L. Rev. 455, 475 (2015). The bill thus suggests that, soon after the ratification of

       the Fourteenth Amendment, members of Congress accepted that children born of non-resident

       alien parents are not subject to the United States’ jurisdiction under the Citizenship Clause.

              The Executive Branch, too, at times took the position that the Citizenship Clause did not

       confer citizenship upon children born in the United States to non-resident alien parents. In 1885,

       Secretary of State Frederick T. Frelinghuysen issued an opinion denying a passport to an applicant

       who was “born of Saxon subjects, temporarily in the United States.” 2 Wharton’s Digest § 183,

       at 397. Secretary Frelinghuysen explained that the applicant’s claim of birthright citizenship was

       “untenable” because the applicant was “subject to [a] foreign power,” and “the fact of birth, under

       circumstances implying alien subjection, establishes of itself no right of citizenship.” Id. at 398.



                                                        26

                                                                                                   PA222
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 257
                                                92                 Date01/31/25
                                                                  Filed Filed: 03/04/2025
                                                                                   Page 38 ofEntry
                                                                                              52 ID: 6704290




       Later the same year, Secretary Frelinghuysen’s successor, Thomas F. Bayard, issued an opinion

       denying a passport to an applicant born “in the State of Ohio” to “a German subject” “domiciled

       in Germany.” Id. at 399. Secretary Bayard explained that the applicant “was no doubt born in the

       United States, but he was on his birth ‘subject to a foreign power’ and ‘not subject to the

       jurisdiction of the United States.’ He was not, therefore, under the statute and the Constitution a

       citizen of the United States by birth.” Id. at 400.

              5.      Finally, Wong Kim Ark recognized an exception to birthright citizenship for

       “children born of alien enemies in hostile occupation,” Wong Kim Ark, 169 U.S. at 682. Here, the

       President has determined that the United States has experienced “an unprecedented flood of illegal

       immigration” in which “[m]illions of illegal aliens”—many of whom “present significant threats

       to national security and public safety”—have entered the country in violation of federal law.

       Invasion EO § 1; see also id. (explaining that “[o]thers are engaged in hostile activities, including

       espionage, economic espionage, and preparations for terror-related activities”).          Plaintiffs’

       maximalist reading of the Citizenship Clause would require extending birthright citizenship to the

       children of individuals who present such threats, including even unlawful enemy combatants who

       enter this country in an effort to create sleeper cells or other hostile networks.

              C.      Applicable Interpretive Principles Support the Government’s Reading of the
                      Citizenship Clause.

              1.      “[A]ny policy toward aliens is vitally and intricately interwoven with . . . the

       conduct of foreign relations.” Harisiades v. Shaughnessy, 342 U.S. 580, 588-89 (1952). “Any rule

       of constitutional law that would inhibit the flexibility” of Congress or the President “to respond to

       changing world conditions should be adopted only with the greatest caution.” Trump v. Hawaii,

       585 U.S. 667, 704 (2018) (citation omitted).

              The government’s reading of the Citizenship Clause respects that principle, while

                                                         27

                                                                                                   PA223
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 258
                                                92                  Date01/31/25
                                                                   Filed Filed: 03/04/2025
                                                                                    Page 39 ofEntry
                                                                                               52 ID: 6704290




       Plaintiffs’ reading violates it.     The Citizenship Clause sets a constitutional floor, not a

       constitutional ceiling. Although Congress may not deny citizenship to those protected by the

       Clause, it may, through its power to “establish an uniform Rule of Naturalization,” extend

       citizenship to those who lack a constitutional right to it. U.S. Const. Art. I, § 8, Cl. 4; see Wong

       Kim Ark, 169 U.S. at 688. The government’s reading would thus leave Congress with the ability

       to extend citizenship to the children of illegal aliens or of temporary visitors, just as it has extended

       citizenship to the children of members of Indian tribes. Plaintiffs’ reading, by contrast, would for

       all time deprive the political branches of the power to address serious problems caused by near-

       universal birthright citizenship.

               As a “sovereign nation,” the United States has the constitutional power “to forbid the

       entrance of foreigners within its dominions, or to admit them only in such cases upon such

       conditions as it may see fit to prescribe.” Nishimura Ekiu v. United States, 142 U.S. 651, 659

       (1892). “[O]ver no conceivable subject” is federal power “more complete” than it is over the

       admission of aliens. Oceanic Navigation Co. v. Stranahan, 214 U.S. 320, 339 (1909). Interpreting

       the Constitution to require the extension of birthright citizenship to the children of illegal aliens

       directly undermines that power by holding out a powerful incentive for illegal entry. Contrary to

       the principle that no wrongdoer should “profit out of his own wrong,” Liu v. SEC, 591 U.S. 71, 80

       (2020) (citation omitted), it also allows foreigners to secure U.S. citizenship for their children (and,

       potentially, later immigration benefits for themselves) by entering the United States in violation of

       its laws.

               2.      The Supreme Court has resisted reading the Citizenship Clause in a manner that

       would inhibit the political branches’ ability to address “problems attendant on dual nationality.”

       Rogers v. Bellei, 401 U.S. 815, 831 (1971). Although the United States tolerates dual citizenship



                                                          28

                                                                                                       PA224
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 259
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 40 ofEntry
                                                                                             52 ID: 6704290




       in some circumstances, it has “long recognized the general undesirability of dual allegiances.”

       Savorgnan v. United States, 338 U.S. 491, 500 (1950). “One who has a dual nationality will be

       subject to claims from both nations, claims which at times may be competing or conflicting,” and

       “[c]ircumstances may compel one who has a dual nationality to do acts which otherwise would

       not be compatible with the obligations of American citizenship.” Kawakita v. United States, 343

       U.S. 717, 733, 736 (1952).

              History shows that competing claims of allegiance can even lead to “problems for the

       governments involved.” Bellei, 401 U.S. at 832. For instance, the War of 1812 resulted in part

       from the Royal Navy’s impressment of sailors whom the United Kingdom viewed as British

       subjects, but whom the United States viewed as American citizens. See Robert E. Mensel,

       Jurisdiction in Nineteenth Century International Law and Its Meaning in the Citizenship Clause

       of the Fourteenth Amendment, 32 St. Louis U. L. Rev. 329, 345 (2012). And during the years

       preceding the adoption of the Fourteenth Amendment, the United States faced diplomatic clashes

       with the United Kingdom and other European powers “with respect to the allegiance of persons

       with links to both countries.” Id. at 348.

              Plaintiffs’ reading of the Citizenship Clause invites just such problems. For centuries,

       countries have extended citizenship to the foreign-born children of their citizens. Vattel wrote that

       children born abroad “follow the condition of their fathers,” so long as “the father has not entirely

       quitted his [home] country.” Vattel, supra, § 215, at 102. England has extended citizenship to

       certain foreign-born children of English subjects since at least the 14th century. See Wong Kim

       Ark, 169 U.S. at 668-71. In 1790, the First Congress extended citizenship to “children of citizens”

       born “out of the limits of the United States,” with the proviso that “the right of citizenship shall

       not descend to persons whose fathers have never been resident in the United States.”



                                                        29

                                                                                                   PA225
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 260
                                                92               Date01/31/25
                                                                Filed Filed: 03/04/2025
                                                                                 Page 41 ofEntry
                                                                                            52 ID: 6704290




       Naturalization Act of 1790, ch. 3, 1 Stat. 103, 104. Today, federal law recognizes as a citizen any

       “person born outside of the United States . . . of parents both of whom are citizens of the United

       States and one of whom has had a residence in the United States.” 8 U.S.C. § 1401(c). Many

       other countries have similar laws. See Miller v. Albright, 523 U.S. 420, 477 (1998) (Breyer, J.,

       dissenting).

              3.      Finally, “[c]itizenship is a high privilege, and when doubts exist concerning a grant

       of it, generally at least, they should be resolved in favor of the United States and against the

       claimant.” United States v. Manzi, 276 U.S. 463, 467 (1928); see Berenyi v. Dist. Dir., INS, 385

       U.S. 630, 637 (1967). For the reasons discussed above, the Citizenship Clause is best read not to

       extend citizenship to children born in the U.S. of illegal aliens or of temporary visitors. To the

       extent any ambiguity remains in the Clause, however, the Court should resolve it against extending

       citizenship.

              D.      Plaintiffs’ Contrary Arguments Are Unpersuasive.

              1.      Plaintiffs rely heavily on Wong Kim Ark, see Doe Mem. at 9-10; New Jersey Mem.

       at 10-11, but they misread that precedent. Wong Kim Ark did not concern the status of children

       born in the United States to parents who were illegal aliens or temporary visitors. To the contrary,

       the Court precisely identified the specific question presented:

              whether a child born in the United States, of parents of Chinese descent, who at the
              time of his birth, are subjects of the emperor of China, but have a permanent
              domicile and residence in the United States, and are there carrying on business, and
              are not employed in any diplomatic or official capacity under the emperor of China,
              becomes at the time of his birth a citizen of the United States.

       Wong Kim Ark, 169 U.S. at 653 (emphasis added).

              In analyzing that question, the Court repeatedly relied on fact that the parents were

       permanent residents. For example, it quoted an opinion in which Justice Story recognized that



                                                       30

                                                                                                  PA226
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 261
                                                92                 Date01/31/25
                                                                  Filed Filed: 03/04/2025
                                                                                   Page 42 ofEntry
                                                                                              52 ID: 6704290




       “the children, even of aliens, born in a country, while the parents are resident there under the

       protection of the government, . . . are subjects by birth.” Wong Kim Ark, 169 U.S. at 660 (emphasis

       added) (quoting Inglis, 28 U.S. (3 Pet.) at 164 (Story, J., dissenting)). It quoted the New Jersey

       Supreme Court’s observation that the Fourteenth Amendment codifies “the general rule, that when

       the parents are domiciled here, birth establishes the right to citizenship.” Id. at 692 (emphasis

       added; citation omitted). It explained that “[e]very citizen or subject of another country, while

       domiciled here, is within the allegiance and the protection, and consequently subject to the

       jurisdiction, of the United States.” Id. at 693 (emphasis added). And it noted that “Chinese persons

       . . . owe allegiance to the United States, so long as they are permitted by the United States to reside

       here; and are ‘subject to the jurisdiction thereof,’ in the same sense as all other aliens residing in

       the United States.” Id. at 694 (emphasis added).

              After reviewing the relevant history, the Court reached the following “conclusions”: “The

       Fourteenth Amendment affirms the ancient and fundamental rule of citizenship by birth within the

       territory, in the allegiance and under the protection of the country, including all children born of

       resident aliens.” Wong Kim Ark, 169 U.S. at 693 (emphasis added). Although the Amendment is

       subject to certain “exceptions” (e.g., for “children of foreign sovereigns or their ministers”), the

       Amendment extends citizenship to “children born within the territory of the United States, of all

       other persons, of whatever race or color, domiciled within the United States.” Id. (emphasis

       added). The Court then summed up its holding as follows:

              [A] child born in the United States, of parents of Chinese descent, who, at the time
              of his birth, are subjects of the emperor of China, but have a permanent domicile
              and residence in the United States, . . . and are not employed in any diplomatic or
              official capacity under the emperor of China, becomes at the time of his birth a
              citizen of the United States.

       Id. at 705 (emphasis added).



                                                         31

                                                                                                     PA227
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 262
                                                92                   Date01/31/25
                                                                    Filed Filed: 03/04/2025
                                                                                     Page 43 ofEntry
                                                                                                52 ID: 6704290




               No doubt some statements in Wong Kim Ark could be read to support Plaintiffs’ position.

       But Wong Kim Ark never purported to overrule any part of Elk, and the Supreme Court has

       previously (and repeatedly) recognized Wong Kim Ark’s limited scope. In one case, the Court

       stated that

               [t]he ruling in [Wong Kim Ark] was to this effect: “A child born in the United States,
               of parents of Chinese descent, who, at the time of his birth, are subjects of the
               Emperor of China, but have a permanent domicile and residence in the United
               States, and are there carrying on business, and are not employed in any diplomatic
               or official capacity under the Emperor of China, becomes at the time of his birth a
               citizen.”

       Chin Bak Kan v. United States, 186 U.S. 193, 200 (1902) (emphasis added; citation omitted). In

       another, the Court cited Wong Kim Ark for the proposition that a person is a U.S. citizen by birth

       if “he was born to [foreign subjects] when they were permanently domiciled in the United States.”

       Kwock Jan Fat v. White, 253 U.S. 454, 457 (1920) (citation omitted).

               About a decade after Wong Kim Ark was decided, the Department of Justice likewise

       explained that the decision “goes no further” than addressing children of foreigners “domiciled in

       the United States.” Spanish Treaty Claims Comm’n, U.S. Dep’t of Justice, Final Report of William

       Wallace Brown, Assistant Attorney General 121 (1910).                “[I]t has never been held,” the

       Department continued, “and it is very doubtful whether it will ever be held, that the mere act of

       birth of a child on American soil, to parents who are accidentally or temporarily in the United

       States, operates to invest such child with all the rights of American citizenship. It was not so held

       in the Wong Kim Ark case.” Id. at 124. Commentators, too, continued to acknowledge the

       traditional rule denying citizenship to children of non-resident foreigners.             See, e.g., John

       Westlake, International Law 219-20 (1904) (“[W]hen the father has domiciled himself in the

       Union . . . his children afterwards born there . . . are citizens; but . . . when the father at the time of

       the birth is in the Union for a transient purpose his children born within it have his nationality.”);

                                                           32

                                                                                                         PA228
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 263
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 44 ofEntry
                                                                                             52 ID: 6704290




       Hannis Taylor, A Treatise on International Public Law 220 (1901) (“[C]hildren born in the United

       States to foreigners here on transient residence are not citizens, because by the law of nations they

       were not at the time of their birth ‘subject to the jurisdiction.’”); Henry Brannon, A Treatise on the

       Rights and Privileges Guaranteed by the Fourteenth Amendment to the Constitution of the United

       States 25 (1901) (“[M]ere birth within American territory does not always make the child an

       American citizen. . . . Such is the case with children of aliens born here while their parents are

       traveling or only temporarily resident, or of foreign ministers.”).

              In short, only “those portions of [an] opinion necessary to the result . . . are binding,

       whereas dicta is not,” Arcam Pharm. Corp. v. Faria, 513 F.3d 1, 3 (1st Cir. 2007), and the Wong

       Kim Ark Court itself warned that “general expressions, in every opinion, are to be taken in

       connection with the case in which those expressions are used.” 169 U.S. at 679 (citation omitted).

       The only question that was presented, investigated, and resolved in Wong Kim Ark concerned

       children of parents with “a permanent domicile and residence in the United States.” Id. at 653; see

       id. at 705. The case should not be read as doing anything more than answering that question.

              2.      Nor do Plaintiffs advance their argument by relying on Plyler v. Doe, 457 U.S. 202

       (1982), a case they admit “involved the threshold question of which persons fall ‘within [the United

       States’s] jurisdiction’ for purposes of the Fourteenth Amendment’s Equal Protection Clause.” New

       Jersey Mem. at 11 (quoting U.S. Const. amend. XIV, § 1). But the phrase “within its jurisdiction”

       in the Equal Protection Clause, which focuses on a person’s geographic location, differs from the

       phrase “subject to the jurisdiction thereof” in the Citizenship Clause, which focuses on an

       individual’s personal subjection or allegiance to the United States. As Supreme Court cases

       illustrate, a person may fall outside the scope of the Citizenship Clause even if the person or his

       parents falls within the scope of the Equal Protection Clause. For example, certain children of



                                                        33

                                                                                                    PA229
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 264
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 45 ofEntry
                                                                                             52 ID: 6704290




       members of Indian tribes lack a constitutional right to U.S. citizenship by birth, see Elk, 112 U.S.

       at 102, but Indians are entitled to the equal protection of the laws, see United States v. Antelope,

       430 U.S. 641, 647-650 (1977). Children of foreign diplomats also are not entitled to birthright

       citizenship, see Wong Kim Ark, 169 U.S. at 682, but Plaintiffs do not offer any authority suggesting

       such individuals are not subject to the Equal Protection Clause.

              Plaintiffs also invoke the “common law view known as ‘jus soli,’” i.e., that “citizenship is

       acquired by birth within the sovereign’s territory.” Doe Mem. at 7-8; see also New Jersey Mem.

       at 12. But the Supreme Court “has long cautioned that the English common law ‘is not to be taken

       in all respects to be that of America.’” NYSRPA v. Bruen, 597 U.S. 1, 39 (2022) (citation omitted).

       And that admonition holds particular force here. Cf. United States v. Rahimi, 602 U.S. 680, 722

       & n.3 (2024) (Kavanaugh, J., concurring). The English jus soli tradition was premised on an

       unalterable allegiance to the King (which was conferred via birth on his soil). But this nation was

       founded on breaking from that idea, and grounded citizenship in the social contract, premised on

       mutual consent between person and polity. See, e.g., Cong. Globe, 40th Cong., 2nd Sess. 868

       (1868) (statement of Rep. Woodward) (calling the British tradition an “indefensible feudal doctrine

       of indefeasible allegiance”); id. at 967 (statement of Rep. Bailey) (calling it a “slavish” doctrine);

       id. at 1130-31 (statement of Rep. Woodbridge) (saying it conflicts with “every principle of justice

       and of sound public law” animating America and its independent identity).

              Indeed, the Supreme Court has already held that the Citizenship Clause departs from

       English common law in important respects. For example, the Clause’s exception for certain

       children of members of Indian tribes has no parallel in English law, see Wong Kim Ark, 169 U.S.

       at 693; and the Clause permits voluntary renunciation of citizenship, even though English common

       law did not, see Afroyim v. Rusk, 387 U.S. 253, 257-262 (1967). This Court should thus interpret



                                                        34

                                                                                                    PA230
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 265
                                                92                 Date01/31/25
                                                                  Filed Filed: 03/04/2025
                                                                                   Page 46 ofEntry
                                                                                              52 ID: 6704290




       the Citizenship Clause in light of American common-law principles, and as shown above, those

       principles do not support birthright citizenship for children of illegal aliens or temporary visitors.

              Plaintiffs also point to 20th century Executive Branch precedent that accords with their

       view. See New Jersey Mem. at 13. But the scope of the Citizenship Clause turns on what it meant

       in 1868, not on what the Executive Branch assumed it meant during parts of the 20th century. See,

       e.g., Bruen, 597 U.S. at 66 n.28 (declining to consider “20th-century evidence” in interpreting the

       Constitution). Nor is it unusual for the Supreme Court, after fully exploring a legal issue, to reach

       a conclusion that conflicts with earlier assumptions. See, e.g., Oklahoma v. Castro-Huerta, 597

       U.S. 629, 644-45 (2022) (holding that states may prosecute non-Indians for crimes against Indians

       in Indian country despite decades of contrary Supreme Court dicta); District of Columbia v. Heller,

       554 U.S. 570, 624 n.24 (2008) (holding that the Second Amendment protects an individual right

       even though lower courts had long read it to protect a collective right); INS v. Chadha, 462 U.S.

       919, 944-45 (1983) (holding the legislative veto unconstitutional even though Congress had

       enacted, and the President had signed, almost 300 legislative-veto provisions over the preceding

       50 years).

       IV.    Plaintiffs Will Not Suffer Irreparable Harm During the Pendency of This Lawsuit.

              As discussed above, the state plaintiffs lack standing to challenge the Citizenship EO; by

       definition, they cannot show that it will cause them irreparable harm. In any event, the states fail

       to establish that their claimed pecuniary harms are irreparable. The states’ asserted “operational

       chaos” and costs associated with developing new citizenship “eligibility verification systems,”

       New Jersey Mem. at 16, for example, are not directly attributable to the EO and hardly “threaten

       the existence of [their] business.” NACM-New England, Inc. v. Nat’l Ass’n of Credit Mgmt., Inc.,

       927 F.3d 1, 5 (1st Cir. 2019) (citation omitted). And even assuming arguendo that financial harms



                                                        35

                                                                                                    PA231
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 266
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 47 ofEntry
                                                                                             52 ID: 6704290




       could be irreparable if they were unable to be “recouped,” New Jersey Mem. at 15, the state

       plaintiffs fail to show that their feared loss of federal funding and reimbursements are truly

       unrecoverable. For instance, they do not explain how they would be unable to adjudicate their

       claims in separate proceedings when they seek reimbursement or whether there are any available

       administrative processes to recover federal monies to which the states claim entitlement after the

       conclusion of this litigation. Cf. Kaiser v. Blue Cross of Cal., 347 F.3d 1107, 1115-16 (9th Cir.

       2003) (finding that a party asserting a claim for Medicare reimbursement would not be irreparably

       harmed by exhausting claims through an administrative review process).

              The private plaintiffs similarly fail to establish any injury “of such imminence that there is

       a ‘clear and present need for relief to prevent irreparable harm.’” Sierra Club v. Larson, 769 F.

       Supp. 420, 422 (D. Mass. 1991) (citation omitted). They claim that the EO would “render

       [covered] newborns . . . deportable at birth,” Doe Mem. at 9, or “stateless,” id. at 13. But the

       Citizenship EO does not, by its terms, mandate that outcome with certainty for any plaintiff in this

       case. As discussed above, Section 1 declares the Executive Branch’s policy against recognizing

       birthright citizenship in certain situations, but the implementation and enforcement of the

       Citizenship EO are left to agencies under Section 3. See Citizenship EO § 3(a)-(b). That

       implementation and enforcement have yet to occur, and no agency has taken any action pursuant

       to the EO to determine the immigration status of Ms. Doe or the organizational plaintiffs’ identified

       members, much less initiate any deportation actions.

              Indeed, Ms. Doe and her husband have “pending asylum applications.” Decl. of O. Doe

       ¶ 2, Doe ECF No. 11-1. Were such applications to be granted, they would receive “a path to

       citizenship, eligibility for certain government benefits, and the chance for family members to

       receive asylum as well.” Cap. Area Immigrants’ Rts. Coal. v. Trump, 471 F. Supp. 3d 25, 32



                                                        36

                                                                                                   PA232
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 267
                                                92                   Date01/31/25
                                                                    Filed Filed: 03/04/2025
                                                                                     Page 48 ofEntry
                                                                                                52 ID: 6704290




       (D.D.C. 2020). Moreover, if any removal action were initiated against the children of any of the

       private plaintiffs at issue in this case, the subject of the action could assert their claim to citizenship

       as defense in that proceeding. See 8 U.S.C. § 1252(b)(5). Because the precise effects of the EO

       are yet to materialize, Plaintiffs must speculate at what specific harms the Citizenship EO might

       ultimately cause. See, e.g., Charlesbank Equity Fund II v. Blinds To Go, Inc., 370 F.3d 151, 162

       (1st Cir. 2004) (“A finding of irreparable harm must be grounded on something more than

       conjecture, surmise, or a party’s unsubstantiated fears of what the future may have in store.”).

               This same rationale undercuts the Doe plaintiffs’ remaining arguments that “children

       subject to the EO” would be deprived of the benefits of citizenship and “suffer compromised health

       and decreased housing access.” See Doe Mem. at 14 (capitalization normalized). Setting aside

       that some of these claimed harms (e.g., denial of rights to vote or hold public office) could not

       happen to anyone for many years, the Doe plaintiffs generally describe the population-wide effects

       of the EO. They offer no concrete evidence that Ms. Doe’s child or the children of any identified

       member of the organizational plaintiffs plans to travel internationally or will lose access to

       healthcare or housing as a result of the EO during the pendency of this litigation. See Boston

       Parent Coal. for Acad. Excellence Corp. v. Sch. Comm. of Bos., 996 F.3d 37, 44 (1st Cir. 2021)

       (“simply showing some possibility of irreparable injury” is insufficient) (citation omitted). And

       in any event, if an individual were actually “denied” any “right or privilege” of citizenship, 8

       U.S.C. § 1503 provides an adequate legal remedy to avoid any irreparable harm. See supra Sec.

       II.A; Charlesbank Equity Fund II, 370 F.3d at 162 (a party cannot show irreparable harm if it has

       an “adequate” “legal remedy”).

       V.      The Public Interest Does Not Favor an Injunction.

               Plaintiffs’ asserted harms are outweighed by the harm to the government and public interest



                                                           37

                                                                                                         PA233
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 268
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 49 ofEntry
                                                                                             52 ID: 6704290




       that would result from the extraordinary relief Plaintiffs request. See Nken v. Holder, 556 U.S.

       418, 435 (2009) (noting that the balancing of harms and public interest requirement for emergency

       injunctive relief merge when “the Government is the opposing party”). As the Supreme Court has

       recognized, Executive officials must have “broad discretion” to manage the immigration system.

       Arizona v. United States, 567 U.S. 387, 395-96 (2012). It is the United States that has “broad,

       undoubted power over the subject of immigration and the status of aliens,” id. at 394, and providing

       Plaintiffs with their requested relief would mark a severe intrusion into this core executive

       authority, see INS v. Legalization Assistance Project, 510 U.S. 1301, 1305-06 (1993) (O’Connor,

       J., in chambers) (warning against “intrusion by a federal court into the workings of a coordinate

       branch of the Government”); see also Doe #1 v. Trump, 957 F.3d 1050, 1084 (9th Cir. 2020)

       (Bress, J., dissenting) (an injunction that limits presidential authority is “itself an irreparable

       injury” (citing Maryland v. King, 567 U.S. 1301 (2012)).

       VI.    Any Relief Should Be Limited.

              For the reasons above, the Court should deny Plaintiffs’ motions in their entirety. But even

       if the Court determines that a preliminary injunction is appropriate, it should limit its scope in at

       least three ways. First, nationwide relief would be improper because “injunctive relief should be

       no more burdensome to the defendant than necessary to provide complete relief to the plaintiffs.”

       Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994) (citation omitted). Although the

       state plaintiffs suggest that a nationwide injunction is necessary because, in their view, “the issue

       [of the scope of birthright citizenship] has already been settled for this Nation,” New Jersey Mem.

       at 19, the propriety of a plaintiff’s remedy “must be tailored to redress the plaintiff’s particular

       injury”—not to how correct a plaintiff believes his position to be. See Gill v. Whitford, 585 U.S.

       48, 73 (2018). And while the states contend that allowing the EO to take effect in other states and



                                                        38

                                                                                                   PA234
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 269
                                                92                  Date01/31/25
                                                                   Filed Filed: 03/04/2025
                                                                                    Page 50 ofEntry
                                                                                               52 ID: 6704290




       not theirs would have spillover effect on state expenditures, see New Jersey Mem. at 19, that is the

       case with any nationwide policy and is not sufficient to justify nationwide relief. To prevent

       ordering “the government to act or refrain from acting toward nonparties in the case,” Arizona v.

       Biden, 40 F.4th 375, 396 (6th Cir. 2022) (Sutton, C.J., concurring), the Court should limit any

       relief to any party before it that is able to establish an entitlement to preliminary injunctive relief.

               Second, “courts do not have jurisdiction to enjoin [the President] . . . and have never

       submitted the President to declaratory relief.” Newdow v. Roberts, 603 F.3d 1002, 1013 (D.C. Cir.

       2010) (citations omitted); see Franklin, 505 U.S. at 802–03 (“[I]n general ‘this court has no

       jurisdiction of a bill to enjoin the President in the performance of his official duties.’” (citation

       omitted)); id. at 827 (Scalia, J., concurring in part) (“[W]e cannot issue a declaratory judgment

       against the President.”); Mississippi v. Johnson, 71 U.S. 475, 501 (1866). Accordingly, the Court

       lacks jurisdiction to enter Plaintiffs’ requested relief against the President and should dismiss him

       as a defendant in both actions.

               Third, the Court should reject Plaintiffs’ facial challenges to the Citizenship EO so that its

       lawfulness can be determined in individual as-applied challenges, consistent with the process

       established by the INA. To mount a successful facial challenge, a plaintiff must show that “no set

       of circumstances exists” under which the challenged provision “would be valid,” Rahimi, 602 U.S.

       at 693 (citation omitted), and as explained in the merits section of the brief, Plaintiffs have failed

       to do so here. See supra Sec. III. 6




               6
                Because Plaintiffs’ claims are purely legal and fully addressed in the parties’ briefing on
       the instant motions, Defendants request that the Court consolidate the February 7 preliminary
       injunction hearing with a trial on the merits, pursuant to Federal Rule of Civil Procedure 65(a)(2).
       See also Fed. R. Civ. P. 54(b)(2) (allowing a court to “direct entry of a final judgment as to one or
       more, but fewer than all, claims . . . if the court expressly determines that there is no just reason
       for delay”).
                                                         39

                                                                                                      PA235
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 270
                                                92               Date01/31/25
                                                                Filed Filed: 03/04/2025
                                                                                 Page 51 ofEntry
                                                                                            52 ID: 6704290




                                                 CONCLUSION

              For the foregoing reasons, the Court should deny the preliminary injunction motion that

       has been filed in each of the related cases.


       Dated: January 31, 2025                        BRETT A. SHUMATE
                                                      Acting Assistant Attorney General
                                                      Civil Division

                                                      LEAH B. FOLEY
                                                      United States Attorney

                                                      ALEXANDER K. HAAS
                                                      Branch Director

                                                      BRAD P. ROSENBERG
                                                      Special Counsel

                                                      /s/ R. Charlie Merritt
                                                      R. CHARLIE MERRITT (VA Bar No. 89400)
                                                      YURI S. FUCHS
                                                      U.S. Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      1100 L Street, NW
                                                      Washington, DC 20005
                                                      Phone: 202-616-8098
                                                      Fax: 202-616-8460
                                                      Email: robert.c.merritt@usdoj.gov

                                                      Attorneys for Defendants




                                                        40

                                                                                             PA236
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 271
                                                92                Date01/31/25
                                                                 Filed Filed: 03/04/2025
                                                                                  Page 52 ofEntry
                                                                                             52 ID: 6704290




                                        CERTIFICATE OF SERVICE
              I hereby certify that this document filed through the CM/ECF system will be sent

       electronically to the registered participants as identified on the NEF.

       Dated: January 31, 2025



                                                             /s/ R. Charlie Merritt
                                                             R. Charlie Merritt




                                                                                            PA237
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 272
                                                123              Date
                                                                 Filed Filed: 03/04/2025
                                                                       02/04/25     Page 1 ofEntry
                                                                                              19 ID: 6704290




                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MASSACHUSETTS


       STATE OF NEW JERSEY;
       COMMONWEALTH OF MASSACHUSETTS;
       STATE OF CALIFORNIA; STATE OF
       COLORADO; STATE OF CONNECTICUT;
       STATE OF DELAWARE; DISTRICT OF
       COLUMBIA; STATE OF HAWAI‘I; STATE
       OF MAINE; STATE OF MARYLAND;
       ATTORNEY GENERAL DANA NESSEL
       FOR THE PEOPLE OF MICHIGAN; STATE
       OF MINNESOTA; STATE OF NEVADA;
       STATE OF NEW MEXICO; STATE OF NEW
       YORK; STATE OF NORTH CAROLINA;
       STATE OF RHODE ISLAND; STATE OF
       VERMONT; STATE OF WISCONSIN; and
       CITY & COUNTY OF SAN FRANCISCO,

                                    Plaintiffs,                      No. 1:25-cv-10139-LTS
              v.
                                                                    Leave to File Granted on
       DONALD J. TRUMP, in his official capacity                 January 24, 2025 [ECF No. 71]
       as President of the United States; U.S.
       DEPARTMENT OF STATE; MARCO
       RUBIO, in his official capacity as Secretary of
       State; U.S. DEPARTMENT OF HOMELAND
       SECURITY; KRISTI NOEM, * in her official
       capacity as Secretary of Homeland Security;
       U.S. DEPARTMENT OF HEALTH AND
       HUMAN SERVICES; DOROTHY FINK, in
       her official capacity as Acting Secretary of
       Health and Human Services; U.S. SOCIAL
       SECURITY ADMINISTRATION;
       MICHELLE KING, in her official capacity as
       Acting Commissioner of Social Security, and
       UNITED STATES OF AMERICA,

                                    Defendants.


                                REPLY IN SUPPORT OF PLAINTIFFS’
                              MOTION FOR A PRELIMINARY INJUNCTION

       *
           Automatically substituted for Benjamine Huffman pursuant to Fed. R. Civ. P. 25(d).




                                                                                                 PA238
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 273
                                                123                                          Date
                                                                                             Filed Filed: 03/04/2025
                                                                                                   02/04/25     Page 2 ofEntry
                                                                                                                          19 ID: 6704290




                                                           TABLE OF CONTENTS

                                                                                                                                              Page(s)

       INTRODUCTION ...........................................................................................................................1

       ARGUMENT ...................................................................................................................................1

            I.         PLAINTIFFS HAVE STANDING UNDER SETTLED LAW.....................................1
            II.        PLAINTIFFS HAVE VALID CAUSES OF ACTION UNDER SETTLED
                       LAW ..............................................................................................................................3
            III.       PLAINTIFFS’ CLAIMS PREVAIL ON ALL MERITS UNDER SETTLED
                       LAW ..............................................................................................................................4
            IV.        PLAINTIFFS’ REMEDY FOLLOWS FROM SETTLED LAW .................................9

       CONCLUSION ..............................................................................................................................10




                                                                               i
                                                                                                                                             PA239
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 274
                                                123                                      Date
                                                                                         Filed Filed: 03/04/2025
                                                                                               02/04/25     Page 3 ofEntry
                                                                                                                      19 ID: 6704290




                                                      TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

       Cases

       Arizona v. United States,
           567 U.S. 387 (2012) .................................................................................................................10

       Armstrong v. Exceptional Child Ctr., Inc.,
          575 U.S. 320 (2015) ...................................................................................................................3

       Bell v. Hood,
           327 U.S. 678 (1946) ...................................................................................................................3

       Benny v. O’Brien,
          32 A. 696 (N.J. 1895).................................................................................................................7

       Biden v. Nebraska,
          600 U.S. ___, 143 S. Ct. 2355 (2023) ................................................................................1, 2, 3

       ChildCareGroup v. Dep’t of Health & Human Servs.,
          DAB No. 3010 (2020)................................................................................................................9

       CREW v. Trump,
         302 F. Supp. 3d 127 (D.C. Cir. 2018) ......................................................................................10

       Dep’t of Com. v. New York,
          588 U.S. 752 (2019) ...................................................................................................................1

       DeVillier v. Texas,
          601 U.S. 285 (2024) ...................................................................................................................4

       Elk v. Wilkins,
           112 U.S. 94 (1884) .................................................................................................................5, 6

       Free Enter. Fund v. PCAOB,
          561 U.S. 477 (2010) ...................................................................................................................3

       Gamble v. United States,
         587 U.S. 678 (2019) ...................................................................................................................7

       Haaland v. Brackeen,
          599 U.S. 255 (2023) ...............................................................................................................2, 3

       Harmon v. Brucker,
          355 U.S. 579 (1958) ...................................................................................................................3




                                                                           ii
                                                                                                                                       PA240
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 275
                                                123                                      Date
                                                                                         Filed Filed: 03/04/2025
                                                                                               02/04/25     Page 4 ofEntry
                                                                                                                      19 ID: 6704290




       Hawaiʻi v. Trump,
         859 F.3d 741 (9th Cir. 2017) ...................................................................................................10

       United States ex rel. Hintopoulos v. Shaughnessy,
          353 U.S. 72 (1957) .....................................................................................................................7

       INS v. Rios-Pineda,
          471 U.S. 444 (1985) ...................................................................................................................7

       Kentucky v. Biden,
          23 F.4th 585 (6th Cir. 2022) ....................................................................................................10

       Lamar, Archer & Cofrin, LLP v. Appling,
          584 U.S. 709 (2018) ...................................................................................................................8

       Massachusetts v. EPA,
         549 U.S. 497 (2007) ...................................................................................................................3

       Massachusetts v. HHS,
         923 F.3d 209 (1st Cir. 2019) ..................................................................................................1, 3

       Missouri v. Biden,
          738 F. Supp. 3d 1113 (E.D. Mo. 2024)....................................................................................10

       New York v. Yellen,
          15 F.4th 569 (2d Cir. 2021) ...................................................................................................2, 3

       Nishikawa v. Dulles,
          356 U.S. 129 (1958) ...................................................................................................................9

       Plyler v. Doe,
           457 U.S. 202 (1982) ...................................................................................................................7

       Schooner Exch. v. McFaddon,
          11 U.S. 116 (1812) .....................................................................................................................6

       South Carolina v. Katzenbach,
          383 U.S. 301 (1966) ...............................................................................................................2, 3

       South Carolina v. Regan,
          465 U.S. 367 (1984) ...................................................................................................................3

       State v. Nelson,
           576 F. Supp. 3d 1017 (M.D. Fla. 2021) ...................................................................................10

       Texas v. United States,
          599 U.S. 670 (2023) ...................................................................................................................2




                                                                           iii
                                                                                                                                       PA241
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 276
                                                123                                   Date
                                                                                      Filed Filed: 03/04/2025
                                                                                            02/04/25     Page 5 ofEntry
                                                                                                                   19 ID: 6704290




       Ticor Title Ins. Co. v. FTC,
          814 F.2d 731 (D.C. Cir. 1987) ...................................................................................................4

       United States v. Place,
          693 F.3d 219 (1st Cir. 2012) ......................................................................................................8

       United States v. Wong Kim Ark,
          169 U.S. 649 (1898) .............................................................................................4, 5, 6, 7, 8, 10

       Statutes

       Nationality Act of 1940, ch. 876, § 201, 54 Stat. 1137 ...................................................................8

       Other Authorities

       Hrgs. Before Comm. on Imm. & Naturalization on H.R. 6127,
          76th Cong. 37 (1940) (Ex. B) ....................................................................................................8

       James C. Ho, Defining “American:” Birthright Citizenship & the Original
          Understanding of the 14th Amendment, 9 Green Bag 2d 367 (2006) ........................................8

       Legislation Denying Citizenship at Birth to Certain Children Born in the U.S.,
          19 Op. 340, 1995 WL 1767990 (1995) ...............................................................................9, 10

       Noah Webster, An American Dictionary of the English Language
          (George & Charles Merriam 1860) (Ex. A) ...............................................................................5




                                                                         iv
                                                                                                                                  PA242
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 277
                                                123                Date
                                                                   Filed Filed: 03/04/2025
                                                                         02/04/25     Page 6 ofEntry
                                                                                                19 ID: 6704290




                                               INTRODUCTION

              Defendants’ responses all suffer the same fatal defect: they conflict with binding precedent.

       Defendants’ claim that Plaintiffs lack standing to challenge a policy that works direct, predictable,

       and imminent fiscal harm contradicts both Supreme Court and First Circuit decisions. Their view

       that courts may not enjoin federal officials’ unconstitutional acts absent an additional statutory

       cause of action has been repeatedly rejected. Their claim that the President can exclude, by

       executive fiat, children born on U.S. soil from the Constitution’s promise of citizenship is contrary

       to caselaw, history, and a federal statute. And their remedial arguments are inconsistent with settled

       law. This Court need only cite binding and well-reasoned Supreme Court precedents to resolve

       this dispute—and to invalidate this unprecedented attack on an inviolable constitutional principle.

                                                  ARGUMENT

       I.     PLAINTIFFS HAVE STANDING UNDER SETTLED LAW.

              Controlling decisions have consistently held that States may challenge federal actions that

       increase state spending or deprive the States of federal funds. Recently, for example, the Supreme

       Court allowed Missouri to challenge a federal student-debt relief plan because its instrumentality

       would collect fewer fees for servicing federal loans under the plan. Biden v. Nebraska, 600 U.S.

       ___, 143 S. Ct. 2355, 2366 (2023); accord, e.g., Dep’t of Com. v. New York, 588 U.S. 752, 767

       (2019) (States could challenge proposed census question because it would cause them to “lose out

       on federal funds”). The First Circuit has likewise recognized Massachusetts’ standing to challenge

       a federal regulation allowing health plans to opt out of contraceptive coverage because the

       Commonwealth would bear the cost of replacing some of that coverage. Massachusetts v. HHS,

       923 F.3d 209, 222-27 (1st Cir. 2019). Plaintiffs here have established, with ample and undisputed

       evidence, that the Order will have a similarly direct and imminent effect on their budgets in light

       of their preexisting policies—an injury this Court can redress. See Doc. No. 5 at 14-15, 21-23.


                                                         1
                                                                                                    PA243
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 278
                                                123                Date
                                                                   Filed Filed: 03/04/2025
                                                                         02/04/25     Page 7 ofEntry
                                                                                                19 ID: 6704290




              Defendants’ responses flout precedent. Defendants first claim that Plaintiffs lack standing

       because their injuries are “incidental” effects of the Order. They rely on Texas v. United States,

       599 U.S. 670 (2023), but that case—as the Supreme Court held—was an “extraordinarily unusual

       lawsuit” in which two States asked “the Federal Judiciary to order the Executive Branch to …

       make more arrests.” Id. at 674, 686. The Court ultimately found a lack of standing based on unique

       concerns about prosecutorial discretion that have no purchase here. See id. at 676-81. The Texas

       plaintiffs, moreover, had offered only a vague contention that “the[y] would incur additional costs

       because the Federal Government [was] not arresting more noncitizens.” Id. at 676. Here, by

       contrast, the record shows direct and predictable links between the Order and Plaintiffs’ impending

       financial loss. As Nebraska held, that satisfies Article III. See 143 S. Ct. at 2366.

              Defendants’ claim that Plaintiffs lack standing because their injuries are “self-inflicted” is

       likewise contrary to settled law. See Doc. No. 92 at 19-20 (arguing that Plaintiffs “voluntarily

       chose[] to provide” benefits to noncitizens). If Defendants’ characterization were enough to defeat

       standing, the result in both Nebraska and Massachusetts would have been different: federal law

       did not force Missouri to service federal student loans, and Massachusetts had no federal obligation

       to cover contraceptive care. That both States nevertheless had standing—given the predictable

       harm to their treasuries based on their preexisting policies—shows that Defendants’ sweeping

       conception of “self-inflicted” injury is inconsistent with settled law. See, e.g., New York v. Yellen,

       15 F.4th 569, 575-77 (2d Cir. 2021) (standing based on predictable fiscal harm to state taxes).

              Finally, Defendants incorrectly argue that Plaintiffs improperly advance the rights of third

       parties under the Citizenship Clause. In fact, Plaintiffs press their own interests in avoiding fiscal

       harm from an unlawful executive order. Defendants’ reference to parens patriae suits is thus a non

       sequitur. So is their reliance on South Carolina v. Katzenbach, 383 U.S. 301 (1966), and Haaland




                                                         2
                                                                                                    PA244
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 279
                                                123                Date
                                                                   Filed Filed: 03/04/2025
                                                                         02/04/25     Page 8 ofEntry
                                                                                                19 ID: 6704290




       v. Brackeen, 599 U.S. 255 (2023): the States in those cases did not suffer concrete harm at all—

       much less the kind of quintessential fiscal harm here. See, e.g., Haaland, 599 U.S. at 296 (“Texas

       is not injured by the [allegedly unequal] placement preferences [for Indian children].”). 1

       II.    PLAINTIFFS HAVE VALID CAUSES OF ACTION UNDER SETTLED LAW.

              Plaintiffs properly seek declaratory and injunctive relief to avoid injury from an Order that

       is both ultra vires under the Constitution and INA (Counts I-III) and unlawful under the APA

       (Count IV). Defendants argue that “the Constitution does not generally provide a cause of action

       to pursue affirmative relief,” Doc. No. 92 at 24, but the Supreme Court has repeatedly held that

       plaintiffs may pursue prospective equitable relief without a separate statutory cause of action to

       stop government officials from violating the Constitution or exceeding their lawful authority. See

       Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 329 (2015) (describing “equitable relief

       that is traditionally available to enforce federal law”); Free Enter. Fund v. PCAOB, 561 U.S. 477,

       491 n.2 (2010) (recognizing, “as a general matter,” a “private right of action directly under the

       Constitution”); Harmon v. Brucker, 355 U.S. 579, 581-82 (1958) (similar); Bell v. Hood, 327 U.S.

       678, 684 (1946) (similar). 2 Indeed, the case Defendants cite confirms the point: even as the Court


       1
         That one of Plaintiffs’ claims rests on the violation of an individual constitutional right does not
       change that conclusion. Indeed, Massachusetts arose in the same posture: the Commonwealth
       asserted (among other things) that the regulation violated the Equal Protection Clause, see 301 F.
       Supp. 3d 248, 250 (D. Mass. 2018), and the First Circuit held that it had standing to seek relief for
       its pocketbook injuries, 923 F.3d at 222. Moreover, Plaintiffs are not challenging the
       constitutionality of federal statutes, as in Katzenbach and Haaland, but an executive action that
       violates federal law. Cf. Massachusetts v. EPA, 549 U.S. 497, 520 n.17 (2007) (explaining “critical
       difference between allowing a State ‘to protect her citizens from the operation of federal statutes’
       … and allowing a State to assert its rights under federal law (which it has standing to do)”).
       2
        This logic also applies to the INA claim, which is a separation-of-powers claim positing that the
       Executive contravened the limits Congress placed on it. Notably, the plaintiff states in Nebraska
       brought exactly that kind of ultra vires claim. See J.A. 36-37, 143 S. Ct. 2355 (2023),
       www.bit.ly/40YajdR. Nor is there any basis to claim Plaintiffs have some alternative remedy here,
       see Doc. No. 92 at 23-25, because they cannot file challenges to adjudicate an individual’s



                                                         3
                                                                                                     PA245
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 280
                                                123                Date
                                                                   Filed Filed: 03/04/2025
                                                                         02/04/25     Page 9 ofEntry
                                                                                                19 ID: 6704290




       declined to address whether the Takings Clause permits damages claims, it cited numerous cases

       allowing injunctive relief under the Clause. DeVillier v. Texas, 601 U.S. 285, 292 (2024).

              Defendants also err in arguing that Plaintiffs’ APA claims fail on the ground that any

       agency action is nonfinal. Even assuming Defendants’ premise, the APA permits judicial review

       of nonfinal agency action in the event of an “outright violation of a clear statutory provision.”

       Ticor Title Ins. Co. v. FTC, 814 F.2d 731, 749 (D.C. Cir. 1987). Such a clear violation exists here.

       The President ordered defendant agencies to take blatantly unlawful action by February 19. The

       illegality of those actions does not depend on any forthcoming decisions. For example, whether

       the SSA may deny Social Security cards to children born on U.S. soil does not turn on the precise

       denial process that SSA implements. In those circumstances, an APA suit is appropriate.

       III.   PLAINTIFFS’ CLAIMS PREVAIL ON THE MERITS UNDER SETTLED LAW.

              Defendants’ interpretation of birthright citizenship is contrary to Supreme Court precedent,

       centuries of history, and a longstanding federal statute.

              While Defendants seek to distinguish Wong Kim Ark on its facts, see Doc. No. 92 at 30-

       32, that case provided a considered and detailed analysis of the Fourteenth Amendment’s text,

       common-law backdrop, and originalist sources in holding that U.S.-born children of foreigners

       have birthright citizenship subject only to certain precisely defined exceptions—none of which is

       based on the duration or lawfulness of their parents’ presence in the country. See Doc. No. 5 at 16-

       17; United States v. Wong Kim Ark, 169 U.S. 649, 693 (1898). 3 Indeed, while Defendants’ core

       premise is that whether one is “subject to the jurisdiction” of the United States does not turn on


       citizenship. Cf. South Carolina v. Regan, 465 U.S. 367, 373 (1984); New York, 15 F.4th at 577-79
       (rejecting argument that Anti-Injunction Act bars suits by States, who cannot bring their own tax-
       refund suits and thus lack adequate alternative remedies).
       3
         The exception for “alien enemies in hostile occupation,” Doc. No. 92 at 38, is plainly
       inapplicable: neither undocumented nor temporary immigrants exert hostile territorial control.


                                                         4
                                                                                                    PA246
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 281
                                               123               Date 02/04/25
                                                                 Filed Filed: 03/04/2025    Entry
                                                                                   Page 10 of 19 ID: 6704290




       whether a person must obey U.S. laws, Doc. No. 92 at 26, Wong Kim Ark is explicit: “[A]n alien

       is completely subject to the political jurisdiction of the country in which he resides” because “for

       so long a time as he continues within the dominions of a foreign government,” he “owes obedience

       to the laws of that government.” 169 U.S. at 693-94. Similarly, though Defendants contend that a

       person is “subject to the jurisdiction” if he is born “in the allegiance” of the United States, Doc.

       No. 92 at 27-28, the Court explained that “allegiance” in this context means “nothing more than

       the tie or duty of obedience” to the sovereign’s laws. 169 U.S. at 659. 4 Because no one could

       dispute that noncitizens here with temporary status or without authorization have a “duty of

       obedience” to U.S. laws, they are subject to U.S. jurisdiction—and their children are citizens.

              Defendants seek support from Elk v. Wilkins, 112 U.S. 94 (1884), but that case confirms

       Plaintiffs’ position. Elk explained that the “evident meaning” of the phrase “subject to the

       jurisdiction” is “not merely subject in some respect or degree to the jurisdiction of the United

       States, but completely subject to their political jurisdiction.” Id. at 102 (emphasis added); Wong

       Kim Ark, 169 U.S. at 680 (same). That distinction refutes Defendants’ surplusage argument, Doc.

       No. 92 at 27 (asserting that Native Americans and foreign diplomats are “subject, at least to some

       extent” to the nation’s legal authority). The children of Native Americans and diplomats are not

       “subject to the jurisdiction” within the meaning of the Citizenship Clause because they enjoy

       substantial—even if not unlimited—immunity. Elk, 112 U.S. at 99-100 (Native Americans

       generally exempt from taxation and federal laws); Wong Kim Ark, 169 U.S. at 678-79 (various

       “immunities” to which foreign ambassadors and ministers are “entitled by the law of nations”). By


       4
         See also id. at 708 (Fuller, J., dissenting) (using “allegiance” and “obedience” interchangeably);
       Noah Webster, An American Dictionary of the English Language 35 (George & Charles Merriam
       1860) (Ex. A) (defining “allegiance” as “[t]he tie or obligation of a subject to his prince or
       government; the duty of fidelity to a king, government, or state,” and noting “[e]very native or
       citizen owes allegiance to the government under which he is born”).


                                                        5
                                                                                                  PA247
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 282
                                               123               Date 02/04/25
                                                                 Filed Filed: 03/04/2025    Entry
                                                                                   Page 11 of 19 ID: 6704290




       contrast, those here without legal authorization or with temporary status are not afforded such

       broad immunity from our laws—and so are “subject to the jurisdiction” of the United States.

       Moreover, Elk emphasized that the petitioner was born into an “alien nation” within the United

       States, effectively “within the domain of a foreign government,” 112 U.S. at 99—a singular

       distinction applicable to tribal members that does not apply to the children excluded by the Order.

              Defendants’ efforts to equate jurisdiction with “domicile” also fail. See Doc. No. 92 at 30-

       31 (claiming “temporary visitors and unlawfully present aliens” lack “allegiance” to the United

       States absent “domicile”). As Wong Kim Ark noted, the English common-law and Founding-era

       understandings of jurisdiction on which its holding was based were entirely distinct from domicile.

       See 169 U.S. at 657 (noting at common law that “every person born within the dominions of the

       crown … whether the parents were settled, or merely temporarily sojourning, in the country, was

       an English subject”); id. at 686 (discussing C.J. Marshall’s explication of “jurisdiction” in

       Schooner Exch. v. McFaddon, 11 U.S. 116 (1812), when concluding that “private individuals of

       another nation” who visit a country “for purposes of business or pleasure” are not “exempt[] from

       the jurisdiction of the country in which they are found”); 11 U.S. at 144 (holding “merchant vessels

       enter[ing] for the purposes of trade” must “owe temporary and local allegiance” and be “amenable

       to the jurisdiction of the country,” or else they would “subject the laws” of that country “to

       continual infraction”). As Wong Kim Ark put it, whether a person “within the dominions of a

       foreign government” is subject to that government’s jurisdiction operates “[i]ndependently of”

       their “intention to continue such residence” or “domiciliation.” 169 U.S. at 693-94. 5 While Wong



       5
         Defendants’ reliance on a hodgepodge of historical sources at odds with Wong Kim Ark’s clear
       rejection of their “domicile” theory, see Doc. No. 92 at 32-38, is simply an attempt to relitigate
       binding precedent. All of these sources predate Wong Kim Ark, most are considered in that opinion,
       and several are featured by the dissent. Compare Doc. No. 92 at 32-38 with Wong Kim Ark, 169



                                                        6
                                                                                                  PA248
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 283
                                               123               Date 02/04/25
                                                                 Filed Filed: 03/04/2025    Entry
                                                                                   Page 12 of 19 ID: 6704290




       Kim Ark notes that domicile in a nation would be sufficient to require their allegiance and subject

       that person to the nation’s jurisdiction, Doc. No. 92 at 30-31, Defendants make a logical error in

       claiming domicile is therefore necessary. Nor does Wong Kim Ark stand alone. See INS v. Rios-

       Pineda, 471 U.S. 444, 446 (1985) (unanimously noting child of undocumented resident was a

       citizen); United States ex rel. Hintopoulos v. Shaughnessy, 353 U.S. 72, 73 (1957) (noting U.S.-

       born child was “of course, an American citizen by birth,” despite parents’ “illegal presence”). 6

              Defendants cannot overcome Supreme Court precedent, and the text and history underlying

       it, by citing the 1866 Civil Rights Act, which granted statutory citizenship to persons born in the

       United States “not subject to any foreign power.” Doc. No. 92 at 28-29. Even leaving aside that

       “one version of a text is shoddy evidence of the public meaning of an altogether different text,”

       Gamble v. United States, 587 U.S. 678, 684 (2019), Defendants do not explain why immigrants

       here with temporary status or without lawful status are subject to a foreign power. Their argument

       again appears predicated on a vague understanding of “allegiance,” see Doc. No. 92 at 28-29, but

       there is no dispute that these groups owe allegiance to—i.e., have a duty to obey the laws of—the

       United States while here, like lawful permanent residents. In any event, Wong Kim Ark carefully

       considered how the earlier statutory language differed from the Citizenship Clause, and determined

       that the difference reaffirmed the drafters’ intent broadly to confer citizenship to those born on


       U.S. at 661, 679 (citing Story, Conflict of Laws § 48); id. at 666 (citing Hall, International Law
       § 68 (4th ed.)); id. at 692-93 (citing Benny v. O’Brien, 32 A. 696 (N.J. 1895)); id. at 708 (dissent)
       (citing Vattel, Law of Nations § 212); id. at 718 (dissent) (quoting Story); id. at 718-19 (dissent)
       (citing Miller, Lectures on Constitutional Law at 279); id. at 719 (dissent) (discussing Hausding
       and Greisser passport denials). The Wong Kim Ark majority soundly rejected Defendants’ view.
       6
         Plyler v. Doe also makes clear that there is “no plausible distinction with respect to Fourteenth
       Amendment ‘jurisdiction’ can be drawn between resident aliens whose entry into the United States
       was lawful, and resident aliens whose entry was unlawful.” 457 U.S. 202, 211 n.10 (1982). The
       fact that tribal members are entitled to equal protection when States exercise their limited
       jurisdiction against them, Doc. No. 92 at 44-45, even though they are not “completely subject” to
       U.S. jurisdiction under the Citizenship Clause, does not negate Plyler’s holding.


                                                        7
                                                                                                   PA249
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 284
                                               123                 Date 02/04/25
                                                                   Filed Filed: 03/04/2025    Entry
                                                                                     Page 13 of 19 ID: 6704290




       U.S. soil. See 169 U.S. at 688; see also James C. Ho, Defining “American:” Birthright Citizenship

       & the Original Understanding of the 14th Amendment, 9 Green Bag 2d 367, 373 (2006).

               Even if this Court were convinced that it could contravene precedent in its construction of

       the Constitution, Plaintiffs would still prevail on their statutory claim. See Doc. No. 1 at 44 (Count

       III). Although Defendants claim there is no basis to treat the Constitution and statutes differently,

       laws take their meaning from how they would have been understood at the time of enactment. And

       as of 1940, see Nationality Act of 1940, ch. 876, § 201, 54 Stat. 1137, 1138, there was no doubt

       that “subject to the jurisdiction” codified birthright citizenship, regardless of the immigration status

       of the child’s parents. See Lamar, Archer & Cofrin, LLP v. Appling, 584 U.S. 709, 721-22 (2018)

       (presuming the enacting Congress is “aware of the longstanding judicial interpretation of [a]

       phrase” that it codifies “and intend[s] for it to retain its established meaning”); United States v.

       Place, 693 F.3d 219, 229 (1st Cir. 2012). Indeed, when a member of Congress inquired whether

       the bill could be amended to exclude persons living abroad “who happen to have been born here”

       to “alien parents” and departed the country “in early infancy” to be “brought up in the countries of

       their parents,” all agreed that “it is not a matter we have any control over” because there was “no

       proposal … to change the Constitution.” Hrgs. Before Comm. on Imm. & Naturalization on H.R.

       6127, 76th Cong. 37, 38 (1940) (Ex. B). The INA thus codified Congress’s understanding that the

       length of a parent’s stay does not impact a child’s birthright citizenship.

               Defendants’ resort to policy arguments cloaked as “interpretive principles,” Doc. No. 92

       at 38-41, fares no better. First, Defendants’ plea to the President’s authority over “status of aliens”

       begs the question: under the Citizenship Clause, the affected children are not “aliens” in the first

       place. Nor is the President empowered to re-define them as such because he believes punishing

       the children of “wrongdoers” will deter illegal entry—a belief neither the Order nor Defendants’




                                                          8
                                                                                                      PA250
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 285
                                               123                Date 02/04/25
                                                                  Filed Filed: 03/04/2025    Entry
                                                                                    Page 14 of 19 ID: 6704290




       brief substantiates with facts. Second, while Congress may consider various policy concerns when

       exercising its authority over naturalization rules, see Doc. No. 92 at 39-41, no branch can nullify

       a constitutional right to citizenship. See Nishikawa v. Dulles, 356 U.S. 129, 138 (1958) (because

       the “Constitution has conferred” birthright citizenship, “neither the Congress, nor the Executive,

       nor the Judiciary, nor all three in concert, may strip [it] away”). That was, indeed, the purpose of

       the Citizenship Clause: having learned the painful lessons of Dred Scott, the Framers of the

       Fourteenth Amendment understood “our country should never again trust to judges or politicians

       the power to deprive from a class born on our soil the right of citizenship.” Legislation Denying

       Citizenship at Birth to Certain Children Born in the United States, 19 Op. O.L.C. 340, 1995 WL

       1767990, *6 (1995). Defendants’ effort to upend that core principle must be rejected.

       IV.    PLAINTIFFS’ REMEDY FOLLOWS FROM SETTLED LAW.

              This Court should grant a preliminary and/or permanent injunction to prevent Defendants

       from violating the Citizenship Clause and the INA, as they have been directed to do on February

       19. Aside from their incorrect argument that Plaintiffs’ impending injuries are not attributable to

       the Order, but see Doc. No. 5 at 14-15, 21-23, Defendants’ only response to Plaintiffs’ irreparable

       harm is to baselessly speculate that Plaintiffs might remedy their fiscal injuries via administrative

       processes. Doc. No. 92 at 47. But no such process could compensate Plaintiffs for (i) the burdens

       and costs incurred to re-design Plaintiffs’ eligibility verification systems, (ii) extra payments for

       at-risk children due to their ineligibility for federal assistance, or (iii) the EAB funding they lose

       when families do not obtain an SSN at birth. Doc. No. 5 at 11-13. 7 Nor do Defendants offer a

       legitimate public interest that can outweigh these harms. Any interest in protecting the statutory


       7
        And though an HHS appeals board considers specific cost disallowances in certain programs, it
       does not adjudicate constitutional claims regarding the eligibility of large swaths of the population.
       See ChildCareGroup v. Dep’t of Health & Human Servs., DAB No. 3010, at 11 (2020).


                                                         9
                                                                                                    PA251
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 286
                                               123                Date 02/04/25
                                                                  Filed Filed: 03/04/2025    Entry
                                                                                    Page 15 of 19 ID: 6704290




       “discretion exercised by immigration officials,” Arizona v. United States, 567 U.S. 387, 396

       (2012), is not at issue here, where the Executive seeks to trample over constitutional and statutory

       dictates—on the precise issue the Fourteenth Amendment’s framers removed from the political

       process entirely. See OLC Op. at *6. And on the other side of the ledger is the abrogation of a 127-

       year-old precedent and practice, the loss of citizenship for millions of American-born children,

       and the chaotic disruption of Plaintiffs’ critical child health and welfare programs. 8

              Plaintiffs’ injuries could only be remedied with a nationwide injunction because children

       and families can and do move from one jurisdiction to another—a key factual point Defendants do

       not deny. Doc. No. 5 at 25-26. Defendants brush this aside, without any explanation, as a “spillover

       effect.” Doc. No. 92 at 49-50. But the harms to Plaintiffs from allowing the Order to take effect

       in other jurisdictions are the exact same harms of allowing it to take effect within their borders—

       the loss of federal funding for serving the affected children and the administrative cost and burdens

       of standing up new eligibility verification systems. Thus, if the Court concludes that injunctive

       relief is needed to remedy Plaintiffs’ injuries, that injunction necessarily must be nationwide. Nor

       is that burdensome for Defendants, as the Federal Government has for over a century (and until

       just weeks ago) complied with this understanding nationwide—just as Wong Kim Ark commands.

                                                 CONCLUSION

              For the above reasons, the Court should grant Plaintiffs’ motion for injunctive relief.



       8
         Defendants are also wrong that Plaintiffs may not obtain declaratory relief against the President.
       See CREW v. Trump, 302 F. Supp. 3d 127, 139 n.6 (D.C. Cir. 2018) (rejecting government’s
       claim). Courts routinely enjoin the enforcement of executive orders. See, e.g., Kentucky v. Biden,
       23 F.4th 585, 612 (6th Cir. 2022) (enjoining enforcement of EO mandating certain vaccinations);
       State v. Nelson, 576 F. Supp. 3d 1017, 1040 (M.D. Fla. 2021) (granting injunction “prohibiting
       enforcement of” EO). And when an injury cannot be “redressed fully” by enjoining other federal
       defendants, an injunction against the President can also be appropriate. Hawaiʻi v. Trump, 859
       F.3d 741, 788 (9th Cir. 2017); Missouri v. Biden, 738 F. Supp. 3d 1113, 1145 (E.D. Mo. 2024).


                                                        10
                                                                                                   PA252
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 287
                                               123      Date 02/04/25
                                                        Filed Filed: 03/04/2025    Entry
                                                                          Page 16 of 19 ID: 6704290




       February 4, 2025                          Respectfully submitted.

       ANDREA JOY CAMPBELL                       MATTHEW J. PLATKIN
        ATTORNEY GENERAL OF MASSACHUSETTS         ATTORNEY GENERAL OF NEW JERSEY

       Gerard J. Cedrone (BBO No. 699674)
         Deputy State Solicitor                  Viviana M. Hanley (BBO No. 707266)
       Jared B. Cohen (BBO No. 689217)             Deputy Attorney General
         Assistant Attorney General              Jeremy M. Feigenbaum*
       Office of the Attorney General              Solicitor General
       One Ashburton Place, 20th Floor           Shankar Duraiswamy*
       Boston, MA 02108                            Deputy Solicitor General
       (617) 963-2282                            Shefali Saxena*
       gerard.cedrone@mass.gov                   Elizabeth R. Walsh*
                                                   Deputy Attorneys General
       Counsel for the Commonwealth of           Office of the Attorney General
       Massachusetts                             25 Market Street
                                                 Trenton, NJ 08625
                                                 (862) 350-5800
                                                 viviana.hanley@njoag.gov

                                                 Counsel for the State of New Jersey

       ROB BONTA                                 PHIL WEISER
        ATTORNEY GENERAL OF CALIFORNIA            ATTORNEY GENERAL OF COLORADO

       Denise Levey*                             Shannon Stevenson*
         Deputy Attorney General                   Solicitor General
       Michael L. Newman                         Office of the Colorado Attorney General
         Senior Assistant Attorney General       1300 Broadway, #10
       Marissa Malouff*                          Denver, CO 80203
       Irina Trasovan*                           (720) 508-6000
         Supervising Deputy Attorneys General    shannon.stevenson@coag.gov
       Lorraine López*
       Delbert Tran*                             Counsel for the State of Colorado
       Annabelle Wilmott*
         Deputy Attorneys General
       Office of the Attorney General
       300 South Spring Street, Suite 1702
       Los Angeles, CA 90013-1230
       (213) 269-6269
       denise.levey@doj.ca.gov

       Counsel for the State of California




                                                11
                                                                                       PA253
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 288
                                               123       Date 02/04/25
                                                         Filed Filed: 03/04/2025    Entry
                                                                           Page 17 of 19 ID: 6704290




       WILLIAM M. TONG                           KATHLEEN JENNINGS
        ATTORNEY GENERAL OF CONNECTICUT           ATTORNEY GENERAL OF DELAWARE

       William M. Tong*                          Ian R. Liston**
         Attorney General                          Director of Impact Litigation
       Janelle Rose Medeiros*                    Vanessa L. Kassab**
         Assistant Attorney General                Deputy Attorney General
       Office of the Attorney General            Delaware Department of Justice
       165 Capitol Avenue                        820 N. French Street
       Hartford, CT 06106                        Wilmington, DE 19801
       (860) 808-5020                            (302) 683-8899
       janelle.medeiros@ct.gov                   vanessa.kassab@delaware.gov

       Counsel for the State of Connecticut      Counsel for the State of Delaware


       BRIAN L. SCHWALB                          ANNE E. LOPEZ
        ATTORNEY GENERAL                          ATTORNEY GENERAL OF HAWAI‘I
        FOR THE DISTRICT OF COLUMBIA
                                                 Kalikoʻonālani D. Fernandes*
       Nicole S. Hill*                             Solicitor General
         Assistant Attorney General              425 Queen Street
       Public Advocacy Division                  Honolulu, Hawai‘i 96813
       Office of the Attorney                    (808) 586-1360
         General for the District of Columbia    kaliko.d.fernandes@hawaii.gov
       400 Sixth Street, N.W.
       Washington, D.C. 20001                    Counsel for the State of Hawai‘i
       (202) 727-4171
       nicole.hill@dc.gov

       Counsel for the District of Columbia


       AARON M. FREY                            ANTHONY G. BROWN
        ATTORNEY GENERAL OF MAINE                ATTORNEY GENERAL OF MARYLAND

       Sean D. Magenis (BBO No. 658578)         Adam D. Kirschner*
         Assistant Attorney General               Senior Assistant Attorney General
       Office of the Attorney General           Office of the Attorney General
       6 State House Station                    200 Saint Paul Place, 20th Floor
       Augusta, ME 04333-0006                   Baltimore, Maryland 21202
       (207) 626-8800                           akirschner@oag.state.md.us
       sean.d.magenis@maine.gov                 (410) 576-6424

       Counsel for the State of Maine           Counsel for the State of Maryland




                                                12
                                                                                      PA254
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 289
                                               123          Date 02/04/25
                                                            Filed Filed: 03/04/2025    Entry
                                                                              Page 18 of 19 ID: 6704290




       DANA NESSEL                                   KEITH ELLISON
        ATTORNEY GENERAL OF MICHIGAN                  ATTORNEY GENERAL OF MINNESOTA

       Toni L. Harris*                               John C. Keller*
       Stephanie Service*                              Chief Deputy Attorney General
       Neil Giovanatti*                              445 Minnesota Street, Suite 1200
         Assistant Attorneys General                 St. Paul, MN 55101-2130
       Michigan Department of Attorney General       651-757-1355
       525 W. Ottawa                                 john.keller@ag.state.mn.us
       Lansing, Michigan 48909
       (517) 335-7603                                Counsel for the State of Minnesota
       harrist19@michigan.gov

       Counsel for Attorney General Dana Nessel
        on behalf of the People of Michigan


       AARON D. FORD                                 RAÚL TORREZ
        ATTORNEY GENERAL OF NEVADA                    ATTORNEY GENERAL OF NEW MEXICO

       Heidi Parry Stern*                            James W. Grayson*
         Solicitor General                             Chief Deputy Attorney General
       Office of the Nevada Attorney General         New Mexico Department of Justice
       1 State of Nevada Way, Ste. 100               408 Galisteo St.
       Las Vegas, NV 89119                           Santa Fe, NM 87501
       (702) 486-5708                                (505) 218-0850
       hstern@ag.nv.gov                              jgrayson@nmdoj.gov

       Counsel for the State of Nevada               Counsel for the State of New Mexico


       LETITIA JAMES                                 JEFF JACKSON
        ATTORNEY GENERAL OF NEW YORK                  ATTORNEY GENERAL OF NORTH CAROLINA

       Zoe Levine*                                   Daniel P. Mosteller*
         Special Counsel for Immigrant Justice         Associate Deputy Attorney General
       Office of the New York State Attorney General North Carolina Department of Justice
       28 Liberty Street                             PO Box 629
       New York, NY 10005                            Raleigh, NC 27602
       zoe.levine@ag.ny.gov                          (919) 716-6026
       (212) 416-8329                                dmosteller@ncdoj.gov

       Counsel for the State of New York             Counsel for the State of North Carolina




                                                    13
                                                                                               PA255
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 290
                                               123            Date 02/04/25
                                                              Filed Filed: 03/04/2025    Entry
                                                                                Page 19 of 19 ID: 6704290




       PETER F. NERONHA                               CHARITY R. CLARK
        ATTORNEY GENERAL OF RHODE ISLAND               ATTORNEY GENERAL OF VERMONT

       Katherine Connolly Sadeck (BBO No. 681501) Julio A. Thompson**
         Solicitor General                           Co-Director, Civil Rights Unit
       Leonard Giarrano IV*                        109 State Street
         Special Assistant Attorney General        Montpelier, VT 06509
       Rhode Island Office of the Attorney General (802) 828-5519
       150 South Main Street                       julio.thompson@vermont.gov
       Providence, RI 02903
       (401) 274-4400, Ext. 2480                   Counsel for the State of Vermont
       ksadeck@riag.ri.gov

       Counsel for the State of Rhode Island


       JOSHUA L. KAUL                                 DAVID CHIU†
        ATTORNEY GENERAL OF WISCONSIN                  CITY ATTORNEY, CITY AND COUNTY
                                                       OF SAN FRANCISCO
       Gabe Johnson-Karp*
         Assistant Attorney General                   Yvonne R. Meré†
       Wisconsin Department of Justice                  Chief Deputy City Attorney
       17 West Main Street                            Sara J. Eisenberg†
       P.O. Box 7857                                    Chief of Complex and Affirmative Litigation
       Madison, WI 53707-7857                         Mollie M. Lee†
       (608) 267-8904                                   Chief of Strategic Advocacy
       johnsonkarpg@doj.state.wi.us                   David S. Louk*
                                                      Molly J. Alarcon*
       Counsel for the State of Wisconsin               Deputy City Attorneys
                                                      1390 Market Street, 6th Floor
                                                      San Francisco, CA 94102-5408
                                                      (415) 505-0844
                                                      david.louk@sfcityatty.org

                                                      Counsel for the City and County of San
                                                      Francisco


       * admitted pro hac vice
       ** admitted pro hac vice; notice of appearance forthcoming
       †
          motion for admission pro hac vice pending




                                                     14
                                                                                               PA256
Case: 25-1170   Document: 00118255171    Page: 291   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                           1




           1                        UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS
           2

           3    ______________________________________
           4    O. DOE, et al.,
           5               Plaintiffs,                            Civil Action No.
                                                                  1:25-cv-10135-LTS
           6          v.
           7    DONALD J. TRUMP, in his official
                capacity as President of the United
           8    States, et al. ,
           9               Defendants.
         10     and
         11     STATE OF NEW JERSEY, et al.,
         12                Plaintiffs,                            Civil Action No.
                                                                  1:25-cv-10139-LTS
         13           v.
         14     DONALD J. TRUMP, in his official
                capacity as President of the United
         15     States, et al.
         16                Defendants.
         17     ______________________________________
         18           BEFORE THE HONORABLE LEO T. SOROKIN, DISTRICT JUDGE
         19                                 MOTION HEARING
         20                             Friday, February 7, 2025
                                               9:58 a.m.
         21
                John J. Moakley United States Courthouse
         22     Courtroom No. 13
                One Courthouse Way
         23     Boston, Massachusetts
         24     Rachel M. Lopez, CRR
                Official Court Reporter
         25     raeufp@gmail.com



                                                                                PA257
Case: 25-1170   Document: 00118255171   Page: 292   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                          2




           1                            A P P E A R A N C E S
           2
                On behalf of the 10135 Plaintiffs Doe, Brazilian Worker
           3    Center, and La Colaborativa:
           4         LAWYERS FOR CIVIL RIGHTS
                     BY: OREN M. SELLSTROM, MIRIAN ALBERT,
           5         AND JACOB LOVE
                     61 Batterymarch Street
           6         Boston, Massachusetts 02110
                     (617) 988-0608
           7         osellstrom@lawyerscom.org
                     malbert@lawyersforcivilrights.org
           8         jlove@lawyersforcivilrights.org
           9

         10     On behalf of the 10139 Plaintiffs State of New Jersey,
                Commonwealth of Massachusetts, and State of California:
         11
                     MASSACHUSETTS ATTORNEY GENERAL'S OFFICE
         12          BY: GERARD J. CEDRONE AND JARED B. COHEN
                     One Ashburton Place
         13          20th Floor
                     Boston, Massachusetts 02108
         14          (617) 963-2282
                     gerard.cedrone@mass.gov
         15          jared.b.cohen@mass.gov
         16

         17          NEW JERSEY OFFICE OF THE ATTORNEY GENERAL
                     BY: SHAKAR DURAISWAMY
         18          33 Washington Street
                     Newark, New Jersey 07102
         19          (908) 507-2949
                     shankar@duraiswamy@njoag.gov
         20

         21
                     OFFICE OF THE ATTORNEY GENERAL
         22          BY: IRINA TRASOVAN
                     300 S. Spring Street
         23          Suite 1702
                     Los Angeles, California 90013
         24          (213) 269-6261
                     irina.trasovan@doj.ca.gov
         25



                                                                               PA258
Case: 25-1170   Document: 00118255171   Page: 293   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                          3




           1                       A P P E A R A N C E S, Cont.
           2
                On behalf of the Defendants:
           3
                     US DEPARTMENT OF JUSTICE
           4         BY: ERIC HAMILTON
                     950 Pennsylvania Avenue, NW
           5         Washington, D.C., 20530
                     (202) 514-3301
           6         eric.hamilton@usdoj.gov
           7

           8         DEPARTMENT OF JUSTICE - CIVIL DIVISION
                     BY: BRAD P. ROSENBERG
           9         1100 L Street, NW
                     Washington, D.C., 20005
         10          (202) 514-3374
                     brad.rosenberg@usdoj.gov
         11

         12
                     UNITED STATES ATTORNEY'S OFFICE - MASSACHUSETTS
         13          BY: MICHAEL FITZGERALD
                     John Joseph Moakley Courthouse
         14          One Courthouse Way, Suite 9200
                     Boston, Massachusetts 02210
         15          (617) 748-3266
                     michael.fitzgerald2@usdoj.gov
         16

         17

         18

         19

         20

         21

         22

         23

         24

         25



                                                                               PA259
Case: 25-1170   Document: 00118255171   Page: 294   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                          4




           1                            P R O C E E D I N G S
           2               (In open court.)
           3               THE DEPUTY CLERK: The United States District Court
           4    for the District of Massachusetts is now in session, the
           5    Honorable Leo T. Sorokin presiding.
           6               THE COURT: Please be seated.
           7               THE COURTROOM CLERK: Today is Friday, February 7,
           8    2025, and we are on the record in Civil Case Number
           9    25-cv-10135, O. Doe, et al., versus Donald J. Trump, et al.,
         10     and 25-cv-10139, The State of New Jersey, et al., versus
         11     Donald J. Trump, et al.
         12                Will counsel please state your name for the record.
         13                THE COURT: Hold on one second. Give me one moment
         14     just to get set up, and I want to make a note of one thing.
         15                Okay. Go ahead.
         16                MR. SELLSTROM: Good morning, Your Honor. Oren
         17     Sellstrom from Lawyers for Civil Rights on behalf of
         18     Plaintiffs O. Doe, La Colaborativa, and Brazilian Workers
         19     Center.
         20                THE COURT: Good morning.
         21                MR. CEDRONE: Good morning, Your Honor. Gerard
         22     Cedrone from the Massachusetts Attorney General's Office, on
         23     behalf of the Commonwealth.
         24                I'll let my colleagues at counsel table introduce
         25     themselves, but note that we have co-counsel from several



                                                                               PA260
Case: 25-1170   Document: 00118255171   Page: 295   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                          5




           1    other jurisdictions in the courtroom today, as well.
           2               THE COURT: Okay.
           3               MR. DURAISWAMY: Good morning, Your Honor. Shankar
           4    Duraiswamy from the State of New Jersey here on behalf of the
           5    plaintiffs in the 10139 action.
           6               THE COURT: Good morning.
           7               MS. ALBERT: Good morning, Your Honor, Mirian
           8    Albert on behalf of the Doe plaintiffs, La Colaborative, and
           9    Brazilian Workers Center.
         10                THE COURT: Good morning.
         11                MR. LOVE: Good morning, Your Honor. Jacob Love
         12     from Lawyers for Civil Rights on behalf of the Doe
         13     plaintiffs.
         14                THE COURT: Good morning.
         15                MS. TRASOVAN: Good morning, Your Honor. Irina
         16     Trasovan on behalf of The State of California.
         17                MR. COHEN: Good morning, Your Honor. Jared Cohen
         18     on behalf of The Commonwealth of Massachusetts.
         19                THE COURT: Just say it again. I didn't catch your
         20     name.
         21                MR. COHEN: Jared Cohen on behalf of The
         22     Commonwealth of Massachusetts. Good morning.
         23                THE COURT: Good morning.
         24                MR. HAMILTON: Good morning, Your Honor. Eric
         25     Hamilton, deputy assistant attorney general in the Civil



                                                                               PA261
Case: 25-1170   Document: 00118255171   Page: 296   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                          6




           1    Division of the US Department of Justice for defendants.
           2               THE COURT: Good morning.
           3               MR. ROSENBERG: Good morning, Your Honor. Brad
           4    Rosenberg, special counsel with the Federal Programs Branch
           5    in the Department of Justice's Civil Division, on behalf of
           6    the federal defendants.
           7               THE COURT: Good morning. Okay.
           8               All right. So I have read all the papers that
           9    you've all submitted and all the amicus briefs that I've
         10     authorized that I've allowed to file.
         11                Who's arguing on -- for the plaintiffs?
         12                MR. SELLSTROM: Your Honor, with the Court's
         13     permission, we've spoken with the state's counsel, as well,
         14     and we would propose to consolidate the arguments. From the
         15     plaintiffs' side in the two cases, I would go first on behalf
         16     of the Doe plaintiffs. The state's counsel can then pick up
         17     from there on some of the shared arguments, as well as some
         18     that are unique to the State.
         19                THE COURT: Okay.
         20                MR. SELLSTROM: We'd also like some rebuttal time
         21     after the government's argument, as well.
         22                THE COURT: All right. And just one person from
         23     the states?
         24                MR. CEDRONE: So I think you'll be hearing from two
         25     of us, with the Court's leave. I'll be addressing the



                                                                               PA262
Case: 25-1170   Document: 00118255171   Page: 297   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                          7




           1    standing and threshold questions, and Mr. Duraiswamy will
           2    address the PI factors, so the merits in the case.
           3               THE COURT: I see. So just the two of you?
           4               MR. CEDRONE: Correct.
           5               THE COURT: Okay. All right. And then one or both
           6    of you on the defense side?
           7               MR. HAMILTON: Yes, Your Honor.
           8               THE COURT: Who's with you at the table, who you
           9    didn't introduce?
         10                MR. FITZGERALD: Oh. Good morning, Your Honor,
         11     Michael Fitzgerald from the US Attorney's Office for the
         12     defendants.
         13                THE COURT: Okay. Good morning. Sorry, I couldn't
         14     see you right there behind them. Washington looms large over
         15     the US Attorney's Office, I guess.
         16                Okay. That's fine. I'm not going to set time
         17     limits. I'll hear from you; then I'll hear from the
         18     government. I'll hear something more in response from you,
         19     and then we might be done, or maybe depending whether you
         20     want to say anything else. But you don't -- just as sort of
         21     a guide post, you don't need to say everything in your
         22     briefs. If you walked out right now, you will have waived
         23     nothing. Okay? If you say, "I waive," everything that
         24     follows is gone. Right? But if you don't use those words,
         25     right, you have whatever is in your briefs. So if you walked



                                                                               PA263
Case: 25-1170   Document: 00118255171   Page: 298   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                          8




           1    out and you hadn't said part two of your brief, or what have
           2    you, it's not gone. I have it; I've read it. I'm going to
           3    think about it. I'll consider it; I'll address it. So in
           4    that sense, you know, I don't -- just keep that in mind in
           5    terms of the -- what you have to say. Okay?
           6                Go ahead.
           7                MR. SELLSTROM: Thank you, Your Honor, and we will
           8    try and hit the highlights.
           9                As the Supreme Court has said, it would be
         10     difficult to exaggerate the value and importance of American
         11     citizenship. Citizenship carries with it a full array of
         12     rights and privileges and makes one a full member of the
         13     United States community.
         14                 Given that importance, the Supreme Court has also
         15     said that stripping someone of citizenship amounts to, quote,
         16     "A total destruction of the individual status in organized
         17     society."
         18                 The declarations that we have submitted show
         19     clearly how that harm would be visited upon children and
         20     families if the executive order were to go into effect. That
         21     momentous act of denaturalization cannot be done by the
         22     stroke of a pen, and that is because the concept of
         23     birthright citizenship that anyone born on American soil is
         24     an American citizen is so fundamental to the fabric of our
         25     nation that it's expressly written into the Constitution.



                                                                               PA264
Case: 25-1170   Document: 00118255171   Page: 299   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                          9




           1    That, of course, is through the 14th Amendment, passed as a
           2    means to mend a broken nation and make clear in the
           3    citizenship clause that the government never again can decide
           4    who among disfavored classes is entitled to citizenship.
           5    That is why the citizenship clause was enacted, and it makes
           6    clear that all who are born here, subject only to very rare
           7    exceptions, like the children of diplomats, are automatically
           8    American citizens. That basic concept has been definitively
           9    endorsed and upheld by the Supreme Court, by the First
         10     Circuit, and by courts around this country for generations.
         11     It permeates federal agency and state agency practice and has
         12     for 150 years and more. It cannot be changed with the stroke
         13     of a pen.
         14                 In many ways, the Court's inquiry this morning need
         15     go no further than that. The defendants may wish that the
         16     Supreme Court revisit this issue. But at this point in time,
         17     First Circuit and Supreme Court jurisprudence is clear and
         18     unequivocal, the citizenship clause does not turn on the
         19     immigration status of one's parents, and, therefore, the
         20     executive order is unconstitutional.
         21                 The seminal case, of course, is Wong Kim Ark,
         22     decided by the Supreme Court at the turn of the century,
         23     which outlines a long line of English history and common law
         24     to arrive at its conclusion.
         25                 THE COURT: Turning back, sorry, just to one thing



                                                                               PA265
Case: 25-1170   Document: 00118255171   Page: 300   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         10




           1    from earlier, the -- from the papers that you've submitted
           2    with respect to the associations, I draw the conclusion or
           3    it's established that the associations have members in
           4    Massachusetts.
           5               MR. SELLSTROM: That's correct.
           6               THE COURT: But do they have members in --
           7    elsewhere?
           8               MR. SELLSTROM: The members are primarily in
           9    Massachusetts, Your Honor.
         10                THE COURT: And what about -- is it -- should I
         11     view them as just having members in Massachusetts? Or should
         12     I view them as having members beyond Massachusetts?
         13                MR. SELLSTROM: I think viewing them as having
         14     members in Massachusetts is what's supported by the
         15     affidavits that we submitted.
         16                THE COURT: Okay.
         17                MR. SELLSTROM: And is fully sufficient for
         18     granting the relief that we are asking for.
         19                THE COURT: All right. Okay.
         20                MR. SELLSTROM: Which I'm happy to address, if it's
         21     something that Your Honor would like to probe deeper.
         22                THE COURT: Well, one -- certainly you can address
         23     that. I intend to address all of the issues that are put to
         24     me in this case, the way I would in any case. And so one of
         25     the issues, it's just, as you know, a series of steps, but



                                                                               PA266
Case: 25-1170   Document: 00118255171   Page: 301   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         11




           1    one of the issues, if I get there, is what, if any, form of
           2    relief should be granted, and what's the scope of that
           3    relief. So if you want to talk -- you've talked about it in
           4    your papers, but you can talk about it.
           5               MR. SELLSTROM: Yes, absolutely. Let me get to it,
           6    Your Honor. As you said, the Doe plaintiffs are an
           7    individual, an expectant mother whose unborn child would be
           8    subject to the executive order, and two membership
           9    organizations, each of whom have members, as the declarations
         10     attest, who are essentially similarly situated to Ms. Doe.
         11     That, as Your Honor alluded to, gives them membership,
         12     associational standing, something that is quite clear from
         13     Supreme Court First Circuit jurisprudence, the Hunt vs.
         14     Washington State Apple case, and many others that say,
         15     essentially, membership organizations can bring the action on
         16     behalf of individual members.
         17                THE COURT: I wasn't really asking about standing.
         18     I was asking about what other members there were, in terms of
         19     thinking about scope of relief.
         20                MR. SELLSTROM: That gets, then, to the question of
         21     relief, Your Honor. And I raise that because -- and we went
         22     into a little bit of detail about this in our -- at the end
         23     of our reply brief, citing in particular the Supreme Court's
         24     decision in the Trump vs. IRAP case, because it is so similar
         25     to the issue before Your Honor today in terms of those



                                                                               PA267
Case: 25-1170   Document: 00118255171   Page: 302   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         12




           1    issues. In that case, that was also brought, the Fourth
           2    Circuit case that was later consolidated with the Ninth
           3    Circuit case, was brought on behalf of individuals and
           4    membership organizations who were affected by the travel ban.
           5    And the Supreme Court there upheld a nationwide injunction.
           6    It did so by refusing a stay request from the government, but
           7    it made clear that it was endorsing the nationwide relief
           8    that had been granted in that case, and it did so on a number
           9    of different grounds. One, probably the most important, is
         10     because it involved issues of immigration, which the Court
         11     said, and the lower courts in both the Fourth and Ninth
         12     Circuit also said is, you know, needs to be uniform
         13     throughout the country. That's, you know, a part of the
         14     Constitution and the naturalization clause saying it has to
         15     be a uniform system of naturalization. And everyone thinks
         16     of it that way, that the immigration laws, in particular, the
         17     same rules need to apply to everyone. And so for that
         18     reason, there's a necessity of granting nationwide relief on
         19     a facial challenge like this, that is -- that is challenging,
         20     again, the analogy is clear -- an executive order that is, on
         21     its face, unconstitutional.
         22                There are other grounds for that same relief.
         23     Again, this is in our reply brief. We are running out of
         24     room a little bit, so it's in a footnote, but the
         25     Administrative Procedure Act also makes clear that nationwide



                                                                               PA268
Case: 25-1170   Document: 00118255171   Page: 303   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         13




           1    relief is the appropriate relief under that act, that the
           2    statute says that if an enactment or an agency action is
           3    found unconstitutional, the remedy is to set it aside, and
           4    that, by its nature, has nationwide impact. And that's
           5    something that has -- you know, there are a number of cases
           6    that we've cited that, in the regulatory context, that's the
           7    case, an individual challenges something like a regulation is
           8    facially unconstitutional, the result under the APA is that
           9    it is set aside and nationwide relief is granted.
         10                So for all of those reasons, should Your Honor find
         11     in our favor, that, we believe, is the appropriate relief.
         12                THE COURT: Okay.
         13                MR. SELLSTROM: I do want to also address the
         14     merits of the issue, as well, to make sure that that is laid
         15     out. And again, my brother counsel will pick up on that.
         16     But the main case, going back to Wong Kim Ark, is cited so
         17     much, because it is so decisive and so authoritative. As
         18     Your Honor knows, it is a very lengthy opinion that really
         19     traverses a lot of territory, from English common law to, you
         20     know, the enactments after the Revolution. But it's
         21     important not only for background, but also because it shows
         22     just how wrong defendants are in their interpretation today.
         23                The idea of birthright citizenship goes back to the
         24     English common law, the idea that anyone born within the
         25     king's dominion is automatically subject to his protection



                                                                               PA269
Case: 25-1170   Document: 00118255171   Page: 304   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         14




           1    and is owed allegiance to him. And the important thing about
           2    those two concepts, protection and allegiance, is that they
           3    are not, in any way, subjective. They're automatic. It's
           4    not as if the king is deciding, you know, who should I bring
           5    under my protection. It automatically adheres, at birth, to
           6    anyone who is born in the king's dominion. And on the other
           7    side, the allegiance that is talked about in those cases is
           8    not something that is subjective, like we think of, you know,
           9    today, the Pledge of Allegiance, where somebody stands up and
         10     makes that allegiance. It's really much more fundamental
         11     than that. It is talked about in terms of the duty that is
         12     owed to the king, to be subject to the king, and that is what
         13     makes it automatic, that that happens whenever, you know,
         14     someone is born on the country's soil. And that is the basic
         15     framework of birthright citizenship that came over to the
         16     United States in the colonies, and then through the
         17     constitution after the revolution. And that's what the Court
         18     in Wong Kim Ark makes so clear, and then takes those
         19     principles and applies them to the facts of that particular
         20     case.
         21                Wong Kim Ark was born here in the United States, in
         22     San Francisco, to parents who were Chinese citizens. And
         23     he -- then the question before the Court was he a citizen,
         24     when he left the country, and then was trying to reenter.
         25     And that's where the Court went into the whole concept of



                                                                               PA270
Case: 25-1170   Document: 00118255171   Page: 305   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         15




           1    birthright citizenship and held that, yes, because he is born
           2    on American soil, he is subject to the jurisdiction of the
           3    United States, under the citizenship clause.
           4               The Court then illustrated that by the exceptions.
           5    There are very few exceptions to that, but the Court went
           6    into detail about those exceptions to essentially prove the
           7    rule, to show why that rule existed. And so, for example,
           8    the Court talked about children of foreign diplomates, you
           9    know, what we know today as diplomatic immunity that has long
         10     existed both in England and here, the idea that those
         11     individuals are not subject to the country's laws, because
         12     they have that diplomatic immunity.
         13                The other example given is the children of invading
         14     armies during hostile occupations, who are clearly not,
         15     again, subject to the country's laws.
         16                The other exception that the Court raised in Wong
         17     Kim Ark was something that was unique to the United States,
         18     not something that existed in England, which is the case of
         19     what was then referred to as Indian tribes. The idea -- and
         20     this is drawing on the earlier case, the Elk vs. Wilkins
         21     case, authored by the same justice, by the way, who came
         22     along later in Wong Kim Ark to then explain that in more
         23     detail, that because at the time, Indian tribes, Native
         24     Americans were viewed as quote/unquote, "alien nations," that
         25     was essentially the same as the children of foreign



                                                                               PA271
Case: 25-1170   Document: 00118255171   Page: 306   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         16




           1    diplomates; that the idea, there again, is it's the exception
           2    that shows the basic rule that if you are born in the United
           3    States, you are subject to the United States laws. You are a
           4    citizen. That's what the 14th Amendment was about. That's
           5    exactly what the citizenship clause was enacted to ensure,
           6    and that is what Wong Kim Ark held.
           7               That's not the only case, certainly. It's cited to
           8    so much, because it's authoritative, but there's a long line
           9    of Supreme Court First Circuit cases and other cases since
         10     then that make that exact same point and cite back to Wong
         11     Kim Ark. So that is the basic framework that says that you
         12     cannot -- a President cannot, with the stroke of a pen, add
         13     additional qualifications to that. It's written in the
         14     Constitution, and the President cannot overturn that through
         15     executive order.
         16                THE COURT: Okay. Thank you.
         17                MR. SELLSTROM: I do want to make sure that my
         18     colleagues from the State have time to argue. I did want to
         19     touch, just briefly, on the equities. Your Honor, we think
         20     that on the merits, there's a high likelihood of success, and
         21     that the balance of equities tips sharply in plaintiffs'
         22     favor. The declarations that we set forth go into detail
         23     about that, about babies being born stateless, subject to
         24     immediate deportation, all of the other consequences that
         25     flow from stripping someone of citizenship, whether it's



                                                                               PA272
Case: 25-1170   Document: 00118255171   Page: 307   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         17




           1    health ramifications and others. This is serious, serious
           2    business to strip someone of citizenship in that way. And
           3    the Supreme Court comes back to not only that, but what the
           4    Supreme Court talks about as a dignitary harm, the idea that
           5    taking away someone's national identity is a grave and
           6    irreparable threat. And that's what this executive order
           7    does, and that's why the balance of equities tips sharply in
           8    plaintiffs' favor.
           9               THE COURT: Thank you.
         10                Mr. Cedrone?
         11                MR. CEDRONE: Good morning, Your Honor, Gerard
         12     Cedrone for the Commonwealth of Massachusetts and the
         13     plaintiff States. As I mentioned at the outset, I'll address
         14     standing and the federal government's threshhold arguments,
         15     and then Mr. Dauraiswamy will address any additional points
         16     on the merits and the equities of the PI.
         17                THE COURT: Just to clarify one thing, you're not
         18     asserting Wong Kim Ark?
         19                MR. CEDRONE: We are not asserting that as a basis
         20     here.
         21                THE COURT: I thought so, but I just wanted to be
         22     sure.
         23                Go ahead.
         24                MR. CEDRONE: And there are obviously weighty
         25     interests here, but I'll take a moment in my portion to



                                                                               PA273
Case: 25-1170   Document: 00118255171   Page: 308   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         18




           1    explain why we are obviously the right plaintiffs or why we
           2    obviously are proper plaintiffs to vindicate those interests.
           3    Mindful of Your Honor's request that we keep it short, I'll
           4    try to keep it concise, because in our view, this is not a
           5    closed case on standing, both on the facts before the court,
           6    in the record, and on settled law in the First Circuit and
           7    Supreme Court. We are clearly proper plaintiffs. I'm here
           8    on behalf of 18 states, the District of Columbia, and the
           9    City and County of San Francisco, who will all suffer
         10     immediate, direct, and predictable injury if this executive
         11     order goes into effect.
         12                So let me maybe take a moment to address the facts
         13     that are before the Court, and then a moment to explain why,
         14     under settled precedent, we clearly have standing. We've put
         15     in front of Your Honor declarations explaining the harms that
         16     the jurisdictions will suffer if this order goes into effect.
         17     I'll focus on the financial harms, because economic harm is
         18     in the heartland of an Article III injury, and we've put
         19     forward declarations showing the types of federal funding
         20     that the plaintiff jurisdictions receive today, that they
         21     will no longer receive if this order goes into effect.
         22                And I think it's helpful to think about it in that
         23     but-for way, to consider what federal funding are we
         24     receiving now, what federal funding will the plaintiffs'
         25     jurisdictions not receive if this order goes into effect.



                                                                               PA274
Case: 25-1170   Document: 00118255171   Page: 309   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         19




           1    And Your Honor has declaration after declaration explaining
           2    those injuries.
           3               Just speaking for the Commonwealth, millions of
           4    dollars in Medicaid funding, thousands of dollars from the
           5    Social Security Administration for processing Social Security
           6    applications will be lost if a whole class of children are
           7    considered undocumented or without lawful status. That's
           8    just what the Commonwealth has put forward. Our colleagues
           9    in other states have addressed Title IV-E funding,
         10     school-based health services, really vital programs that are
         11     assisted by federal dollars to help some of our most
         12     vulnerable citizens, where the states will receive less
         13     funding if this order goes into effect.
         14                I don't take the federal defendants to dispute that
         15     that federal funding will be lost. They simply dispute
         16     whether this rises to the level of an Article III injury, and
         17     whether we have standing. For the reasons we said in our
         18     papers, we clearly do. The two points that I'll just
         19     reiterate today are that, essentially, every objection to
         20     standing that the federal defendants make is resolved by the
         21     Biden vs. Nebraska case in the Supreme Court, and the
         22     Massachusetts vs. HHS case in the First Circuit. In the
         23     first case, the Biden case was a state-led challenge to then
         24     President Biden's plan to forgive student loans. The
         25     argument for standing there was that this quasi-governmental



                                                                               PA275
Case: 25-1170   Document: 00118255171   Page: 310   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         20




           1    entity of the state --
           2               THE COURT: You view yourselves as in similar shows
           3    to the Missouri entity.
           4               MR. CEDRONE: That's exactly right. I think we're
           5    actually in a stronger position. In that case there was a
           6    question of whether that quasi-governmental entity, MOHELA,
           7    was really an arm of the state, such that injuries to MOHELA
           8    counted as injuries to Missouri. Here we don't even have
           9    that question. The money that we're talking about comes
         10     directly to the Treasury of the Commonwealth and the
         11     plaintiff jurisdictions, and will be lost otherwise.
         12                So I don't think there's a way to find no standing
         13     in this case, without -- without directly conflicting with
         14     that case and with the Massachusetts vs. HHS case in the
         15     First Circuit.
         16                And I will note that just yesterday a judge in the
         17     Western District of Washington agreed on this exact standing
         18     question on exactly those grounds.
         19                I think the only other point that I would like to
         20     emphasize --
         21                THE COURT: Am I right that there are certain state
         22     laws that turn on citizenship?
         23                MR. CEDRONE: That's right, Your Honor. There are
         24     a number of state laws about participation in civic life that
         25     turn on state citizenship. There are --



                                                                               PA276
Case: 25-1170   Document: 00118255171   Page: 311   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         21




           1               THE COURT: On US citizenship?
           2               MR. CEDRONE: That's right. For jury service, for
           3    example. And also in these joint federal state programs that
           4    we've talked about, things like Medicaid, there's obviously
           5    federal law that implements Medicaid, and state law that
           6    implements Medicaid that tracks federal law or has to comply
           7    with federal law. But that's correct.
           8               So we think this is a straightforward case on
           9    standing. I'll just mention briefly, the government -- the
         10     federal government's argument that we lack a proper cause of
         11     action. Our argument on that, I think, is addressed by the
         12     papers. I'll just mention two things that are new since we
         13     submitted our reply brief. One is that, again, a judge in
         14     the Western District of Washington found that --
         15                THE COURT: I read his decision.
         16                MR. CEDRONE: Exactly. And the only other thing
         17     I'll mention is that the government -- the federal government
         18     is talking a little bit out of both sides of its mouth on
         19     this. The government just filed a complaint yesterday in the
         20     Northern District of Illinois, the case is 25-cv-1285, the
         21     United States vs. Illinois, and it challenges so-called
         22     sanctuary policies seeking to enjoin state and city officers
         23     in Illinois and Chicago and Cook County from implementing
         24     those policies. As I read that complaint, it relies on the
         25     exact same ultra vires cause of action that we bring in



                                                                               PA277
Case: 25-1170   Document: 00118255171   Page: 312   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         22




           1    Count 1 and 2 of our complaint. So I would submit that even
           2    the federal government, by its actions in other cases,
           3    recognizes that this cause of action to enjoin
           4    unconstitutional actions by executive office holders clearly
           5    exists and is recognized.
           6                Unless Your Honor has further questions, I'll --
           7                THE COURT: No. Thank you.
           8                MR. DURAISWAMY: Good morning, Your Honor. On
           9    behalf of the 18 plaintiff states, the District of Columbia,
         10     and the City of San Francisco, we ask for a nationwide
         11     injunction to remedy the profoundly harmful effects of the
         12     President's executive order, not only the effect on millions
         13     of children who will now be born without any legal status,
         14     but the immense disruption to the operation of plaintiffs,
         15     child health and welfare programs, and the loss of millions
         16     and millions of dollars in federal funding to support those
         17     programs.
         18                 I want to touch on the merits, Your Honor, briefly.
         19     But before I get to that, with respect to the Court's earlier
         20     question about the scope of relief, I want to be clear that
         21     in order to remedy the harms to the plaintiffs that
         22     Mr. Cedrone identified, nationwide relief is absolutely
         23     essential, for the simple reason that those harms will not be
         24     remedied if children living in states outside of the
         25     plaintiffs' jurisdiction are denied birthright citizenship,



                                                                               PA278
Case: 25-1170   Document: 00118255171   Page: 313   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         23




           1    because those families can move into plaintiffs'
           2    jurisdictions, and, in fact, there may be families who live,
           3    for example, in Massachusetts, who, for whatever reason, give
           4    birth in New Hampshire. So for that fundamental reason that
           5    people are mobile, the harms cannot be remedied without full,
           6    nationwide relief.
           7               Let me start with the merits. And I don't intend
           8    to repeat everything that Mr. Sellstrom said, but with the
           9    Court's indulgence, I do think it's critical to reiterate the
         10     historical context for this executive order.
         11                150 years ago, in the wake of the civil war, the
         12     framers of the 14th Amendment enshrined the right to
         13     birthright citizenship in the Constitution as a reaction to
         14     the Dred Scott decision, which itself was an aberration from
         15     the well-recognized common law rule that a person born on
         16     American soil was an American citizen. Moreover, the reason
         17     the framers chose to enshrine birthright citizenship as a
         18     constitutional right was to ensure that it would never again
         19     be subject to the vicissitudes of fleeting political
         20     considerations. In the years since, as Mr. Sellstrom has
         21     explained, the Supreme Court has made explicit that
         22     birthright citizenship is subject only to certain very narrow
         23     and precisely defined exceptions, exceptions that were
         24     articulated in Wong Kim Ark. And it has also been explicit
         25     that these exceptions do not include the children of



                                                                               PA279
Case: 25-1170   Document: 00118255171   Page: 314   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         24




           1    undocumented immigrants or those who are here are a temporary
           2    basis.
           3               And for the more than 100 years, the executive
           4    branch has acted in accordance with this bedrock
           5    constitutional principle, recognizing citizenship for all
           6    children born here without regard to the lawfulness or
           7    duration of their parents' presence in the United States. In
           8    the face of this century-plus of unbroken precedent and
           9    practice, the President issued an executive order summarily
         10     declaring that these children are not, in fact, entitled to
         11     birthright citizenship, and directing every federal agency to
         12     execute his order by stripping them of that right.
         13                The order is flatly unconstitutional and ultra
         14     vires. Not only does it directly conflict with the
         15     longstanding understanding of the scope of the citizenship
         16     clause, it conflicts with a congressionally enacted statute
         17     that codified that understanding into law. And although
         18     defendants attempt to justify the executive order by
         19     resorting to purported policy concerns, those must be
         20     addressed through lawful means, not by disregarding the
         21     Constitution and statutory limits. And indeed, the very
         22     purpose of the citizenship clause was, as the office of legal
         23     counsel said, 30 years ago, to remove the right of
         24     citizenship by birth from transitory political pressures.
         25                Mr. Sellstrom discussed Wong Kim Ark in depth, so I



                                                                               PA280
Case: 25-1170   Document: 00118255171   Page: 315   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         25




           1    won't repeat that, but I do want to focus on defendants'
           2    argument that Wong Kim Ark is not controlling because it
           3    involved the child of permanent residents, not undocumented
           4    immigrants or individuals here on a temporary basis. And
           5    they premised this argument on the distinction between
           6    whether parents are domiciled here long-term or they're not.
           7               This argument is flawed for multiple reasons,
           8    Your Honor, but first start with Supreme Court case law.
           9    Plyler v. Doe held that undocumented immigrants fell within
         10     the jurisdiction of the United States for the purposes of the
         11     14th Amendment because they were subject to the full range of
         12     obligations imposed by the State's civil and criminal laws.
         13     The Court further explained that there was no distinction in
         14     that regard between those who resided here lawfully and those
         15     who resided here unlawfully. And in several cases, the Court
         16     has specifically recognized the citizenship of children born
         17     to undocumented immigrants, as well as those here
         18     temporarily.
         19                In 1957, in Hintopoulos vs. Shaughnessy, the Court
         20     considered a case involving two crew members of a foreign
         21     ship who had been granted temporary permission into the
         22     United States and who overstayed. They gave birth to a
         23     child, and the Court explained that, quote, "Of course, the
         24     child is an American citizen by birth."
         25                In INS v. Rios-Pineda, which also involved a



                                                                               PA281
Case: 25-1170   Document: 00118255171   Page: 316   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         26




           1    petition for suspension of deportation proceedings, the
           2    Supreme Court stated plainly that the undocumented immigrant
           3    in that case had given birth to a child who, quote, "Born in
           4    the United States, was a citizen of this country."
           5                In Hamdi v. Rumsfeld, the Supreme Court considered
           6    the legality of the government's detention of a person born
           7    in the United States on the ground that he was an enemy
           8    combatant. An amicus brief argued that the individual in
           9    question was not actually a citizen because his parents were
         10     on temporary visas in the country when he was born. The
         11     Court did not adopt that view, and they proceeded to analyze
         12     his due process rights as a, quote/unquote, "citizen
         13     detainee."
         14                 The First Circuit has also recognized this. In
         15     2011, in Mariko v. Holder -- Your Honor, I identified this
         16     case after the close of briefing, so I'll give the cite.
         17     It's 632 F.3d 1. The Court considered the case of a child
         18     born in the United States to parents who had entered
         19     unlawfully and had removal proceedings initiated against them
         20     and noted that the child simply, quote, "is a United States
         21     citizen."
         22                 So defendants' domicile theory is squarely at odds
         23     with binding Supreme Court case law.
         24                 Second, it's at odds with the plain language of
         25     Wong Kim Ark. And I won't repeat all of these quotations,



                                                                               PA282
Case: 25-1170   Document: 00118255171   Page: 317   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         27




           1    because we discussed them at length in our reply brief. But
           2    the Court there made clear that whether one is subject to the
           3    jurisdiction is independent of their intention to continue
           4    such residence or domiciliation; that one is subject to the
           5    jurisdiction even if they are, quote/unquote, "merely
           6    temporarily sojourning"; that one is subject to the
           7    jurisdiction even if they are here, quote/unquote, "for
           8    business or pleasure."
           9               And for that proposition, they point to Chief
         10     Justice Marshall's explication of jurisdiction in the seminal
         11     case The Schooner Exchange, where he explained that even a
         12     merchant vessel that is here for purposes of trade is subject
         13     to the jurisdiction of the United States, because if they
         14     were not, it would subject the nation's laws to continual
         15     infraction.
         16                No one, Your Honor, least of all the federal
         17     defendants, would suggest that individuals who are here
         18     undocumented or are here on a temporary bases are free to
         19     disregard the full range of civil and criminal laws of the
         20     United States simply because of their status.
         21                Although there are parts of Wong Kim Ark that refer
         22     to the fact that the parents of Wong Kim Ark were here as
         23     permanent residents, that discussion is applying the holding
         24     of the case to the facts before the Court. In no way did it
         25     qualify the court holding and the precisely defined



                                                                               PA283
Case: 25-1170   Document: 00118255171   Page: 318   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         28




           1    exceptions that Mr. Sellstrom identified.
           2               Finally, Your Honor, if you unpack the reasoning of
           3    defendants' domicile argument, it falls apart pretty quickly.
           4    It hinges on references in both Wong Kim Ark and
           5    Elk v. Wilkins to owing allegiance, and they never explain
           6    what that means. They never explain what they think it means
           7    to owe allegiance or why one has to be domiciled here to owe
           8    allegiance. By contrast, Wong Kim Ark makes very clear what
           9    they mean -- what allegiance means and what it means simply
         10     is a duty to obey the law.
         11                Finally, Your Honor, if domicile were a proxy for
         12     allegiance as defendants posit, that would not explain why
         13     Native Americans were found not to be subject to the
         14     jurisdiction. They are, after all, domiciled long term
         15     within the territorial boundaries of the United States.
         16                One more point on defendants' arguments,
         17     Your Honor, with respect to this issue. The notion of
         18     consent. They attempt to rely on Elk's comment that no one
         19     can become a citizen of the nation without its consent. That
         20     statement is taken out of context clearly. Because Elk
         21     involved a situation where someone who -- a Native American
         22     who had been born within the jurisdiction of a tribal nation,
         23     subsequently attempted, through his own volition, to subject
         24     himself to the jurisdiction of the United States. And the
         25     Court treated that, essentially, as a naturalization



                                                                               PA284
Case: 25-1170   Document: 00118255171   Page: 319   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         29




           1    question. And their point was that you cannot naturalize
           2    yourself, only the nation can consent to your naturalization.
           3                At bottom, Your Honor, defendants are not really
           4    litigating the scope of Supreme Court precedents. They're
           5    seeking to relitigate those precedents directly. That's
           6    clear from the recitation of historical sources that were
           7    largely cited in the dissent in Wong Kim Ark that were known
           8    to and considered by the majority, and that were rejected in
           9    the majority's holding. It's clear from the defendants'
         10     attempt to rely on the language of the 1866 Civil Rights Act,
         11     which Wong Kim Ark expressly discussed and explained the
         12     language of which was no different than the meaning of
         13     subject to jurisdiction as they articulated it in that
         14     opinion. And it's clear from the policy argument that
         15     defendants advance that dual citizenship is problematic, that
         16     the government must have tools to address unlawful entry, and
         17     the like.
         18                 To be clear, Your Honor, the executive branch does
         19     have some discretion when it comes to the enforcement of
         20     immigration laws with respect to the entry, admission, and
         21     removal of noncitizens. But this is not a case about the
         22     entry, admission, or removal of noncitizens. This is a case
         23     about children who are born in the United States. And the
         24     executive branch has no more power to take away their
         25     constitutional rights to birthright citizenship because they



                                                                               PA285
Case: 25-1170   Document: 00118255171   Page: 320   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         30




           1    believe it will disincentivize unlawful entry than they have
           2    the power to take away their First Amendment rights, their
           3    due process rights, or their equal protection rights because
           4    they believe it may disincentivize illegal reentry.
           5               Finally, Your Honor, even if the Court believed
           6    that Wong Kim Ark was wrongly decided and even if it had the
           7    power to overturn that precedent, plaintiffs would still
           8    prevail on their ultra vires claims based on the Immigration
           9    and Nationality Act, because Congress, at the time of
         10     enacting that statute, codified the then existing
         11     understanding of what it meant to be subject to the
         12     jurisdiction, which was articulated in Wong Kim Ark.
         13                Let me move quickly, Your Honor, to the equities.
         14     Mr. Cedrone has already explained the harms to the states.
         15     There's no serious argument that they are not irreparable. I
         16     think it's undisputed that many of the harms could not be
         17     addressed, many of the fiscal harms could not be remedied
         18     through any administrative channel. And even as to the ones
         19     that involve reimbursement programs, like Medicaid,
         20     defendants ask the question as to whether they could be
         21     recovered through administrative processes, but the fact that
         22     they don't answer that question is very telling. They don't
         23     actually identify any administrative process they have where
         24     plaintiffs could recover those funds.
         25                On the public interest, I think it's quite



                                                                               PA286
Case: 25-1170   Document: 00118255171   Page: 321   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         31




           1    straightforward, Your Honor. I think this is really
           2    derivative of the merits. Once the Court answers the merits,
           3    the government has no public interest in violating a
           4    constitutional principle in order to address policy concerns.
           5               So finally, as I mentioned, Your Honor, we are
           6    seeking nationwide relief for the reasons I mentioned before.
           7    And I would say that the government raises, in their
           8    opposition brief, in a footnote or request that the PI
           9    proceedings be consolidated on the merits and that the Court
         10     proceed to a final judgment, plaintiffs' position is --
         11     Your Honor, is that if the Court is inclined to grant relief,
         12     then the record is complete in terms of supporting that
         13     relief, and we fully support granting a full and final
         14     permanent injunction.
         15                THE COURT: So are you saying that you support me
         16     consolidating -- that this is the trial on the merits? You
         17     support that?
         18                MR. DURAISWAMY: We do. Obviously to the extent
         19     the Court believes that there's some defect in the record
         20     that would not support --
         21                THE COURT: If I think that everything -- if I
         22     think I don't need -- there isn't any -- are you asking for
         23     the possibility of more? Are you saying that if I don't
         24     think there's anything else needed, I should just proceed to
         25     enter final judgment?



                                                                               PA287
Case: 25-1170   Document: 00118255171   Page: 322   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         32




           1               MR. DURAISWAMY: I think what we're saying,
           2    Your Honor, is if you're prepared to enter relief, then
           3    certainly we think that that relief can proceed by way of a
           4    permanent injunction.
           5               THE COURT: I see. So if you persuade me that a
           6    preliminary injunction is appropriate, then what you're
           7    saying is I should enter a permanent final injunction.
           8               MR. DURAISWAMY: That's exactly right, Your Honor,
           9    because to reach that conclusion, I think that would -- the
         10     record would be sufficient to support a permanent injunction,
         11     as well. And I would also point out that nothing that we've
         12     submitted in the factual record has been disputed by the
         13     defendants in any way. So we really are here on legal
         14     arguments.
         15                THE COURT: Okay. Thank you.
         16                Is it Mr. Hamilton or Mr. Rosenberg?
         17                MR. HAMILTON: Good morning, Your Honor. Eric
         18     Hamilton again for the defendants.
         19                This Court should deny the plaintiffs' motion for a
         20     preliminary injunction. Our brief identifies a number of
         21     threshold problems with plaintiffs' claims. I want to start
         22     by highlighting just one. That is the lack of standing of
         23     the New Jersey plaintiffs. The New Jersey case is a group of
         24     18 states, the District of Columbia, and the City and County
         25     of San Francisco. They lack standing under the



                                                                               PA288
Case: 25-1170   Document: 00118255171   Page: 323   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         33




           1    United States vs. Texas case of the Supreme Court. In that
           2    case, two states, Texas and Louisiana, challenge a federal
           3    immigration policy, and they premised their challenge on
           4    incidental economic harms.
           5               Now, plaintiffs respond that
           6    United States vs. Texas dealt with what the Court called an
           7    unusual lawsuit seeking the enforcement of federal law, and
           8    that's true. But it is also true that there's language in
           9    Texas that is specific to issues of state standing. We
         10     highlight Footnote 3 of that opinion, which calls out the
         11     problem of states resting theory on incidental economic
         12     harms, which we view as an identical problem to that here.
         13                If plaintiffs --
         14                THE COURT: Is direct injury, financial injury
         15     enough, or not?
         16                MR. HAMILTON: A direct injury would be different.
         17     And that distinguishes Biden vs. Nebraska, as well as the
         18     Department of Commerce case. In Biden vs. Nebraska that's
         19     actually --
         20                THE COURT: But why isn't the injury they advance
         21     direct?
         22                MR. HAMILTON: Well, it's an incidental one,
         23     because it sort of depends on a chain of --
         24                THE COURT: Well, you -- the President determines
         25     or directs that person -- Doe's child -- nowhere in your



                                                                               PA289
Case: 25-1170   Document: 00118255171   Page: 324   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         34




           1    brief challenged Doe's standing, right?
           2               MR. HAMILTON: That's right. That's right.
           3               THE COURT: So actually, the lack of standing is
           4    not a basis to deny the injunction.
           5               MR. HAMILTON: Well, you're talking about the --
           6               THE COURT: I can't -- it would be wrong for me to
           7    deny both motions for injunction for lack of standing. Do
           8    you agree with that?
           9               MR. HAMILTON: Well, I'm not sure, Your Honor,
         10     because we have two separate cases right now --
         11                THE COURT: I asked for both. So you made a
         12     challenge to standing of the state plaintiffs' case, right?
         13                MR. HAMILTON: Exactly. The argument I'm making
         14     right now has nothing to do with the --
         15                THE COURT: So it's not a basis to deny both
         16     motions for injunction.
         17                MR. HAMILTON: Right. Right.
         18                THE COURT: In fact, it would be wrong for me to
         19     deny injunctive relief only on standing grounds, if I applied
         20     that to both cases.
         21                MR. HAMILTON: For the Doe case, yes. For the New
         22     Jersey case --
         23                THE COURT: Right.
         24                MR. HAMILTON: Yes. No -- yes, though.
         25                THE COURT: So you agree with me that I would



                                                                               PA290
Case: 25-1170   Document: 00118255171   Page: 325   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         35




           1    commit legal error if I denied both motions for injunctive
           2    relief and the only reason I cited was the lack of standing.
           3               MR. HAMILTON: That's right. That's right.
           4               THE COURT: So the reason the Doe plaintiff, if I
           5    understand it correctly, has standing, given the -- her
           6    pregnancy and the birth of her child anticipated to occur
           7    after the effective date of the executive order, is that that
           8    would cause her direct injury.
           9               MR. HAMILTON: Exactly. Exactly.
         10                THE COURT: All right. So my question is, since
         11     the executive order would -- what follows from the executive
         12     order is that Doe's child is not a citizen under the
         13     executive order, right?
         14                MR. HAMILTON: Yes.
         15                THE COURT: And so -- and that causes her direct
         16     injury sufficient for Article III, right?
         17                MR. HAMILTON: Yes.
         18                THE COURT: So why -- and since what the states
         19     point to is various monies they get based on people being
         20     citizens, right?
         21                MR. HAMILTON: Yes.
         22                THE COURT: And so the money they would get for
         23     Doe's child being a citizen, they're not going to get if the
         24     executive order is in place, right?
         25                MR. HAMILTON: Yes. But there's more steps



                                                                               PA291
Case: 25-1170   Document: 00118255171   Page: 326   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         36




           1    involved to get there. And again, it's a problem that
           2    United States vs. Texas addressed. States are unique kinds
           3    of plaintiffs, and if these incidental economic harms were
           4    sufficient to confer standing --
           5               THE COURT: I guess that's my question. What does
           6    it mean to you, or what do you think it meant to the Supreme
           7    Court to be incidental?
           8               MR. HAMILTON: Well, I think it means where
           9    there's -- there's kind of a leap you have to take, and it's
         10     not a direct regulation. I think, again, the Nebraska
         11     against Biden case is actually unhelpful for plaintiffs,
         12     because there there was multiple states that were challenging
         13     the policy. And the Court didn't hold that all the states
         14     had standing --
         15                THE COURT: Didn't Justice Roberts say that the
         16     standing of one state was sufficient for him to proceed in
         17     his opinion to address the merits?
         18                MR. HAMILTON: It is, but the standing that was
         19     sufficient there was specific to a very unique state program,
         20     where the state --
         21                THE COURT: Well, but wasn't the standing there
         22     that the Supreme Court said that the elimination of the
         23     program -- the elimination -- the forgiveness, rather, of the
         24     loans would mean that the entity, as a downstream effect,
         25     would no longer receive fees for managing those loans, right?



                                                                               PA292
Case: 25-1170   Document: 00118255171   Page: 327   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         37




           1               MR. HAMILTON: Yes, but it was unusual that
           2    Missouri --
           3               THE COURT: But it wasn't that the federal
           4    regulation said anything directly to that entity. It was
           5    just a consequence of the -- forgiving the loans, right?
           6               MR. HAMILTON: Yes. But it had a direct effect on
           7    federal loan servicers, which is the business that the State
           8    of Missouri decided to get into.
           9               THE COURT: So but why is that a direct -- you
         10     concede that's a direct effect in that case.
         11                MR. HAMILTON: Yes.
         12                THE COURT: And so if that's a direct effect, why
         13     isn't it a direct effect to say that we will -- the number of
         14     people we're going to pay you for processing Social Security
         15     numbers, for example, is going to be less, because there's
         16     going to be, under this order, less birthright citizens.
         17                MR. HAMILTON: Because the persons directly
         18     affected are people like O. Doe, people whose citizenship
         19     hinges on the executive order.
         20                THE COURT: Well, no, but they get money for
         21     submitting the applications, just the way the servicer got
         22     money for servicing the loans. What's the difference?
         23                MR. HAMILTON: Well, there's still that extra step
         24     between the individuals within the states and then the
         25     incidental effects that the states --



                                                                               PA293
Case: 25-1170   Document: 00118255171   Page: 328   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         38




           1               THE COURT: What's the extra step?
           2               MR. HAMILTON: Well, the extra step is that the
           3    states are claiming that they're going to receive certain
           4    funds or not --
           5               THE COURT: Well, you haven't disputed that.
           6               MR. HAMILTON: We haven't disputed that.
           7               THE COURT: So that's a fact. That's a fact that
           8    you conceded, essentially.
           9               MR. HAMILTON: Yes. But there's still --
         10                THE COURT: Yes, you conceded it.
         11                MR. HAMILTON: Yes. Yes.
         12                THE COURT: Right. So that is a fact that they
         13     will lose that money.
         14                MR. HAMILTON: We're not challenging that on the
         15     present record. But Your Honor --
         16                THE COURT: Or seeking to expand the record.
         17                MR. HAMILTON: Correct. Correct.
         18                THE COURT: So if they are losing that, why isn't
         19     that direct? I'm just misunderstanding -- I'm just not
         20     understanding what is this extra step? I mean, because what
         21     seems like the analogy is you would agree with me that in the
         22     Nebraska case, the loans that were forgiven were not the --
         23     were the loans owed by borrowers, right?
         24                MR. HAMILTON: Right.
         25                THE COURT: And not loans owed by that Missouri



                                                                               PA294
Case: 25-1170   Document: 00118255171   Page: 329   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         39




           1    entity.
           2               MR. HAMILTON: Yes. I think, though, that the
           3    boundaries and standing are frequently fuzzy, but we have
           4    Biden vs. Nebraska and United States vs. Texas. Those are
           5    two very recent state standing cases in the US Supreme Court.
           6    In the end, we think this case is more analogous to the
           7    United States vs. Texas case.
           8               But even aside from state standing, the Court
           9    should also deny the motion for preliminary injunction,
         10     because none of the plaintiffs have shown --
         11                THE COURT: Can I ask one other question before --
         12     you're moving on to something else, right?
         13                MR. HAMILTON: I am.
         14                THE COURT: Just before you go on to that, one
         15     other question about standing.
         16                You would agree with me, or do you agree with me,
         17     is maybe a better way to ask the question, do you agree with
         18     me that a person who acquires birthright -- in birthright
         19     United States citizenship, under the Section 1 of the 14th
         20     Amendment, by virtue of that clause, automatically acquires
         21     citizenship in the state in which they reside?
         22                MR. HAMILTON: I do, yes.
         23                THE COURT: Which means that a person who has
         24     birthright -- who is born, say, in Massachusetts,
         25     Massachusetts -- that person, if they are a person who



                                                                               PA295
Case: 25-1170   Document: 00118255171   Page: 330   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         40




           1    gets -- you concede there are people who get birthright
           2    citizenship, even after the EO, right?
           3               MR. HAMILTON: Yes, of course.
           4               THE COURT: Right. Of course. Okay. So somebody
           5    is born, let's just say Massachusetts, and they're born in
           6    Massachusetts, and they're a person who acquires birthright
           7    citizenship. Okay? They -- Massachusetts has to give them,
           8    recognize them as citizens of Massachusetts. As a citizen of
           9    Massachusetts, right?
         10                MR. HAMILTON: It does.
         11                THE COURT: And so why doesn't that fact that -- so
         12     in that sense, that clause operates directly on the states.
         13     Right?
         14                MR. HAMILTON: It does. And candidly, I think
         15     Your Honor has articulated a theory of standing that is
         16     stronger than anything the plaintiffs have suggested. They
         17     did not make that argument. Arguments in favor of standing
         18     are forfeited. But even then, I would still question the
         19     state standing, because the 14th Amendment would just set a
         20     floor for state citizenship. It isn't necessarily the case
         21     that the --
         22                THE COURT: But it severs the unitary connection.
         23     The 14th Amendment established this unification between
         24     citizenship of the United States and a state.
         25                MR. HAMILTON: It did.



                                                                               PA296
Case: 25-1170   Document: 00118255171   Page: 331   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         41




           1                THE COURT: And your interpretation severs that, to
           2    some degree, because it, first of all, narrows it, right?
           3                MR. HAMILTON: Yes.
           4                THE COURT: It puts it in a narrower interpretation
           5    than theirs.
           6                MR. HAMILTON: It would affect who becomes a
           7    citizen of the State, but, again, this is a forfeited
           8    argument by the state and plaintiffs.
           9                Turning, though, to the likelihood of success on
         10     the merits --
         11                 THE COURT: Well, I just -- okay. I understand.
         12     Go ahead.
         13                 MR. HAMILTON: Plaintiffs -- none of the plaintiffs
         14     show a likelihood of success on the merits, which, of course,
         15     is also a requirement for a preliminary injunction. That's
         16     because all of the plaintiffs arguments rest on a misreading
         17     of the 14th Amendment of the Constitution. The 14th
         18     Amendment was enacted to repudiate the US Supreme Court's
         19     shameful decision in Dred Scott vs. Sanford, and ensure it
         20     would never again be the law of this country that an
         21     African-American might be denied American citizenship based
         22     on his or her race. But the framers of that amendment did
         23     not intend to, and did not, in fact, create a loophole to be
         24     exploited by temporary visitors to the country and illegal
         25     aliens. The 14th Amendment says that all persons --



                                                                               PA297
Case: 25-1170   Document: 00118255171   Page: 332   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         42




           1               THE COURT: So just to stop you there. So your
           2    position is that the definition of who is and who is not a
           3    birthright citizen, articulated in the EO is what the 14th
           4    Amendment always meant?
           5               MR. HAMILTON: Yes.
           6               THE COURT: And so to the extent it's been
           7    construed, understood, or applied differently, those are, as
           8    you put it, misimpressions or misreadings?
           9               MR. HAMILTON: Yes.
         10                THE COURT: And am I correct that prior to -- well,
         11     even up to today, people who the EO says don't -- are not
         12     birthright citizens have been recognized by the United States
         13     government as birthright citizens?
         14                MR. HAMILTON: Yes. This would be a change in
         15     policy.
         16                THE COURT: And so those people, under this Trump
         17     administration, have been recognized as birthright citizens,
         18     right?
         19                MR. HAMILTON: Yes, the policy was not slated to
         20     take effect until the future.
         21                THE COURT: Right. So even before -- putting aside
         22     the injunctions issued by the other judges, the -- this
         23     administration has been recognizing people who fall into
         24     the -- who otherwise, executive order applied to, they have
         25     been recognized as US citizens, right?



                                                                               PA298
Case: 25-1170   Document: 00118255171   Page: 333   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         43




           1               MR. HAMILTON: Correct. Nothing has changed in
           2    executive practice.
           3               THE COURT: I'm not asking about change. I'm
           4    asking about --
           5               MR. HAMILTON: Yeah.
           6               THE COURT: The federal government has been
           7    recognizing them as citizens, right?
           8               MR. HAMILTON: Yes.
           9               THE COURT: And that was true under the Biden
         10     administration, right?
         11                MR. HAMILTON: Yes.
         12                THE COURT: And that was true under the first Trump
         13     administration, right?
         14                MR. HAMILTON: Yes.
         15                THE COURT: And that was true at least back to
         16     World War II, if not earlier.
         17                MR. HAMILTON: Yes.
         18                THE COURT: And so my question then is -- and your
         19     interpretation is that -- or your view is that all of
         20     those -- those are wrong. Correct?
         21                MR. HAMILTON: Yes.
         22                THE COURT: So that, in fact, in law, really, the
         23     people who were born -- who were born in the United States --
         24     forgetting about the injunctions, but prior to February 19th,
         25     okay, who are children of -- who would fall within the two



                                                                               PA299
Case: 25-1170   Document: 00118255171   Page: 334   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         44




           1    categories of executive orders, they are not -- the proper
           2    reading of the clause one of the 14th Amendment, they are not
           3    birthright citizens.
           4               MR. HAMILTON: That's right.
           5               THE COURT: So if that's true, then how do they
           6    have citizenship?
           7               MR. HAMILTON: Well, this --
           8               THE COURT: And how do you lawfully -- like you
           9    have just told me, essentially, that people that the federal
         10     government is now recognizing as US citizens, even putting
         11     before -- putting aside the injunctions, before the
         12     injunctions were into place, whatever it was the other day,
         13     that they were not -- they were -- you were recognizing
         14     people as citizens who are not birthright citizens under the
         15     United States Constitution, right?
         16                MR. HAMILTON: Right. So the executive order is
         17     forward looking only, and that is consistent with how the US
         18     Supreme Court has handled the misapplication of
         19     constitutional law in the immigration context previously.
         20     The Sessions vs. Morales-Santana case corrected a -- a -- it
         21     corrected a constitutional rule of law, and at the end of
         22     that opinion, the Court announces that it is applying its
         23     rule prospectively only, and so the path that this executive
         24     order takes is consistent with that.
         25                And I'd also note --



                                                                               PA300
Case: 25-1170   Document: 00118255171   Page: 335   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         45




           1                THE COURT: So you're suggesting that when you
           2    identify -- when -- the President's not the Supreme Court,
           3    right? They're different.
           4                MR. HAMILTON: Of course.
           5                THE COURT: Right. So you're suggesting that that
           6    principle, then, that you're articulating on behalf of the
           7    executive branch, is that the executive branch identifies an
           8    error in the application of constitutional law, that's what
           9    we're talking about, that's the executive branch's position,
         10     right?
         11                 MR. HAMILTON: Yes.
         12                 THE COURT: And that then the executive branch can
         13     choose or must apply it prospectively?
         14                 MR. HAMILTON: Yeah, I don't know that we've taken
         15     a position on that, but in this case, it was the President's
         16     judgment that a forward-looking policy was --
         17                 THE COURT: I'm asking what the law is.
         18                 MR. HAMILTON: We haven't taken a position on that.
         19                 THE COURT: So -- as you stand here now, you don't
         20     know whether or not the executive branch has the authority to
         21     make it not prospective or -- I'm sorry. That's a bad
         22     question.
         23                 Is it -- you don't know whether that you must make
         24     it, under the law, prospective?
         25                 MR. HAMILTON: Yeah, it's not something that we've



                                                                               PA301
Case: 25-1170   Document: 00118255171   Page: 336   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         46




           1    taken a position on, but the executive order's path is
           2    consistent with the line that the US Supreme Court drew in
           3    that Sessions case in recent turns.
           4               THE COURT: So you're not taking a position, either
           5    way, as to whether or not it would be either required to say
           6    to people who prior -- who are born prior to February 19th
           7    that they don't have citizenship. You're not taking a
           8    position whether or not it's required for you to do that,
           9    assuming you prevail on your view.
         10                MR. HAMILTON: Well, that is certainly not the
         11     policy of the executive order.
         12                THE COURT: I understand. Right. The executive
         13     order doesn't say that. But my question is whether the
         14     law -- you're not taking a position on whether the law, if
         15     you're correct on the meaning of the Constitution, would
         16     require to apply it to people before February 19th.
         17                MR. HAMILTON: Oh, no. That is not something that
         18     we're arguing. We do not think of that as a requirement
         19     under the Sessions case.
         20                THE COURT: You don't think the law requires you to
         21     do that.
         22                MR. HAMILTON: Exactly.
         23                THE COURT: Okay.
         24                MR. HAMILTON: Apologies if I misunderstood
         25     Your Honor's questions.



                                                                               PA302
Case: 25-1170   Document: 00118255171   Page: 337   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         47




           1               THE COURT: No problem.
           2               So -- and whether you have discretion to do that is
           3    something that you're not taking a position on now.
           4               MR. HAMILTON: That's right.
           5               THE COURT: Okay. So your view is -- I don't want
           6    to put words in your mouth, I just want to make sure I
           7    understand. You're not required -- your view is the law does
           8    not require, when you're correcting a constitutional
           9    interpretation, to apply it to all people who would be
         10     subject to it. You can apply it instead prospectively.
         11                MR. HAMILTON: That's right.
         12                THE COURT: So the law doesn't require that and
         13     you're not taking a -- that is, you're not saying you do have
         14     discretion to apply it retroactively -- or not retroactively.
         15     You're saying you do -- you're not -- you're taking no
         16     position as to whether or not you -- the executive branch has
         17     the discretion to say to someone born before February 19th,
         18     you're not a United States citizen, because you're not under
         19     the proper interpretation of the clause.
         20                MR. HAMILTON: Correct, but it definitely is not a
         21     requirement to do that. The executive orders forward-looking
         22     policy is consistent with law.
         23                And I'd also note, because Your Honor referenced
         24     that recent executive practice has been something different.
         25     That recent Supreme Court decisions have -- have not been



                                                                               PA303
Case: 25-1170   Document: 00118255171   Page: 338   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         48




           1    afraid to chart a different course, despite recent practice.
           2    For example, in the Chadha case, the legislative veto was on
           3    the books --
           4               THE COURT: So your position is that -- well,
           5    that's for the Supreme Court, right? It's not for me to
           6    chart a different course under constitutional law than the
           7    Supreme Court has chartered, right?
           8               MR. HAMILTON: Supreme Court precedent is, of
           9    course, binding, but we think that the language that
         10     plaintiffs are leaning into is dicta.
         11                THE COURT: Right. So your position is that the --
         12     I can deny the injunction because this case is not controlled
         13     by the Supreme Court precedent?
         14                MR. HAMILTON: Exactly.
         15                THE COURT: Okay. I got it. Go ahead.
         16                MR. HAMILTON: So I'll return to the 14th Amendment
         17     citizenship clause, and specifically that subject to the
         18     jurisdiction thereof clause, because that is what is at
         19     issue --
         20                THE COURT: By the way, one of your arguments for
         21     the subject, too, is that -- that it's premised on mutual
         22     consent between the person and the polity, right?
         23                MR. HAMILTON: Yes.
         24                THE COURT: Okay. That's that the polity, that's
         25     that the government, right, consents to the person's



                                                                               PA304
Case: 25-1170   Document: 00118255171   Page: 339   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         49




           1    citizenship, right?
           2               MR. HAMILTON: Right.
           3               THE COURT: And that the person consents to being a
           4    citizen, right?
           5               MR. HAMILTON: Yes.
           6               THE COURT: And you agree that the 14th Amendment,
           7    that when it became -- the moment it became part of the
           8    Constitution, the moment it was enacted and became law, that
           9    the children born to enslaved people in the United States, at
         10     that moment, they became citizens. The US born, natural
         11     born, born in the United States children of enslaved peoples,
         12     they became citizens at that moment.
         13                MR. HAMILTON: Yes.
         14                THE COURT: But their parents, you agree, came to
         15     the United States or many of them, in chains.
         16                MR. HAMILTON: (Nods head.)
         17                THE COURT: Yes?
         18                MR. HAMILTON: Yes.
         19                THE COURT: And they did not consent to come to the
         20     United States, those people who came in chains.
         21                MR. HAMILTON: No.
         22                THE COURT: Any hesitation?
         23                MR. HAMILTON: Well --
         24                THE COURT: As to whether they consented to come to
         25     the United States?



                                                                               PA305
Case: 25-1170   Document: 00118255171   Page: 340   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         50




           1               MR. HAMILTON: No, they certainly did not.
           2               THE COURT: And they didn't consent to become part
           3    of this polity, correct?
           4               MR. HAMILTON: No.
           5               THE COURT: So -- okay. Well, that's just what I
           6    wanted to understand the theory. Go ahead.
           7               MR. HAMILTON: Yeah, I mean, obviously --
           8               THE COURT: But they did -- but their children
           9    became citizens of the United States, if they were born in
         10     the United States.
         11                MR. HAMILTON: Yes. Yes.
         12                THE COURT: And that was one of the points of the
         13     14th Amendment.
         14                MR. HAMILTON: Absolutely. Absolutely.
         15     Repudiating Dred Scott vs. Stanford was the central purpose
         16     of the citizenship clause.
         17                THE COURT: But those people didn't consent.
         18                MR. HAMILTON: That's -- that's right, but it
         19     was -- I mean, slavery --
         20                THE COURT: That is right, isn't it?
         21                MR. HAMILTON: Yes. Yes. Elk vs. Wilkins and Wong
         22     Kim Ark.
         23                THE COURT: So consent wasn't a part of the meaning
         24     of the 14th Amendment.
         25                MR. HAMILTON: Well, I don't think it's the sole



                                                                               PA306
Case: 25-1170   Document: 00118255171   Page: 341   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         51




           1    meaning of the subject to the jurisdiction thereof. I'd
           2    start with --
           3               THE COURT: But you've advanced that as an argument
           4    that if you didn't -- if they didn't have those consents, you
           5    were outside the scope of the 14th Amendment, but you just
           6    agreed with me that there's a whole swath of people they had
           7    in mind, who, in law, became citizens and that was their
           8    intent. That was the purpose of those words, and they didn't
           9    consent.
         10                MR. HAMILTON: Right. I think consent is
         11     frequently relevant, but, perhaps, not with every
         12     application.
         13                Being born into the allegiance of the country is
         14     the concept that Elk vs. Wilkins and Wong Kim Ark both
         15     identify as -- as --
         16                THE COURT: Were those children, when they were
         17     born in the United States, and they were enslaved, were they
         18     born into allegiance to the United States?
         19                MR. HAMILTON: I'm sorry, I missed the first part.
         20                THE COURT: Were the children who were born in the
         21     United States, who became citizens under the 14th Amendment,
         22     when they were born, the relevant time is birth, right?
         23                MR. HAMILTON: Yes.
         24                THE COURT: When they were born, were they born
         25     into allegiance to the United States?



                                                                               PA307
Case: 25-1170   Document: 00118255171   Page: 342   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         52




           1               MR. HAMILTON: I think it would have to be
           2    understood that way to reconcile that with Wong Kim Ark and
           3    Elk vs. Wilkins.
           4               I'd also want to highlight the Civil Rights Act of
           5    1866, which is important because it was drafted by the
           6    Congress at, basically, the same time that the 14th Amendment
           7    was drafted by Congress, both were passed in the first half
           8    of 1866. And that act uses slightly different language. It
           9    says that all persons born in the US and not subject to any
         10     foreign power, excluding Indians not taxed, are hereby
         11     declared to be citizens. And it was just a few months later
         12     that the 14th Amendment was passed by the Congress and sent
         13     out for ratification.
         14                I know Your Honor has read our briefs. I do want
         15     to highlight one piece of legislative history in our briefs,
         16     it's from Senator Lyman Trumbull who was one of the principle
         17     authors of the 14th Amendment. He said during the
         18     congressional debates, what do we mean by subject to the
         19     jurisdiction of the United States not owing allegiance to
         20     anybody else. That is what it means. And that understanding
         21     of subject to the jurisdiction thereof is --
         22                THE COURT: Owing no allegiance to anyone else.
         23     That's your position, right?
         24                MR. HAMILTON: Right.
         25                THE COURT: Complete, with no allegiance to anyone



                                                                               PA308
Case: 25-1170   Document: 00118255171   Page: 343   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         53




           1    else, to another country.
           2               MR. HAMILTON: And that's what Elk vs. Wilkins
           3    says. It talks about direct and immediate allegiance and
           4    that's language that reappears --
           5               THE COURT: So how can the -- you agree with me
           6    that lawful permanent residents are obviously not citizens of
           7    the United States, right?
           8               MR. HAMILTON: That's right.
           9               THE COURT: And they are, in most, if not all
         10     cases, citizens of another country, right?
         11                MR. HAMILTON: Yes.
         12                THE COURT: And they owe allegiance, in some form,
         13     to those other countries.
         14                MR. HAMILTON: Yes. Yes.
         15                THE COURT: And yet their children -- you agree
         16     that their children, if born in the United States, are
         17     birthright citizens?
         18                MR. HAMILTON: Yes. Because the common law
         19     recognizes that --
         20                THE COURT: But they owe allegiance to other
         21     people, their parents owe allegiance to another country.
         22                MR. HAMILTON: Right.
         23                THE COURT: But even if you owe allegiance to
         24     another country, your child can be a birthright citizen.
         25                MR. HAMILTON: That's right. The allegiance.



                                                                               PA309
Case: 25-1170   Document: 00118255171   Page: 344   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         54




           1               THE COURT: So why is it complete.
           2               MR. HAMILTON: The allegiance inquiry doesn't turn
           3    on whether there exists another allegiance based on some
           4    foreign body of law, it turns on whether there's an
           5    allegiance to the United States or not, under controlling
           6    American law. And the common law recognized that individuals
           7    owe an allegiance to the country where their domicile is.
           8    And so lawful permanent residents do have a domicile in the
           9    United States, and so they have that allegiance to the United
         10     States, as well.
         11                I also want to say a few words about plaintiffs'
         12     theory of the clause, because it makes subject to the --
         13                THE COURT: So if lawful permanent residents were
         14     here and they -- the -- one of them was -- the mother was
         15     pregnant, and then they went overseas, like, what is the
         16     child's domicile -- you're saying it's the domicile of the
         17     parents?
         18                MR. HAMILTON: Yes. Well, if the parents went
         19     overseas, then the child would not be born in the United
         20     States.
         21                THE COURT: (Nods head.)
         22                MR. HAMILTON: But I do want to address plaintiffs'
         23     theory. The Doe plaintiffs say that subject to the
         24     jurisdiction thereof means anyone --
         25                THE COURT: I'm sorry, wait. So Canadians who



                                                                               PA310
Case: 25-1170   Document: 00118255171   Page: 345   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         55




           1    cross the border to give birth in an American hospital,
           2    they're not birthright US citizens?
           3               MR. HAMILTON: Well, it would depend on whether
           4    they were a citizen or lawful permanent resident.
           5               THE COURT: No, they're Canadian citizens, like in
           6    some places, Canadians, the border is close. They live --
           7    many Canadians live close to the border. If they happen to
           8    either be in the United States for the day, for shopping, or
           9    whatever, and went into labor, and went to a US hospital, or
         10     maybe the closest medical facility is a US medical facility,
         11     but for whatever reason -- a Canadian citizen who -- not
         12     lawful permanent resident, just Canadian citizens, came over
         13     to the hospital, gave birth there, then they wouldn't be
         14     birthright citizens.
         15                MR. HAMILTON: That's right. Temporary visitors to
         16     the United States do not have a domicile in the United
         17     States. They do not owe an allegiance to the United States.
         18                THE COURT: So the allegiance comes from the
         19     domicile of the parents.
         20                MR. HAMILTON: It does. It does, as well as the
         21     citizenship.
         22                THE COURT: Okay. Go ahead.
         23                MR. HAMILTON: Again, the Doe plaintiffs say that
         24     this clause applies to anyone to whom United States law
         25     applies. The states say that it means being subject to US



                                                                               PA311
Case: 25-1170   Document: 00118255171   Page: 346   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         56




           1    authority. That would render subject to the jurisdiction
           2    thereof redundant, because anyone who is in the United States
           3    that would be true for.
           4               Plaintiffs' theory also does not explain the
           5    categories of individuals that Elk and Wong Kim Ark say are
           6    not subject to the jurisdiction thereof. Elk holds that
           7    Indians are not subject to the jurisdiction thereof, but the
           8    US can regulate Indian commercial activities, property, and
           9    adoptions, can also punish Indians for crimes. Foreign
         10     diplomats are also subject to US law. It's true that they do
         11     have a limited immunity, but foreign diplomats can still be
         12     sued in civil courts and that immunity is subject to
         13     abrogation. Surely it isn't the case that the citizenship
         14     clause turns on Congress's expansion and contraction of
         15     diplomatic immunity.
         16                I also want to address the Plyler against --
         17                THE COURT: So that's not really the immunity that
         18     they're talking about, right?
         19                MR. HAMILTON: I understood them to --
         20                THE COURT: I mean, police officers have qualified
         21     immunity, right?
         22                MR. HAMILTON: Yes.
         23                THE COURT: Nobody is suggesting that because a
         24     police officer has qualified immunity that if he has a
         25     child -- the plaintiffs aren't suggesting that if he has a



                                                                               PA312
Case: 25-1170   Document: 00118255171   Page: 347   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         57




           1    child, that that's the kind of immunity that they're talking
           2    about with respect to subject to the jurisdiction, assuming
           3    the police officer is a citizen and has a child born in the
           4    United States. That's not the kind of immunity they're
           5    talking about. They're talking about --
           6               MR. HAMILTON: I agree. They're talking about
           7    diplomatic immunity, but that is still something that
           8    Congress has the authority to alter.
           9               THE COURT: Yes. But they were talking about its
         10     understanding of what they were -- what they meant by those
         11     words then, not whether there was any possibility of that
         12     shifting. I mean, in fairness, like their argument, you're
         13     transforming their argument into a regulatory argument that
         14     anybody to whom US law has any sort of application to.
         15     That's not what their interpretation of what the subject to
         16     means.
         17                MR. HAMILTON: I respectfully disagree. I'll just
         18     read from page 10 of the State's briefs. They say that
         19     subject to the jurisdiction thereof means, quote, "subject to
         20     US authority." And I think that's very difficult to square
         21     at least with the Elk vs. Wilkins case, holding with respect
         22     to Indians.
         23                THE COURT: If you interpret authority to mean the
         24     application of any civil law to the person.
         25                MR. HAMILTON: Well, but also criminal. There are



                                                                               PA313
Case: 25-1170   Document: 00118255171   Page: 348   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         58




           1    statutes.
           2                THE COURT: Well, civil or criminal.
           3                MR. HAMILTON: Yes. Also, I'll say a few words on
           4    scope of relief issues, since Your Honor asked my friends on
           5    the other side about that.
           6                THE COURT: Yes, of course.
           7                Before you get to that, I have one other, just,
           8    question.
           9                So this -- under the EO, citizenship turns -- you
         10     agree with me that, before the EO, whether right or wrong,
         11     misimpression, misreading or not, the way citizenship,
         12     birthright citizen was applied was you just looked at where
         13     the person was born, correct? At least for within the United
         14     States -- the 50 states.
         15                 MR. HAMILTON: Well, no, because you do have
         16     Elk vs. Wilkins and then the categories of individuals in
         17     Wong Kim Ark that are recognized as not being subject to the
         18     jurisdiction thereof.
         19                 THE COURT: So there's a few people -- so in that
         20     sense, you're saying even before the EO, or -- and the way
         21     it's been done, a birth certificate alone -- determining the
         22     fact that you were born here did not necessarily completely
         23     resolve the question of whether you were a birthright
         24     citizen.
         25                 MR. HAMILTON: Yes. And let me add one point to



                                                                               PA314
Case: 25-1170   Document: 00118255171   Page: 349   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         59




           1    the answer. There is a statute, 8 USC 1401, that expands
           2    citizenship --
           3               THE COURT: Sure.
           4               MR. HAMILTON: -- beyond the citizenship clause.
           5    That is the reason that Indians have birthright citizens in
           6    the United States.
           7               THE COURT: So but my -- under the EO, there is
           8    a -- you are expanding the number of people who fall into the
           9    category, who, merely looking at their birth certificate
         10     doesn't establish their citizenship.
         11                MR. HAMILTON: That's right. The EO mandates the
         12     change of --
         13                THE COURT: So you would have to have -- in order
         14     to have -- to determine whether someone is a citizen going
         15     forward, not just on February 25th, but as this goes --
         16     because the intent is to have this be -- this is the
         17     proper -- the intent of the executive branch is that this is
         18     how it should be forever, because that is how it was
         19     established in 1868, right?
         20                MR. HAMILTON: Exactly. The executive order wants
         21     to align executive practice with what the law requires.
         22                THE COURT: Well, what the clause says.
         23                MR. HAMILTON: Yes, which is what the law and 8 USC
         24     1401 requires. Both are relevant authorities in determining
         25     citizenship.



                                                                               PA315
Case: 25-1170   Document: 00118255171   Page: 350   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         60




           1               THE COURT: So to then determine who's a citizen,
           2    you have to look into who the parents are going forward,
           3    right?
           4               MR. HAMILTON: Yes.
           5               THE COURT: In almost every case, more so -- more
           6    and more as time goes forward?
           7               MR. HAMILTON: Yes. Yes.
           8               THE COURT: And so -- well, one, doesn't that make
           9    citizenship more like bloodline citizenship as a general
         10     proposition?
         11                MR. HAMILTON: I don't think so. The rule that
         12     we're proposing is both citizenship and domicile and --
         13                THE COURT: And to sort of, just as a practical
         14     matter, to effectuate that, aren't you going to need a list
         15     of people?
         16                MR. HAMILTON: I -- so the executive order directs
         17     federal agencies to work through implementation issues during
         18     the 30-day period. That has not happened because of the
         19     temporary restraining order.
         20                THE COURT: Well, presumably they started that
         21     before. Those orders only went into effect 48 hours ago.
         22                MR. HAMILTON: Oh, Your Honor, a federal judge in
         23     Seattle entered --
         24                THE COURT: Oh, the TRO. Right. I forget about
         25     that. I'm sorry. Yes, I forgot.



                                                                               PA316
Case: 25-1170   Document: 00118255171   Page: 351   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         61




           1               MR. HAMILTON: So I'm not able to answer questions
           2    about implementation. That's something that the executive
           3    order excepted.
           4               THE COURT: So you have no idea, for example,
           5    whether or not this would require the federal government or
           6    whether the -- what comes out of this is the federal
           7    government would require every person -- keep a list of every
           8    person, whether they were citizen or not, so that it could be
           9    determined when the State Department was issuing passports or
         10     whether there was any other question that they would need to
         11     reference that list. You have no idea whether or not that
         12     that's what's contemplated?
         13                MR. HAMILTON: Correct. It's Section 3 of the EO
         14     that directs agencies to work on guidance and work through
         15     the implementation issues. That work was not allowed to go
         16     forward under the TRO issued in Seattle just days after the
         17     EO was signed.
         18                THE COURT: It doesn't prevent -- the TRO or the
         19     PIs don't prevent thinking about that issue, right?
         20                MR. HAMILTON: I don't know that we've taken a
         21     position on that, but it did -- it did enjoin Section 3, as
         22     well as other portions of the executive order --
         23                (Counsel confers.)
         24                MR. HAMILTON: And we've interpreted it as a
         25     pencils down executive order -- or sorry. A pencils down



                                                                               PA317
Case: 25-1170   Document: 00118255171   Page: 352   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         62




           1    temporary restraining order.
           2               THE COURT: I see. Okay. Go ahead.
           3               MR. HAMILTON: On the scope of relief, so the state
           4    standing issue that I began with is important because the --
           5               THE COURT: So just turning back to that, it may be
           6    or it may be not, but it may be that it would require
           7    everybody to register, or maybe not. You just don't know and
           8    haven't addressed it.
           9               MR. HAMILTON: I can't --
         10                THE COURT: You can't answer.
         11                MR. HAMILTON: I can't answer any implementation
         12     questions.
         13                THE COURT: Okay. Go ahead.
         14                MR. HAMILTON: To the extent the Court is inclined
         15     to enter injunctive relief, there should not be a nationwide
         16     injunction. The plaintiff states lack standing, and the
         17     associational plaintiffs have acknowledged that their members
         18     are limited to Massachusetts. And so there's no
         19     justification for a nationwide injunction, which also is
         20     inconsistent with Article III authority, which is limited to
         21     resolving cases and controversies not to setting nationwide
         22     rules of policy applicable to parties not before the Court.
         23                THE COURT: When just circling -- I'm sorry. Do
         24     you have something else?
         25                MR. HAMILTON: No, Your Honor.



                                                                               PA318
Case: 25-1170   Document: 00118255171   Page: 353   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         63




           1               THE COURT: Okay. One last question about
           2    forfeiting. Does that principle come into play in the PI
           3    when there hasn't been an answer, there hasn't been a motion
           4    to dismiss?
           5               MR. HAMILTON: I think so. I don't know how we
           6    could --
           7               THE COURT: When did -- so at what point do people
           8    forfeit standing arguments?
           9               MR. HAMILTON: Well, standing arguments are --
         10                THE COURT: There's a different question -- I'm
         11     sorry to interrupt. Let me just divide it. I understand it
         12     to say hey, they didn't address it, Judge, I didn't get a
         13     chance to respond to it. That's not a forfeit argument.
         14     That's just an argument that it's not fair, either you
         15     shouldn't consider it, or I should get a chance to respond,
         16     but a forfeit argument is it's gone from the case. That's
         17     what you mean by forfeit.
         18                MR. HAMILTON: Right. Right.
         19                THE COURT: And so my question is then do you
         20     forfeit it if you don't articulate it in the complaint, or
         21     like if they had -- when -- when are you locating it under
         22     the federal rules that they forfeited it.
         23                MR. HAMILTON: For purposes of deciding this
         24     motion, it is forfeited because it doesn't appear anywhere in
         25     the papers, but I suppose Your Honor would have to anticipate



                                                                               PA319
Case: 25-1170   Document: 00118255171   Page: 354   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         64




           1    that the states would have a different standing theory in the
           2    future that they haven't taken yet. But again, even if that
           3    happened, we don't think that theory of standing is
           4    sufficient, because the citizenship clause is just setting a
           5    floor for citizenship. We don't see anything in there that
           6    would prevent states.
           7               THE COURT: Well, doesn't it affect, for example,
           8    if you lower the floor, that's essentially what you're doing.
           9    You're saying you're lowering the floor back to what it
         10     should be. But you certainly -- however you characterize it,
         11     you're lowering it, but it's a narrower floor, or a lower
         12     floor than what they've articulated or what was previously
         13     was misimpressed or --
         14                MR. HAMILTON: Yes. Yes.
         15                THE COURT: So that effects states in terms of the
         16     number of citizens in the state, right?
         17                MR. HAMILTON: In a sense. But at bottom.
         18                THE COURT: Well, not in a sense. I mean, the
         19     Doe's child born here, without the executive order, would
         20     have been treated as a birthright citizen, right?
         21                MR. HAMILTON: Yes.
         22                THE COURT: And so with the executive order, if
         23     it's enforced, she would not be treated as a citizen, Doe's
         24     child.
         25                MR. HAMILTON: That's right. That's right.



                                                                               PA320
Case: 25-1170   Document: 00118255171   Page: 355   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         65




           1               THE COURT: And so that -- actually, not in a
           2    sense, that actually reduces by one the number of US citizens
           3    in Massachusetts, right?
           4               MR. HAMILTON: Yes. But, again, we're talking
           5    about a theory of standing that plaintiffs have not argued.
           6               THE COURT: Right, but then you were explaining to
           7    me why it didn't work as a theory. That's what I'm wondering
           8    about.
           9               MR. HAMILTON: Right. Right. And it also doesn't
         10     work because the states would be able to still extend
         11     citizenship to --
         12                THE COURT: But not United States citizenship --
         13                MR. HAMILTON: That's right.
         14                THE COURT: -- which would matter for various
         15     things -- for example, apportionment -- aren't
         16     representative's apportionment based on the population,
         17     right?
         18                MR. HAMILTON: Yes.
         19                THE COURT: Or just population. But aren't there
         20     provisions in the Constitution, I think, that relate to the
         21     number of citizens?
         22                MR. HAMILTON: There are provisions in the
         23     constitution that relate to the number of citizens. I'm not
         24     prepared to spell them out all here.
         25                THE COURT: Right. Okay. Thank you.



                                                                               PA321
Case: 25-1170   Document: 00118255171   Page: 356   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         66




           1               MR. HAMILTON: Thank you, Your Honor.
           2               THE COURT: Anything you want to say in response?
           3               MR. SELLSTROM: Thank you, Your Honor, and I'll be
           4    brief, just a couple of points to respond to. I think, in
           5    particular, the colloquy between the Court and defense
           6    counsel about the retroactive nature of the executive order
           7    really highlights what the defendants are asking to do and
           8    wanting to do, which is to take the place of what the Supreme
           9    Court does. The whole idea that there is an effective date
         10     to the executive order and the particular categories that are
         11     called out really shows that this is something that is not
         12     executing laws and Constitution that exists now by asking to
         13     change that. The similar -- very similar in the arguments
         14     that defense counsel was making about the Wong Kim Ark case
         15     and domicile and subject to the jurisdiction of, all of those
         16     arguments are specifically addressed by the Wong Kim Ark case
         17     that domicile is not the controlling factor there, and that
         18     the consent is not what is at issue here. These are issues
         19     that are addressed to the Supreme Court and are not
         20     controlling law that exists today. And that's from Wong Kim
         21     Ark, along to the Hintopoulos case that we cited in note 11,
         22     and all of the other cases that have since -- come since
         23     then.
         24                Finally, I just wanted to go to the point where the
         25     state had said that they would consent to converting the



                                                                               PA322
Case: 25-1170   Document: 00118255171   Page: 357   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         67




           1    preliminary injunction hearing into a permanent injunction.
           2    The Doe plaintiffs also agree with that, that on the record
           3    that Your Honor has, should the Court be inclined to issue a
           4    preliminary injunction, we believe a permanent injunction
           5    would also be appropriate.
           6               THE COURT: Okay.
           7               Anything else you want to add?
           8               MR. CEDRONE: Two brief points on standing,
           9    Your Honor. First on the question of whether we've forfeited
         10     standing on the basis of the sovereign harms to the
         11     plaintiffs, we don't think we have, for the reason that your
         12     question highlighted. This is a preliminary posture, there
         13     hasn't been an answer, there hasn't been a motion to dismiss.
         14     We put forward in our PI papers what we think was the
         15     clearest and most straightforward path to finding standing in
         16     this case, with the limited space we had to do so. I don't
         17     think we forfeited other arguments.
         18                Your Honor has heard fulsome argument on it here
         19     today, and to the extent you were -- had questions about the
         20     basis for standing that we included in the papers, but
         21     thought that there was another more straightforward path, we
         22     could also put in supplemental briefing on that issue.
         23                I don't -- that brings me to my second point, which
         24     is I don't think the Court needs to go down that path,
         25     because the grounds for standing in the briefing make this a



                                                                               PA323
Case: 25-1170   Document: 00118255171   Page: 358   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         68




           1    very straightforward case. The federal defendants rely on
           2    United States vs. Texas to try to make this seem like a muddy
           3    or fuzzy, in their words, issue. This is not that case.
           4    That case, the opinion of the Supreme Court was infused with
           5    the fact that the plaintiff states in that case had a really
           6    sui generis request. They were asking federal courts to
           7    issue a mandatory injunction to the federal government to
           8    arrest more people. And the Court's opinion made clear that
           9    that was such an unprecedented request that it bore on the
         10     state's standing. Even assuming there's some kind of fuzzy
         11     line between what's direct and what's indirect, this case is
         12     clearly on the direct side of the line.
         13                Your Honor can take everything that Mr. Hamilton
         14     said about why the government views this case as not direct
         15     and apply it to the situation in Biden vs. Nebraska, and
         16     apply it to the situation in Massachusetts vs. HHS. You're
         17     familiar with the facts in Biden vs. Nebraska. There were
         18     student loans. The President had a policy to forgive them.
         19     That policy was obviously immediately directed at the student
         20     loan holders, but it had a direct financial impact on MOHELA,
         21     that state entity.
         22                We're in the same position here. We have a
         23     contract with the federal government, for example, to process
         24     Social Security numbers, and the federal government doesn't
         25     dispute the factual premise that that contract, other



                                                                               PA324
Case: 25-1170   Document: 00118255171   Page: 359   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         69




           1    arrangements with the federal government, will result in a
           2    direct financial harm -- or result in a financial harm to the
           3    plaintiffs, and that is clearly direct within the meaning of
           4    both Biden vs. Nebraska, and Mass. vs. HHS in the First
           5    Circuit.
           6               THE COURT: Thank you.
           7               MR. CEDRONE: Thank you.
           8               MR. DURAISWAMY: Just one point, Your Honor, on
           9    this issue of allegiance and owing allegiance to a foreign
         10     power. So again, I think it's unclear what the government
         11     thinks allegiance means. They don't -- what it means to owe
         12     allegiance, they don't really say that. To the extent that
         13     it just means having a tie of some sort to another foreign
         14     power, then that would apply equally to people who are lawful
         15     permanent residents, and it would convert the citizenship
         16     clause into something that absolute -- that prohibits dual
         17     citizenship or dual nationality, which we know it does not.
         18                What allegiance means, as Wong Kim Ark has
         19     explained, is a duty to obey, and so owing allegiance to a
         20     foreign power is problematic from the standpoint of the
         21     citizenship clause only when, while you are in the United
         22     States, you have a principle duty to a foreign power that is
         23     effectively operating with the express or implied consent of
         24     the United States, as Chief Justice Marshall explained in the
         25     Schooner Exchange, where that foreign power is effectively



                                                                               PA325
Case: 25-1170   Document: 00118255171   Page: 360   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         70




           1    operating within the territorial boundaries of the United
           2    States.
           3               So that is the case with respect to tribal nations,
           4    which were considered in the 19th Century to be alien powers
           5    within the United States. That is the case when there is a
           6    hostile entity that is occupying part of the territory of the
           7    United States, and that is the case when you have foreign
           8    representatives of a foreign government, who are allowed into
           9    the country, and are acknowledged to be essentially operating
         10     within the United States as emissaries of their foreign
         11     government. It is not the case with respect to lawful
         12     permanent residents, as -- which defendants do not dispute,
         13     and there is no reason, if it's not the case with respect to
         14     lawful permanent residents that it should be the case with
         15     respect to those who are here long term, short term,
         16     whatever, but who are not here under the domain and under the
         17     auspices, or as representatives of a foreign power.
         18                THE COURT: Thank you.
         19                You didn't have anything else, right?
         20                MR. HAMILTON: I'll just make one comment on
         21     Rule 65, consolidation of trial on the merits with the PI.
         22     We agree with that, with the Doe plaintiffs' concession that
         23     their members are only in Massachusetts.
         24                Thank you, Your Honor.
         25                THE COURT: That is your position, right? They're



                                                                               PA326
Case: 25-1170   Document: 00118255171   Page: 361   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         71




           1    only in Massachusetts? The members of the associations, for
           2    purposes of preliminary and permanent relief.
           3               MR. SELLSTROM: That's right.
           4               THE COURT: Just one last question, Mr. Hamilton.
           5               One of the things, just so I understand correctly,
           6    that you're urging that I do is conclude that -- on the
           7    merits, putting aside standing and cause of action, but on
           8    the merits, deny the injunction, because the -- I have the --
           9    you think I have the authority to do that within the case law
         10     from the Supreme Court?
         11                MR. HAMILTON: Exactly.
         12                THE COURT: And you've read -- I'm not going to get
         13     the name of the case right, there's a lot of cases that I've
         14     read in the last two weeks, it's a 1985 decision by unanimous
         15     Supreme Court, so nine to zero, Justice White, I think, wrote
         16     the opinion for the Court INS v. -- I think it was Rios. Are
         17     you familiar with that case?
         18                MR. HAMILTON: I am not, Your Honor.
         19                THE COURT: Let me explain it to you and then
         20     just -- I want to understand the position that you're urging
         21     on me.
         22                In that case, according to the Supreme Court, the
         23     only opinion that they issued, the father and mother paid a
         24     professional smuggler to illegally bring them into the United
         25     States, and they came into the United States without



                                                                               PA327
Case: 25-1170   Document: 00118255171   Page: 362   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         72




           1    inspection. So they would be undocumented, or illegal
           2    aliens, or whatever term you want to use, right? You agree?
           3               MR. HAMILTON: That sounds right.
           4               THE COURT: It seems right. I'm just telling you
           5    what they said as I read it, as I understand it.
           6               And they then had a child in the United States,
           7    according, again, to the opinion from the Supreme Court. And
           8    they, in immigration proceedings, asserted that to deport
           9    them, the parents, was to de facto deport their child. And
         10     they lost that claim in the immigration proceedings and they
         11     went to the Supreme Court. And I think the question in the
         12     Supreme Court turned on whether they were entitled to have --
         13     it was a question of just the scope of the attorney general's
         14     discretion to reopen that proceeding, given that was what
         15     they were urging, and so that's the context of the case.
         16                And you're in all of these cases, right? Or are
         17     you just in the case before me?
         18                MR. HAMILTON: You're asking about my role in the
         19     different cases?
         20                THE COURT: Yeah.
         21                MR. HAMILTON: I --
         22                THE COURT: It doesn't matter. You don't have to
         23     tell me, but I would assume that all of you are talking to
         24     each other, but you don't have to tell me that, either.
         25                So in any event, the Supreme Court called that



                                                                               PA328
Case: 25-1170   Document: 00118255171   Page: 363   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         73




           1    child a United States citizen, born in the United States and,
           2    therefore, was a citizen. And so I guess my question is, I
           3    know one answer you'll give me is the express holding of that
           4    case was not -- the question -- I'm sorry, the question
           5    presented to the Supreme Court was not was that child a
           6    United States citizen, so, therefore, there's not a four
           7    corners. So that's one answer I'm sure you would give me,
           8    right?
           9               MR. HAMILTON: Yes. Yes.
         10                THE COURT: And so my related, follow-up question
         11     is you're telling me that in the face of that context of that
         12     case, where citizenship -- the underlying claim turned on the
         13     citizenship of the child, that -- and the unanimous Supreme
         14     Court saying those things, nonetheless, as a district judge,
         15     I have the authority to say they're wrong, effectively.
         16                MR. HAMILTON: We read comments like that to be
         17     dicta. And dicta is something that even Wong Kim Ark talks
         18     about. Wong Kim Ark cites the Cohens case and warns against
         19     overreading dicta.
         20                THE COURT: So your position is, (a), that
         21     statement, assuming I've accurately described it to you, is
         22     wrong --
         23                MR. HAMILTON: Yes.
         24                THE COURT: -- that the person was a United States
         25     citizen. The nine justices when they said that, they were



                                                                               PA329
Case: 25-1170   Document: 00118255171   Page: 364   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         74




           1    wrong.
           2               MR. HAMILTON: From my understanding of --
           3               THE COURT: From the way I've described it,
           4    assuming if I've described it fairly.
           5               MR. HAMILTON: Yes.
           6               THE COURT: Then they would be wrong.
           7               MR. HAMILTON: Yes. And I --
           8               THE COURT: And then I have -- because it's dicta,
           9    in your view, as I've described it, then I have the authority
         10     to disregard that?
         11                MR. HAMILTON: Yes. But if I could add, our brief
         12     does cite some post-Wong Kim Ark cases of the Supreme Court
         13     decided in 1902 and 1920. This is page 32 of our brief, that
         14     include the domicile condition we've identified in stating
         15     Wong Kim Ark's rule. So I think there are conflicting --
         16                THE COURT: But the power of the 1985 decision
         17     would be more -- since it's more recent since the 1902
         18     decision, might have more -- neither -- not necessarily
         19     binding. I don't think it's a binding holding about that
         20     question. I'm only asking you, just a narrow question, and I
         21     think your answer is yes, that I -- I think the answer is, A,
         22     those nine justices were wrong when they said that, assuming
         23     my recitation of the facts is correct. They were wrong, and
         24     B, I'm not bound by that.
         25                MR. HAMILTON: Yes.



                                                                               PA330
Case: 25-1170   Document: 00118255171   Page: 365   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         75




           1                THE COURT: And therefore, I would be -- it would
           2    be appropriate for me to not follow that statement.
           3                MR. HAMILTON: That's right.
           4                THE COURT: Okay.
           5                MR. HAMILTON: Thank you, Your Honor.
           6                THE COURT: Thank you.
           7                MR. SELLSTROM: Your Honor, could I raise one more
           8    point on the issue of the membership?
           9                THE COURT: So just to be clear, so I'm only
         10     bound -- in the view of the Department of Justice, I am only
         11     bound to the four corners of holdings of the United States
         12     Supreme Court?
         13                 MR. HAMILTON: Well, I think the rules are also
         14     applicable, but I don't think plaintiffs --
         15                 THE COURT: No, no. I'm just asking, am I bound --
         16     I think what you're saying to me is I'm only bound by the
         17     holdings?
         18                 MR. HAMILTON: Yes.
         19                 THE COURT: And not anything more.
         20                 MR. HAMILTON: Yes. Yes.
         21                 THE COURT: And then I'm -- not -- so just the
         22     holdings, that's all that binds me, in any case.
         23                 MR. HAMILTON: And dicta can be disregarded.
         24                 MR. SELLSTROM: The final point that I wanted to
         25     make, Your Honor, on that was just to make sure the record is



                                                                               PA331
Case: 25-1170   Document: 00118255171   Page: 366   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         76




           1    clear, that the membership is primarily Massachusetts
           2    residents. I don't want to represent to the Court all of the
           3    membership, but it is certainly primarily --
           4               THE COURT: I think the question -- what
           5    Mr. Hamilton meant by that, and you'll correct me,
           6    Mr. Hamilton, if I'm not reciting it accurately. I think
           7    what he meant by that is for purposes of this case in
           8    deciding all of the issues in play, by the motion, I should
           9    decide it as if the members were only from Massachusetts, not
         10     that that -- and that assumption would not be binding in any
         11     other case involving the association, simply that we would be
         12     deciding that that's what this case was deciding.
         13                That's -- is that what you were saying,
         14     Mr. Hamilton?
         15                MR. HAMILTON: Yes, Your Honor.
         16                THE COURT: That's how I understand.
         17                MR. SELLSTROM: That is correct in terms of
         18     primarily membership that is residents of Massachusetts,
         19     correct.
         20                THE COURT: So if I proceed to final determination,
         21     I should -- I would be assuming and accepting, just for
         22     purposes of this case, that the only association members are
         23     in Massachusetts.
         24                MR. SELLSTROM: That's correct, Your Honor.
         25                THE COURT: Okay. And that just to be clear, so,



                                                                               PA332
Case: 25-1170   Document: 00118255171   Page: 367   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         77




           1    like, that wouldn't bind -- you could come forward in the
           2    next case, filed in four minutes or in four years, or
           3    whenever, and take the position that members of the
           4    association, some, many, lots of them, are elsewhere, and you
           5    wouldn't be bound by this assumption or this determination
           6    that I made, even if it's necessary to the judgment, right?
           7               MR. SELLSTROM: Yes, Your Honor.
           8               THE COURT: You agree with that, Mr. Hamilton?
           9               MR. HAMILTON: Yes, Your Honor.
         10                THE COURT: Okay. All right. So I'll take it
         11     under advisement. I intend to issue a written decision
         12     promptly, but I don't think you should expect it today, and I
         13     want to think about all the issues. They're important and
         14     serious, and I thank you very much. You have a good day.
         15                (Court in recess at 11:29 a.m.)
         16

         17

         18

         19

         20

         21

         22

         23

         24

         25



                                                                               PA333
Case: 25-1170   Document: 00118255171   Page: 368   Date Filed: 03/04/2025   Entry ID: 6704290
                                                                                         78




           1                     CERTIFICATE OF OFFICIAL REPORTER
           2

           3

           4               I, Rachel M. Lopez, Certified Realtime Reporter, in
           5    and for the United States District Court for the District of
           6    Massachusetts, do hereby certify that pursuant to Section
           7    753, Title 28, United States Code, the foregoing pages
           8    are a true and correct transcript of the stenographically
           9    reported proceedings held in the above-entitled matter and
         10     that the transcript page format is in conformance with the
         11     regulations of the Judicial Conference of the United States.
         12

         13                                Dated this 7th day of February, 2025.
         14

         15

         16

         17                                /s/ RACHEL M. LOPEZ
         18

         19

         20                                _____________________________________
                                           Rachel M. Lopez, CRR
         21                                Official Court Reporter
         22

         23

         24

         25



                                                                               PA334
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 369
                                                144               Date
                                                                  Filed Filed: 03/04/2025
                                                                        02/13/25     Page 1 ofEntry
                                                                                               31 ID: 6704290




                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

                                                     )
       O. DOE et al.,                                )
                                                     )
              Plaintiffs,                            )
                                                     )
       v.                                            )      Civil No. 25-10135-LTS
                                                     )
       DONALD J. TRUMP et al.,                       )
                                                     )
              Defendants.                            )
                                                     )
                                                     )
       STATE OF NEW JERSEY et al.,                   )
                                                     )
              Plaintiffs,                            )
                                                     )
       v.                                            )      Civil No. 25-10139-LTS
                                                     )
       DONALD J. TRUMP et al.,                       )
                                                     )
              Defendants.                            )
                                                     )

            MEMORANDUM OF DECISION ON MOTIONS FOR PRELIMINARY INJUNCTION

                                               February 13, 2025

       SOROKIN, J.

              In this pair of lawsuits, two groups of plaintiffs advance similar challenges to the legality

       of one executive order among many issued by President Donald Trump on January 20, 2025.

       The executive order is titled “Protecting the Meaning and Value of American Citizenship” (“the

       EO”). Exec. Order No. 14,160 (Jan. 20, 2025). 1 The EO identifies two “categories of



       1
         Multiple copies of the EO have been made part of the record before the Court. When
       referencing submissions filed in Doe et al. v. Trump et al., No. 25-cv-10135, the Court will cite
       to “Doe, Doc. No. __ at __.” For submissions filed in New Jersey et al. v. Trump et al., No. 25-
       cv-10139, the Court will cite to “New Jersey, Doc. No. __ at __.” All such citations use the
       document and page numbering appearing in the ECF header, except where pinpoint citations



                                                                                                   PA335
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 370
                                                144              Date
                                                                 Filed Filed: 03/04/2025
                                                                       02/13/25     Page 2 ofEntry
                                                                                              31 ID: 6704290




       individuals born in the United States” to whom the EO says “the privilege of United States

       citizenship does not automatically extend,” then directs federal departments and agencies to

       cease issuing or accepting “documents recognizing United States citizenship” for such

       individuals born after February 19, 2025. Doe, Doc. No. 1-1 §§ 1-3.

              Both groups of plaintiffs assert that the EO violates the Citizenship Clause of the

       Fourteenth Amendment to the United State Constitution, along with other constitutional

       provisions and federal statutes. Each group seeks a preliminary injunction preventing the EO

       from taking effect. Doe, Doc. No. 10; New Jersey, Doc. No. 3. The motions are fully briefed

       and were the subject of a motion hearing. 2

              In opposing the requests for injunctions, the defendants assert an array of arguments,

       which the Court addresses briefly here and in detail below. For starters, each plaintiff has

       standing to sue, because the uncontested facts establish each would suffer direct injury from the

       EO’s implementation. The plaintiffs are also likely to succeed on the merits of their claims. In a

       lengthy 1898 decision, the Supreme Court examined the Citizenship Clause, adopting the

       interpretation the plaintiffs advance and rejecting the interpretation expressed in the EO. The

       rule and reasoning from that decision were reiterated and applied in later decisions, adopted by




       reference enumerated sections or paragraphs within the document. The EO appears at Doe, Doc.
       No. 1-1, and New Jersey, Doc. No. 1-1.
       2
         The Court has accepted amicus curiae briefs from the following groups: a collection of local
       governments and officials representing seventy-two jurisdictions in twenty-four states; eighteen
       members of Congress serving on the House Judiciary Committee; the Immigration Reform Law
       Institute; the State of Iowa along with seventeen other states; the State of Tennessee; and former
       U.S. Attorney General Edwin Meese III. Doe, Doc. Nos. 32, 38, 40; New Jersey, Doc. Nos. 88,
       118, 120, 122, 127, 129. The Court has considered these submissions only insofar as they
       concern legal issues and positions advanced by the parties. See United States v. Sturm, Ruger &
       Co., 84 F.3d 1, 6 (1st Cir. 1996) (explaining “an amicus cannot introduce a new argument into a
       case”). While several of these briefs were helpful, the submission by the State of Tennessee was
       especially well written.
                                                        2

                                                                                                    PA336
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 371
                                                144                Date
                                                                   Filed Filed: 03/04/2025
                                                                         02/13/25     Page 3 ofEntry
                                                                                                31 ID: 6704290




       Congress as a matter of federal statutory law in 1940, and followed consistently by the Executive

       Branch for the past 100 years, at least. A single district judge would be bound to apply that

       settled interpretation, even if a party were to present persuasive arguments that the long-

       established understanding is erroneous.

              The defendants, however, have offered no such arguments here. Their three main

       contentions are flawed. First, allegiance in the United States arises from the fact of birth. It does

       not depend on the status of a child’s parents, nor must it be exclusive, as the defendants contend.

       Applying the defendants’ view of allegiance would mean children of dual citizens and lawful

       permanent residents would not be birthright citizens—a result even the defendants do not

       support. Next, the defendants argue birthright citizenship requires the mutual consent of the

       person and the Nation. This theory disregards the original purpose of the Fourteenth

       Amendment: to recognize as birthright citizens the children of enslaved persons who did not

       enter the country consensually, but were brought to our shores in chains. There is no basis to

       think the drafters imposed a requirement excluding the very people the Amendment aimed to

       make citizens. Simply put, the Amendment is the Nation’s consent to accept and protect as

       citizens those born here, subject to the few narrow exceptions recognized at the time of

       enactment, none of which are at issue here. Finally, the Amendment requires states to recognize

       birthright citizens as citizens of their state of residence. The text includes no domicile

       requirement at all.

              Each of the defendants’ theories focuses on the parents, rather than the child whose

       citizenship is at stake. In so doing, these interpretations stray from the text of the Citizenship

       Clause. The Fourteenth Amendment says nothing of the birthright citizen’s parents, and efforts




                                                         3

                                                                                                     PA337
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 372
                                                144                Date
                                                                   Filed Filed: 03/04/2025
                                                                         02/13/25     Page 4 ofEntry
                                                                                                31 ID: 6704290




       to import such considerations at the time of enactment and when the Supreme Court construed

       the text were rejected. This Court is likewise bound to reject such theories now.

              The plaintiffs have also satisfied the other preliminary-injunction factors. Each plaintiff

       faces irreparable harm, the defendants face none, and the public interest favors enjoining the EO.

       Accordingly, the plaintiffs in each case are entitled to an injunction preventing implementation

       of the EO. The individual and two associations who are plaintiffs in the earlier-filed action will

       be fully protected by an injunction limited to the individual and the members of the associations.

       The later-filed case, brought by eighteen states and two cities, requires a broader, nationwide

       injunction. Applying traditional equity principles, such relief is necessary because the record

       establishes that the harms these plaintiffs face arise not only from births within their borders, but

       also when children born elsewhere return or move to one of the plaintiff jurisdictions.

              For these reasons, the plaintiffs’ motions are ALLOWED. This ruling, explained further

       below and memorialized in separate Orders issued concurrently with this Memorandum, is based

       on straightforward application of settled Supreme Court precedent reiterated and reaffirmed in

       various ways for more than a century by all three branches of the federal government.

         I.   BACKGROUND

              Within hours of taking office, the President signed the EO, which he describes as “an

       integral part of [his] broader effort to repair the United States’ immigration system and to

       address the ongoing crises at the southern border.” Doe, Doc. No. 22 at 14. The EO, however,

       does not directly concern immigration; rather, it seeks to define the scope of birthright

       citizenship in the United States. In the section stating its purpose, the EO acknowledges that the

       Citizenship Clause and a section of the Immigration and Naturalization Act (“INA”), 8 U.S.C.

       § 1401, confer citizenship on any person born in the United States and “subject to the jurisdiction

       thereof.” Doe, Doc. No. 1-1 § 1. The EO goes on to identify two “categories of individuals born
                                                         4

                                                                                                    PA338
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 373
                                                144               Date
                                                                  Filed Filed: 03/04/2025
                                                                        02/13/25     Page 5 ofEntry
                                                                                               31 ID: 6704290




       in the United States” but “not subject to the jurisdiction thereof,” to whom birthright citizenship

       “does not automatically extend.” Id. A child falls within one of the identified categories if, at

       the time of their birth, their father was neither a citizen nor a lawful permanent resident (“LPR”)

       of the United States, and their mother was 1) “unlawfully present in the United States,” or

       2) lawfully but temporarily present in the United States “(such as, but not limited to, visiting the

       United States under the auspices of the Visa Waiver Program or visiting on a student, work, or

       tourist visa).” Id.

               The second section announces that it is “the policy of the United States that no

       department or agency” of the federal “government shall issue [or accept] documents recognizing

       United States citizenship” of children within the identified categories. Id. § 2. The stated policy

       “shall apply only to persons who are born” after February 19, 2025. Id. The EO expressly does

       not restrict the ability of U.S.-born children of LPRs to receive or use documents recognizing

       “their United States citizenship.” Id. Next, the EO directs the Secretary of State, the Attorney

       General, the Secretary of Homeland Security, and the Commissioner of Social Security to “take

       all appropriate measures to ensure that the regulations and policies of their respective

       departments and agencies are consistent with” the EO, and that no one within any identified

       department “act[s], or forbear[s] from acting, in any manner inconsistent with” the EO. Id.

       § 3(a). The EO further requires “[t]he heads of all executive departments and agencies” to “issue

       public guidance” by February 19, 2025, regarding implementation of the EO. Id. § 3(b).

               In a complaint filed the day the EO issued, an individual plaintiff and two nonprofit

       associations challenged its legality and sought equitable relief preventing its implementation.

       See generally Doe, Doc. No. 1. The individual plaintiff, proceeding under the pseudonym “O.

       Doe,” is “an expectant mother” who is lawfully present in the United States “through Temporary



                                                         5

                                                                                                    PA339
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 374
                                                144               Date
                                                                  Filed Filed: 03/04/2025
                                                                        02/13/25     Page 6 ofEntry
                                                                                               31 ID: 6704290




       Protected Status” (“TPS”). Id. ¶ 13. Doe’s husband, the father of the child due to be born next

       month, is neither a citizen nor LPR of this country. Id. The baby will be Doe’s second child; her

       first, now seven years old, also was born in the United States. Doe, Doc. No. 11-1 ¶ 3.

              Doe’s co-plaintiffs are La Colaborativa and the Brazilian Worker Center, two

       membership organizations located in eastern Massachusetts who provide immigration-related

       assistance, among other services. Doe, Doc. No. 1 ¶¶ 14-15. Both organizations have members

       who are unlawfully present in the United States, some of whom “are either pregnant or plan to

       grow their families in the future.” Id.; see Doe, Doc. No. 11-2 ¶ 4; Doe, Doc. No. 11-3 ¶¶ 8-10.

       Though the present record does not conclusively establish where the organizations’ members

       live, counsel at the motion hearing suggested the Court could view the members as located

       “primarily” (though perhaps not exclusively) in Massachusetts. Mot. Hr’g Tr. at 10, 76. 3 Doe

       and the organizations’ members have submitted unrebutted declarations describing the harms

       they allege the EO will cause the children it targets, who will be treated as noncitizens lacking

       any recognized, lawful immigration status. See generally Doe, Doc. Nos. 11-1 to -3.

              The day after Doe and her co-plaintiffs filed suit, New Jersey and a group of seventeen

       other states, along with the District of Columbia and San Francisco (collectively, “the State

       plaintiffs”), instituted a separate action also challenging the EO under provisions of the

       Constitution and other federal statutes. 4 New Jersey, Doc. No. 1. Along with their complaint,




       3
         The transcript of the February 7, 2025, hearing on the motions appears on both dockets. Doe,
       Doc. No. 44; New Jersey, Doc. No. 142.
       4
         Besides New Jersey, the plaintiffs in this action are Massachusetts, California, Colorado,
       Connecticut, Delaware, Hawaii, Maine, Maryland, Michigan (through its Attorney General),
       Minnesota, Nevada, New Mexico, New York, North Carolina, Rhode Island, Vermont, and
       Wisconsin. Venue is proper in the District of Massachusetts because the defendants are all
       officers or agencies of the United States, and at least one plaintiff in each case resides in
       Massachusetts. See 28 U.S.C. § 1391(e)(1)(C).
                                                        6

                                                                                                    PA340
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 375
                                                144                Date
                                                                   Filed Filed: 03/04/2025
                                                                         02/13/25     Page 7 ofEntry
                                                                                                31 ID: 6704290




       the State plaintiffs filed a motion for a preliminary injunction supported by a memorandum and

       more than two dozen exhibits. New Jersey, Doc. Nos. 3, 5, 5-1 to -27. The exhibits include

       declarations by various representatives of state agencies describing financial and administrative

       burdens they anticipate will result from the EO. See, e.g., New Jersey, Doc. Nos. 5-2, 5-8, 5-14,

       5-18 (describing impacts of EO on federal funding related to state health insurance programs,

       education, foster care, and hospital-based process for acquiring Social Security numbers at birth).

              Both complaints name as defendants the President, the State Department, the Secretary of

       State, the Social Security Administration, and the Acting Commissioner of Social Security. The

       State plaintiffs also sued the United States, the Department of Homeland Security, the Secretary

       of Homeland Security, the Department of Health and Human Services, and the Acting Secretary

       of Health and Human Services.

              On January 23, 2025, the Doe plaintiffs filed their own motion for a preliminary

       injunction, supporting memorandum, declarations, and other exhibits. Doe, Doc. Nos. 10, 11,

       11-1 to -10. After hearing from the parties, the Court deemed the cases related to one another

       and set a consolidated briefing schedule. New Jersey, Doc. No. 71; Doe, Doc. No. 12. The

       defendants opposed both motions, challenging the State plaintiffs’ standing to sue, arguing no

       plaintiff has advanced a valid cause of action, and urging that the plaintiffs have not satisfied the

       test governing preliminary-injunctive relief. See generally Doe, Doc. No. 22. Both sets of

       plaintiffs replied. Doe, Doc. No. 33; New Jersey, Doc. No. 123. The Court heard argument

       from all parties on February 7, 2025.

        II.   DISCUSSION

              Before addressing the factors governing requests for injunctive relief, the Court disposes

       of two preliminary challenges that the defendants suggest foreclose consideration of the merits of

       the plaintiffs’ motions. As the Court will explain, the defendants’ opening pair of procedural
                                                         7

                                                                                                    PA341
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 376
                                                144                 Date
                                                                    Filed Filed: 03/04/2025
                                                                          02/13/25     Page 8 ofEntry
                                                                                                 31 ID: 6704290




       challenges, like their substantive arguments opposing the motions, wither in the face of settled

       and binding Supreme Court precedent.

                A.    Threshold Issues

                        1.    Standing

              The defendants first argue that the State plaintiffs lack standing to bring the claims

       alleged in their complaint. See New Jersey, Doc. No. 92 at 18-22. They are wrong.

              Article III of the Constitution “confines the federal judicial power to the resolution of

       ‘Cases’ and ‘Controversies’” in which a plaintiff can “demonstrate [a] personal stake.”

       TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021). To establish standing under Article III,

       a “plaintiff must have suffered an injury in fact—a concrete and imminent harm to a legally

       protected interest, like property or money—that is fairly traceable to the challenged conduct and

       likely to be redressed by the lawsuit.” Biden v. Nebraska, 600 U.S. ---, 143 S. Ct. 2355, 2365

       (2023). This test is satisfied if state- or local-government plaintiffs show that an allegedly

       unconstitutional executive action will likely trigger a loss of federal funds to which they

       otherwise would be entitled. See Dep’t of Com. v. New York, 588 U.S. 752, 767 (2019). Such a

       showing establishes injury that is “sufficiently concrete and imminent” and “fairly traceable” to

       the challenged action, thereby satisfying Article III. Id.

              The State plaintiffs easily meet this standard. 5 Uncontested declarations from officials

       representing several State plaintiffs articulate various forms of federal funding that will be


       5
         The defendants direct their standing challenge against the State plaintiffs as a group. They
       have not contested the showing made by any individual State plaintiff or subset of State
       plaintiffs. Even if the defendants had done so, the result would be the same. The record before
       the Court includes sworn declarations establishing standing on the part of at least several State
       plaintiffs. No more is required at this juncture. See Nebraska, 143 S. Ct. at 2365 (“If at least one
       plaintiff has standing, the suit may proceed.”); United States v. Texas, 599 U.S. 670, 709 n.1
       (2023) (Alito, J., dissenting) (“In a case with multiple plaintiffs, Article III permits us to reach
       the merits if any plaintiff has standing.”).
                                                         8

                                                                                                     PA342
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 377
                                                144                Date
                                                                   Filed Filed: 03/04/2025
                                                                         02/13/25     Page 9 ofEntry
                                                                                                31 ID: 6704290




       diminished as a direct result of the EO. States receive federal funding to cover portions of

       services like health insurance, special education, and foster care in amounts that depend on how

       many “eligible” children receive such services. Citizenship is one component of eligibility for

       purposes of these programs. Pursuant to the EO, fewer children will be recognized as citizens at

       birth. That means the number of persons receiving services who are “eligible” under the

       identified federal programs will fall—and, as a direct result, the reimbursements and grants the

       State plaintiffs receive for these services will decrease. The reduction to such funding is a

       concrete and imminent injury directly and fairly traceable to the EO, redressable by the

       injunctive relief the State plaintiffs seek.

                 This is all the Constitution requires. Two decisions of the Supreme Court, both authored

       by Chief Justice Roberts, make the point. In 2023, the Chief Justice, joined by five other

       Justices, explained that Missouri had standing to challenge executive action discharging federal

       student loans, where a quasi-state agency stood to lose fees it would have collected for servicing

       the forgiven loans. Nebraska, 143 S. Ct. at 2366. A few years earlier, the Chief Justice

       conveyed the Supreme Court’s unanimous conclusion that “at least some” states had standing to

       challenge executive action revising the United States census. New York, 588 U.S. at 767-68. 6

       The proposed changes at issue raised the likelihood that persons without lawful immigration

       status would be undercounted, and states faced reductions in federal funds allocated according to

       population. Id. The State plaintiffs here challenge the EO based on precisely the same sort of

       direct financial impacts. They have identified federal grants and reimbursements to which they




       6
           Though some Justices parted ways as to other issues in the case, all agreed as to standing.
                                                          9

                                                                                                    PA343
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 378
                                               144                Date 02/13/25
                                                                  Filed Filed: 03/04/2025    Entry
                                                                                    Page 10 of 31 ID: 6704290




       are entitled that will diminish under the EO. As in Nebraska and New York, therefore, the State

       plaintiffs have Article III standing. 7

               The defendants have neither disputed the State plaintiffs’ showing of harm nor

       materially distinguished the Chief Justice’s analysis. Their standing challenge hinges on an

       attempt to analogize this case to United States v. Texas. There, the Supreme Court held state

       plaintiffs lacked standing to compel the federal government to pursue more “arrests and

       prosecutions” for violations of immigration laws. 599 U.S. at 678-79. The analogy is inapt. 8

       Texas involved “novel” theories of standing and a “highly unusual” claim that the Executive

       Branch was not sufficiently vigorous in exercising its prosecutorial discretion. Id. at 681, 684.

       This case, however, concerns the bounds of citizenship guaranteed by the Constitution—not an




       7
         The Court does not consider a parens patriae theory of standing, because the State plaintiffs are
       not pursuing it. The State plaintiffs also probably have standing based on their sovereign
       interests. The Citizenship Clause defines which individuals become birthright citizens not only
       of the United States, but also of the state in which they reside. U.S. Const. amend. XIV, § 1.
       States have general sovereign interests in which persons are their citizens. They very likely also
       have sovereign interests in which persons are U.S. citizens, as state laws commonly define civic
       obligations such as jury service using eligibility criteria that include U.S. citizenship. E.g., N.J.
       Stat. Ann. § 2B:20-1(c); Mass. Gen. Laws ch. 234A, § 4. The defendants essentially conceded at
       the motion hearing that the State plaintiffs would have standing under these theories, but
       suggested the theories were “forfeited,” at least “[f]or purposes of deciding [the pending]
       motion[s],” because they were not advanced in the State plaintiffs’ submissions thus far. Mot.
       Hr’g Tr. at 40, 63. The defendants cited no authority for their forfeiture theory. The plaintiffs
       generally endorsed the sovereign-interest theories during the hearing. Given the strength of the
       plaintiffs’ showing of direct financial harms, the Court need not resolve whether the State
       plaintiffs’ sovereign interests supply an alternative basis for satisfying Article III.
       8
         In fact, the defendants’ discussion of Texas in their papers verges on misleading. The language
       upon which they most heavily rely appears in a footnote quoted in their opposition memorandum
       and referenced during the motion hearing. See New Jersey, Doc. No. 92 at 18-19 (quoting
       Texas, 599 U.S. at 680 n.3). Contrary to the defendants’ characterization, that footnote is not a
       “holding,” and it does not “foreclose[]” the State plaintiffs’ standing in this case. Id. Rather, it
       acknowledges that “States sometimes have standing to sue . . . an executive agency or officer,”
       and though it warns that “standing can become more attenuated” when based on “indirect
       effects” of federal action, it stops short of saying such effects could never satisfy Article III. Id.
       This case, in any event, concerns direct effects.
                                                        10

                                                                                                    PA344
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 379
                                               144                 Date 02/13/25
                                                                   Filed Filed: 03/04/2025    Entry
                                                                                     Page 11 of 31 ID: 6704290




       area typically reserved for executive discretion. The theory of standing advanced by the State

       plaintiffs—direct financial harm—is ordinary. 9 Texas simply does not aid the defendants here.

               The defendants have not challenged the standing of Doe or her co-plaintiffs to sue—nor

       could they. Doe has plainly established injury, to herself and her unborn child, that is concrete,

       imminent, traceable to the EO, and redressable by the relief she seeks in this lawsuit. The same

       is true of the association plaintiffs, which provide services impacted by the EO and have

       described one or more members facing the same type of injury as Doe. See Summers v. Earth

       Island Inst., 555 U.S. 488, 498 (2009) (requiring, for associational standing, “specific allegations

       establishing that at least one identified member had suffered or would suffer harm”); see also

       United Food & Com. Workers Union Loc. 751 v. Brown Grp., Inc., 517 U.S. 544, 551-53 (1996)

       (describing test for associational standing).

               Accordingly, the defendants’ standing challenge fails. All plaintiffs before the Court

       have satisfied Article III.

                         2.    Cause of Action

               Next, the defendants assert the Court must deny the pending motions because no plaintiff

       has a valid cause of action under the Citizenship Clause or the identified federal statutes. This is

       meritless.

               As Justice Scalia observed, “[t]he ability to sue to enjoin unconstitutional actions by state

       and federal officers is the creation of courts of equity, and reflects a long history of judicial



       9
         The harms the State plaintiffs have identified are not “indirect”—indeed, when specifically
       asked, the defendants failed to identify any “extra step” separating the loss of funding identified
       by the State plaintiffs from the EO’s direct effects. Mot. Hr’g Tr. at 37-39. Nor do they arise, as
       defendants argue, exclusively from services “the states have voluntarily chosen to provide.”
       New Jersey, Doc. No. 92 at 20; see Plyler v. Doe, 457 U.S. 202, 230 (1982) (holding states are
       required by federal law to provide public education services to all children, regardless of
       immigration status).
                                                         11

                                                                                                      PA345
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 380
                                               144               Date 02/13/25
                                                                 Filed Filed: 03/04/2025    Entry
                                                                                   Page 12 of 31 ID: 6704290




       review of illegal executive action, tracing back to England.” Armstrong v. Exceptional Child

       Ctr., Inc., 575 U.S. 320, 327 (2015). Indeed, the Supreme Court has “long held that federal

       courts may in some circumstances grant injunctive relief” to prevent “violations of federal law”

       planned or committed by “state officers” or “by federal officials.” Id. at 326-27. The plaintiffs

       here ask the Court to do just that. 10

               Limitations that apply where plaintiffs seek damages, rather than equitable relief, have no

       bearing on the claims pending here. See New Jersey, Doc. No. 92 at 24 (citing DeVillier v.

       Texas, 601 U.S. 285, 291 (2024)). Nor can the defendants short-circuit this lawsuit by pointing

       to a narrow provision of the INA providing an avenue for a “national of the United States” to

       challenge discrete denials of rights or privileges. See id. (invoking 8 U.S.C. § 1503(a)). That

       statute does not facially create an exclusive remedy for such claims, nor does it offer an adequate

       alternative to the claims advanced in these actions—including, but not only, because it is not a

       mechanism through which the State plaintiffs can obtain relief. Cf. Rusk v. Cort, 369 U.S. 367,

       375 (1962) (considering related provisions of same statute and concluding they were not

       exclusive means of asserting rights associated with citizenship).

               The defendants’ threshold challenges fail under clear Supreme Court precedent. The

       plaintiffs assert valid causes of action and have standing to pursue them. The Court, therefore,

       turns to the substance of the pending motions.




       10
         In fact, the Department of Justice is doing precisely what it says the plaintiffs cannot do. The
       day before this Court’s motion hearing, the United States sued Illinois and various state and local
       officials, seeking equitable relief via claims brought directly under the Supremacy Clause. See
       Compl., United States v. Illinois, No. 25-cv-1285 (N.D. Ill. Feb. 6, 2025), ECF No. 1; cf. New
       Hampshire v. Maine, 532 U.S. 742, 749-50 (2001) (discussing equitable doctrine of “judicial
       estoppel,” which in some circumstances prevents parties that have taken one legal position from
       reversing course “simply because [their] interests have changed” (cleaned up)). During the
       motion hearing, the State plaintiffs raised this issue, and the defendants offered no response.
                                                        12

                                                                                                  PA346
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 381
                                               144                 Date 02/13/25
                                                                   Filed Filed: 03/04/2025    Entry
                                                                                     Page 13 of 31 ID: 6704290




                B.    Preliminary Injunction Analysis 11

              The familiar standard governs the plaintiffs’ requests for interlocutory relief. To secure

       the “extraordinary remedy” provided by preliminary injunctions, each group of plaintiffs “must

       establish” that: 1) they are “likely to succeed on the merits,” 2) they are “likely to suffer

       irreparable harm in the absence of preliminary relief,” 3) “the balance of equities tips in [their]

       favor,” and 4) “an injunction is in the public interest.” Winter v. Nat. Def. Res. Council, Inc.,

       555 U.S. 7, 20 (2008).

              “The first two factors of the traditional standard are the most critical.” Nken v. Holder,

       556 U.S. 418, 434 (2009). Courts consider them in tandem. See Vaqueria Tres Monjitas, Inc. v.

       Irizarry, 587 F.3d 464, 485 (1st Cir. 2009) (noting “irreparable harm is not a rigid” factor, but

       rather “a sliding scale, working in conjunction with” the first factor); EEOC v. Astra U.S.A.,

       Inc., 94 F.3d 738, 743 (1st Cir. 1996) (“[W]hen the likelihood of success on the merits is great, a

       movant can show somewhat less in the way of irreparable harm and still garner preliminary

       injunctive relief.”). The third and fourth factors of the injunction test “merge when the

       Government is the opposing party.” Nken, 556 U.S. at 435.



       11
          The defendants proposed, in a footnote, that the Court proceed now to enter or deny a final,
       permanent injunction. See New Jersey, Doc. No. 92 at 50 n.6. The plaintiffs expressed no
       objection to this proposal during the motion hearing, agreeing that the Court could now enter a
       final injunction if it concluded an injunction was warranted. After consideration, the Court
       resolves now only the plaintiffs’ original requests for preliminary relief. The defendants are
       correct that the plaintiffs’ causes of action “are purely legal,” id., but they are wrong to imply
       that facts are immaterial here. The test for injunctive relief requires the plaintiffs to prove, and
       the Court to evaluate, questions of harm that bear on the scope of any permanent relief ultimately
       awarded. Though the defendants have leveled no challenges to the plaintiffs’ factual
       submissions, the Court has an independent duty to ensure that any relief provided is
       appropriately tailored to address the harms established by the parties before it. Cf. DraftKings
       Inc. v. Hermalyn, 118 F.4th 416, 423 (1st Cir. 2024) (noting trial judge is “uniquely placed to
       design” injunctive relief that corresponds to “specific harm” proven based on facts found by
       judge). To that end, further factual development may be required before the Court crafts a final
       judgment.
                                                         13

                                                                                                       PA347
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 382
                                               144                Date 02/13/25
                                                                  Filed Filed: 03/04/2025    Entry
                                                                                    Page 14 of 31 ID: 6704290




              Measured against these standards, the plaintiffs’ submissions support entry of the

       injunctions they seek, with only minor adjustments explained below.

                        1.    Likelihood of Success

              “The sine qua non of th[e] four-part inquiry” governing motions for preliminary

       injunctions is the first factor: “likelihood of success on the merits.” New Comm Wireless Servs.,

       Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir. 2002). This factor weighs strongly in the

       plaintiffs’ favor. The plain language of the Citizenship Clause—as interpreted by the Supreme

       Court more than a century ago and routinely applied by all branches of government since then—

       compels a finding that the plaintiffs’ challenges to the EO are nearly certain to prevail.

              The Citizenship Clause speaks in plain and simple terms. “All persons born or

       naturalized in the United States, and subject to the jurisdiction thereof, are citizens of the United

       States and of the State wherein they reside.” U.S. Const. amend. XIV, § 1. The words chosen by

       the drafters and ratified by the states, understood “in their normal and ordinary” way, United

       States v. Sprague, 282 U.S. 716, 731 (1931), bestow birthright citizenship broadly to persons

       born in the United States. The text is directed at the person born (or naturalized). It does not

       mention the person’s parents at all, let alone expressly condition its grant of citizenship on any

       characteristic of the parents. So, at the outset, the EO and its focus on the immigration status of a

       child’s parents find no support in the text.

              One phrase in the Citizenship Clause is at the heart of the parties’ disagreement. The

       constitutionality of the EO, and the success of the plaintiffs’ claims, turns on the meaning of

       “subject to the jurisdiction thereof.” To understand that phrase, however, this Court need look

       no further than United States v. Wong Kim Ark, 169 U.S. 649 (1898). 12 In that case, the


       12
         In a line of cases not directly relevant here, courts have considered whether a person born in an
       unincorporated territory of the United States—such as American Samoa or, for a time, the
                                                        14

                                                                                                    PA348
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 383
                                               144                Date 02/13/25
                                                                  Filed Filed: 03/04/2025    Entry
                                                                                    Page 15 of 31 ID: 6704290




       Supreme Court meticulously reviewed the contours of citizenship under English and early

       American common law, under the 1866 Civil Rights Act and the Fourteenth Amendment, and as

       reflected in legal scholarship and court decisions in the decades leading up to the turn of the

       twentieth century. See generally id. at 653-704. From these sources, the Supreme Court

       concluded that “subject to the jurisdiction thereof” was meant “to exclude, by the fewest and

       fittest words,” the following categories of persons: “children of members of the Indian tribes,”

       “children born of alien enemies in hostile occupation, and children of diplomatic representatives

       of a foreign state.” 13 Id. at 682. As to all other persons, “the fundamental rule of citizenship by

       birth within the dominion of the United States, notwithstanding alienage of parents,” applied. Id.

       at 689. 14

               Applying this longstanding and “fundamental rule of citizenship,” the Supreme Court

       held that the petitioner—born in the United States to Chinese-citizen parents, who were living

       and working in the United States at the time of the child’s birth, but who were prevented by law

       from naturalizing and eventually returned to China—was a citizen “by virtue of the



       Philippines—was born “in the United States” for purposes of the Citizenship Clause. E.g.,
       Tuaua v. United States, 788 F.3d 300, 302 (D.C. Cir. 2015). That language is not the focus of
       the present dispute, nor was it the Supreme Court’s focus in Wong Kim Ark.
       13
          Neither the EO nor the defendants’ brief has suggested that all (or any) persons within the
       EO’s categories are “children born of alien enemies in hostile occupation,” specified which
       portions of the country are presently so occupied, or identified which foreign powers or
       organizations are the “enemies” presently controlling those areas. See New Jersey, Doc. No. 92
       at 38 (quoting another Executive Order and summarily stating that plaintiffs’ view might grant
       citizenship to children of “unlawful enemy combatants who enter this country in an effort to
       create sleeper cells or other hostile networks”). Accordingly, the Court need not consider this
       exception to birthright citizenship.
       14
          This rule has been reiterated by the Supreme Court. See, e.g., Perkins v. Elg, 307 U.S. 325,
       329 (1939) (citing Wong Kim Ark majority’s “comprehensive review” supporting “decision . . .
       that a child born here of alien parentage becomes a citizen of the United States”); Weedin v.
       Chin Bow, 274 U.S. 657, 660, 670 (1927) (stating “learned and useful opinion” of Wong Kim
       Ark majority “held that . . . one born in the United States, although . . . of a parentage denied
       naturalization under the law, was nevertheless . . . a citizen” under Fourteenth Amendment).
                                                        15

                                                                                                    PA349
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 384
                                               144                 Date 02/13/25
                                                                   Filed Filed: 03/04/2025    Entry
                                                                                     Page 16 of 31 ID: 6704290




       [C]onstitution itself.” Wong Kim Ark, 169 U.S. at 652-53, 703-05. This holding followed

       “irresistibly” from the extensive analysis the majority articulated. Id. at 693. Throughout that

       analysis, the availability of birthright citizenship “irrespective of parentage” was repeatedly

       emphasized. E.g., id. at 690. The duration of the parents’ residency in the United States was not

       assessed, nor did laws preventing the parents from seeking naturalization influence the Court’s

       determination of the petitioner’s status. The question was resolved, for purposes of the

       Citizenship Clause, by the location of the petitioner’s birth, and the inapplicability of the narrow

       exceptions to birthright citizenship that had been identified by the Court. Understood this way—

       indeed, the way all branches of government have understood the decision for 125 years—Wong

       Kim Ark leaves no room for the defendants’ proposed reading of the Citizenship Clause. Of

       course, the defendants can seek to revisit this long-settled rule of law, but that is a matter for the

       Supreme Court, not a district judge.

              The defendants accept that this Court is bound by the prior holdings of the Supreme

       Court. See New Jersey, Doc. No. 92 at 44; Mot. Hr’g Tr. at 48. Nevertheless, they urge the

       Court to essentially ignore all but a handful of sentences from Wong Kim Ark, arguing the bulk

       of the majority’s lengthy opinion is dicta. See New Jersey, Doc. No. 92 at 44 (urging Wong Kim

       Ark resolved only whether Citizenship Clause extended to “children of parents with ‘a

       permanent domicile and residence in the United States,’” and that “[t]he case should not be read

       as doing anything more than answering that question” (quoting 169 U.S. at 653)). At the motion

       hearing, the defendants doubled down on this point, brazenly claiming that “dicta can be

       disregarded.” Mot. Hr’g Tr. at 75. That position reflects a serious misunderstanding at best—

       and a conscious flouting at worst—of the judicial process and the rule of law.




                                                         16

                                                                                                     PA350
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 385
                                               144                   Date 02/13/25
                                                                     Filed Filed: 03/04/2025    Entry
                                                                                       Page 17 of 31 ID: 6704290




               Lower federal courts are not merely obligated to apply the holdings of Supreme Court

       decisions; they also “are bound by the Supreme Court’s ‘considered dicta.’” United Nurses &

       Allied Prof’ls v. NLRB, 975 F.3d 34, 40 (1st Cir. 2020) (quoting McCoy v. Mass. Inst. of Tech.,

       950 F.2d 13, 19 (1st Cir. 1991)). “Carefully considered statements of the Supreme Court, even if

       technically dictum, must be accorded great weight and should be treated as authoritative

       when . . . badges of reliability abound.” United States v. Santana, 6 F.3d 1, 9 (1st Cir. 1993). If

       such a statement “bears the earmarks of deliberative thought purposefully expressed,” concerns

       an issue that was “thoroughly debated in the recent past,” and “has not been diluted by any

       subsequent pronouncement” of the Supreme Court, a lower federal court must adhere to it. Id.

               To the extent the thorough analysis in Wong Kim Ark of the Fourteenth Amendment’s

       common-law foundations, the purpose and intent of its drafters, and its application during the

       first thirty years after its ratification can be called “dicta” at all, it is undoubtedly the

       “considered” and “authoritative” sort that this Court is bound to apply. The sheer detail and

       length of the discussion by the Court’s majority make this plain. Add to that the fact that the

       opposite view—the one the defendants advance to justify the EO—was rejected by the majority

       in Wong Kim Ark (in the portions of the decision now labeled “dicta” by the defendants) and

       endorsed only by the dissent. See 169 U.S. at 705-32. The plaintiffs are not relying on a stray

       “remark” that lacks “care and exactness,” standing “wholly aside from the question in judgment”

       and “unsupported by any argument, or by any reference to authorities,” that might not “control

       the judgment” of a lower court. 169 U.S. at 678. They are “leaning into” the central reasoning

       of the Supreme Court in support of its holding. Mot. Hr’g Tr. at 48. The defendants’ argument

       to the contrary invites the Court to commit legal error.




                                                           17

                                                                                                       PA351
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 386
                                               144              Date 02/13/25
                                                                Filed Filed: 03/04/2025    Entry
                                                                                  Page 18 of 31 ID: 6704290




              Whether “holding” or “considered dicta,” the straightforward rule and limited exceptions

       identified in Wong Kim Ark and summarized above have been applied repeatedly and without

       hesitation, including by the Supreme Court and the First Circuit. For example:

          •   In Morrison v. California, despite statutes that then rendered Japanese persons
              “ineligible” for citizenship via naturalization, the Supreme Court stated without
              qualification: “A person of the Japanese race is a citizen of the United State if he was
              born within the United States.” 291 U.S. 82, 85 (1934).

          •   In Dos Reis ex rel. Camara v. Nicolls, the First Circuit described a person “born in
              Massachusetts” as having become “an American citizen, not by gift of Congress, but by
              force of the constitution,” despite his parents’ status as foreign nationals “never
              naturalized in the United States,” and despite his own “dual nationality” that led to his
              “service as a draftee in the Portuguese army.” 161 F.2d 860, 861-62 (1st Cir. 1947).

          •   In Kawakita v. United States, a person “born in this country in 1921 of Japanese parents
              who were citizens of Japan” was “a citizen of the United States by birth”—a status the
              person did not lose despite later committing treason by acts of cruelty undertaken while
              working at a Japanese camp for American prisoners during World War II. 343 U.S. 717,
              720 (1952). See also Nishikawa v. Dulles, 356 U.S. 129, 131 (1958) (finding Japanese
              military service during World War II was basis for expatriation of U.S.-born citizen of
              Japanese-citizen parents only if service was voluntary); Hirabayashi v. United States, 320
              U.S. 81, 96-97 (1943) (noting, in context of World War II, that tens of thousands of
              “persons of Japanese descent” living on Pacific coast “are citizens because born in the
              United States,” even though “under many circumstances” they also were citizens of Japan
              “by Japanese law”).

          •   In United States ex rel. Hintopoulous v. Shaughnessy, all members of the Supreme Court
              considered a child born to foreigners, both of whom had entered the U.S. with temporary
              permission but remained after their authorization expired, to be “of course[] an American
              citizen by birth,” despite the parents’ “illegal presence.” 353 U.S. 72, 73 (1957); see id.
              at 79 (reflecting dissent’s agreement that the child was a citizen).

          •   In INS v. Errico, two different children “acquired United States citizenship at birth”
              despite their parents having gained admission to this country by misrepresenting material
              facts about themselves and thereby evading statutory restrictions on lawful immigration.
              385 U.S. 214, 215-16 (1966).

          •   In INS v. Rios-Pineda, a unanimous Supreme Court viewed a child “born in the United
              States” as “a citizen of this country,” even though the father had entered the country
              “illegally” on his own and “returned to Mexico . . . under threat of deportation”; both
              parents had then “paid a professional smuggler . . . to transport them” across the border;
              and the father, when apprehended again, had failed to depart voluntarily “as promised.”
              471 U.S. 444, 446 (1985).


                                                       18

                                                                                                  PA352
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 387
                                               144                 Date 02/13/25
                                                                   Filed Filed: 03/04/2025    Entry
                                                                                     Page 19 of 31 ID: 6704290




            •   In Hamdi v. Rumsfeld, at least six Justices treated the petitioner as a citizen of the United
                States based on his birth in Louisiana, without even discussing his parents’ status (they
                were present lawfully but temporarily), despite the petitioner’s active participation in a
                foreign terrorist organization. 542 U.S. 507, 510 (2004). 15

            •   In Mariko v. Holder, a panel of the First Circuit considered a child “born in the United
                States” to be “a United State citizen” despite the parents’ concession that both of them
                “were here illegally” and therefore removable. 632 F.3d 1, 3, 8 n.4 (1st Cir. 2011).

            •   In Hasan v. Holder, a different panel of the First Circuit similarly viewed as “a U.S.
                citizen” a child born in California to foreign-national parents who had overstayed their
                nonimmigrant visas. 673 F.3d 26, 28 & n.1 (1st Cir. 2012).

       This line of decisions—which is not limited to the cases described above—further undermines

       the defendants’ proposed interpretation. 16

                If that were not enough to find that the plaintiffs are likely to succeed on the merits (and

       it is), the fact that Congress incorporated the language of the Citizenship Clause into provisions

       of the INA passed more than forty years after Wong Kim Ark cements the meaning of the

       disputed phrase and provides the plaintiffs an independent avenue to prevailing here. In the

       INA, Congress conferred birthright citizenship via statute on several categories of individuals,

       the first of which is described using language mirroring the Citizenship Clause. 8 U.S.C.



       15
          Justice Scalia, joined by Justice Stevens, referred to Hamdi as a “presumed American citizen.”
       542 U.S. at 554 (Scalia, J., dissenting); see Hamdi v. Rumsfeld, 243 F. Supp. 2d 527, 534 (E.D.
       Va. 2002) (noting Hamdi had “identified himself as a Saudi citizen who had been born in the
       United States” when detained and interrogated by the American military). No justice took up the
       invitation of one amicus in the case to revisit the meaning of the Citizenship Clause, correct the
       “erroneous interpretation” adopted in Wong Kim Ark, and conclude Hamdi was not a citizen
       because his parents, though living in Louisiana lawfully at the time of his birth, had only
       temporary work visas authorizing their presence in this country. See Br. Amicus Curiae The
       Claremont Inst. Ctr. Const. Jurisprudence at 2-3, 5, Hamdi v. Rumsfeld, No. 03-6696, 2004 WL
       871165 (U.S. Mar. 29, 2004).
       16
          So does the fact that the Supreme Court has cited Wong Kim Ark as an example of how to
       properly assess the original meaning of language in the Constitution or a federal statute. See
       Standard Oil Co. v. United States, 221 U.S. 1, 59 & n.6 (1911); cf. BNSF Ry. Co. v. Loos, 586
       U.S. 310, 329 (2019) (Gorsuch, J., dissenting) (citing Wong Kim Ark majority opinion as
       authority reflecting “everyone agrees” that “record of enacted changes Congress made” to
       relevant text “over time” is “textual evidence” that “can sometimes shed light on meaning”).
                                                         19

                                                                                                     PA353
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 388
                                               144                Date 02/13/25
                                                                  Filed Filed: 03/04/2025    Entry
                                                                                    Page 20 of 31 ID: 6704290




       § 1401(a) (confirming citizenship of “a person born in the United States, and subject to the

       jurisdiction thereof”). As the plaintiffs point out, this provision was enacted in 1940 and “re-

       codified” in 1952. See Doe, Doc. No. 33 at 2; see also Doe, Doc. No. 11 at 15 (raising statutory

       claim and advancing brief but distinct argument about likelihood of success thereunder).

       Because it uses the same language chosen by the Fourteenth Amendment’s drafters—words that

       had been studied in Wong Kim Ark decades earlier—the statute must be understood to have

       incorporated the Supreme Court’s interpretation of those words. See Bostock v. Clayton Cnty.,

       590 U.S. 644, 654 (2020) (explaining statute “normally” is interpreted “in accord with the

       ordinary public meaning of its terms at the time of its enactment”). 17

              Here, the fundamental rule conveyed by the Citizenship Clause was clear by the time

       § 1401 was enacted, and the legislators who chose to include the same phrase the Supreme Court

       already had examined presumably intended the same words would be accorded the same

       meaning in both contexts. See Taggart v. Lorenzen, 587 U.S. 554, 560 (2019) (recognizing

       “longstanding interpretive principle” that if statutory term “is obviously transplanted from

       another legal source, it brings the old soil with it” (cleaned up)). Thus, the statute supports a

       related but distinct claim upon which the plaintiffs are likely to succeed. 18




       17
           Justice Gorsuch went on to explain why this is so: “If judges could add to, remodel, update, or
       detract from old statutory terms inspired only by extratextual sources and our own imaginations,
       . . . we would deny the people the right to continue relying on the original meaning of the law
       they have counted on to settle their rights and obligations.” Bostock, 590 U.S. at 654-55.
       18
           The defendants advance no separate challenge to the plaintiffs’ statutory claim, choosing to
       “focus . . . on the constitutional provision” which is “coterminous” with the statute. New Jersey,
       Doc. No. 92 at 25 n.4. By opting not to address the statute, or the manner in which its enactment
       necessarily strengthens the plaintiffs’ interpretation of the relevant language, the defendants have
       waived any discrete argument related to the statutory claim for purposes of the pending motions.
       Cf. United States v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990) (applying “settled appellate rule that
       issues adverted to in a perfunctory manner, unaccompanied by some effort at developed
       augmentation, are deemed waived”).
                                                         20

                                                                                                    PA354
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 389
                                               144                Date 02/13/25
                                                                  Filed Filed: 03/04/2025    Entry
                                                                                    Page 21 of 31 ID: 6704290




              Beyond sidestepping Wong Kim Ark, the defendants urge the Court to read three specific

       requirements into the phrase “subject to the jurisdiction thereof.” The defendants contend these

       requirements are necessary to ensure adherence to the phrase’s original meaning. None of these

       requirements, however, find support in the text itself or the cases construing and applying it.

       And, more importantly, each of them, if applied as argued, would prevent the Citizenship Clause

       from reaching groups of persons to whom even the defendants concede it must apply.

              First, the defendants suggest the “jurisdiction” phrase is satisfied only by persons who

       owe the United States “allegiance” that is “direct,” “immediate,” “complete,” and “unqualified

       by allegiance to any alien power.” New Jersey, Doc. No. 92 at 27-28 (cleaned up). Certainly,

       allegiance matters. Various sources link the “jurisdiction” phrase and concepts of allegiance,

       including Wong Kim Ark. See, e.g., 169 U.S. at 654 (noting English common law provided

       citizenship to those “born within the king’s allegiance, and subject to his protection”). The

       defendants veer off course, however, by suggesting allegiance must be exclusive, and that it

       derives from the status of a child’s parents. If that were so, then the children of dual citizens or

       LPRs could not receive birthright citizenship via the Fourteenth Amendment. A dual citizen

       necessarily bears some allegiance to both the United States and the second nation of which they

       are a citizen. LPRs, unless and until naturalized, remain foreign nationals who are citizens of

       other countries bearing some allegiance to their places of origin. This principle would also rule

       out the petitioner in Wong Kim Ark, whose parents resided for years in the United States but

       remained “subjects of the emperor of China” (and, indeed, returned to China when their U.S.-

       born son was a teenager). 169 U.S. at 652-53. The defendants, however, agree that children of

       dual citizens and LPRs are entitled to birthright citizenship, and that the petitioner in Wong Kim

       Ark was as well.



                                                        21

                                                                                                    PA355
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 390
                                               144                 Date 02/13/25
                                                                   Filed Filed: 03/04/2025    Entry
                                                                                     Page 22 of 31 ID: 6704290




              These anomalies are avoided by focusing on the allegiance of the child, not the parents.

       As noted earlier, the Citizenship Clause itself speaks only of the child. A child born in the

       United States necessarily acquires at birth the sort of allegiance that justified birthright

       citizenship at the common law. That is, they are born “locally within the dominions of” the

       United States and immediately “derive protection from” the United States. Id. at 659. A child

       born here is both entitled to the government’s protection and bound to adhere to its laws. This is

       true regardless of the characteristics of the child’s parents, subject only to the narrow exceptions

       identified in Wong Kim Ark. Allegiance, in this context, means nothing more than that. See id.

       at 662 (“Birth and allegiance go together.”). As James Madison explained:

              It is an established maxim that birth is a criterion of allegiance. Birth however
              derives its force sometimes from place and sometimes from parentage, but in
              general place is the most certain criterion; it is what applies in the United States; it
              will be therefore unnecessary to investigate any other.

       Founders Online, Citizenship, Nat’l Archives (May 22, 1789), https://founders.archives.gov

       /documents/Madison/01-12-02-0115 [https://perma.cc/ZC4B-NS9R]. So, “allegiance” does not

       mean what the defendants think it means, and their first proposed rule founders. 19

              Next, the defendants seek to graft concepts of social-contract theory onto the

       “jurisdiction” clause of the Fourteenth Amendment by arguing birthright citizenship requires

       “mutual consent between person and polity.” New Jersey, Doc. No. 92 at 45. The defendants

       again center their argument on the parents at the expense of the child whose birthright is at

       stake—perhaps, in part, because infants are incapable of consent in the legal sense. In the



       19
         To the extent the defendants believe temporary, lawful visitors to this country are people who
       “do not owe an allegiance to the United States,” Mot. Hr’g Tr. at 55, the Supreme Court
       disagrees, see Wong Kim Ark, 169 U.S. at 685 (quoting Schooner Exchange v. McFaddon, 11
       U.S. (7 Cranch) 116, 144 (1812), and its description of the “temporary and local allegiance”
       private visitors from other countries owe the United States while passing through or doing
       business here).
                                                         22

                                                                                                      PA356
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 391
                                               144               Date 02/13/25
                                                                 Filed Filed: 03/04/2025    Entry
                                                                                   Page 23 of 31 ID: 6704290




       defendants’ view, mutual consent is lacking where a person (the parent) has entered the United

       States without permission to do so, or without permission to remain here permanently. The

       absence of “mutual consent” in those circumstances means, according to the defendants, that the

       children of such parents fall beyond the “jurisdiction” of the United States for Fourteenth

       Amendment purposes.

              This argument fares even worse than the first. The Fourteenth Amendment enshrined in

       the Constitution language ensuring “the fundamental principle of citizenship by birth” in the

       United States applied regardless of race—including, and especially, to formerly enslaved

       persons. 169 U.S. at 675; see Afroyim v. Rusk, 387 U.S. 253, 262-63 (1967). The defendants

       do not (and could not) deny this. Enslaved persons, of course, did not “consent” to come to the

       United States or to remain here. They were brought here violently, in chains, without their

       consent. These conditions persisted after their arrival. Against this backdrop, it verges on

       frivolous to suggest that Congress drafted, debated, and passed a constitutional amendment,

       thereafter enacted by the states, that imposed a consent requirement necessarily excluding the

       one group of people the legislators and enactors most specifically intended to protect.

              Finally, the defendants seek to transform the use of the term “reside” at the end of the

       Citizenship Clause into a basis for finding that the “jurisdiction” phrase eliminates any person

       without a lawful “domicile” in the United States. The defendants contend that persons here with

       temporary visas retain “domiciles” in their native countries, and persons here without lawful

       status cannot establish a true “domicile.” And so, the argument goes, they cannot “reside” in any

       state, and they remain outside the “jurisdiction” of the United States for Fourteenth Amendment

       purposes. This, once again, shifts the focus away from the child and the location of birth to the

       parents and the status and duration of their presence in this country.



                                                        23

                                                                                                     PA357
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 392
                                               144                 Date 02/13/25
                                                                   Filed Filed: 03/04/2025    Entry
                                                                                     Page 24 of 31 ID: 6704290




               The word “reside” appears in the Citizenship Clause only in the phrase specifying that a

       person entitled to birthright citizenship becomes a citizen not only of the United States, but also

       of the state where they live. For example, a state within the former Confederacy (or any other

       state) could not constitutionally deny state citizenship to the child of a formerly enslaved person

       who lived and gave birth there. The word “reside” does not inject a “domicile” requirement

       limiting the reach of the Citizenship Clause as a whole and justifying examination of the

       immigration status of a child’s parents. See New Jersey, Doc. No. 123 at 11-12 (articulating the

       flaws in this theory). In any event, it is not so clear that “illegal entry into the country

       would . . . , under traditional criteria, bar a person from obtaining domicile within a State.”

       Plyler, 457 U.S. at 227 n.22.

               In sum, the defendants invite the Court to adopt a set of rules that work (except when

       they don’t). None of the principles the defendants advance are sturdy enough to overcome the

       settled interpretation and longstanding application of the Citizenship Clause described above.

       Each principle, applied uniformly, would lead to unintended results at odds with the text,

       meaning, and intent of the Fourteenth Amendment—and, in some instances, with the parameters

       set out in the EO itself.

               For all these reasons, the Court finds the plaintiffs are exceedingly likely to prevail on the

       merits of their constitutional and statutory claims. This conclusion would allow the plaintiffs to

       “show somewhat less in the way of irreparable harm.” Astra U.S.A., 94 F.3d at 743. That

       relaxed burden, however, is not essential, as the second factor also favors the plaintiffs strongly.

                         2.    Irreparable Harm

               The plaintiffs have supported their assertions of irreparable harm with numerous

       declarations detailing the imminent and damaging impacts they anticipate will flow from the EO.



                                                         24

                                                                                                      PA358
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 393
                                               144                 Date 02/13/25
                                                                   Filed Filed: 03/04/2025    Entry
                                                                                     Page 25 of 31 ID: 6704290




       See Doe, Doc. Nos. 11-1 to -10; New Jersey, Doc. Nos. 5-2 to -21, -23. 20 Upon review, the

       Court accepts and credits those declarations, which the defendants have not disputed or rebutted

       in any way. The declarations establish that the State plaintiffs do not stand to lose discrete

       amounts of one-time funds; they face unpredictable, continuing losses coupled with serious

       administrative upheaval. They have established irreparable harm.

              As for the Doe plaintiffs, what is at stake is a bedrock constitutional guarantee and all of

       its attendant privileges. The loss of birthright citizenship—even if temporary, and later restored

       at the conclusion of litigation—has cascading effects that would cut across a young child’s life

       (and the life of that child’s family), very likely leaving permanent scars. The record before the

       Court establishes that children born without a recognized or lawful status face barriers to

       accessing critical healthcare, among other services, along with the threat of removal to countries

       they have never lived in and possible family separation. 21 That is irreparable harm. 22




       20
          Not every State plaintiff has submitted its own declarations, but the complaint alleges that all
       face the same categories of harm. E.g., New Jersey, Doc. No. 1 ¶ 122. The record supports that
       allegation, for example, by reflecting that each official attesting to health-insurance-related
       impacts describes the same federal programs used the same way and forecasts the loss of the
       same types of federal reimbursements. See, e.g., Doc. Nos. 5-2, -6, -11, -12, -16, -19. At this
       stage, that is enough to find that all State plaintiffs would suffer irreparable harm absent
       injunctive relief. The defendants do not contend otherwise.
       21
          Doe, for example, has a pending asylum petition and an older child who is a U.S. citizen by
       birthright—assuming the defendants do not later reconsider the effective date contained in the
       EO and opt to apply their reading of the Citizenship Clause retroactively, a possibility they did
       not definitively rule out during the motion hearing. Mot. Hr’g Tr. at 45-47. Her family would be
       placed at a distressing crossroads if her new baby were to face removal from the country.
       22
          The defendants’ only responses are to suggest that the plaintiffs wait and see how the EO will
       be implemented, and hope that Doe’s asylum application is granted. Or, in the worst case, “if
       any removal action were initiated against the children of any of the private plaintiffs at issue in
       this case, the [child] subject of the action could assert their claim to citizenship as defense in that
       proceeding.” New Jersey, Doc. No. 92 at 48. That answer is not persuasive. Cf. Texas v.
       EEOC, 933 F.3d 433, 448 & n.29 (5th Cir. 2019) (stating “it would strain credulity to find that
       an agency action targeting” conduct the agency has deemed “presumptively unlawful” would not
       trigger implementation “immediately enough to constitute” nonspeculative injury).
                                                         25

                                                                                                     PA359
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 394
                                               144                  Date 02/13/25
                                                                    Filed Filed: 03/04/2025    Entry
                                                                                      Page 26 of 31 ID: 6704290




               The plaintiffs in both cases have shown they are likely to suffer substantial and

       irreparable harm in the absence of a preliminary injunction. Thus, the two most important

       factors strongly favor the plaintiffs.

                         3.    Balance of Harms and Public Interest

               The final merged factors also support the plaintiffs’ requests for relief. On the plaintiffs’

       side of the scales, there is a grave risk of significant and irreparable harm arising from the EO.

       Children not yet born will be stripped of birthright citizenship constitutionally guaranteed to

       them, as confirmed by settled law and practice spanning more than a dozen decades. They will

       be deprived of a “title” that is, as “Justice Brandeis observed, . . . superior to the title of

       President.” Tuaua, 788 F.3d at 301. And that harm will arise from an EO that is unconstitutional

       on its face—an assessment that has now been echoed by multiple federal courts in different

       jurisdictions. E.g., Prelim. Inj. Order at 6, N.H. Indonesian Cmty. Support v. Trump, No. 25-cv-

       38 (D.N.H. Feb. 11, 2025), ECF No. 79.

               It is difficult to imagine a government or public interest that could outweigh the harms

       established by the plaintiffs here. Perhaps that is why the defendants have identified none.

       Instead, they point only to the Executive Branch’s discretion in matters of immigration. New

       Jersey, Doc. No. 92 at 49. But this case is not about how “to manage the immigration system.”

       Id. It is about the Constitution’s guarantee of citizenship by virtue of birth. When this right was

       enshrined in the Fourteenth Amendment, it was moved firmly beyond the bounds of the “core

       executive authority” the defendants invoke. Id.; see Afroyim, 387 U.S. at 263 (noting framers of

       Fourteenth Amendment “wanted to put citizenship beyond the power of any governmental unit

       to destroy”). The defendants’ only argument, therefore, adds nothing to their side of the scales.

               Though the government has waived any other arguments on these final factors by not

       developing them in their opposition memorandum, see Zannino, 895 F.2d at 17, the Court makes
                                                          26

                                                                                                         PA360
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 395
                                               144                Date 02/13/25
                                                                  Filed Filed: 03/04/2025    Entry
                                                                                    Page 27 of 31 ID: 6704290




       two more observations. First, the government has no legitimate interest in pursuing

       unconstitutional agency action; “it is always in the public interest to prevent the violation of a

       party’s constitutional rights.” Dorce v. Wolf, 506 F. Supp. 3d 142, 145 (D. Mass. 2020) (cleaned

       up); accord League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). Second, an

       injunction will do no more than maintain a status quo that has been in place for well over a

       century. The defendants have not even attempted to demonstrate how they or the public will be

       harmed by continuing, for the duration of this action, to adhere to the interpretation of birthright

       citizenship that has been consistently applied by the Executive Branch throughout that time

       period—including under this President during his first term in office.

              The scales tip decisively toward the plaintiffs. Because all factors favor entry of

       injunctive relief, the Court ends by explaining the appropriate parameters of such relief.

                C.      Scope of Injunction

              Both sets of plaintiffs ask the Court to universally enjoin the defendants from

       implementing the EO. That is, they seek an order that prevents the defendants from applying the

       EO not only to them—to Doe, to members of the plaintiff associations, and to the State

       plaintiffs—but at all, to anyone, anywhere. Orders like those the plaintiffs seek here have

       become “increasingly common” over the last twenty years. Dep’t of Homeland Sec. v. New

       York, 140 S. Ct. 599, 600 (2020) (mem.) (Gorsuch, J., concurring in grant of stay); see generally

       Developments in the Law—District Court Reform: Nationwide Injunctions, 137 Harv. L. Rev.

       1701, 1703-15 (2024) (quantifying rise in such injunctions and examining consequences). That

       trend raises meaningful concerns about the appropriate scope of a single district judge’s

       equitable powers. See Trump v. Hawaii, 585 U.S. 667, 713-21 (2018) (Thomas, J., concurring)

       (examining reasons to be “skeptical that district courts have the authority to enter universal

       injunctions”).
                                                        27

                                                                                                    PA361
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 396
                                               144                 Date 02/13/25
                                                                   Filed Filed: 03/04/2025    Entry
                                                                                     Page 28 of 31 ID: 6704290




               Alluding to such concerns, the defendants urge the Court to enter relief that is limited in

       scope. New Jersey, Doc. No. 92 at 49-50. Though the defendants have not proposed specific

       terms, two of the limitations they urge merit consideration. 23 First, the defendants argue “the

       Court should limit any relief to any party before it that is able to establish an entitlement to

       preliminary injunctive relief.” Id. at 50. As explained above, the Court has concluded all

       plaintiffs are so entitled. But that conclusion does not alone justify relief that is universal in

       scope. The Court still must confront the general principle that injunctive relief should be tailored

       to the parties before it. Cf. Califano v. Yamasaki, 442 U.S. 682, 702 (1979) (noting “injunctive

       relief should be no more burdensome . . . than necessary to provide complete relief to the

       plaintiffs”). Here, the Court finds this principle leads to different results for the two sets of

       plaintiffs.

               For Doe and the members of the two plaintiff organizations, the record before the Court

       does not demonstrate that universal relief is necessary to “provide complete relief to,” and

       protect the rights of, those parties. An injunction that prevents the defendants and their agents

       from implementing and applying the EO against Doe or any member of either plaintiff

       organization suffices to protect them from harm during the pendency of this lawsuit. The record

       does not establish how awarding similar relief to other persons or organizations that are not

       parties to this lawsuit is necessary to provide complete relief to the Doe plaintiffs.




       23
          The third, which urges the Court to reject any facial challenge to the EO and require
       “individual as-applied challenges,” can be rejected out of hand. The plaintiffs have advanced
       substantial facial challenges that the Court has deemed likely to succeed. The defendants do not
       explain how their third proposal, which is supported only by a citation to general language from
       a criminal case in which injunctive relief was not at issue, has anything to do with the scope of
       injunctive relief. See New Jersey, Doc. No. 92 at 50.
                                                         28

                                                                                                      PA362
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 397
                                               144                 Date 02/13/25
                                                                   Filed Filed: 03/04/2025    Entry
                                                                                     Page 29 of 31 ID: 6704290




               Different considerations arise as to the State plaintiffs. They have identified harms that

       do not hinge on the citizenship status of one child, or even of all children born within their

       borders. The harms they have established stem from the EO’s impact on the citizenship status—

       and the ability to discern or verify such status—for any child located or seeking various services

       within their jurisdiction. For example, Massachusetts will suffer the identified harms not only if

       children born and living there are unlawfully denied citizenship, but also if a pregnant woman

       living in the northeastern part of the Commonwealth gives birth across the border in a nearby

       New Hampshire hospital, or if a family moves to Massachusetts from Pennsylvania (or any other

       state that has not joined this lawsuit) after welcoming a new baby. These examples illustrate

       why injunctive relief limited to the State plaintiffs is inadequate. In both, children born in states

       that are not parties to this lawsuit (such as New Hampshire and Pennsylvania) would

       theoretically lack birthright citizenship even after returning or moving to—and seeking various

       services in—a state that is among the plaintiffs here.

               That result not only fails in providing complete relief to the State plaintiffs, but also risks

       creating a new set of constitutional problems. See Saenz v. Roe, 526 U.S. 489, 500-04 (1999)

       (identifying as component of “right to travel” protected by Fourteenth Amendment “the right of

       the newly arrived citizen to the same privileges and immunities enjoyed by other citizens of the

       same State”). For the State plaintiffs, then, universal or nationwide relief is necessary to prevent

       them from suffering irreparable harm. Cf. Trump v. Int’l Refugee Assistance Project, 582 U.S.

       571, 579-83 (2017) (narrowing in part but upholding in part injunction that protected nonparties

       similarly situated to the plaintiffs).




                                                         29

                                                                                                      PA363
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 398
                                               144                Date 02/13/25
                                                                  Filed Filed: 03/04/2025    Entry
                                                                                    Page 30 of 31 ID: 6704290




               Only one issue remains. The defendants assert the Court may not enjoin the President. 24

       New Jersey, Doc. No. 92 at 50. The Doe plaintiffs offer no response to this point, see generally

       Doe, Doc. No. 33, but the State plaintiffs disagree in a footnote citing instances where executive

       orders have been enjoined, see New Jersey, Doc. No. 123 at 15 n.8. Assuming without deciding

       that this Court is empowered to issue an injunction directly constraining the President’s actions

       in any set of circumstances, nothing in the record suggests such relief is necessary here. The

       President has signed the EO. No further action by him is described by the EO or predicted by the

       plaintiffs. Other officers and agencies within the Executive Branch are responsible for

       implementing the EO, and it is their conduct that the plaintiffs really seek to restrain. Thus, for

       purposes of the preliminary injunction, the relief will be awarded against all other defendants

       besides the President, and against any other officers or agents acting on behalf of the President,

       but not against the President himself. 25

        III.   CONCLUSION

               “What the Constitution has conferred neither the Congress, nor the Executive, nor the

       Judiciary, nor all three in concert, may strip away.” Nishikawa, 356 U.S. at 138 (Black, J.,

       concurring). Here, the Constitution confers birthright citizenship broadly, including to persons

       within the categories described in the EO. Under the plain language of the Citizenship Clause

       and the INA provision that later borrowed its wording, and pursuant to binding Supreme Court

       precedent, the Court concludes that the plaintiffs’ constitutional and statutory challenges to the

       EO are likely to prevail, the plaintiffs face serious and irreparable harm in the absence of relief,


       24
          They also suggest the Court should dismiss the President as a defendant, New Jersey, Doc. No.
       92 at 50, but a request like that is properly advanced in a motion (not an opposition brief), after
       conferral and in compliance with the Local Rule governing motion practice in this Court. See
       generally L.R. 7.1.
       25
          Should circumstances arise that merit reconsideration of this aspect of the injunction, the
       plaintiffs may bring them to the Court’s attention via an appropriate motion.
                                                        30

                                                                                                    PA364
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 399
                                               144              Date 02/13/25
                                                                Filed Filed: 03/04/2025    Entry
                                                                                  Page 31 of 31 ID: 6704290




       the defendants face no cognizable harm from a preliminary injunction, and the public interest is

       served by preventing the implementation of a facially unconstitutional policy.

              Accordingly, the plaintiffs’ motions (Doe, Doc. No. 10, and New Jersey, Doc. No. 3) are

       ALLOWED as described herein. Separate orders will issue in each case memorializing the

       preliminary injunctions entered by the Court.

                                                            SO ORDERED.


                                                             /s/ Leo T. Sorokin
                                                            United States District Judge




                                                       31

                                                                                                PA365
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 400
                                                145                Date
                                                                   FiledFiled: 03/04/2025
                                                                         02/13/25            Entry
                                                                                     Page 1 of 2 ID: 6704290




                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS

                                                      )
       STATE OF NEW JERSEY et al.,                    )
                                                      )
              Plaintiffs,                             )
                                                      )
       v.                                             )       Civil No. 25-10139-LTS
                                                      )
       DONALD J. TRUMP et al.,                        )
                                                      )
              Defendants.                             )
                                                      )

                                         PRELIMINARY INJUNCTION

                                                February 13, 2025

       SOROKIN, J.

              For the reasons set forth in the Memorandum of Decision issued today, Doc. No. 144, the

       plaintiffs’ motion for preliminary injunction (Doc. No. 3) is ALLOWED. As explained in the

       Memorandum, the plaintiffs have advanced valid causes of action seeking equitable relief, and

       they have standing to pursue such claims. They also have demonstrated that each factor

       governing their request for preliminary injunctive relief weighs strongly in their favor. The

       plaintiffs are likely to succeed on the merits of their claims under the Citizenship Clause and 8

       U.S.C. § 1401, they are likely to suffer irreparable harm in the absence of relief, the balance of

       harms tips overwhelmingly in their favor, and the public interest favors an injunction.

       Additionally, the record establishes that universal relief is required in order to provide complete

       relief to the eighteen states and two cities that have brought this case.

              Accordingly, pursuant to Federal Rule of Civil Procedure 65(a), this Court ORDERS as

       follows:




                                                                                                   PA366
Case: 25-1170 Case
                Document:  00118255171 Document
                   1:25-cv-10139-LTS     Page: 401
                                                145             Date
                                                                FiledFiled: 03/04/2025
                                                                      02/13/25            Entry
                                                                                  Page 2 of 2 ID: 6704290




          1. The United States Department of State, the Secretary of State, the United States

             Department of Homeland Security, the Secretary of Homeland Security, the United States

             Department of Health and Human Services, the Acting Secretary of Health and Human

             Services, the United States Social Security Administration, the Acting Commissioner of

             Social Security, and all officers, agents, employees, attorneys, and any other persons

             acting in concert with or behalf of any named defendant in this action (including agents,

             employees, and other representatives of President Donald J. Trump), are ENJOINED

             from implementing and enforcing Executive Order No. 14,160, “Protecting the Meaning

             and Value of American Citizenship.”

          2. No security under Federal Rule of Civil Procedure 65(c) is necessary or warranted in the

             circumstances of this case, where the plaintiffs seek to vindicate an important

             constitutional and federal statutory right, and the injunction will not expose the

             defendants to financial loss. See da Silva Medeiros v. Martin, 458 F. Supp. 3d 122, 130

             (D.R.I. May 1, 2020) (citing Crowley v. Loc. No. 82, 679 F.2d 978, 1000-01 (1st Cir.

             1982)).

          3. This preliminary injunction shall take effect immediately upon the docketing of this

             Order and shall remain in effect until the entry of judgment in this matter, unless this

             Court, the United States Court of Appeals for the First Circuit, or the United States

             Supreme Court order otherwise.

                                                           SO ORDERED.


                                                            /s/ Leo T. Sorokin
                                                           United States District Judge




                                                       2

                                                                                                  PA367
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 402
                                                158        Date
                                                           Filed Filed: 03/04/2025
                                                                 02/19/25     Page 1 ofEntry
                                                                                        11 ID: 6704290




                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS


        STATE OF NEW JERSEY, et al.,

                               Plaintiffs,

                v.                                       Case No. 1:25-cv-10139-LTS

        DONALD J. TRUMP, in his official
        capacity as President of the United States, et
        al.,

                               Defendants.


                   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                MOTION TO STAY PRELIMINARY INJUNCTION PENDING APPEAL




                                                                                      PA368
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 403
                                                158                    Date
                                                                       Filed Filed: 03/04/2025
                                                                             02/19/25     Page 2 ofEntry
                                                                                                    11 ID: 6704290




                                                INTRODUCTION

              Pursuant to Federal Rule of Civil Procedure 62, Defendants respectfully move for a stay

       pending appeal of the Court’s February 13, 2025 Order, ECF No. 145, which preliminarily enjoins

       Defendants on a nationwide basis from implementing and enforcing Executive Order No. 14160,

       Protecting the Meaning and Value of American Citizenship (Jan. 20, 2025) (“EO”). Defendants

       have appealed the Court’s injunction and expect to ultimately prevail on their merits arguments.

       But those arguments are not at issue here: irrespective of the Court’s views on the merits, it should

       stay the injunction because it provides relief to parties—both in this litigation and across the

       country—who have not demonstrated their entitlement to the extraordinary remedy of a

       preliminary injunction.

              On appeal, Defendants are likely to succeed on their argument that the states lack standing.

       Fundamentally, the states lack any rights under the Citizenship Clause and cannot assert such

       claims on behalf of their third-party residents. And they cannot otherwise claim standing based

       on their own purported financial injuries because the downstream effects of federal immigration

       policies on voluntary state expenditures do not inflict an Article III injury. Even setting that aside,

       the Court’s extension of relief to non-party individuals across the nation violates the well-

       established principle that judicial remedies “must be tailored to redress the plaintiff’s particular

       injury.” Gill v. Whitford, 585 U.S. 48, 73 (2018). At minimum, the Court should stay the

       injunction insofar as it applies beyond the plaintiff states.

              The equities similarly weigh in favor of staying an injunction that intrudes into internal

       executive branch affairs, preventing Defendants from taking even preparatory steps to implement

       the EO in the event that it is eventually permitted to take effect, and extends to states and non-

       parties who have not demonstrated a likelihood of irreparable harm or entitlement to injunctive



                                                          1

                                                                                                     PA369
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 404
                                                158                   Date
                                                                      Filed Filed: 03/04/2025
                                                                            02/19/25     Page 3 ofEntry
                                                                                                   11 ID: 6704290




       relief.

                 Defendants respectfully request a ruling by the close of business on February 26, 2025.

       After that time, if relief has not been granted, Defendants intend to seek relief from the U.S. Court

       of Appeals for the First Circuit.

                                                     ARGUMENT

                 Courts consider four factors in assessing a motion for stay pending appeal: (1) the movant’s

       likelihood of prevailing on the merits of the appeal, (2) whether the movant will suffer irreparable

       harm absent a stay, (3) the harm that other parties will suffer if a stay is granted, and (4) the public

       interest. See Hilton v. Braunskill, 481 U.S. 770, 776 (1987); Dist. 4 Lodge of the Int'l Ass’n of

       Machinists & Aerospace Workers Loc. Lodge 207 v. Raimondo, 18 F.4th 38, 43 (1st Cir. 2021).

       When the government is a party, its interests and the public interest “merge.” Nken v. Holder, 556

       U.S. 418, 435 (2009).

       I.        Defendants Are Likely to Prevail On The Merits Of Their Argument That The
                 Preliminary Injunction Was Improperly Issued.

                 “At the preliminary injunction stage, . . . the plaintiff must make a ‘clear showing’ that she

       is ‘likely’ to establish each element of standing.” Murthy v. Missouri, 603 U.S. 43, 58 (2024); see

       also, e.g., Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (to establish standing, a plaintiff must

       have “(1) suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the

       defendant, and (3) that is likely to be redressed by a favorable judicial decision”).

                 1.      As Defendants have explained, the state plaintiffs have failed to carry this burden

       here. See Doc. No. 92 at 18-22. The Court disagreed, but it did not acknowledge or rebut

       Defendants’ argument that the states lack third-party standing to assert Citizenship Clause claims

       on behalf of their residents, much less the residents of other states. See id. at 20-22.

                 A plaintiff “cannot rest his claim to relief on the legal rights or interests of third parties.”


                                                            2

                                                                                                        PA370
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 405
                                                158               Date
                                                                  Filed Filed: 03/04/2025
                                                                        02/19/25     Page 4 ofEntry
                                                                                               11 ID: 6704290




       Warth v. Seldin, 422 U.S. 490, 499 (1975). Even assuming the states had made an adequate

       showing of direct economic injury to support Article III standing (which they have not), this

       argument would provide an independent basis to deny their Citizenship Clause claim. In Kowalski

       v. Tesmer, for example, the Supreme Court assumed that the criminal defense attorney plaintiffs

       had established Article III standing through allegations that the challenged state law “reduced the

       number of cases in which they could be appointed and paid as assigned appellate counsel.” 543

       U.S. 125, 129 n.2 (2004) (citation omitted). But the Court held that notwithstanding that

       pocketbook injury, the attorneys could not sue to assert their putative clients’ constitutional right

       to have the government pay for their services. Id. at 134. Here, for the same reason that states

       lack standing to assert claims that individuals’ Due Process and Equal Protection rights are harmed,

       see South Carolina v. Katzenbach, 383 U.S. 301, 323-24 (1966); Haaland v. Brackeen, 599 U.S.

       255, 294-95 (2023), they lack standing to assert that other individuals’ rights under the Citizenship

       Clause are impaired.

              While the Court did not address Defendants’ third-party standing arguments, it found that

       the plaintiff states had standing because they were able to “articulate various forms of federal

       funding that will be diminished as a direct result of the EO.” Doc. No. 144 at 8-9. But the

       challenged EO does not directly regulate the states, set standards for determining federal funding,

       or otherwise require that states provide any services or incur any expenditures. It merely regulates

       how the federal government will approach certain individuals’ immigration status. Whatever

       impacts that federal policy might have on state programs are necessarily the kind of “indirect

       effects on state revenues or state spending” that the Supreme Court recently warned should not

       confer standing in “cases brought by States against an executive agency or officer.” United States

       v. Texas, 599 U.S. 670, 680 n.3 (2023).



                                                        3

                                                                                                   PA371
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 406
                                                158                 Date
                                                                    Filed Filed: 03/04/2025
                                                                          02/19/25     Page 5 ofEntry
                                                                                                 11 ID: 6704290




              This Court found the standing analysis in Texas “inapt,” Doc. No. 144 at 10, but its

       rejection of state standing based on the downstream effects of a federal policy on state budgets is

       based on “bedrock Article III constraints,” Texas, 599 U.S. at 680 n.3, that courts have consistently

       applied to deny similar attempts at state standing as are at issue here. See, e.g., Florida v. Mellon,

       273 U.S. 12, 17-18 (1927); Washington v. FDA, 108 F.4th 1163, 1175-76 (9th Cir. 2024); E. Bay

       Sanctuary Covenant v. Biden, 102 F.4th 996, 1002 (9th Cir. 2024); Arizona v. Biden, 40 F.4th 375,

       386 (6th Cir. 2022). To find standing here would imply that every state has Article III standing to

       litigate the citizenship status of every person residing within its borders, but that is not the law and

       the Court should decline to adopt such a “boundless conception of Article III’s injury

       requirement.” Washington, 108 F.4th at 1176.1

              2.       Defendants are also likely to prevail on their argument that nationwide relief is

       improper. See Doc. No. 92 at 49-50. A federal court may entertain a suit only by a plaintiff who

       has suffered a concrete “injury in fact,” and the court may grant relief only to remedy “the

       inadequacy that produced [the plaintiff’s] injury.”        Gill, 585 U.S. at 66 (citation omitted).

       Principles of equity reinforce those limitations, and “[u]niversal injunctions have little basis in

       traditional equitable practice.” Dep’t of Homeland Sec. v. New York, 140 S. Ct. 599, 600 (2020)

       (Gorsuch, J., concurring). Indeed, nationwide injunctions “take a toll on the federal court system,”

       and “prevent[] legal questions from percolating through the federal courts.” Trump v. Hawaii, 585



              1
                 Without fully resolving the issue, the Court suggested in a footnote that the states “also
       probably have standing based on their sovereign interests” that were not asserted in their
       preliminary injunction briefing. See Doc. No. 144 at 10 n.7. But the Court cited no authority for
       the proposition that states have a sovereign interest in “which persons are U.S. citizens,” id., and
       indeed federal citizenship status is an issue over which the federal government has plenary control.
       See, e.g., Foley v. Connelie, 435 U.S. 291, 312 n.5 (1978) (“For it is the Federal Government that
       exercises plenary control over naturalization and immigration.”); cf. Arizona, 40 F.4th at 386-87
       (“The key sovereign with authority and ‘solicitude’ with respect to immigration is the National
       Government, not the States.”).
                                                          4

                                                                                                      PA372
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 407
                                                158                 Date
                                                                    Filed Filed: 03/04/2025
                                                                          02/19/25     Page 6 ofEntry
                                                                                                 11 ID: 6704290




       U.S. 667, 713 (2018) (Thomas, J., concurring). These general principles foreclose relief to anyone

       in this case, and that is especially true for individuals outside of the plaintiff states who are not

       only non-parties but do not even live in the states that are parties to this case.

               The Court acknowledged that “universal relief” is not generally necessary to “provide

       complete relief to” parties affected by the EO. Doc No. 144 at 28. But it nonetheless fashioned

       nationwide relief in this case because of the possibility that “children born in states that are not

       parties to this lawsuit” would move to a plaintiff state, “seek[] various services,” and necessitate

       state funding. Id. at 29. But the mere prospect of such remote future impacts on state revenue

       streams is insufficient to justify the breadth of the Court’s order here, which prevents

       implementation or enforcement anywhere in the United States. Particularly in this preliminary

       injunction posture, the remote concern that babies will be born after the effective date of the EO

       but also move into the plaintiff states while this case is pending is too speculative to justify such

       sweeping relief. It is not necessary to provide complete relief to the plaintiff states, whose claimed

       injuries would be substantially remedied by an order that provided relief only within their borders

       (assuming that they were proper parties, which again they are not). Cf. Weinberger v. Romero-

       Barcelo, 456 U.S. 305, 312 (1982). This is particularly so when the injunction covers states who

       asked this Court not to issue an injunction. See Doc. No. 122 (amicus brief filed by 18 states);

       Doc. No. 127 (Tennessee amicus brief); Arizona, 40 F.4th at 396 (Sutton, C.J., concurring)

       (“Nationwide injunctions … sometimes give States victories they do not want.”).

              The Court also suggested that an injunction limited to the plaintiff states would “risk[]

       creating a new set of constitutional problems.” Doc. No. 144 at 29. But the authority on which

       the Court relied—recognizing a Fourteenth Amendment “right to travel” allowing a United States

       citizen traveling to a new state to enjoy therein the “same privileges and immunities enjoyed by



                                                          5

                                                                                                    PA373
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 408
                                                158                Date
                                                                   Filed Filed: 03/04/2025
                                                                         02/19/25     Page 7 ofEntry
                                                                                                11 ID: 6704290




       other citizens of the same State,” Saenz v. Roe, 526 U.S. 489, 502 (1999)—provides no basis for

       nationwide relief to non-parties here. That line of cases prevents states from discriminating against

       U.S. citizens from other states; it does not have anything to say about the United States’ recognition

       of citizenship under the Citizenship Clause. See, e.g., id.; at 502-04; Hope v. Comm’r of Ind. Dep’t

       of Corrs., 9 F.4th 513, 525 (7th Cir. 2021) (noting that the Supreme Court’s right to travel decisions

       each involved a state “rule that explicitly discriminated between old and new residents”). It would

       not violate anyone’s right to travel for the Court, for the limited period of time until this case can

       be resolved and in accordance with traditional equitable principles, to limit any preliminary

       injunctive relief to the parties before it.

               3.      The Court’s injunction is also overbroad to the extent it enjoins not only

       enforcement of the EO, but also internal steps relating to its implementation. As noted below, that

       causes harm to the government, and it is inconsistent with the well-established principle that

       “injunctive relief should be no more burdensome to the defendant than necessary to provide

       complete relief to the plaintiffs.” Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994)

       (citation omitted). At minimum, the Court should limit its injunction to permit the government to

       implement the EO in ways that cause no harm to the plaintiff states, including by taking internal,

       preparatory steps regarding the EO’s application and formulating relevant policies and guidance.

       II.     The Balance Of Equities, Including The Irreparable Harm Defendants Will Suffer,
               Favors a Stay.

               The balance of the equities likewise favors staying injunctive relief to parties who have not

       demonstrated their entitlement to it. Providing relief to states that lack standing and individuals in

       all 50 states who have not demonstrated their entitlement to such relief conflicts with the principles

       articulated above and allows “one district court [to] make a binding judgment for the entire

       country.” Louisiana v. Becerra, 20 F.4th 260, 263 (5th Cir. 2021). That is especially inappropriate


                                                         6

                                                                                                    PA374
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 409
                                                158                Date
                                                                   Filed Filed: 03/04/2025
                                                                         02/19/25     Page 8 ofEntry
                                                                                                11 ID: 6704290




       in the context of this litigation, where multiple states have argued that the EO should not be

       universally enjoined. See Doc Nos. 122, 127 (state amicus briefs).

              In addition, an injunction that interferes with the President’s ability to carry out his broad

       authority over immigration matters is “an improper intrusion by a federal court into the workings

       of a coordinate branch of the Government.” INS v. Legalization Assistance Project of L.A. County

       Fed’n of Lab., 510 U.S. 1301, 1305-06 (1993) (O’Connor, J., in chambers). Indeed, any injunction

       that prevents the President from exercising his core authorities is “itself an irreparable injury.”

       Doe #1 v. Trump, 957 F.3d 1050, 1084 (9th Cir. 2020) (Bress, J., dissenting) (citing Maryland v.

       King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers)).

              As noted above, the injunction causes further harm to the Defendants because its breadth—

       applying to all implementation and enforcement—prevents the executive branch as a whole from

       even beginning the process of formulating relevant policies and guidance for implementing the

       EO. If Defendants are successful on their appeal and the EO is eventually allowed to take effect,

       but the injunction is not stayed in its overbroad applications while that appeal is pending, the

       Defendants will be unable to make preparations necessary to implement the EO, thus further

       delaying its implementation.2 Such a delay in effectuating a policy enacted by a politically




              2
                 The EO is also subject to two other preliminary injunctions preventing implementation
       and enforcement of the EO on a nationwide basis. See Washington v. Trump, No. 2:25-cv-0127-
       JCC, 2025 WL 415165 (W.D. Wash. Feb. 6, 2025); CASA, Inc. v. Trump, No. 8:25-cv-201-DLB,
       2025 WL 408636 (D. Md. Feb. 5, 2025). Defendants have appealed both preliminary injunctions
       and, in both cases, filed motions to stay their overbroad applications in both district court and with
       the relevant courts of appeal. See Washington v. Trump, No. 25-807, ECF No. 21.1 (9th Cir. Feb.
       12, 2025); Casa, Inc. v. Trump, No. 25-1153, ECF No. 9 (4th Cir. Feb. 19, 2025). Two narrower
       injunctions have also been entered against the EO. See N. H. Indonesian Comm. Supp. v. Trump
       (“NHICS”), No. 1:25-CV-38-JL-TSM, 2025 WL 457609 (D.N.H. Feb. 11, 2025); Doe v. Trump,
       No. 25-CV-10135-LTS, ECF No. 47 (D. Mass. Feb. 13, 2025). Defendants have sought
       clarification regarding the NHICS injunction’s scope, see NHICS, ECF No. 81, and filed a notice
       of appeal in the Doe case, see Doe, ECF No. 48.
                                                         7

                                                                                                    PA375
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 410
                                                158               Date
                                                                  Filed Filed: 03/04/2025
                                                                        02/19/25     Page 9 ofEntry
                                                                                               11 ID: 6704290




       accountable branch of the government imposes its own “form of irreparable injury.” King, 567

       U.S. at 1303 (Roberts, C.J., in chambers) (citation omitted). This is especially harmful in this

       context where, as Defendants have explained, the challenged EO is part of a larger immigration

       policy designed to combat the “significant threats to national security and public safety” posed by

       unlawful immigration. See Doc. No. 92 at 14.

                                                CONCLUSION

              For the foregoing reasons, and for the reasons stated in Defendants’ opposition to

       Plaintiffs’ motions for preliminary injunction, Doc. No. 92, Defendants respectfully request that

       this Court stay its preliminary injunction. Defendants respectfully request a ruling on this motion

       by no later than the close of business on February 26, 2025, after which time, if relief has not been

       granted, Defendants intend to seek relief from the First Circuit.



       Dated: February 19, 2025                      Respectfully submitted

                                                     BRETT A. SHUMATE
                                                     Acting Assistant Attorney General
                                                     Civil Division

                                                     LEAH B. FOLEY
                                                     United States Attorney

                                                     ALEXANDER K. HAAS
                                                     Branch Director

                                                     BRAD P. ROSENBERG
                                                     Special Counsel

                                                     /s/ R. Charlie Merritt
                                                     R. CHARLIE MERRITT (VA Bar No. 89400)
                                                     YURI S. FUCHS
                                                     U.S. Department of Justice
                                                     Civil Division, Federal Programs Branch
                                                     1100 L Street, NW
                                                     Washington, DC 20005

                                                        8

                                                                                                   PA376
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 411
                                               158    Date 02/19/25
                                                      Filed Filed: 03/04/2025    Entry
                                                                        Page 10 of 11 ID: 6704290




                                           Phone: 202-616-8098
                                           Fax: 202-616-8460
                                           Email: robert.c.merritt@usdoj.gov

                                           Attorneys for Defendants




                                             9

                                                                                 PA377
Case: 25-1170Case
                Document:  00118255171Document
                  1:25-cv-10139-LTS      Page: 412
                                               158                Date 02/19/25
                                                                  Filed Filed: 03/04/2025    Entry
                                                                                    Page 11 of 11 ID: 6704290




                                        CERTIFICATE OF SERVICE

              I hereby certify that this document filed through the CM/ECF system will be sent

       electronically to the registered participants as identified on the NEF.

       Dated: February 19, 2025



                                                             /s/ R. Charlie Merritt
                                                             R. Charlie Merritt
                                                             Trial Attorney




                                                                                             PA378
